             Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 1 of 102




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                       Chapter 11
    In re:

    MOUNTAIN EXPRESS OIL COMPANY, et al.,                              Case No. 23-90147 (DRJ)

                                      Debtors. 1                       (Jointly Administered)


                     NOTICE TO COUNTERPARTIES TO POTENTIALLY
                ASSUMED EXECUTORY CONTRACTS AND UNEXPIRED LEASES

                YOU ARE RECEIVING THIS NOTICE BECAUSE YOU
            OR ONE OF YOUR AFFILIATES IS A COUNTERPARTY TO AN
        EXECUTORY CONTRACT OR UNEXPIRED LEASE WITH ONE OR MORE
        OF THE DEBTORS AS SET FORTH ON EXHIBIT A ATTACHED HERETO.

       PLEASE TAKE NOTICE that on June 22, 2023, the United States Bankruptcy Court for
the Southern District of Texas (the “Court”) entered the Order (I) Approving Bid Procedures for
the Sale of the Debtors’ Assets, (II) Approving Bid Protections, (III) Scheduling Certain Dates
with Respect Thereto, (IV) Approving the Form and Manner of Notice Thereof, and (V) Approving
Contract Assumption and Assignment Procedures [Docket No. 701] (the “Bid Procedures
Order”),2 authorizing the Debtors to conduct an auction (the “Auction”) to select a party or parties
to purchase some or all of the Debtors’ assets (the “Assets”). The Auction will be governed by the
bidding procedures (attached to the Bid Procedures Order as Exhibit 1 (the “Bid Procedures”)).

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Bid Procedures and the terms
of any Successful Bid, the Debtors may assume and assign to the Successful Bidder certain of the
Potential Assumed/Assigned Contracts listed on the Cure Schedule, attached hereto as Exhibit A,
to which you are a counterparty, upon approval of the Sale. The Cure Schedule can also be viewed
on the Debtors’ case website (www.kccllc.net/mountainexpressoil). The Debtors have conducted
a review of their books and records and have determined that the cure amount for unpaid monetary
obligations under such Potential Assumed/Assigned Contracts is as set forth on Exhibit A attached
hereto (the “Cure Amounts”).



1
      A complete list of each of the Debtors in these Chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at www.kccllc.net/mountainexpressoil. The location of Debtor Mountain Express Oil
      Company’s principal place of business and the Debtors’ service address in these Chapter 11 cases is 3650 Mansell
      Road, Suite 250, Alpharetta, GA 30022.
2
      All capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the Bid
      Procedures Order or the Bid Procedures, as applicable.



DOCS_LA:349788.1 58614/002
       Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 2 of 102




        PLEASE TAKE FURTHER NOTICE that if you disagree or otherwise have any
objections to a proposed Cure Amount (a “Cure Objection”) and/or any other objection to the
assumption and assignment or transfer of any of the Potential Assumed/Assigned Contracts (an
“Assignment Objection”), your objection must: (i) be in writing; (ii) comply with the applicable
provisions of the Bankruptcy Rules, Bankruptcy Local Rules, and any order governing the
administration of these chapter 11 cases; (iii) state with specificity the nature of the objection and,
if the objection pertains to the proposed Cure Amounts, state the correct cure amount alleged to be
owed to the objecting Contract Counterparty, together with any applicable and appropriate
documentation in support thereof; and (iv) be filed with the Court no later than July 12, 2023, at
4:00 p.m. (prevailing Central Time) (the “Cure/Assignment Objection Deadline”), and if you
object to the ability of the Successful Bidder and/or Backup Bidder to provide adequate assurance
of future performance with respect to any Potential Assumed/Assigned Contract (an “Adequate
Assurance Objection” and, together with Cure Objections and Assignment Objections, “Contract
Objections”), be filed with the Court no later than August 3, 2023 at 4:00 p.m. (prevailing
Central time) (the “Adequate Assurance Objection Deadline”), in each case, by the following
parties: (a) the Debtors’ counsel, Pachulski Stang Ziehl & Jones LLP, 10100 Santa Monica
Boulevard, 13th Floor, Los Angeles, California 90067, Attn.: Jeffrey Pomerantz
(jpomerantz@pszjlaw.com) and Jeffrey Dulberg (jdulberg@pszjlaw.com); and (b) the United
States Trustee for the Southern District of Texas, 515 Rusk Street, Suite 3516, Houston, Texas
77002, Attn.: Jayson B. Ruff (jayson.b.ruff@usdoj.gov).

         PLEASE TAKE FURTHER NOTICE that if no Contract Objection is filed by the
Cure/Assignment Objection Deadline or Adequate Assurance Objection Deadline, as applicable,
then (i) you will be deemed to have stipulated that the Cure Amounts as determined by the Debtors
are correct, (ii) you will be forever barred, estopped, and enjoined from asserting any additional
cure amount under the Potential Assumed/Assigned Contract, and (iii) you will be forever barred,
estopped, and enjoined from objecting to such proposed assignment or transfer to the Successful
Bidder on any grounds whatsoever, including the grounds that the Successful Bidder has not
provided adequate assurance of future performance as of the closing date of the Sale.

       PLEASE TAKE FURTHER NOTICE that any Cure Objection in connection with the
Successful Bid that otherwise complies with these procedures yet remains unresolved as of the
commencement of the Sale Hearing, shall be heard at a later date to be fixed by the Court.

        PLEASE THAT FURTHER NOTICE that, notwithstanding anything herein, the mere
listing of any Potential Assumed/Assigned Contract on the Cure Notice does not require or
guarantee that such Potential Assumed/Assigned Contract will be assumed by the Debtors at any
time or assumed and assigned or transferred, and all rights of the Debtors and the Successful Bidder
with respect to such Potential Assumed/Assigned Contract are reserved. Moreover, the Debtors
explicitly reserve their rights, in their reasonable discretion, to seek to reject or assume each
Potential Assumed/Assigned Contract pursuant to section 365(a) of the Bankruptcy Code and in
accordance with the procedures allowing the Debtors and/or the Successful Bidder, as applicable,
to designate any Potential Assumed/Assigned Contract as either rejected or assumed on a post-
closing basis.




DOCS_LA:349788.1 58614/002                        2
       Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 3 of 102




        PLEASE TAKE FURTHER NOTICE that, nothing herein (i) alters in any way the
prepetition nature of the Potential Assumed/Assigned Contracts or the validity, priority, or amount
of any claims of a counterparty to any Potential Assumed/Assigned Contract against the Debtors
that may arise under such Potential Assumed/Assigned Contract, (ii) creates a postpetition contract
or agreement, or (iii) elevates to administrative expense priority any claims of a counterparty to
any Potential Assumed/Assigned Contract against the Debtors that may arise under such Potential
Assumed/Assigned Contract.



 Dated: June 28, 2023                            PACHULSKI STANG ZIEHL & JONES LLP

                                                 /s/ Michael D. Warner
                                                 Michael D. Warner (SBT 00792304)
                                                 Steven W. Golden (SBT 24099681)
                                                 440 Louisiana Street, Suite 900
                                                 Houston, TX 77002
                                                 Telephone: (713) 691-9385
                                                 Facsimile: (713) 691-9407
                                                 mwarner@pszjlaw.com
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                                                 -and-

                                                 Jeffrey N. Pomerantz (admitted pro hac vice)
                                                 Jeffrey W. Dulberg (admitted pro hac vice)
                                                 10100 Santa Monica Blvd., 13th Floor
                                                 Los Angeles, CA 90067
                                                 Telephone: (310) 277-6910
                                                 Facsimile: (310) 201-0760
                                                 jpomerantz@pszjlaw.com
                                                 jdulberg@pszjlaw.com

                                                 Counsel to the Debtors and Debtors in Possession




DOCS_LA:349788.1 58614/002                      3
Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 4 of 102




                          EXHIBIT A
                   Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 5 of 102

Mountain Express Oil Company
Schedule of Cure Amounts
in $USD

Note: the cure amounts included in this schedule are the Debtors' best estimates of owed and unpaid prepetition amounts based on the Debtors' books and
records as of Jun 23, 2023.
Certain of the listed cure amounts may be in dispute and subject to ongoing litigation. The Debtors make no representations or warranties as to the
accuracy of any of the scheduled amounts.

  Store
           Contract Type               Title                             Counterparty                      Debtor Entity                        Est. Cure
 Number
                                                                         1201EAJ LLC DBA SMART STOP
   543     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                               Mountain Express Oil Company          $0.00
                                                                         MARKET 2 | KAIWAN NAJI ALI
                                                                         1201EAJ LLC DBA SMART STOP
   543     Sublease                    COMMERCIAL LEASE                                                    Mountain Express Oil Company          $0.00
                                                                         MARKET 2 | KAIWAN NAJI ALI
                                                                                                            Mountain Express Oil Company
   1937    Sublease                    LEASE AGREEMENT                   142 MADISON LLC                   (as successor‐in‐interest to Prime    $0.00
                                                                                                           13235 Madison LLC)

                                                                                                            Mountain Express Oil Company
   1937    Equipment Lease             EQUIPMENT LEASE AGREEMENT         142 MADISON LLC                   (as successor‐in‐interest to Prime    $0.00
                                                                                                           13235 Madison LLC)
                                                                         142 MADISON LLC | RAMI
   1937    Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                               Mountain Express Oil Company          $0.00
                                                                         CHALHOUB
                                       FIRST AMENDMENT OF LEASE,         142 MADISON LLC | RAMI
   1937    Fuel Supply Agreement       EQUIPMENT LEASE AGREEMENT AND     CHALHOUB | CLAUDE ENTERPRISE      Mountain Express Oil Company          $0.00
                                       FUEL SUPPLY AGREEMENT             LLC | CLAUDE EL‐FAHEL
                                                                         1601 RUSTON LLC | HASSAN A
   3215    Sublease                    COMMERCIAL LEASE                                                    MEX RE‐SW‐LA LLC                      $0.00
                                                                         ALSHOHATEE
                                                                         1601 RUSTON LLC | HASSAN A
   3215    Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                               MEX Fuels SW‐LA LLC                   $0.00
                                                                         ALSHOHATEE
                                                                         1711ENDC, LLC DBA SMART STOP
   390     Sublease                    COMMERCIAL LEASE                                                    Mountain Express Oil Company          $0.00
                                                                         MARKET #5 | KAIWAN NAJI ALI
                                                                         1711ENDC, LLC, DBA SMART STOP
   390     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                               Mountain Express Oil Company          $0.00
                                                                         MARKET #5 | KAIWAN NAJI ALI
                                                                         17594 KS, LLC (AS SUCCESSOR‐IN‐
   655     Prime Lease (Single Site)   MASTER LEASE AGREEMENT            INTEREST TO TAYLOR MERCANTILE     Mountain Express Oil Company          $0.00
                                                                         LLC)
                                                                         1801 SIGMAN LLC | NAVEENKUMAR
   413     Sublease                    COMMERCIAL LEASE                                                    Mountain Express Oil Company          $0.00
                                                                         KOTHA
                                                                         1801 SIGMAN LLC | NAVEENKUMAR
   413     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                               Mountain Express Oil Company          $0.00
                                                                         KOTHA
                                                                      1801 SIGMAN LLC | NAVEENKUMAR
                                       SECOND AMENDMENT OF COMMERCIAL
   413     Sublease                                                   KOTHA | SIGMAN CAPITAL INC |  Mountain Express Oil Company                 $0.00
                                       LEASE
                                                                      LINDEN MICHAEL AULT

                                                                         1801 SIGMAN LLC | NAVEENKUMAR
                                       THIRD AMENDMENT OF COMMERCIAL
   413     Sublease                                                      KOTHA | SIGMAN CAPITAL INC |  Mountain Express Oil Company              $0.00
                                       LEASE
                                                                         LINDEN MICHAEL AULT

                                                                         1801 SIGMAN LLC | NAVEENKUMAR
                                       FIRST AMENDMENT OF COMMERCIAL
   413     Sublease                                                      KOTHA | SIGMAN CAPITAL INC |  Mountain Express Oil Company              $0.00
                                       LEASE AND FUEL SUPPLY AGREEMENT
                                                                         LINDEN MICHAEL AULT
                                                                         1801UBJ LLC DBA SMART STOP
   546     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                               Mountain Express Oil Company          $0.00
                                                                         MARKET 3 | KAIWAN NAJI ALI
                                                                         1801UBJ LLC, DBA SMART STOP
   546     Sublease                    COMMERCIAL LEASE                                                    Mountain Express Oil Company          $0.00
                                                                         MARKET 3 | KAIWAN NAJI ALI
                                                                         1804 CARIBBEAN LLC | YOUBE
   241     Sublease                    COMMERCIAL LEASE                                                    Mountain Express Oil Company          $0.00
                                                                         PIERRE‐LOUIS
                                                                         1804 LLC | YOUBE PIEREE‐LOUIS |
   241     Sublease                    COMMERCIAL LEASE                                                    Mountain Express Oil Company          $0.00
                                                                         RICCARDO PANOSKY
                                       FIRST AMENDMENT COMMERCIAL
   241     Sublease                                                      1804 LLC | YOUBE PIERRE‐LOUIS     Mountain Express Oil Company          $0.00
                                       LEASE
   241     Sublease                    COMMERCIAL LEASE                  1804 LLC | YOUBE PIERRE‐LOUIS     Mountain Express Oil Company          $0.00
                                       FIRST AMENDMENT COMMERCIAL        1804 LLC | YOUBE PIERRE‐LOUIS |
   241     Sublease                                                                                        Mountain Express Oil Company          $0.00
                                       LEASE                             RICCARDO PANOSKY
                                       SECOND AMENDMENT TO               1804 LLC | YOUBE PIERRE‐LOUIS |
   241     Sublease                                                                                        Mountain Express Oil Company          $0.00
                                       COMMERCIAL LEASE                  RICCARDO PANOSKY
                                                                         1959 BUSINESS 13 LLC | SHENAZ
   659     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                               Mountain Express Oil Company          $0.00
                                                                         JIVANI
   598     Sublease                    COMMERCIAL LEASE                  1974 WHITTEN I, LLC               Mountain Express Oil Company          $0.00

                                                                         1 of 98
                 Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 6 of 102
 Store
         Contract Type               Title                            Counterparty                    Debtor Entity                    Est. Cure
Number
                                     FOURTH AMENDMENT OF COMMERCIAL
 528     Sublease                                                   2155 BUFORD DAM LLC                Mountain Express Oil Company     $0.00
                                     LEASE
                                                                      2155 BUFORD DAM LLC |
 528     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                             Mountain Express Oil Company     $0.00
                                                                      BANTIKUMAR RAMANLAL THAKKAR

                                     FIRST AMENDMENT OF FUEL SUPPLY   2155 BUFORD DAM LLC |
 528     Fuel Supply Agreement                                                                         Mountain Express Oil Company     $0.00
                                     AGREEMENT                        BANTIKUMAR RAMANLAL THAKKAR
                                                                      2155 BUFORD DAM LLC | SAHIL
                                                                      SAROJ ENTERPRISES | SAROJ K
 528     Sublease                    ASSIGNMENT OF LEASE              PATEL INDIVIDUALLY KETAN PATEL Mountain Express Oil Company       $0.00
                                                                      INDIVIDUALLY AND BANTI THAKKAR
                                                                      INDVIDUALLY
                                     PETROLEUM PRODUCTS SUPPLY        269 EXPRESS FOOD MART LLC |
 731     Fuel Supply Agreement                                                                        Mountain Express Oil Company      $0.00
                                     AGREEMENT                        MADYAN MANSOOB
                                                                      3497 NORTH LIBERTY LLC (AS
 542     Prime Lease (Single Site)   MASTER LEASE AGREEMENT           SUCCESSOR‐IN‐INTEREST TO TAYLOR Mountain Express Oil Company      $0.00
                                                                      MERCANTILE MS1 LLC)
                                                                      3A COMM LLC | MOHAMMED
 3057    Sublease                    COMMERCIAL LEASE                                                 Mountain Express Oil Company      $0.00
                                                                      MAHEDI
 617     Prime Lease (Single Site)   LEASE AGREEMENT                  42 ARLA STORES LP                Mountain Express Oil Company     $0.00

 626     Prime Lease (Single Site)   LEASE AGREEMENT                  42 ARLA STORES LP                Mountain Express Oil Company     $0.00

 627     Prime Lease (Single Site)   LEASE AGREEMENT                  42 ARLA STORES LP                Mountain Express Oil Company     $0.00

 629     Prime Lease (Single Site)   LEASE AGREEMENT                  42 ARLA STORES LP                Mountain Express Oil Company     $0.00

 630     Prime Lease (Single Site)   LEASE AGREEMENT                  42 ARLA STORES LP                Mountain Express Oil Company     $0.00

 631     Prime Lease (Single Site)   LEASE ACREEMENT                  42 ARLA STORES LP                Mountain Express Oil Company     $0.00

 632     Prime Lease (Single Site)   LEASE AGREEMENT                  42 ARLA STORES LP                Mountain Express Oil Company     $0.00

 633     Prime Lease (Single Site)   LEASE AGREEMENT                  42 ARLA STORES LP                Mountain Express Oil Company     $0.00

 634     Prime Lease (Single Site)   LEASE AGREEMENT                  42 ARLA STORES LP                Mountain Express Oil Company     $0.00

 635     Prime Lease (Single Site)   LEASE AGREEMENT                  42 ARLA STORES LP                Mountain Express Oil Company     $0.00

 695     Prime Lease (Single Site)   LEASE AGREEMENT                  42 OKLA LP                       Mountain Express Oil Company     $0.00

 696     Prime Lease (Single Site)   LEASE AGREEMENT                  42 OKLA LP                       Mountain Express Oil Company     $0.00

 907     Prime Lease (Single Site)   LEASE AGREEMENT                  42 OKLA LP                       Mountain Express Oil Company     $0.00

 908     Prime Lease (Single Site)   LEASE AGREEMENT                  42 OKLA LP                       Mountain Express Oil Company     $0.00

 909     Prime Lease (Single Site)   LEASE AGREEMENT                  42 OKLA LP                       Mountain Express Oil Company     $0.00

 910     Prime Lease (Single Site)   LEASE AGREEMENT                  42 OKLA LP                       Mountain Express Oil Company     $0.00

 911     Prime Lease (Single Site)   LEASE AGREEMENT                  42 OKLA LP                       Mountain Express Oil Company     $0.00

 912     Prime Lease (Single Site)   LEASE AGREEMENT                  42 OKLA LP                       Mountain Express Oil Company     $0.00

 913     Prime Lease (Single Site)   LEASE AGREEMENT                  42 OKLA LP                       Mountain Express Oil Company     $0.00

 917     Prime Lease (Single Site)   LEASE AGREEMENT                  42 OKLA LP                       Mountain Express Oil Company     $0.00

 918     Prime Lease (Single Site)   LEASE AGREEMENT                  42 OKLA LP                       Mountain Express Oil Company     $0.00

 919     Prime Lease (Single Site)   LEASE AGREEMENT                  42 OKLA LP                       Mountain Express Oil Company     $0.00

 920     Prime Lease (Single Site)   LEASE AGREEMENT                  42 OKLA LP                       Mountain Express Oil Company     $0.00

 921     Prime Lease (Single Site)   LEASE AGREEMENT                  42 OKLA LP                       Mountain Express Oil Company     $0.00

 922     Prime Lease (Single Site)   LEASE AGREEMENT                  42 OKLA LP                       Mountain Express Oil Company     $0.00

 3691    Prime Lease (Single Site)   LEASE AGREEMENT                  42 OKLA LP                       Mountain Express Oil Company   $59,179.14

 3693    Prime Lease (Single Site)   LEASE AGREEMENT                  42 OKLA LP                       Mountain Express Oil Company   $15,765.03


                                                                      2 of 98
                 Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 7 of 102
 Store
         Contract Type               Title                              Counterparty                      Debtor Entity                   Est. Cure
Number
 3694    Prime Lease (Single Site)   LEASE AGREEMENT                    42 OKLA LP                        Mountain Express Oil Company   $22,842.63

 692     Prime Lease (Single Site)   LEASE AGREEMENT                    42 OKLA, LP                       Mountain Express Oil Company     $0.00

 914     Prime Lease (Single Site)   LEASE AGREEMENT                    42 OKLA, LP                       Mountain Express Oil Company     $0.00

 915     Prime Lease (Single Site)   LEASE AGREEMENT                    42 OKLA, LP                       Mountain Express Oil Company     $0.00

 228     Prime Lease (Single Site)   WAIVER OF RIGHT OF FIRST REFUSAL   423 N CLINTON ST RAMIS LLC        Mountain Express Oil Company     $0.00
                                                                        4233 N CLINTON ST RAMIS LLC (AS
 228     Prime Lease (Single Site)   MASTER LEASE AGREEMENT             SUCCESSOR‐IN‐INTEREST TO          Mountain Express Oil Company     $0.00
                                                                        TIMOTHY V. RAMIS)
                                                                        4407RR, LLC, DBA SMART STOP
 389     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                Mountain Express Oil Company     $0.00
                                                                        MARKET #6 | KAIWAN NAJI ALI
                                                                        4407RRJ, LLC, DBA SMART STOP
 389     Sublease                    COMMERCIAL LEASE                                                     Mountain Express Oil Company     $0.00
                                                                        MARKET #6 | KAIWAN NAJI ALI
 47      Prime Lease (Single Site)   MASTER LEASE AGREEMENT             4COURT HOLDINGS LLC               MEX RE‐SW‐OK LLC                 $0.00
 389     Prime Lease (Single Site)   FORM OF MASTER LEASE AGREEMENT     4COURT HOLDINGS LLC               MEX RE‐SE‐MS LLC               $13,500.00
 390     Prime Lease (Single Site)   MASTER LEASE AGREEMENT             4COURT HOLDINGS LLC               MEX RE‐SE‐MS LLC               $25,500.00
 428     Prime Lease (Single Site)   FORM OF MASTER LEASE AGREEMENT     4COURT HOLDINGS LLC               MEX RE‐SW‐TX LLC               $18,000.00
 3040    Equipment Lease             EQUIPMENT LEASE NO. PILla          4COURT HOLDINGS LLC               Mountain Express Oil Company   $44,979.24

 3040    Equipment Lease             EQUIPMENT LEASE NO.PILlb           4COURT HOLDINGS LLC               Mountain Express Oil Company   $44,979.24
 3136    Prime Lease (Single Site)   FORM OF MASTER LEASE AGREEMENT     4COURT HOLDINGS LLC               MEX RE‐SW‐AR LLC                 $0.00
 3452    Prime Lease (Single Site)   MASTER LEASE AGREEMENT             4COURT HOLDINGS LLC               MEX RE‐SW‐OK LLC                 $0.00
 3459    Prime Lease (Single Site)   MASTER LEASE AGREEMENT             4COURT HOLDINGS LLC               MEX RE‐SW‐OK LLC                 $0.00
 3465    Prime Lease (Single Site)   MASTER LEASE AGREEMENT             4COURT HOLDINGS LLC               MEX RE‐SW‐OK LLC               $7,500.00
  24     Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company   $2,595.78

  27     Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company   $6,565.98

  56     Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company   $4,991.52

  57     Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company   $3,599.28

  70     Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company   $5,651.16

  72     Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company   $7,359.45

  73     Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company   $1,477.62

  75     Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company   $6,802.59

 107     Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company     $0.00

 108     Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company   $6,134.10

 110     Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company   $4,724.58

 111     Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company   $4,331.79

 114     Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company   $6,157.79

 115     Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company    $690.54

 117     Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company   $2,897.43

 154     Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company   $1,419.12

 154     Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company   $1,419.12

 154     Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company   $1,419.12

 156     Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company   $5,078.28

 163     Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company   $11,549.55

 164     Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company   $2,080.98

 170     Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company   $2,997.81


                                                                        3 of 98
                Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 8 of 102
 Store
         Contract Type     Title              Counterparty         Debtor Entity                   Est. Cure
Number
 171     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $2,400.99

 172     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $4,389.26

 174     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $13,421.16

 213     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $4,105.38

 221     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $2,997.18

 223     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $5,844.99

 260     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $1,077.57

 261     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $1,091.73

 262     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company     $0.00

 276     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $8,478.09

 308     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $2,652.84

 313     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $3,574.65

 315     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $2,881.80

 316     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $4,880.58

 316     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $4,880.58

 317     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $3,545.01

 320     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company     $0.00

 320     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company     $0.00

 321     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $5,523.51

 324     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $7,033.83

 363     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $3,129.27

 389     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $5,566.53

 390     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $3,081.27

 395     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $5,483.25

 402     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $12,947.64

 403     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $4,020.39

 404     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $5,672.07

 413     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $5,656.83

 540     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $1,887.81

 542     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $2,509.68

 543     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $4,985.19

 544     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $6,848.31

 545     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $5,936.13

 546     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $3,799.68

 554     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $5,236.46

 554     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $5,236.46

 558     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $3,180.09


                                               4 of 98
                Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 9 of 102
 Store
         Contract Type     Title              Counterparty         Debtor Entity                   Est. Cure
Number
 582     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $1,421.46

 597     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $4,727.94

 597     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $4,727.94

 607     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $2,339.79

 608     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $4,823.16

 611     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $6,022.95

 707     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company     $0.00

 734     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $3,225.78

 735     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $3,767.96

 736     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $3,280.62

 737     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company    $710.82

 738     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $10,636.92

 746     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $3,156.00

 925     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $3,474.63

 929     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $5,289.66

 935     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $2,889.86

 950     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $2,964.60

 951     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $2,889.90

 952     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $1,959.90

 953     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company     $0.00

 955     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $1,232.52

 961     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $3,371.01

 964     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $3,084.12

 965     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $5,115.51

 969     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $2,857.50

 974     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $5,449.68

 974     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $5,449.68

 975     Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $5,115.51

 1010    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $3,739.14

 1073    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $4,907.70

 1943    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company     $0.00

 1948    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $4,351.19

 1989    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company     $0.00

 3037    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $8,739.75

 3038    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $4,859.10

 3050    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $2,430.18

 3052    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $11,758.05


                                               5 of 98
               Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 10 of 102
 Store
         Contract Type     Title              Counterparty         Debtor Entity                   Est. Cure
Number
 3053    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $11,758.05

 3054    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $12,245.64

 3055    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $5,646.18

 3060    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $3,048.27

 3102    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $4,390.71

 3111    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $5,874.99

 3114    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $2,805.15

 3123    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $4,796.49

 3127    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $1,147.91

 3127    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $1,147.91

 3128    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $6,046.14

 3129    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $4,217.43

 3146    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $2,158.86

 3146    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $2,158.86

 3147    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $1,725.26

 3147    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $1,725.26

 3148    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company     $0.00

 3202    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $1,306.98

 3203    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $2,022.12

 3207    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company     $0.00

 3281    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $6,544.35

 3282    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $1,377.90

 3283    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $1,377.90

 3284    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $1,377.90

 3285    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $1,401.45

 3286    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company    $631.89

 3286    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company    $631.89

 3287    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $1,308.48

 3288    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company    $631.89

 3288    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company    $631.89

 3322    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $10,954.35

 3609    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $2,440.83

 3610    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $9,388.71

 3611    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $4,703.49

 3691    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $6,988.74

 3692    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $6,988.74

 3693    Equipment Lease   EQUIPMENT LEASE    4COURT LEASING LLC   Mountain Express Oil Company   $6,797.37


                                              6 of 98
                 Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 11 of 102
  Store
           Contract Type              Title                              Counterparty                      Debtor Entity                  Est. Cure
 Number
  3694    Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company   $6,451.14

  3932    Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company   $5,961.90

  4290    Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company   $7,052.43

  4291    Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company   $1,535.67

  4292    Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company   $7,421.22

  4294    Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company   $1,528.20

  4295    Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company   $2,047.65
  3113 |
           Equipment Lease            EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company    $0.00
   3114
  3610 |
3611 | 607
           Equipment Lease            EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company    $0.00
  | 608 |
   3609
          Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company    $0.00

          Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company    $0.00

          Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company    $0.00

          Equipment Lease             EQUIPMENT LEASE                    4COURT LEASING LLC                Mountain Express Oil Company    $0.00

  1939    Fuel Supply Agreement       FUEL SUPPLY AGREEMENT              5321 LEE ROAD LLC | TANVIR KHAN   Mountain Express Oil Company    $0.00
  2086    Prime Lease (Single Site)   MASTER LEASE AGREEMENT             5401 EAST LLOYD LLC               MEX RE‐NE‐IN LLC                $0.00
                                      UNCONDITIONAL GUARANTY OF
  2086    Prime Lease (Single Site)                                      5401 EAST LLOYD LLC               MEX RE‐NE‐OH LLC                $0.00
                                      PAYMENT AND PERFORMANCE
                                      AMENDED AND RESTATED FUEL SUPPLY
   963    Fuel Supply Agreement                                          575 FUEL INC                      MEX Fuels NE‐NY LLC             $0.00
                                      AGREEMENT
                                      AMENDED AND RESTATED
   963    Sublease                                                       575 FUEL INC                      MEX RE‐NE‐NY‐LI LLC             $0.00
                                      COMMERCIAL LEASE
                                      FIRST AMENDMENT OF AMENDED AND
                                      RESTATED COMMERCIAL LEASE AND      575 FUEL INC | BROADWAY FUEL
   963    Fuel Supply Agreement                                                                            MEX Fuels NE‐NY LLC             $0.00
                                      AMENDED AND RESTATED FUEL SUPPLY   INC | KAZI OMAR FARUK
                                      AGREEMENT
                                      FIRST AMENDMENT TO COMMERCIAL
   596    Sublease                                                       5984 STAGE LLC                    Mountain Express Oil Company    $0.00
                                      LEASE
   596    Sublease                    COMMERCIAL LEASE                   5984 STAGE LLC                    Mountain Express Oil Company    $0.00
                                                                         6152 WEST MARKET LLC | FADI
   417    Equipment Lease             EQUIPMENT LEASE AGREEMENT                                            Mountain Express Oil Company    $0.00
                                                                         HASSAN ALI | HATEM A ALALOUL
                                      FIRST AMENDMENT OF COMMERCIAL      6152 WEST MARKET LLC | FADI
   417    Sublease                                                                                         Mountain Express Oil Company    $0.00
                                      LEASE AND EQUIPMENT LEASE          HASSAN ALI | HATEM A ALALOUL
                                                                         6152 WEST MARKET LLC | FADI
   417    Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                Mountain Express Oil Company    $0.00
                                                                         HASSAN ALI | HATEM A. ALALOUL
                                                                         6152 WEST MARKET LLC | FADI
   417    Sublease                    COMMERCIAL LEASE                                                     Mountain Express Oil Company    $0.00
                                                                         HASSAN ALI | HATEM A. ALALOUL
                                                                         6161 MABLETON PARKWAY KHAN
   310    Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                Mountain Express Oil Company    $0.00
                                                                         786 INC | ARSLAN RIAZ KHAN
                                                                         6709MEBJ LLC DBA SMART STOP
   544    Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                Mountain Express Oil Company    $0.00
                                                                         MARKET | KAIWAN NAJI ALI
                                                                         6709MEBJ LLC DBA SMART STOP
   544    Sublease                    COMMERCIAL LEASE                   MARKET 4 | 6709 MEBJLS LLC |      Mountain Express Oil Company    $0.00
                                                                         KAIWAN NAJI ALI
   14     Sublease                    COMMERCIAL LEASE                   6742 LLC | RAHIIM VIRANI          Mountain Express Oil Company    $0.00

   14     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT              6742 LLC AND RAHIM VIRANI         Mountain Express Oil Company    $0.00
                                                                         7301 OBT, LLLP (AS SUCCESSOR‐IN‐
   594    Prime Lease (Single Site)   MASTER LEASE AGREEMENT                                              Mountain Express Oil Company     $0.00
                                                                         INTEREST TO 16 A HOLDINGS LLC)
                                      ASSIGNMENT AND ASSUMPTION          786 ENTERPRISES INC | PILOT
  3160    Oil Company Agreement                                                                           WHRG TC‐NW‐KS LLC                $0.00
                                      AGREEMENT                          TRAVEL CENTERS LLC
                                                                         786 LAREDO INVESTMENT LLC |
                                                                         MOSANI INVESTMENTS, INC |
   516    Sublease                    ASSIGNMENT OF COMMERCIAL LEASE     RAMZAN MOSANI |                  Mountain Express Oil Company     $0.00
                                                                         NEW PASADENA INVESTMENTS, INC
                                                                         | NAWAZ SAYANI



                                                                         7 of 98
                 Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 12 of 102
  Store
          Contract Type               Title                              Counterparty                      Debtor Entity                   Est. Cure
 Number
                                                                         786 LAREDO INVESTMENT LLC |
                                                                         NAWAZ SAYANI | NEW PASADENA
  517     Sublease                    ASSIGNMENT OF COMMERCIAL LEASE     INVESTMENTS INC | RAMZAN          Mountain Express Oil Company     $0.00
                                                                         MOSANI | MOSANI INVESTMENTS
                                                                         INC
                                      PETROLEUM PRODUCTS SUPPLY
  187     Fuel Supply Agreement                                          7TH LION LLC | RAHIM LALANI       Mountain Express Oil Company     $0.00
                                      AGREEMENT
  3508 |
3510 | 511
                                                                         901 FINANCIAL SERVICES LLC DBA
  | 512 | Vendor Agreement            ATM PLACEMENT AGREEMENT                                              West Hill Ranch Group LLC        $0.00
                                                                         SJIATM
3513 | 514
  | 519 |

  597     Prime Lease (Single Site)   MASTER LEASE AGREEMENT             901 WEST MICHIGAN LLC             Mountain Express Oil Company     $0.00
                                                                      905 WNDJ LLC DBA SMART STOP
  545     Sublease                    COMMERCIAL LEASE                                                  Mountain Express Oil Company        $0.00
                                                                      MARKET 1 | KAIWAN NAJI ALI
                                                                      905WNDJ LLC DBA SMART STOP
  545     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                             Mountain Express Oil Company        $0.00
                                                                      MARKET 1 | KAIWAN NAJI ALI
                                                                      90WNDJ LLC DBA SMART SHOP
                                      FIRST AMENDMENT OF COMMMERCIAL MARKET #1 | KAIWAN NAJI ALI | W
  545     Fuel Supply Agreement                                                                         Mountain Express Oil Company        $0.00
                                      LEASE AND FUEL SUPPLY AGREEMENT H NORTHSIDE DRIVE | HAITHM NAJI
                                                                      MOHAMMED AL TOWAYTI
                                      PETROLEUM PRODUCTS SUPPLY
  384     Fuel Supply Agreement                                       95 NASCAR BLVD, LLC | RAXIT PATEL Mountain Express Oil Company        $0.00
                                      AGREEMENT
  115     Equipment Lease             EQUIPMENT LEASE AGREEMENT          A A 123 INC                       Mountain Express Oil Company    $690.54
                                                                         A AND A SAURASHTRA
                                      PETROLEUM PRODUCTS SUPPLY          CORPORATION | AMIN S HASANI |
  248     Fuel Supply Agreement                                                                            Mountain Express Oil Company     $0.00
                                      AGREEMENT                          AMIRALI K CHARANIYA | IQBAL
                                                                         AZIZBHAI CHARANIYA
                                      MIDSTATE DISTRIBUTING INC                                             Mountain Express Oil Company
  663     Fuel Supply Agreement       PETROLEUM SUPPLY CONTRACT          A D K OIL (DBA WARD MART)         (as assignee of Midstate         $0.00
                                      (BRANDED)                                                            Distributing Inc.)
                                                                         A K AUTO REPAIR LLC | AMRON
   77     Sublease                    COMMERCIAL LEASE                                                     Mountain Express Oil Company     $0.00
                                                                         KHAN
  654     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT              A N P R USA INC | AHMED BHADIGIA Mountain Express Oil Company      $0.00
                                      FIRST AMENDMENT OF FUEL SUPPLY
  654     Fuel Supply Agreement                                          A N P R USA INC | AHMED BHADIGIA Mountain Express Oil Company      $0.00
                                      AGREEMENT
                                      FIRST AMENDMENT OF PETROLEUM
  654     Fuel Supply Agreement                                          A N P R USA INC | AHMED BHADIGIA Mountain Express Oil Company      $0.00
                                      PRODUCTS SUPPLY AGREEMENT
                                      FIRST AMENDMENT OF PETROLEUM
  480     Fuel Supply Agreement                                          A N USA INC | AHMED A. BHADIGIA   Mountain Express Oil Company     $0.00
                                      PRODUCTS SUPPLY AGREEMENT
                                      PETROLEUM PRODUCTS SUPPLY
  480     Fuel Supply Agreement                                          A N USA INC. | AHMED A BHADIGIA   Mountain Express Oil Company     $0.00
                                      AGREEMENT
                                                                         A PLUS ELECTRICAL LLC | BRIAN
  674     Sublease                    COMMERCIAL LEASE                                                     Mountain Express Oil Company     $0.00
                                                                         BROOKS
                                      FIRST AMENDMENT OF PETROLEUM       A R P N USA INC | AHMED A
  496     Fuel Supply Agreement                                                                            Mountain Express Oil Company     $0.00
                                      PRODUCTS SUPPLY AGREEMENT          BHADIGIA
  115     Sublease                    COMMERCIAL LEASE                   A&A 123 INC | MAZEN A HIRABAWI    Mountain Express Oil Company     $0.00
                                      FIRST AMENDMENT OF COMMERCIAL
  115     Sublease                    LEASE AND EQUIPMENT LEASE          A&A 123 INC | MAZEN A HIRBAWI     Mountain Express Oil Company     $0.00
                                      AGREEMENT
  115     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT              A&A 123 INC|MAZEN A HIRBAWI       Mountain Express Oil Company     $0.00
                                                                      A&S GAS AND FOOD LLC | SHEILA
  583     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                MEX Fuels SE LLC                 $0.00
                                                                      COLBERT
                                      FIRST AMENDMENT OF COMMERCIAL   A&S GAS AND FOOD LLC | SHEILA
  583     Fuel Supply Agreement                                                                            MEX RE‐SE‐AL LLC                 $0.00
                                      LEASE AND FUEL SUPPLY AGREEMENT COLBERT
                                                                      A&S GAS AND FOOD LLC | SHEILA
  583     Sublease                    COMMERCIAL LEASE                                                     MEX RE‐SE‐AL LLC                 $0.00
                                                                      COLBERT
                                      SECOND AMENDMENT OF COMMERCIAL A&S GAS AND FOOD LLC | SHEILA
  583     Sublease                                                                                         MEX RE‐SE‐AL LLC                 $0.00
                                      LEASE                           COLBERT
                                                                      A1 WIRELESS LLC | AMEEN A
  3058    Sublease                    COMMERCIAL LEASE                                                     Mountain Express Oil Company     $0.00
                                                                      SIDDIQUI
  181     Rebate Agreement            REBATE AGREEMENT                   AA FUELS LLC                      Mountain Express Oil Company     $0.00

  181     Sublease                    COMMERCIAL LEASE                   AA FUELS LLC | KAZI WADUD         Mountain Express Oil Company     $0.00

  181     Fuel Supply Agreement       ACKNOWLEDGEMENT LETTER             AA FUELS LLC | KAZI WADUD         Mountain Express Oil Company     $0.00

  181     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT              AA FUELS LLC AND KAZI WADUD       Mountain Express Oil Company     $0.00

                                                                         8 of 98
                  Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 13 of 102
  Store
            Contract Type              Title                               Counterparty                      Debtor Entity                      Est. Cure
 Number
                                       FIRST AMENDMENT OF PETROLEUM
   535     Fuel Supply Agreement                                       AA USA INC | AHMED A BHADIGIA         Mountain Express Oil Company         $0.00
                                       PRODUCTS SUPPLY AGREEMENT
                                       PETROLEUM PRODUCTS SUPPLY
   535     Fuel Supply Agreement                                       AA USA, INC | AHMED A. BHADIGIA       Mountain Express Oil Company         $0.00
                                       AGREEMENT
                                       SECOND AMENDMENT OF COMMERCIAL AANG, INC. | HYDER LALANI |
   742     Sublease                                                                                          Mountain Express Oil Company         $0.00
                                       LEASE                           GYANENDRA KUMAR SHAHI
                                       FIFTH AMENDMENT OF MOTOR FUEL
                                                                       AAREEN AND NATASHA INC | AKBER
   109     Fuel Supply Agreement       SUPPLY AGREEMENT AND COMMERCIAL                                       Mountain Express Oil Company         $0.00
                                                                       PIRANI
                                       LEASE
                                                                       AARIYAN HOLDING INTERMATIONAL
    18     Sublease                    COMMERCIAL LEASE                LLC | ANILA SADAF AMIR JAVED |        Mountain Express Oil Company         $0.00
                                                                       AMIR JAVED
                                                                       AARIYAN HOLDING INTERNATIONAL
    18     Rebate Agreement            REBATE AGREEMENT                                                      Mountain Express Oil Company         $0.00
                                                                       LLC
                                       FIRST AMENDMENT OF FUEL SUPPLY  AARIYAN HOLDING INTERNATIONAL
    18     Fuel Supply Agreement                                                                             Mountain Express Oil Company         $0.00
                                       AGREEMENT                       LLC
                                                                           AARIYAN HOLDING INTERNATIONAL
    18     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT               LLC AND ANILA SADAF AMIR JAVED Mountain Express Oil Company            $0.00
                                                                           AND AMIR JAVED
                                                                                                             DT ‐ Mountain Express Oil
                                       RETAILER FACILITY DEVELOPMENT       ABDUL BAOBAD DBA VALLEY           Company (as successor‐in‐
   344     Oil Company Agreement                                                                                                                  $0.00
                                       INCENTIVE PROGRAM AGREEMENT         AVENUE SHELL                      interest to Moore Petroleum
                                                                                                             Company, Inc.)
                                                                           ABDUL NASSER | VALUE MART 1 INC
  3031     Sublease                    COMMERCIAL LEASE                                                      MEX RE‐SE‐NC LLC                     $0.00
                                                                           | KHALID MOHAMMED WAIS
                                                                           ABDUL SHAKOOR | OMEGA
                                       FIRST AMENDMENT OF PETROLEUM
   296     Fuel Supply Agreement                                           BUILDERS LLC | MUDDESSAR          Mountain Express Oil Company         $0.00
                                       PRODUCTS SUPPLY AGREEMENT
                                                                           AHMAD | GAAS HOLDINGS LLC |
                                       PETROLEUM PRODUCTS SUPPLY           ABU T. AHMED | MARUF
   350     Fuel Supply Agreement                                                                             Mountain Express Oil Company         $0.00
                                       AGREEMENT                           INCORPORATED
  2084     Prime Lease (Single Site)   FORM OF MASTER LEASE AGREEMENT      AD 5211 LLC                       MEX RE‐SE‐AL LLC                     $0.00
  2085     Prime Lease (Single Site)   FORM OF MASTER LEASE AGREEMENT      AD 6401 LLC                       MEX RE‐NE‐IN LLC                     $0.00
  2083     Prime Lease (Single Site)   MASTER LEASE AGREEMENT              AD 8064 LLC                       MEX RE‐SE‐AL LLC                     $0.00
                                                                           ADAM DANIEL BASER | ANGELINA
   664     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                 Mountain Express Oil Company         $0.00
                                                                           BASER
                                       SUBLEASE OF RESTAURANT
                                       CONVENIENCE STORE AND FUEL
  3101     Sublease                                                        ADAMS QUICK STOP INC              Webster PII LLC                      $0.00
                                       FACILITY | RIGHT OF FIRST REFUSAL
                                       AGREEMENT
  3101     Sublease                    COMMERCIAL LEASE                    ADELPHI GAMING LLC                WHRG TC‐SW‐LA LLC                    $0.00
  3102     Sublease                    Lease Agreement                     ADELPHI GAMING LLC                MEX RE‐SW‐LA LLC                     $0.00
                                                                           A‐DIVINE SPIRITUAL HEALING &
   486     Sublease                    COMMERCIAL LEASE                                                 Mountain Express Oil Company              $0.00
                                                                           WELLNESS LLC | AMBER NORWOOD
                                                                           AFN ABSPROP001 LLC (AS
   555     Prime Lease (Single Site)   LEASE AGREEMENT                     SUCCESSOR‐IN‐INTEREST TO VAULT    MEX North Alabama, LLC               $0.00
                                                                           CS OWENS CROSS LLC)
                                                                           AHD INVESTMENT GROUP LLC (AS
  3050     Prime Lease (Single Site)   MASTER LEASE AGREEMENT              ASSIGNEE OF 4COURT HOLDINGS       Mountain Express Oil Company       $15,262.50
                                                                           LLC)
                                                                           AHMAD SAGHEER HASHMI | AM
                                                                           STAR INC | DANISH KHAN INC |
577 | 578 |
            Fuel Supply Agreement      MASTER AGREEMENT                    MUHAMMAD NAZISH | NKRS INC |      Mountain Express Oil Company         $0.00
 579 | 580
                                                                           D AND N BROS INC | MUHAMMAD
                                                                           DANISH KHAN
                                       FUEL CONSIGNMENT AND SALES                                             Mountain Express Oil Company
   607     Fuel Supply Agreement                                           AHMED ABDO SALEH MOHAMED                                               $0.00
                                       AGREEMENT                                                             (as assignee of Elon Oil Co LLC)

                                                                                                              Mountain Express Oil Company
   607     Sublease                    CONVENIENCE STORE LEASE             AHMED ABDO SALEH MOHAMED                                               $0.00
                                                                                                             (as assignee of Elon Oil Co LLC)
  3254 |
  3255 |
  3256 |
  3257 |
  3258 |
                                       UNCONDITIONAL GUARANTY OF
  3259 |   Guarantee                                                       AHMED ABDULLA BHADIGIA            MEX RE‐SE‐AL LLC                     $0.00
                                       PAYMENT AND PERFORMANCE
  3261 |
  3262 |
  3264 |
  3265 |
   3266

                                                                           9 of 98
                  Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 14 of 102
 Store
           Contract Type               Title                              Counterparty                        Debtor Entity                      Est. Cure
Number
                                       MOTOR FUEL SUPPLY AND
  564      Fuel Supply Agreement                                          AHMED ALI MUZAYAD                   Mountain Express Oil Company         $0.00
                                       COMMISSIONED SALES AGREEMENT
  564      Sublease                    COMMERCIAL LEASE                   AHMED ALI MUZAYAD                   Mountain Express Oil Company         $0.00
                                       PETROLEUM PRODUCTS SUPPLY
  130      Fuel Supply Agreement                                          AHMED JAWAD                         Mountain Express Oil Company         $0.00
                                       AGREEMENT
                                       FIRST AMENDMENT OF FUEL SUPPLY     AIG INVESTMENT 4 LLC | D&S
  485      Fuel Supply Agreement                                                                              Mountain Express Oil Company         $0.00
                                       AGREEMENT                          MONTPELIER AVE LLC
                                                                          AIG INVESTMENT 4 LLC | GOLAP K
  919      Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                  Mountain Express Oil Company         $0.00
                                                                          TALUKDAR | ASIF JUMMA
                                                                          AIG INVESTMENT 4 LLC | GOLAP K
  921      Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                  Mountain Express Oil Company         $0.00
                                                                          TALUKDAR | ASIF JUMMA
                                       NOTE OF EXERCISE OF OPTION UNDER
  487      Fuel Supply Agreement       MOTOR FUEL SUPPLY AND              AINEEL A VALIYANI                   Mountain Express Oil Company         $0.00
                                       COMMISSIONED SALES AGREEMENT
                                       MOTOR FUEL SUPPLY AND
  487      Fuel Supply Agreement                                          AINEEL A VALIYANI                   Mountain Express Oil Company         $0.00
                                       COMMISSIONED SALES AGREEMENT
                                       MOTOR FUEL SUPPLY AND              AINEEL A. VALIYANI | AMI 72 LLC |
  487      Fuel Supply Agreement                                                                              Mountain Express Oil Company         $0.00
                                       COMMISSIONED SALES AGREEMENT       MUHAMMAD QAISER RAZZAQ
                                                                                                              DT ‐ Mountain Express Oil
                                                                                                              Company (as successor‐in‐
  344      Fuel Supply Agreement       MOTOR FUEL SUPPLY CONTRACT         AIYA LLC DBA VALLEY SHELL                                                $0.00
                                                                                                              interest to Moore Petroleum
                                                                                                              Company, Inc.)
                                       PETROLEUM PRODUCTS SUPPLY        AJN EXPRESS INC | ANITABEN
  494      Fuel Supply Agreement                                                                              Mountain Express Oil Company         $0.00
                                       AGREEMENT                        DILIPKUMAR PATEL
                                       AMENDED AND RESTATED FUEL SUPPLY
   77      Fuel Supply Agreement                                        AK AUTO REPAIR | AMRON KHAN           Mountain Express Oil Company         $0.00
                                       AGREEMENT
                                                                        AK AUTO REPAIR LLC | AMRON
                                       FIRST AMENDMENT OF AMENDED AND
   77      Fuel Supply Agreement                                        KHAN | AMRITA RAMNAUTH LLC |          Mountain Express Oil Company         $0.00
                                       RESTATED FUEL SUPPLY AGREEMENT
                                                                        BALAMRITA DWARKA RAMNAUTH
                                                                        AKBAR JIWANI | VALERO DALLAS
                                       FIRST AMENDMENT OF COMMERCIAL
                                                                        GAS LLC | TEZOS TWO INC | JESSICA
231 | 600 Sublease                     LEASE, FUEL SUPPLY AGREEMENT AND                                       Mountain Express Oil Company         $0.00
                                                                        LAKISHA DHAWAN | MANDANI
                                       REBATE AGREEMENT
                                                                        HUSSAIN
                                       PETROLEUM PRODUCTS SUPPLY
  357      Fuel Supply Agreement                                        AL ALI INC                            Mountain Express Oil Company         $0.00
                                       AGREEMENT
                                                                        ALBERT AND MAGDALENA LAO,
                                                                        TRUSTEES (AS SUCCESSOR‐IN‐
  3678     Prime Lease (Single Site)   LEASE AGREEMENT                                                        Mountain Express Oil Company       $27,782.46
                                                                        INTEREST TO VAULT CS 490 CANEY
                                                                        LLC)
                                       MIDSTATE DISTRIBUTING, INC.                                             Mountain Express Oil Company
  673      Fuel Supply Agreement       PETROLEUM SUPPLY CONTRACT        ALI AND SAM                           (as assignee of Midstate             $0.00
                                       (BRANDED)                                                              Distributing Inc.)
  558      Fuel Supply Agreement       FUEL SUPPLY AGREEMENT              ALIS CORPORATION | SAIF OBAD        Mountain Express Oil Company         $0.00

  558      Sublease                    COMMERCIAL LEASE                   ALIS CORPORATION | SAIF OBAD        Mountain Express Oil Company         $0.00
                                       FIRST AMENDMENT OF COMMERCIAL
  558      Sublease                                                       ALIS CORPORATION | SAIF OBAD        Mountain Express Oil Company         $0.00
                                       LEASE
                                                                          ALLIANCE ENERGY LLC | GLOBAL        MEX RE‐NE‐NY‐LI LLC (as
  973      Prime Lease (Single Site)   CONVENIENCE STORE LEASE                                                                                     $0.00
                                                                          MONTELLO GROUP CORP.                assignee of VM Petro Inc.)
                                       MASTER EQUIPMENT LEASE
  553      Equipment Lease                                                ALLIANCE FUNDING GROUP              Mountain Express Oil Company         $0.00
                                       AGREEMENT
  555      Equipment Lease             LEASE SCHEDULE                     ALLIANCE FUNDING GROUP              Mountain Express Oil Company         $0.00

  241      Sublease                    COMMERCIAL LEASE                   ALLSOUTH ATHLETICS LLC              Mountain Express Oil Company         $0.00
                                       FIRST AMENDMENT OF COMMERCIAL
  3201     Sublease                                                       ALPHA TRUCKING SOLUTIONS LLC        MEX RE‐SE‐SC LLC                     $0.00
                                       LEASE
                                                                                                               MEX RE‐SE‐SC LLC (as successor‐
                                                                          ALPHA TRUCKING SOLUTIONS LLC |
  3201     Sublease                    COMMERCIAL LEASE                                                       in‐interest to West Hill Ranch       $0.00
                                                                          WESTAR TRAVEL PLAZA
                                                                                                              Group LLC)
156 | 157 Prime Lease (Multi‐Site)     LEASE AGREEMENT                    ALPINE INCOME PROPERTY OP LP        Mountain Express Oil Company         $0.00
                                       PETROLEUM PRODUCTS SUPPLY
  433      Fuel Supply Agreement                                          ALTAF DH AMANI | ADDYS LLC          Mountain Express Oil Company         $0.00
                                       AGREEMENT
                                       PETROLEUM PRODUCTS SUPPLY          AM STAR INC | AHMAD SAGHEER
  580      Fuel Supply Agreement                                                                              Mountain Express Oil Company         $0.00
                                       AGREEMENT                          HASHIMI
                                       FIRST AMENDMENT OF PETROLEUM       AM STAR INC | AHMED SAGHEER
  580      Fuel Supply Agreement                                                                              Mountain Express Oil Company         $0.00
                                       PRODUCTS SUPPLY AGREEMENT          HASHMI | H MART INC
                                       TEMPORARY SUPPLY AND LEASE
  116      Sublease + Fuel Supply                                         AMAL PETRO INC                      Mountain Express Oil Company         $0.00
                                       AGREEMENT
                                                                          AMANY CONVENIENCE LLC | ISLAM
   83      Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                  MEX Fuels NE‐NJ LLC                  $0.00
                                                                          HAGRAS


                                                                          10 of 98
                Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 15 of 102
 Store
         Contract Type               Title                              Counterparty                       Debtor Entity                  Est. Cure
Number
                                                                        AMANY CONVENIENCE LLC | ISLAM
  87     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                 MEX Fuels NE‐NJ LLC              $0.00
                                                                        HAGRAS
                                                                        AMANY CONVENIENCE LLC AND
  85     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                 MEX Fuels NE‐NJ LLC              $0.00
                                                                        ISLAM HAGRAS
                                                                        AMANY CONVENIENCE LLC ISLAM
 122     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                 MEX Fuels NE‐NJ LLC              $0.00
                                                                        HAGRAS
                                     FIRST AMENDMENT OF AMENDED AND
 968     Fuel Supply Agreement                                      AMERICAN 1 GAS INC                     MEX Fuels NE‐NY LLC              $0.00
                                     RESTATED FUEL SUPPLY AGREEMENT
                                     AMENDED AND RESTATED FUEL SUPPLY
 968     Fuel Supply Agreement                                          AMERICAN 1 GAS INC                 MEX Fuels NE‐NY LLC              $0.00
                                     AGREEMENT
                                     AMENDED AND RESTATED
 968     Sublease                                                       AMERICAN 1 GAS INC                 MEX RE‐NE‐NY‐LI LLC              $0.00
                                     COMMERCIAL LEASE
                                     FIRST AMENDMENT OF AMENDED AND
 968     Sublease                                                       AMERICAN 1 GAS INC                 MEX RE‐NE‐NY‐LI LLC              $0.00
                                     RESTATED COMMERCIAL LEASE
                                     PETROLEUM PRODUCTS SUPPLY          AMERICAN PETRO INVESTMENTS
 232     Fuel Supply Agreement                                                                             Mountain Express Oil Company     $0.00
                                     AGREEMENT                          LLC | DIDRAJ DUTTA
                                     AMENDMENT TO AND ASSIGNMENT OF
                                                                        AMERICAN PETRO INVESTMENTS
 232     Fuel Supply Agreement       PETROLEUM PRODUCTS SUPPLY                                             Mountain Express Oil Company     $0.00
                                                                        LLC|TOWER FOOD STOP
                                     AGREEMENT
  36     Fuel Supply Agreement       Acknowledgement Agreement          AMEYA ENTERPRISES INC              Mountain Express Oil Company     $0.00
                                     THIRD AMENDMENT OF MOTOR FUEL
                                                                        AMEYA ENTERPRISES INC AND
  36     Fuel Supply Agreement       SUPPLY AND COMMISSIONED SALES                                         Mountain Express Oil Company     $0.00
                                                                        SANJAY AHUJA
                                     AGREEMENT
  26     Rebate Agreement            REBATE AGREEMENT                   AMEYA LIBERTY INC                  Mountain Express Oil Company     $0.00
                                                                        AMEYA LIBERTY INC | SANJAY
  26     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                 Mountain Express Oil Company     $0.00
                                                                        MOHANLAL AHUJA
                                                                        AMEYA LIBERTY INC | SANJAY
  26     Sublease                    COMMERCIAL LEASE                                                      Mountain Express Oil Company     $0.00
                                                                        MOHANLAL AHUJA
                                     FIRST AMENDMENT TO MASTER LEASE
 933     Prime Lease (Single Site)                                      AMG OIL II LLC                     Mountain Express Oil Company     $0.00
                                     AGREEMENT
                                                                        AMG OIL II LLC (AS SUCCESSOR‐IN‐
 933     Prime Lease (Single Site)   MASTER LEASE AGREEMENT                                              Mountain Express Oil Company       $0.00
                                                                        INTEREST TO TIME AND WATER, LLC)

 3038    Prime Lease (Single Site)   MASTER LEASE AGREEMENT             AMG OIL III LLC                    Mountain Express Oil Company   $13,737.00
                                                                        AMG OIL IV LLC (AS ASSIGNEE OF
 611     Prime Lease (Single Site)   MASTER LEASE AGREEMENT                                                Mountain Express Oil Company     $0.00
                                                                        4COURT HOLDINGS LLC)
                                                                        AMG OIL V LLC (AS ASSIGNEE OF
 613     Prime Lease (Single Site)   MASTER LEASE AGREEMENT                                                Mountain Express Oil Company     $0.00
                                                                        4COURT HOLDINGS LLC)
                                                                        AMG OIL VI LLC (AS ASSIGNEE OF
 108     Prime Lease (Single Site)   MASTER LEASE AGREEMENT                                                Mountain Express Oil Company     $0.00
                                                                        4COURT HOLDINGS LLC)
                                                                        AMG OIL VI LLC (AS SUCCESSOR‐IN‐
 107     Prime Lease (Single Site)   MASTER LEASE AGREEMENT             INTEREST TO 4COURT HOLDINGS        Mountain Express Oil Company     $0.00
                                                                        LLC)
                                                                        AMG OIL VI LLC (AS SUCCESSOR‐IN‐
 154     Prime Lease (Single Site)   Master Lease Agreement             INTEREST TO 4COURT HOLDINGS        Mountain Express Oil Company     $0.00
                                                                        LLC)
                                                                        AMG OIL VI LLC (AS SUCCESSOR‐IN‐
 399     Prime Lease (Single Site)   MASTER LEASE AGREEMENT                                              Mountain Express Oil Company       $0.00
                                                                        INTEREST TO TIME AND WATER LLC)
                                                                        AMG OIL VIII LLC (AS ASSIGNEE OF
 612     Prime Lease (Single Site)   MASTER LEASE AGREEMENT                                                Mountain Express Oil Company     $0.00
                                                                        4COURT HOLDINGS LLC)
                                                                        AMG OIL VIII LLC (AS ASSIGNEE OF
 3037    Prime Lease (Single Site)   MASTER LEASE AGREEMENT                                                Mountain Express Oil Company   $18,315.00
                                                                        4COURT HOLDINGS LLC)
                                     MOTOR FUEL SUPPLY AND
 450     Fuel Supply Agreement                                          AMIN JAMANI                        Mountain Express Oil Company     $0.00
                                     COMMISSIONED SALES AGREEMENT
                                                                        AMIR JAVED | AARIYAN HOLDING
                                     FIRST AMENDMENT OF COMMERCIAL
  18     Sublease                                                       INTERNATIONAL LLC | ANILA SADAF    Mountain Express Oil Company     $0.00
                                     LEASE AND FUEL SUPPLY AGREEMENT
                                                                        AMIR JAVED |
                                                                                                           DT ‐ Mountain Express Oil
 665     Fuel Supply Agreement       SUPPLY AGREEMENT                   AMK OIL COMPANY INC                Company (as assignee of Mid‐     $0.00
                                                                                                           State Distributing, Inc.)
 707     Sublease                    COMMERCIAL LEASE                   AMOCO FOODMART INC                 Mountain Express Oil Company     $0.00
                                                                        AMOCO FOODMART INC | ABRAHIM
 707     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                           Mountain Express Oil Company           $0.00
                                                                        M ALSAIDI
                                                                        AMS MARKET LLC | SHEIKH
                                                                        MOHIUDDIN AHAMAD MD MOHI
 399     Sublease                    LEASE WITH OPTION TO PURCHASE                                   Mountain Express Oil Company           $0.00
                                                                        UDDIN SHANA ULLAHA AND
                                                                        MUHAMMED WAHEDUZZMAN



                                                                        11 of 98
                   Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 16 of 102
  Store
            Contract Type               Title                               Counterparty                     Debtor Entity                    Est. Cure
 Number
                                        FIRST AMENDMENT OF COMMERCIAL
                                                                           ANAA BUSINESS LLC | MOHAMMED
   234      Fuel Supply Agreement       LEASE, FUEL SUPPLY AGREEMENT AND                                     Mountain Express Oil Company      $0.00
                                                                           ADIL HOSSAIN | EVA RAHMAN
                                        REBATE AGREEMENT
                                                                        ANAW USA INC | AHMED ABDULLA
   3255     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                             Mountain Express Oil Company         $0.00
                                                                        BHADIGIA
                                                                        ANIL D POATIYA | NAWAZ SAYANI |
                                                                        FIRST LAREDO STORE INC | RAZMAN
                                        ASSIGNMENT OF PETROLEUM
   518      Fuel Supply Agreement                                       MOSANI | MOSANI INVESTMENTS       Mountain Express Oil Company         $0.00
                                        PRODUCTS SUPPLY AGREEMENT
                                                                        INC | NEW PASADENA
                                                                        INVESTMENTS INC
                                                                        ANIL D POPATIYA | RAMZAN
                                        FIRST AMENDMENT OF MOTOR FUEL
                                                                        MOSANI | MOSANI INVESTMENTS
   517      Fuel Supply Agreement       SUPPLY AND COMMISSIONED SALES                                     Mountain Express Oil Company         $0.00
                                                                        INC | NEW PASADENA
                                        AGREEMENT
                                                                        INVESTMENTS INC
                                                                        ANIL D POPATIYA | RAMZAN
                                                                        MOSANI | MOSANI INVESTMENTS
                                        ASSIGNMENT OF PETROLEUM
   517      Fuel Supply Agreement                                       INC | NEW PASADENA                Mountain Express Oil Company         $0.00
                                        PRODUCTS SUPPLY AGREEMENT
                                                                        INVESTMENTS INC | THIRD LAREDO
                                                                        STORE INC
                                                                        ANK REALTY | FAIR OAK REALTY INC
                                                                                                         MEX RE Holdings LLC (as assignee
            Purchase and Sale           FIRST AMENDMENT TO PURCHASE AND | ROBINSON AVE LLC | GILAN
                                                                                                         of Mountain Express Oil               $0.00
            Agreement                   SALE AGREEMENT                  NANUET INC | DUTCHESS
                                                                                                         Company)
                                                                        TERMINALS INC
                                                                        ANK REALTY | FAIR OAK REALTY INC
                                                                                                         MEX RE Holdings LLC (as assignee
            Purchase and Sale           SECOND AMENDMENT TO PURCHASE    | ROBINSON AVE LLC | GILAN
                                                                                                         of Mountain Express Oil               $0.00
            Agreement                   AND SALE AGREEMENT              NANUET INC | DUTCHESS
                                                                                                         Company)
                                                                        TERMINALS INC
                                                                        ANK REALTY | FAIR OAK REALTY INC
                                                                                                         MEX RE Holdings LLC (as assignee
            Purchase and Sale                                           | ROBINSON AVE LLC | GILAN
                                        PURCHASE AND SALE AGREEMENT                                      of Mountain Express Oil               $0.00
            Agreement                                                   NANUET INC | DUTCHESS
                                                                                                         Company)
                                                                        TERMINALS INC
                                                                                                          Mountain Express Oil Company
            Purchase and Sale
   569                                  PURCHASE AND SALE AGREEMENT     ANKR INC                         (as successor‐in‐interest to          $0.00
            Agreement
                                                                                                         Holmes Oil Co. Inc.)
                                        SECOND AMENDMENT OF PETROLEUM ANS786 INC | AKBER PIRANI |
   419      Fuel Supply Agreement                                                                            Mountain Express Oil Company      $0.00
                                        PRODUCTS SUPPLY AGREEMENT     ANJUM ENGINEER

   180      Sublease                    COMMERCIAL LEASE                   ANYTIME BAIL BONDING INC          Mountain Express Oil Company      $0.00

                                                                           APKT LLC | KETANKUMAR VINUBHAI
   597      Prime Lease (Single Site)   COMMERCIAL LEASE                                                  Mountain Express Oil Company         $0.00
                                                                           PATEL | AMITKUMAR PATEL

                                                                           APKT LLC | KETANKUMAR VINUBHAI
   597      Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                             Mountain Express Oil Company         $0.00
                                                                           PATEL | AMITKUMAR PATEL
                                                                           ARBUDA ENT INC | HASMUKHBHAI
   3012     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT              CHAUDHARY | PRAHLADBHAI           Mountain Express Oil Company      $0.00
                                                                           CHAUDHARI
                                                                           ARBUDA ENT INC | HASMUKHBHAI
   3012     Sublease                    COMMERCIAL LEASE                   CHAUDHARY | PRAHLADBHAI           MEX RE‐SE‐NC LLC                  $0.00
                                                                           CHAUDHARI
                                                                           ARG CKHARTX001 LLC (AS ASSIGNEE
   511      Prime Lease (Single Site)   LEASE AGREEMENT                                                    Texas MEX Limited Company, LLC      $0.00
                                                                           OF VAULT CS HARLINGEN LLC)

                                                                           ARG CKHARTX001 LLC (AS ASSIGNEE
   518      Prime Lease (Single Site)   LEASE AGREEMENT                                                    Texas MEX Limited Company, LLC      $0.00
                                                                           OF VAULT CS JAIME ZAPATA LLC)
                                                                           ARG CKLRDTX001 LLC (AS ASSIGNEE
   516      Prime Lease (Single Site)   LEASE AGREEMENT                                                      Texas MEX Limited Company, LLC    $0.00
                                                                           OF VAULT CS 1472 LLC)
                                                                           ARG CKLRDTX02 LLC (AS ASSIGNEE
   517      Prime Lease (Single Site)   LEASE AGREEMENT                                                      Texas MEX Limited Company, LLC    $0.00
                                                                           OF VAULT CS ARKANSAS LLC)

153 | 181 |
271 | 289 |
359 | 366 |
374 | 405 |
                                        THIRD AMENDMENT TO MASTER LEASE
413 | 415 | Prime Lease (Multi‐Site)                                    ARG ME19PCK001 LLC                   Mountain Express Oil Company      $0.00
                                        AGREEMENT
457 | 485 |
486 |497 |
498 | 528 |
 606 | 241




                                                                           12 of 98
                   Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 17 of 102
  Store
            Contract Type              Title                             Counterparty                     Debtor Entity                  Est. Cure
 Number

153 | 181 |
271 | 289 |
359 | 366 |
374 | 405 |
                                       SECOND AMENDMENT TO MASTER
413 | 415 | Prime Lease (Multi‐Site)                                     ARG ME19PCK001 LLC               Mountain Express Oil Company    $0.00
                                       LEASE AGREEMENT
457 | 485 |
486 |497 |
498 | 528 |
 606 | 241


153 | 181 |
271 | 289 |
359 | 366 |
374 | 405 |
                                       FIRST AMENDMENT TO MASTER LEASE
413 | 415 | Prime Lease (Multi‐Site)                                     ARG ME19PCK001, LLC              Mountain Express Oil Company    $0.00
                                       AGREEMENT
457 | 485 |
486 |497 |
498 | 528 |
   606

                                                                         ARH USA INC | AHMED ABDULLA
   3261     Fuel Supply Agreement      FUEL SUPPLY AGREEMENT                                              Mountain Express Oil Company    $0.00
                                                                         BHADIGIA
   231      Equipment Lease            EQUIPMENT FINANCE AGREEMENT       ASCENTIUM CAPTIAL LLC            Mountain Express Oil Company    $0.00
                                                                         ASH USA INC | AHMED ABDULLA
   3259     Fuel Supply Agreement      FUEL SUPPLY AGREEMENT                                              Mountain Express Oil Company    $0.00
                                                                         BHADIGIA
                                       PETROLEUM PRODUCTS SUPPLY
   137      Fuel Supply Agreement                                        ASHISH MERCHANT                  Mountain Express Oil Company    $0.00
                                       AGREEMENT
   3007     Sublease                   COMMERCIAL LEASE                  ASHOK TECH LLC | ASHISH PATEL    MEX RE‐SE‐NC LLC                $0.00
   3007     Fuel Supply Agreement      FUEL SUPPLY AGREEMENT             ASHOK TECH LLC AND ASHISH PATEL Mountain Express Oil Company     $0.00
                                                                         ASIF JUMMA | FREEWAY STORES AR
   919      Sublease                   COMMERCIAL SUBLEASE               LLC | AIG INVESTMENT 4 LLC |   Mountain Express Oil Company      $0.00
                                                                         GOLAP K TALUKDAR
                                                                       ASIF VALANI | HYDER K LALANI |
                                       SECOND AMENDMENT OF FUEL SUPPLY MOHSIN VARANI | KARMA ALLIANCE
   919      Fuel Supply Agreement                                                                     Mountain Express Oil Company        $0.00
                                       AGREEMENT                       LLC | AIG INVESTMENT 4 LLC |
                                                                       GOLAP K TALUKDAY | ASIF JUMMA

                                                                         ASIF VALANI | HYDER K LALANI |
                                       FIRST AMENDMENT OF COMMERCIAL     MOHSIN VARANI | KARMA ALLIANCE
   919      Sublease                                                                                    Mountain Express Oil Company      $0.00
                                       SUBLEASE                          LLC | AIG INVESTMENT 4 LLC |
                                                                         GOLAP K TALUKDAY | ASIF JUMMA
                                                                         ASIF VALANI | MOHSIN VIRANI |
                                       FIRST AMENDMENT TO PETROLEUM
   685      Fuel Supply Agreement                                        NADIRSHAH RATTANI | MANSOOR      Mountain Express Oil Company    $0.00
                                       PRODUCTS SUPPLY AGREEMENT
                                                                         LAKHANI |
                                                                         ASIM MERCHANT | CHERRY STONE
   391      Fuel Supply Agreement      ACKNOWLEDGEMENT LETTER                                             Mountain Express Oil Company    $0.00
                                                                         LLC
                                                                         ASKOY LLC | SEHNAZ AKSOY | ERKUT
   403      Fuel Supply Agreement      FUEL SUPPLY AGREEMENT                                              Mountain Express Oil Company    $0.00
                                                                         AKSOY
                                                                         ASKOY LLC | SEHNAZ AKSOY | ERKUT
   403      Sublease                   COMMERCIAL LEASE                                                   Mountain Express Oil Company    $0.00
                                                                         AKSOY
                                                                         ASKOY LLC | SEHNAZ AKSOY | ERKUT
   403      Equipment Lease            EQUIPMENT LEASE AGREEMENT                                          Mountain Express Oil Company   $4,020.39
                                                                         AKSOY
                                       FIRST AMENDMENT OF FUEL SUPPLY    ASKOY LLC | SEHNAZ AKSOY | ERKUT
   403      Fuel Supply Agreement                                                                         Mountain Express Oil Company    $0.00
                                       AGREEMENT                         AKSOY
                                                                         ASW USA INC | AHMED ABDULLA
   3254     Fuel Supply Agreement      FUEL SUPPLY AGREEMENT                                              Mountain Express Oil Company    $0.00
                                                                         BHADIGIA
  3254 |
  3255 |
  3256 |
                                                                         ASW USA INCE | ANAW USA INCE |
  3257 |
                                                                         WWC USA INC | WBP USA INC | PIW
  3258 |
                                       FIRST AMENDMENT OF FUEL SUPPLY    USA INC | ASH USA INC | ARH USA
  3259 |    Fuel Supply Agreement                                                                         Mountain Express Oil Company    $0.00
                                       AGREEMENT                         INC | WSB USA INC | RRAN USA INC
  3261 |
                                                                         | NAAW USA INC |RRB USA INC |
  3262 |
                                                                         AHMED ABDULLA BHADIGIA
  3264 |
  3265 |
   3266
                                       SECOND AMENDMENT COMMERCIAL
    241     Sublease                                                     ATL KEYS LLC | ARAD STEINER      Mountain Express Oil Company    $0.00
                                       LEASE
                                                                         13 of 98
                Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 18 of 102
 Store
         Contract Type            Title                             Counterparty                     Debtor Entity                  Est. Cure
Number
                                                                    ATL KEYS LLC | LIRAN EREZ
 241     Sublease                 COMMERCIAL LEASE                                                   Mountain Express Oil Company    $0.00
                                                                    KEDOSHAY
                                  FIRST AMENDMENT COMMERCIAL        ATL KEYS LLC | LIRAN EREZ
 241     Sublease                                                                                    Mountain Express Oil Company    $0.00
                                  LEASE                             KEDOSHAY | ARAD STEINER
 3227    Fuel Supply Agreement    FUEL SUPPLY AGREEMENT             ATWAIN 2 INC | MOHAMED ISMAIL    MEX Fuels SW‐LA LLC             $0.00

 3227    Sublease                 COMMERCIAL LEASE                  ATWAIN 2 INC | MOHAMED ISMAIL    MEX RE‐SW‐LA LLC                $0.00

 3103    Sublease                 COMMERCIAL LEASE                  ATWAIN 3 INC | MOHAMED ISMAIL    MEX RE‐SW‐LA LLC                $0.00

 3103    Fuel Supply Agreement    FUEL SUPPLY AGREEMENT             ATWAIN 3 INC | MOHAMED ISMAIL    MEX Fuels SW‐LA LLC             $0.00
                                  ASSIGNMENT AND ASSUMPTION OF
 637     Sublease                                                   AUBURN VENTURES LLC              Mountain Express Oil Company    $0.00
                                  LEASES
                                                                  AUSTELL CONVENIENCE MART LLC |
 689     Fuel Supply Agreement    FUEL SUPPLY AGREEMENT                                          Mountain Express Oil Company        $0.00
                                                                  BHAVESH SHAH
                                  FIRST AMENDMENT OF FUEL SUPPLY  AUSTELL CONVENIENCE MART LLC |
 689     Fuel Supply Agreement                                                                   Mountain Express Oil Company        $0.00
                                  AGREEMENT                       BHAVESH SHAH
                                  SECOND AMENDMENT OF FUEL SUPPLY AUSTELL CONVENIENCE MART LLC |
 689     Fuel Supply Agreement                                                                   Mountain Express Oil Company        $0.00
                                  AGREEMENT                       BHAVESH SHAH
                                                                    AUSTELL KWIK MART LLC | AVANI
                                  FIRST AMENDMENT OF FUEL SUPPLY
 642     Fuel Supply Agreement                                      USA CORPORATION | BHAVESH        Mountain Express Oil Company    $0.00
                                  AGREEMENT
                                                                    SHAH | KARTIKKUMAR CHAUDHARI

                                                                    AUSTELL KWIK MART LLC | AVANI
 642     Fuel Supply Agreement    FUEL SUPPLY AGREEMENT             USA CORPORATION| BHAVESH SHAH Mountain Express Oil Company       $0.00
                                                                    | KARTIKKUMAR CHAUDHARI

 412     Fuel Supply Agreement    ACKNOWLEDGEMENT LETTER            AZ & PZ, INC | MOHAMMED P. MIAH Mountain Express Oil Company     $0.00
                                                                    AZIM MD ANOWARUL |
                                                                    CHOWDHURY INVESTMENT INC |
 618     Fuel Supply Agreement    Unconditional Personal Guaranty                                    Mountain Express Oil Company    $0.00
                                                                    BENGALI BROTHERS INC | NARUS S
                                                                    SIDDIQUE
                                  MOTOR FUEL SUPPLY AND             AZIZ ALI | SMART BUSINESS
 366     Fuel Supply Agreement                                                                       Mountain Express Oil Company    $0.00
                                  COMMISSIONED SALES AGREEMENT      VENTURES INC
                                  PETROLEUM PRODUCTS SUPPLY
 479     Fuel Supply Agreement                                      B & AN INC | AHMED A BHADIGIA    Mountain Express Oil Company    $0.00
                                  AGREEMENT
                                  FIRST AMENDMENT OF PETROLEUM
 479     Fuel Supply Agreement                                      B & AN INC | AHMED A. BHADIGIA   Mountain Express Oil Company    $0.00
                                  PRODUCTS SUPPLY AGREEMENT
                                                                    B&A QUICK LUBE AND AUTO REPAIR
 121     Sublease                 COMMERCIAL LEASE                                                 Mountain Express Oil Company      $0.00
                                                                    LLC | CAROL WAESCHLE
 498     Fuel Supply Agreement    FUEL SUPPLY AGREEMENT             BAFNA LLC | VIRAG SHAH           Mountain Express Oil Company    $0.00
                                                                 BAFNA LLC | VIRAG SHAH | SCENIC
                                  FIRST AMENDMENT OF FUEL SUPPLY
 498     Fuel Supply Agreement                                   QUICK STOP LLC | HARSHIT NIRMAL Mountain Express Oil Company        $0.00
                                  AGREEMENT
                                                                 PURI
                                                                 BAFNA LLC | VIRAG SHAH | SCENIC
                                  SECOND AMENDMENT OF COMMERCIAL
 498     Sublease                                                QUICK STOP LLC | HARSHIT NIRMAL Mountain Express Oil Company        $0.00
                                  REAL ESTATE LEASE CONTRACT
                                                                 PURI
                                                                 BAJRANG ENTERPRISES LLC |
 3125    Sublease                 COMMERCIAL LEASE                                               MEX RE‐SW‐OK LLC                    $0.00
                                                                 APPITKUMAR PATEL
                                                                 BAJRANG ENTERPRISES LLC |
 3125    Fuel Supply Agreement    FUEL SUPPLY AGREEMENT                                          MEX Fuels SW‐OK LLC                 $0.00
                                                                 APPITKUMAR PATEL
                                                                 BAKER MAYOOF | DEAN BAKER LLC |
                                  FIRST AMENDMENT OF FUEL SUPPLY
  24     Fuel Supply Agreement                                   OHIO FOOD AND FUEL LLC |        Mountain Express Oil Company        $0.00
                                  AGREEMENT
                                                                 LINGAMANENI VAMSI KRISHNA |
                                  MODIFICATION OF PETROLEUM
  4      Fuel Supply Agreement                                      BANO ENTERPRISES INC             Mountain Express Oil Company    $0.00
                                  PRODUCTS SUPPLY AGREEMENT (PRICE)
                                  MODIFICATION OF COMMERCIAL LEASE
                                  LEASE AND PETROLEUM PRODUCTS
  4      Sublease + Fuel Supply                                    BANO ENTERPRISES INC              Mountain Express Oil Company    $0.00
                                  SUPPLY AGREEMENT (EXTENSION OF
                                  TERM)
                                  PETROLEUM PRODUCTS SUPPLY
  4      Fuel Supply Agreement                                     BANO ENTERPRISES INC              Mountain Express Oil Company    $0.00
                                  AGREEMENT
  4      Sublease                 COMMERCIAL LEASE                  BANO ENTERPRISES INC             Mountain Express Oil Company    $0.00
         Purchase and Sale                                          BANO ENTERPRISES INC | BANK
9 | 35                            PURCHASE AND SALE AGREEMENT                                      MEX RE Holdings LLC               $0.00
         Agreement                                                  PROPERTIES INC
                                  PETROLEUM PRODUCTS SUPPLY         BANO ENTERPRISES INC | MEHBOOB
  28     Fuel Supply Agreement                                                                     Mountain Express Oil Company      $0.00
                                  AGREEMENT                         ALI HUSAIN
                                  FIRST AMENDMENT OF COMMERCIAL     BANO ENTERPRISES INC | MY
  4      Fuel Supply Agreement    LEASE AND PETROLEUM PRODUCTS      MOTHER INC | SALIM JAFFER      Mountain Express Oil Company      $0.00
                                  SUPPLY AGREEMENT                  HAKANI
                                                                    14 of 98
                  Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 19 of 102
  Store
            Contract Type              Title                                 Counterparty                     Debtor Entity                      Est. Cure
 Number
                                       AMENDED AND RESTATED FUEL SUPPLY BD S AND P INC | TALUKDER
   104     Fuel Supply Agreement                                                                              Mountain Express Oil Company         $0.00
                                       AGREEMENT                        MDZAKIR
   104     Sublease                    COMMERCIAL LEASE                     BD S&P INC | TALUKDER MDZAKIR     Mountain Express Oil Company         $0.00

                                       Assignment and Assumption of Jobber BECK SUPPLIERS INC. | BP
    30     Oil Company Agreement                                                                              Mountain Express Oil Company         $0.00
                                       Outlet Incentive Program (JOIP) Contract PRODUCTS NORTH AMERICA INC.
                                                                            BENGALI BROTHERS INC | NARUS S
   618     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                  Mountain Express Oil Company         $0.00
                                                                            SIDDIQUE
                                       MOTOR FUEL SUPPLY AND
   446     Fuel Supply Agreement                                            BESPIN GROUP LLC                  Mountain Express Oil Company         $0.00
                                       COMMISSIONED SALES AGREEMENT
                                       FIRST AMENDMENT OF MOTOR FUEL
                                                                            BESPIN GROUP LLC | SR UNITED USA
   446     Fuel Supply Agreement       SUPPLY AND COMMISSIONED SALES                                         Mountain Express Oil Company          $0.00
                                                                            INC | RIYAZ BADRUDDIN KHETANI
                                       AGREEMENT
           Vendor Agreement            License Agreement                    BFM ENTERPRISES, LLC              Mountain Express Oil Company        $779.40
                                       THIRD AMENDMENT OF COMMERCIAL        BHAVESH D PATEL | SHIVAY 22 INC |
   785     Fuel Supply Agreement       LEASE AND MOTOR FUEL SUPPLY AND      HUM INC | RIDDHI PATEL | TEJAS    Mountain Express Oil Company         $0.00
                                       COMMISSIONED SALES AGREEMENT         BABALBHAI PATEL
                                                                            BHAVESH N SHAH | HOLLY KWIK
   153     Rebate Agreement            REBATE AGREEMENT                                                       Mountain Express Oil Company         $0.00
                                                                            MART INC | TANISHA DAMANI |
                                                                     BILAL ASIF MALIK | R AND L JASPER
                                       SECOND AMENDMENT OF PETROLEUM FOOD MART INC | JEUNG SOOK
   433     Fuel Supply Agreement                                                                              Mountain Express Oil Company         $0.00
                                       PRODUCTS SUPPLY AGREEMENT     CHONG | ALTAF DHAMANI | ADDYS
                                                                     LLC | JASPER FOOD MART LLC |

   695     Sublease                    COMMERCIAL LEASE                     BIREN PATEL                       Mountain Express Oil Company         $0.00
                                       FIRST AMENDMENT OF COMMERCIAL
   695     Sublease                                                         BIREN PATEL                       Mountain Express Oil Company         $0.00
                                       LEASE
   696     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                BIREN PATEL                       Mountain Express Oil Company         $0.00
                                       FIRST AMENDMENT OF FUEL SUPPLY
   695     Fuel Supply Agreement                                       BIREN PATEL | BRVICTORY 1 LLC          Mountain Express Oil Company         $0.00
                                       AGREEMENT
                                       SECOND AMENDMENT OF FUEL SUPPLY
   696     Fuel Supply Agreement                                       BIREN PATEL | BRVICTORY 1 LLC          Mountain Express Oil Company         $0.00
                                       AGREEMENT
                                       FIRST AMENDMENT OF FUEL SUPPLY
   696     Fuel Supply Agreement                                       BIREN PATEL | BRVICTORY 2 LLC          Mountain Express Oil Company         $0.00
                                       AGREEMENT
                                       SECOND AMENDMENT TO MOTOR FUEL
                                                                       BISHAN RAI FKA SANTA RAI | AYANA
   242     Fuel Supply Agreement       SUPPLY AND COMMISSIONED SALES                                          Mountain Express Oil Company         $0.00
                                                                       PRIME LLC | TADELE MERGA AYANA
                                       AGREEMENT
                                                                       BISHOP AND SMITH ENTERPRISES
   555     Sublease                    COMMERCIAL LEASE                LLC DBA MAILPRO | HAZEL W              MEX RE‐SE‐AL LLC                     $0.00
                                                                       BISHOP | ANGELINE SMITH
                                                                       BLUE DIAMOND POOLS LLC | ADAM
   555     Sublease                    COMMERCIAL LEASE                                                       Mountain Express Oil Company         $0.00
                                                                       REMER
311 | 312 |
313 | 315 |                            TRANSITION AND TERMINATION
            Fuel Supply Agreement                                           BMG RETAILS LLC | BIJAYA KARKI    WHRGOPS SW‐AR‐NWAR LLC               $0.00
316 | 317 |                            AGREEMENT
   320

                                                                            BOARD OF TRUSTEES OF THE           Mountain Express Oil Company
   546     Sublease                    LEASE AGREEMENT                                                                                             $0.00
                                                                            JACKSON PUBLIC SCHOOL DISTRICT    (as assignee of Balabir Singh)
                                                                                                              DT ‐ Mountain Express Oil
                                   RE: LAND AND BUILDING LEASE                                                Company (as successor‐in‐
  3016     QSR/Franchise Agreement                                          BOJANGLES RESTAURANTS INC                                              $0.00
                                   AGREEMENT                                                                  interest to Nassar and Simonetti
                                                                                                              Investment LLC)
                                                                                                              DT ‐ Mountain Express Oil
                                                                                                              Company (as successor‐in‐
  3016     Sublease                    LAND AND BUILDING LEASE AGREEMENT BOJANGLES RESTAURANTS INC                                                 $0.00
                                                                                                              interest to Nassar and Simonetti
                                                                                                              Investment LLC)
                                                                            BOSSIER REALTY, LLC (AS SUCCESSOR‐
  3931     Prime Lease (Single Site)   MASTER LEASE AGREEMENT               IN‐INTEREST TO TAYLOR              Mountain Express Oil Company      $61,284.48
                                                                            MERCANTILE, LLC)
                                       JOBBER OUTLET INCENTIVE PROGRAM
   109     Oil Company Agreement                                            BP PRODUCTS NORTH AMERICA INC Mountain Express Oil Company             $0.00
                                       CONTRACT FOR NEW SITES
                                       JOBBER OUTLET INVENTIVE PROGRAM
   324     Oil Company Agreement                                            BP PRODUCTS NORTH AMERICA INC Mountain Express Oil Company             $0.00
                                       CONTRACT FOR NEW SITES
                                       JOBBER OUTLET INVENTIVE PROGRAM
   344     Oil Company Agreement                                            BP PRODUCTS NORTH AMERICA INC Mountain Express Oil Company             $0.00
                                       CONTRACT FOR NEW SITES
                                       JOBBER OUTLET INCENTIVE PROGRAM
   368     Oil Company Agreement                                            BP PRODUCTS NORTH AMERICA INC Mountain Express Oil Company             $0.00
                                       CONTRACT FOR NEW SITES
                                       JOBBER OUTLET INCENTIVE PROGRAM
  1004     Oil Company Agreement                                            BP PRODUCTS NORTH AMERICA INC Mountain Express Oil Company             $0.00
                                       CONTRACT FOR NEW SITES
                                                                            15 of 98
                  Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 20 of 102
  Store
            Contract Type            Title                                 Counterparty                        Debtor Entity                  Est. Cure
 Number
                                     JOBBER OUTLET INCENTIVE PROGRAM
   1285    Oil Company Agreement                                          BP PRODUCTS NORTH AMERICA INC Mountain Express Oil Company           $0.00
                                     CONTRACT FOR NEW SITES
                                     JOBBER OUTLET INCENTIVE PROGRAM
   1987    Oil Company Agreement                                          BP PRODUCTS NORTH AMERICA INC Mountain Express Oil Company           $0.00
                                     CONTRACT FOR NEW SITES
                                     JOBBER OUTLET INVENTIVE PROGRAM
   1989    Oil Company Agreement                                          BP PRODUCTS NORTH AMERICA INC Mountain Express Oil Company           $0.00
                                     CONTRACT FOR NEW SITES
                                     JOBBER OUTLET INVENTIVE PROGRAM
   1990    Oil Company Agreement                                          BP PRODUCTS NORTH AMERICA INC Mountain Express Oil Company           $0.00
                                     CONTRACT FOR NEW SITES

 121 | 82 |
85 | 79 | 86
 | 83 | 84 |
3016 | 123
  | 3035 |
1981 | 125
| 120 | 53 |
             Oil Company Agreement   BRANDED JOBBER CONTRACT              BP PRODUCTS NORTH AMERICA INC Mountain Express Oil Company           $0.00
   3036 |
3034 | 103
| 122 | 87 |
 129 | 78 |
77 | 1484 |
 128 | 81 |
  124 | 80

                                     Jobber Outlet Incentive Program (JOIP) ‐
   110     Oil Company Agreement     Contract for New Sites, Contract         BP PRODUCTS NORTH AMERICA INC.   Mountain Express Oil Company    $0.00
                                     Number: 40431663
                                     Jobber Outlet Incentive Program (JOIP) ‐
   114     Oil Company Agreement     Contract for New Sites, Contract         BP PRODUCTS NORTH AMERICA INC.   Mountain Express Oil Company    $0.00
                                     Number: 40444662
                                     Jobber Outlet Incentive Program (JOIP) ‐
   115     Oil Company Agreement     Contract for New Sites, Contract Number BP PRODUCTS NORTH AMERICA INC.    Mountain Express Oil Company    $0.00
                                     40430671
                                     Jobber Outlet Incentive Program (JOIP) ‐
   163     Oil Company Agreement     Contract for New Sites; Contract         BP PRODUCTS NORTH AMERICA INC.   Mountain Express Oil Company    $0.00
                                     Number 40430567
                                     Jobber Outlet Incentive Program (JOIP) ‐
   164     Oil Company Agreement     Contract for New Sites, Contract Number BP PRODUCTS NORTH AMERICA INC.    Mountain Express Oil Company    $0.00
                                     40445760
                                     Jobber Outlet Incentive Program (JOIP) ‐
   174     Oil Company Agreement     Contract for New Sites, Contract         BP PRODUCTS NORTH AMERICA INC.   Mountain Express Oil Company    $0.00
                                     Number: 40434564
                                     Jobber Outlet Incentive Program (JOIP) ‐
   395     Oil Company Agreement     Contract for New Sites, Contract Number BP PRODUCTS NORTH AMERICA INC.    Mountain Express Oil Company    $0.00
                                     40437064
                                     Jobber Outlet Incentive Program (JOIP) ‐
   734     Oil Company Agreement     Contract for New Sites, Contract         BP PRODUCTS NORTH AMERICA INC.   Mountain Express Oil Company    $0.00
                                     Number: 40428375
                                     Jobber Outlet Incentive Program (JOIP) ‐
   735     Oil Company Agreement     Contract for New Sites, Contract Number BP PRODUCTS NORTH AMERICA INC.    Mountain Express Oil Company    $0.00
                                     40430066
                                     Jobber Outlet Incentive Program (JOIP) ‐
   1986    Oil Company Agreement     Contract for New Sites, Contract         BP PRODUCTS NORTH AMERICA INC.   Mountain Express Oil Company    $0.00
                                     Number: 40413891
                                     Jobber Outlet Incentive Program (JOIP) ‐
   3016    Oil Company Agreement     Contract for New Sites, Contract         BP PRODUCTS NORTH AMERICA INC.   Mountain Express Oil Company    $0.00
                                     Number: 40405648
                                     Jobber Outlet Incentive Program (JOIP) ‐
   3035    Oil Company Agreement     Contract for New Sites, Contract         BP PRODUCTS NORTH AMERICA INC.   Mountain Express Oil Company    $0.00
                                     Number: 40406838
                                     Jobber Outlet Incentive Program (JOIP) ‐
 51 | 3034 Oil Company Agreement     Contract for New Sites, Contract         BP PRODUCTS NORTH AMERICA INC.   Mountain Express Oil Company    $0.00
                                     Number: 40414060
                                     Jobber Outlet Incentive Program (JOIP) ‐
 53 | 3036 Oil Company Agreement     Contract for New Sites, Contract         BP PRODUCTS NORTH AMERICA INC.   Mountain Express Oil Company    $0.00
                                     Number: 40404892
                                     Jobber Outlet Incentive Program (JOIP) ‐
           Oil Company Agreement     Contract for New Sites, Contract Number BP PRODUCTS NORTH AMERICA INC.    Mountain Express Oil Company    $0.00
                                     40406656
                                     Jobber Outlet Incentive Program (JOIP) ‐
           Oil Company Agreement     Contract for New Sites, Contract         BP PRODUCTS NORTH AMERICA INC.   Mountain Express Oil Company    $0.00
                                     Number: 40396843



                                                                          16 of 98
                Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 21 of 102
 Store
         Contract Type               Title                                    Counterparty                     Debtor Entity                  Est. Cure
Number
                                     Jobber Outlet Incentive Program (JOIP) ‐
         Oil Company Agreement       Contract for New Sites, Contract Number BP PRODUCTS NORTH AMERICA INC.    Mountain Express Oil Company    $0.00
                                     40413172
                                     Jobber Outlet Incentive Program (JOIP) ‐
         Oil Company Agreement       Contract for New Sites, Contract         BP PRODUCTS NORTH AMERICA INC.   Mountain Express Oil Company    $0.00
                                     Number: 40400132
                                     Jobber Outlet Incentive Program (JOIP) ‐
         Oil Company Agreement       Contract for New Sites, Contract         BP PRODUCTS NORTH AMERICA INC.   Mountain Express Oil Company    $0.00
                                     Number: 40408433
                                     Jobber Outlet Incentive Program (JOIP) ‐
         Oil Company Agreement       Contract for New Sites, Contract         BP PRODUCTS NORTH AMERICA INC.   Mountain Express Oil Company    $0.00
                                     Number: 40398490
                                     Jobber Outlet Incentive Program (JOIP) ‐
         Oil Company Agreement       Contract for New Sites, Contract Number BP PRODUCTS NORTH AMERICA INC.    Mountain Express Oil Company    $0.00
                                     40410481
                                                                                                             Mountain Express Oil Company
                                     Jobber Outlet Incentive Program (JOIP)
         Oil Company Agreement                                                BP PRODUCTS NORTH AMERICA INC. (as assignee of Beck Suppliers    $0.00
                                     Contract (Northwood, OH)
                                                                                                             Inc.)
 642     Fuel Supply Agreement       ACKNOWLEDGEMENT LETTER                   BRAVESH SHAH                     Mountain Express Oil Company    $0.00
 2087    Prime Lease (Single Site)   MASTER LEASE AGREEMENT                   BREW BOYDEN LLC                  MEX RE‐NW‐IA LLC                $0.00
2087 |
                                     TEMPORARY SUPPLY AND LEASE
2088 |   Sublease + Fuel Supply                                               BREW BOYDEN LLC                  MEX RE‐NW‐IA LLC                $0.00
                                     AGREEMENT
 2089
 2088    Prime Lease (Single Site)   MASTER LEASE AGREEMENT                   BREW KS LLC                      MEX RE‐NW‐IA LLC                $0.00
 2089    Prime Lease (Single Site)   MASTER LEASE AGREEMENT                   BREW KS LLC                      MEX RE‐NW‐IA LLC                $0.00
3281 |
3282 |
3283 |
3284 |
3285 |
3286 |
3287 |
3288 |   Sublease                    COMMERCIAL LEASE                         BREW MEX LLC | INDERJIT SINGH    MEX RE‐NW‐IA LLC                $0.00
3289 |
3290 |
3291 |
3292 |
3293 |
3294 |
 3295|
3281
3282 |
3283 |
3284 |
3285 |
3287 |
3289 |   Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                    BREW MEX LLC | INDERJIT SINGH    MEX Fuels NW‐IA LLC             $0.00
3290 |
3291 |
3292 |
3293 |
3294 |
 3295|
3294
3283 |
3293 |
3292 |
3286 |
3291 |
3287 |
                                     FIRST AMENDMENT OF COMMERCIAL
3288 |   Sublease                                                             BREW MEX LLC | INDERJIT SINGH    MEX RE‐NW‐IA LLC                $0.00
                                     LEASE
3282 |
3285 |
3295 |
3289 |
3281 |
3290 |
 3284
3296 |
3297 |
                                     TEMPORARY SUPPLY AND LEASE
3298 |   Sublease + Fuel Supply                                               BREW OIL LLC                     MEX RE‐NW‐IA LLC                $0.00
                                     AGREEMENT
3299 |
 3301

                                                                              17 of 98
                Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 22 of 102
 Store
         Contract Type               Title                              Counterparty                      Debtor Entity                         Est. Cure
Number
                                     PETROLEUM PRODUCTS SUPPLY
 393     Fuel Supply Agreement                                          BRIJESH PATEL                     Mountain Express Oil Company           $0.00
                                     AGREEMENT
                                     ASSIGNMENT AND ASSUMPTION OF       BRIJESHBHAI A. PATEL | MANISH N
 393     Fuel Supply Agreement       PETROLEUM PRODUCTS SUPPLY          PATEL AND PRAKASHCHANDRA          Mountain Express Oil Company           $0.00
                                     AGREEMENT                          PATEL | OM 2016 LLC
                                                                                                           Mountain Express Oil Company
 1948    Equipment Lease             EQUIPMENT LEASE AGREEMENT          BRITTAIN GAS LLC                  (as successor‐in‐interest to Prime   $4,351.19
                                                                                                          1200 Brittain LLC)

                                                                                                           Mountain Express Oil Company
 1948    Sublease                    LEASE                              BRITTAIN GAS LLC                  (as successor‐in‐interest to Prime     $0.00
                                                                                                          1200 Brittain LLC)

                                                                                                           Mountain Express Oil Company
                                     LEASE AMENDMENT AND EQUIPMENT
 1948    Prime Lease (Single Site)                                      BRITTAIN GAS LLC                  (as successor‐in‐interest to Prime   $3,237.37
                                     LEASE AMENDMENT
                                                                                                          1200 Brittain LLC)
                                                                        BROADWAY EXPRESS LLC | ARAFAT
 1947    Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                Mountain Express Oil Company           $0.00
                                                                        ABDO | MUSLEH ALHYANI
                                                                        BROADWAY EXPRESS LLC | ARAFAT
 1947    Sublease                    COMMERCIAL LEASE                                                     Mountain Express Oil Company           $0.00
                                                                        ABDO MUSLEH ALHYANI
                                                                        BROADWAY EXPRESS LLC | ARAFAT
 1947    Rebate Agreement            REBATE AGREEMENT                                                     Mountain Express Oil Company           $0.00
                                                                        ABDO MUSLEH ALHYANI
                                     FIRST AMENDMENT OF REBATE          BROADWAY EXPRESS LLC | ARAFAT
 1947    Rebate Agreement                                                                                 Mountain Express Oil Company           $0.00
                                     AGREEMENT                          ABDO MUSLEH ALHYANI
                                     SECOND AMENDMENT OF REBATE         BROADWAY EXPRESS LLC | ARAFAT
 1947    Rebate Agreement                                                                                 Mountain Express Oil Company           $0.00
                                     AGREEMENT                          ABDO MUSLEH ALHYANI
                                                                        BRODERSEN PROPERTIES TRUCK
 3060    Prime Lease (Single Site)   LEASE AGREEMENT                                                      Mountain Express Oil Company           $0.00
                                                                        STOP, BIRMINGHAM AL, LLC,
                                                                                                           MEX RE‐SW‐LA LLC (as successor‐
                                     SECOND AMENDMENT AND EXTENSION
 3094    Prime Lease (Single Site)                                  BROTHERS AVONDALE LLC                 in‐interest to Avondale Brothers       $0.00
                                     OF LEASE AGREEMENT
                                                                                                          No 128 LLC)
                                     SECOND AMENDMENT AND EXTENSION                                       MEX RE‐SW‐LA LLC (as assignee
 3093    Prime Lease (Single Site)                                  BROTHERS LAPALCO LLC                                                         $0.00
                                     OF LEASE AGREEMENT                                                   of Lapalco Brothers No 125, LLC)
                                     CONTRACT FOR SALE OF EXXON‐
 3120    Fuel Supply Agreement                                          BROWN DERBY SUPERSTORE, INC.      Brothers Petroleum, L.L.C.             $0.00
                                     BRANDED MOTOR FUEL
                                     FIRST AMENDMENT OF COMMERCIAL
 696     Sublease                                                       BRVICTORY 2 LLC | BIREN PATEL     Mountain Express Oil Company           $0.00
                                     LEASE
 696     Sublease                    COMMERCIAL LEASE                   BRVICTORY 2 LLC | BIREN PATEL     Mountain Express Oil Company           $0.00

                                     AMENDMENT TO COMMERCIAL REAL       BUFORD DAM VENTURES LLC |
 528     Sublease                                                                                       Mountain Express Oil Company             $0.00
                                     ESTATE LEASE AGREEMENT             KATAN PATEL AND CHHIRAU R PATEL

  84     Sublease                    COMMERCIAL LEASE                   BURNS KULL INC                    Mountain Express Oil Company           $0.00
                                     THIRD AMENDMENT OF COMMERCIAL
                                                                        BUSY CORNER 885 LLC | AMENA
 593     Sublease                    LEASE, FUEL SUPPLY AGREEMENT AND                                     Mountain Express Oil Company           $0.00
                                                                        BEGUM | AFREEN JUDDHA
                                     REBATE AGREEMENT
 554     Sublease                    COMMERCIAL LEASE                   C 4 TOWN LLC | DERAR DIAB         Mountain Express Oil Company           $0.00

 554     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT              C TOWN 4 LLC | DERAR DIAB         Mountain Express Oil Company           $0.00
                                                                        CALIFORNIA DREAMS INVESTMENTS
 975     Prime Lease (Single Site)   MASTER LEASE AGREEMENT                                              MEX RE‐NE‐NY LLC                        $0.00
                                                                        LLC
                                     UNCONDITIONAL GUARANTY OF          CALIFORNIA DREAMS INVESTMENTS
 975     Prime Lease (Single Site)                                                                       Mountain Express Oil Company            $0.00
                                     PAYMENT AND PERFORMANCE            LLC
                                                                                                         MEX RE‐SW‐LA LLC (as successor‐
                                                                        CALVIN G LEJEUNE AND THE ESTATE
 3092    Prime Lease (Single Site)   LEASE AGREEMENT                                                    in‐interest to Brothers Belle          $11,667.00
                                                                        OF WILLIE D WARD
                                                                                                        Chasse, LLC)
                                                                        CAMDEN FOOD & FUEL LCC DBA
 920     Sublease                    COMMERCIAL LEASE                   CAMDEN SUPERSTOP | VENKTA        Mountain Express Oil Company            $0.00
                                                                        KIRANKUMAR MELAPU
                                                                        CAMDEN FOOD AND FUEL LLC |
 920     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                               Mountain Express Oil Company            $0.00
                                                                        VENKTA KIRANKUMAR MELAPU
 3300    Prime Lease (Single Site)   MASTER LEASE AGREEMENT             CAM‐PL CEDAR RAPIDS LLC          MEX RE‐NW‐IA LLC                        $0.00
 3170    Prime Lease (Single Site)   MASTER LEASE AGREEMENT             CAM‐PL COKEVILLE LLC             MEX RE‐NW‐IA LLC                        $0.00
                                     UNCONDITIONAL GUARANTY OF
 3170    Prime Lease (Single Site)                                  CAM‐PL COKEVILLE LLC                  Mountain Express Oil Company           $0.00
                                     PAYMENT AND PERFORMANCE
 3150    Prime Lease (Single Site)   MASTER LEASE AGREEMENT         CAM‐PL KANSAS CITY LLC                MEX RE‐NW‐KS LLC                       $0.00
                                     UNCONDITIONAL GUARANTY OF
 3150    Prime Lease (Single Site)                                  CAM‐PL KANSAS CITY LLC                Mountain Express Oil Company           $0.00
                                     PAYMENT AND PERFORMANCE
                                     SECOND AMENDMENT OF MOTOR FUEL
                                                                    CANTON USA INC | KARIM
 408     Fuel Supply Agreement       SUPPLY AND COMMISSIONED SALES                                        Mountain Express Oil Company           $0.00
                                                                    KESHWANI
                                     AGREEMENT
                                                                        18 of 98
                Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 23 of 102
 Store
         Contract Type               Title                                Counterparty                      Debtor Entity                      Est. Cure
Number
                                                                                                            MEX RE Holdings LLC (as assignee
         Purchase and Sale
                                     PURCHASE AND SALE AGREEMENT          CAPMARK INC                       of Mountain Express Oil             $0.00
         Agreement
                                                                                                            Company)
 583     Prime Lease (Single Site)   MASTER LEASE AGREEMENT               CARD HOLDINGS LLC                 Mountain Express Oil Company        $0.00

                                                                                                          Mountain Express Oil Company
 2004    Fuel Supply Agreement       MOTOR FUEL SUPPLY CONTRACT           CARL BOURLAND | KELLY BOURLAND (as successor‐in‐interest to Moore     $0.00
                                                                                                         Petroleum Co., Inc.)

                                     AMENDMENT AND EXTENSION OF LEASE                                       MEX RE‐SW‐LA LLC (as assignee
 3095    Prime Lease (Single Site)                                    CAROL SUE INVESTMENTS, L.L.C.                                             $0.00
                                     AGREEMENT                                                              of Brothers Carol Sue, L.L.C.)
 3006    Sublease                    Lease Agreement ‐ Attachment A       CAT SCALE COMPANY                 West Hill Ranch Group LLC           $0.00
 3102    Sublease                    LEASE AGREEMENT                      CAT SCALE COMPANY                 MEX RE‐SW‐LA LLC                    $0.00
 3102    Sublease                    Lease Agreement ‐ Attachment A       CAT SCALE COMPANY                 MEX RE‐SW‐LA LLC                    $0.00
 3150    Equipment Lease             LEASE AGREEMENT                      CAT SCALE COMPANY                 WHRG TC‐NW‐MO LLC                   $0.00
 3150    Equipment Lease             Lease Agreement ‐ Attachment A       CAT SCALE COMPANY                 WHRG TC‐NW‐MO LLC                   $0.00
 3154    Sublease                    LEASE AGREEMENT                      CAT SCALE COMPANY                 WHRG TC‐SW‐AR LLC                   $0.00
 3154    Sublease                    Lease Agreement ‐ Attachment A       CAT SCALE COMPANY                 WHRG TC‐SW‐AR LLC                   $0.00
 3160    Sublease                    LEASE AGREEMENT                      CAT SCALE COMPANY                 MEX RE‐NW‐KS LLC                    $0.00
 3160    Equipment Lease             Lease Agreement ‐ Attachment A       CAT SCALE COMPANY                 MEX RE‐NW‐KS LLC                    $0.00
 3170    Sublease                    LEASE AGREEMENT                      CAT SCALE COMPANY                 WHRG TC‐NW‐WY LLC                   $0.00
 3170    Sublease                    Lease Agreement ‐ Attachment A       CAT SCALE COMPANY                 WHRG TC‐NW‐WY LLC                   $0.00
                                                                          CC ACCESSORIES LLC | CYNTHIA
 543     Sublease                    COMMERCIAL LEASE                                                       MEX RE‐SE‐MS LLC                    $0.00
                                                                          SPIRES
                                     AMENDED AND RESTATED FUEL SUPPLY
 975     Fuel Supply Agreement                                            CENTEREACH FUEL INC               MEX Fuels NE‐NY LLC                 $0.00
                                     AGREEMENT
                                     AMENDED AND RESTATED
 975     Sublease                                                         CENTEREACH FUEL INC               MEX RE‐NE‐NY‐LI LLC                 $0.00
                                     COMMERCIAL LEASE
                                     PETROLEUM PRODUCTS SUPPLY            CEYLON ENTERPRISES LLC |
 419     Fuel Supply Agreement                                                                              Mountain Express Oil Company        $0.00
                                     AGREEMENT                            SAJEEWANI EGODANATTA
                                                                          CEYLON ENTERPRISES LLC |
                                     FIRST AMENDMENT OF PETROLEUM
 419     Fuel Supply Agreement                                            SAJEEWANI EGODAWATTA| ANS 786 Mountain Express Oil Company            $0.00
                                     PRODUCTS SUPPLY AGREEMENT
                                                                          | AKBER PIRANI | ANJUM ENGINEER
                                                                          CF GAS STORE LLC | CHRISTINE
 395     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                  Mountain Express Oil Company        $0.00
                                                                          FANOUS
                                                                          CF GAS STORE LLC | CHRISTINE
 395     Sublease                    COMMERCIAL LEASE                                                       Mountain Express Oil Company        $0.00
                                                                          FANOUS
                                     PETROLEUM PRODUCTS SUPPLY
 132     Fuel Supply Agreement                                       CHARLES CARY STEVENSON                 Mountain Express Oil Company        $0.00
                                     AGREEMENT
         Purchase and Sale           FIRST AMENDMENT TO PURCHASE AND CHARLES E SCHERICH | DOUGLAS
                                                                                                            MEX RE Holdings LLC                 $0.00
         Agreement                   SALE AGREEMENT                  CASH
         Purchase and Sale                                           CHARLES E SCHERICH | DOUGLAS
                                     PURCHASE AND SALE AGREEMENT                                            MEX RE Holdings LLC                 $0.00
         Agreement                                                   CASH
                                     MOTOR FUEL SUPPLY AND           CHERRY STONE LLC | ASIM
 391     Fuel Supply Agreement                                                                              Mountain Express Oil Company        $0.00
                                     COMMISSIONED SALES AGREEMENT    MERCHANT
 308     Prime Lease (Single Site)   MASTER LEASE AGREEMENT               CHERYL K. KELLER                  Mountain Express Oil Company        $0.00
                                     BRANDED MOTOR MARKETER
         Oil Company Agreement                                            CHEVRON PRODUCT COMPANY           Mountain Express Oil Company        $0.00
                                     AGREEMENT
 274     Oil Company Agreement       INVESTMENT INCENTIVE CONTRACT        CHEVRON PRODUCTS COMPANY          Mountain Express Oil Company        $0.00
                                     Investment Incentive Contract for
 274     Oil Company Agreement       Chevron or Texaco Branded Retail  CHEVRON PRODUCTS COMPANY             Mountain Express Oil Company        $0.00
                                     Outlets
                                     Investment Incentive Contract for
 594     Oil Company Agreement       Chevron or Texaco Branded Retail  CHEVRON PRODUCTS COMPANY             Mountain Express Oil Company        $0.00
                                     Outlets
                                     INVESTMENT INCENTIVE CONTRACT FOR
 597     Oil Company Agreement       CHEVRON OR TEXACO BRANDED         CHEVRON PRODUCTS COMPANY             Mountain Express Oil Company        $0.00
                                     OUTLETS
 597     Oil Company Agreement       Retail Technology System Agreement   CHEVRON PRODUCTS COMPANY          Mountain Express Oil Company        $0.00
                                     Investment Incentive Contract for
                                     Chevron or Texaco Branded Retail
 642     Oil Company Agreement       Outlets | Authorization Agreement for CHEVRON PRODUCTS COMPANY         Mountain Express Oil Company        $0.00
                                     Branded Retail Outlets | Retail
                                     Technology System Agreement
                                     INVESTMENT INCENTIVE CONTRACT FOR
 642     Oil Company Agreement       CHEVRON OR TEXACO BRANDED             CHEVRON PRODUCTS COMPANY         Mountain Express Oil Company        $0.00
                                     OUTLETS


                                                                          19 of 98
                  Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 24 of 102
  Store
            Contract Type           Title                               Counterparty                  Debtor Entity                        Est. Cure
 Number
                                    Investment Incentive Contract for
   935      Oil Company Agreement   Chevron or Texaco Branded Retail      CHEVRON PRODUCTS COMPANY    Mountain Express Oil Company          $0.00
                                    Outlets
 [NOT SITE                          Authorization Agreement for Advantage
            Oil Company Agreement                                         CHEVRON PRODUCTS COMPANY    Mountain Express Oil Company          $0.00
 SPECIFIC]                          Rent a Car
 [NOT SITE
            Oil Company Agreement   Product Rebrand Agreement           CHEVRON PRODUCTS COMPANY      Mountain Express Oil Company          $0.00
 SPECIFIC]
190 | 191|
            Oil Company Agreement   Investment Incentive Contract       CHEVRON PRODUCTS COMPANY      Mountain Express Oil Company          $0.00
     12
208 | 190 |
 12 | 161 |                         Investment Incentive Contract for
159 | 109 | Oil Company Agreement   Chevron or Texaco Branded Retail    CHEVRON PRODUCTS COMPANY      Mountain Express Oil Company          $0.00
 162 | 17 |                         Outlets
    191
366 | 446 |
190 | 935 |
191 | 1398
  | 1623 |
 369 | 12 |
                                    AUTHORIZATION AGREEMENT FOR
1047 | 274 Oil Company Agreement                                        CHEVRON PRODUCTS COMPANY      Mountain Express Oil Company          $0.00
                                    BRANDED RETAIL OUTLETS
   | 576 |
   1983 |
1072 | 592
| 927 | 594
    | 531

366 | 446 |
190 | 935 |
191 | 1398
  | 1623 |
 369 | 12 |
                                    RETAIL TECHNOLOGY SYSTEM
1047 | 274 Oil Company Agreement                                        CHEVRON PRODUCTS COMPANY      Mountain Express Oil Company          $0.00
                                    AGREEMENT
   | 576 |
   1983 |
1072 | 592
| 927 | 594
    | 531

                                    TEMPERATURE CORRECTION
            Oil Company Agreement                                       CHEVRON PRODUCTS COMPANY      Mountain Express Oil Company          $0.00
                                    AGREEMENT
                                    Investment Incentive Contract for
            Oil Company Agreement   Chevron or Texaco Branded Retail    CHEVRON PRODUCTS COMPANY      Mountain Express Oil Company          $0.00
                                    Outlets ‐ Austell, GA
                                    Branded Motor Fuel Marketer
            Oil Company Agreement                                       CHEVRON PRODUCTS COMPANY      Mountain Express Oil Company          $0.00
                                    Agreement
                                                                                                       Mountain Express Oil Company
   373      Fuel Supply Agreement   EXCLUSIVE FUEL SUPPLY AGREEMENT     CHOKSI INC                    (as successor‐in‐interest to Petro    $0.00
                                                                                                      South LLC)
  3280      QSR/Franchise Agreement ADDENDUM NO. 1                      CINNABON FRANCHISOR SPV LLC   West Hill Ranch Group LLC             $0.00

  3280      QSR/Franchise Agreement CINNABON FRANCHISE AGREEMENT        CINNABON FRANCHISOR SPV LLC   West Hill Ranch Group LLC             $0.00

  3040      Vendor Agreement        FACILITY SERVICES RENTAL AGREEMENT CINTAS                         Mountain Express Oil Company          $0.00
                                    CITGO COMPETITIVE ALLOWANCE
   846      Oil Company Agreement                                       CITGO PETROLEUM CORPORATION   Mountain Express Oil Company          $0.00
                                    AGREEMENT RENEWAL
                                    CITGO COMPETITIVE ALLOWANCE
   847      Oil Company Agreement                                       CITGO PETROLEUM CORPORATION   Mountain Express Oil Company          $0.00
                                    AGREEMENT RENEWAL
                                    CITGOCOMPETITVE ALLOWANCE
   868      Oil Company Agreement                                       CITGO PETROLEUM CORPORATION   Mountain Express Oil Company          $0.00
                                    AGREEMENT RENEWAL
                                    CITGO COMPETITIVE ALLOWANCE
   869      Oil Company Agreement                                       CITGO PETROLEUM CORPORATION   Mountain Express Oil Company          $0.00
                                    AGREEMENT RENEWAL
                                    CITGO COMPETITIVE ALLOWANCE
   877      Oil Company Agreement                                       CITGO PETROLEUM CORPORATION   Mountain Express Oil Company          $0.00
                                    AGREEMENT RENEWAL
                                    CITGO COMPETITIVE ALLOWANCE
   897      Oil Company Agreement                                       CITGO PETROLEUM CORPORATION   Mountain Express Oil Company          $0.00
                                    AGREEMENT RENEWAL
                                    RELEASE AND INDEMNIFICATION
 Not Site
            Oil Company Agreement   AGREEMENT FOR SALE OF RENEWABLE     CITGO PETROLEUM CORPORATION   Mountain Express Oil Company          $0.00
 Specific
                                    FUEL BLENDS
 Not Site                           SECOND AMENDMENT TO ADDENDUM
            Oil Company Agreement                                   CITGO PETROLEUM CORPORATION       Mountain Express Oil Company          $0.00
 Specific                           TO MARKETER FRANCHISE AGREEMENT


                                                                        20 of 98
                   Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 25 of 102
  Store
            Contract Type               Title                               Counterparty                     Debtor Entity                     Est. Cure
 Number
 Not Site
            Oil Company Agreement       CUSTOMER ACCESS AGREEMENT           CITGO PETROLEUM CORPORATION      Mountain Express Oil Company       $0.00
 Specific
 Not Site
            Oil Company Agreement       MARKETER FRANCHISE AGREEMENT        CITGO PETROLEUM CORPORATION      Mountain Express Oil Company       $0.00
 Specific
 Not Site                               AMENDMENT TO MARKETER FRANSHISE
            Oil Company Agreement                                          CITGO PETROLEUM CORPORATION       Mountain Express Oil Company       $0.00
 Specific                               AGREEMENT
                                        Addendum to the Marketer Franchise
            Oil Company Agreement                                          CITGO PETROLEUM CORPORATION       Mountain Express Oil Company       $0.00
                                        Agreement
                                        Third Amendment to Addendum to
            Oil Company Agreement                                          CITGO PETROLEUM CORPORATION       Mountain Express Oil Company       $0.00
                                        Marketer Franchise Agreement
                                        First Amendment to Addendum to
            Oil Company Agreement                                          CITGO PETROLEUM CORPORATION       Mountain Express Oil Company       $0.00
                                        Marketer Franchise Agreement
 3201 |
                                        LOCATION TRANSFER                   CITGO PETROLEUM CORPORATION |
 3206 |     Oil Company Agreement                                                                         Mountain Express Oil Company          $0.00
                                        AGREEMENT (Existing Marketers)      WORLD FUEL SERVICE INC
  3203
                                        Second Amendment to Addendum to
            Oil Company Agreement                                           CITGO PETROLEUM CORPORATION      Mountain Express Oil Company       $0.00
                                        Marketer Franchise Agreement
                                        FIRST AMENDMENT OF MOTOR FUEL       COBB KWIK LLC | BHAVESH SHAH |
   361      Fuel Supply Agreement       SUPPLY AND COMMISSIONED SALES       SANGITKUMAR MAYURKUMAR           Mountain Express Oil Company       $0.00
                                        AGREEMENT                           SHETH
                                        ETHANOL FUEL SUPPLY AND                                              Mountain Express Ethanol
   361      Fuel Supply Agreement                                           COBB KWIK LLC | BRAVESH SHAH                                        $0.00
                                        COMMISSIONED SALES AGREEMENT                                         Company
                                        MOTOR FUEL SUPPLY AND
   361      Fuel Supply Agreement                                           COBB KWIK LLC | BRAVESH SHAH     Mountain Express Oil Company       $0.00
                                        COMMISSIONED SALES AGREEMENT
NOT SITE                                BACK OFFICE LEASE (SUITE A BELLS
         Prime Lease (Single Site)                                          COLBERT INVESTMENTS INC          Mountain Express Oil Company       $0.00
SPECIFIC                                FERRY ROAD)
            Prime Lease (Single Site)   REAL ESTATE LEASE                   COLBERT INVESTMENTS INC          Mountain Express Oil Company       $0.00
                                        AMENDED AND RESTATED FUEL SUPPLY
   974      Fuel Supply Agreement                                        COMMACK FUEL INC                    MEX Fuels NE‐NY LLC                $0.00
                                        AGREEMENT
                                        AMENDED AND RESTATED
   974      Sublease                                                     COMMACK FUEL INC                    MEX RE‐NE‐NY‐LI LLC                $0.00
                                        COMMERCIAL LEASE
                                                                            COMMUNITY NATIONAL BANK |
  3146      Sublease                    ATM SITE LOCATION AGREEMENT                                          MEX RE‐NW‐KS LLC                   $0.00
                                                                            DORSEY G HALL | CHRISTINE STUDER
                                                                            COMMUNITY SHOP LLC | MOHEMED
  3005      Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                            Mountain Express Oil Company           $0.00
                                                                            ABDO NAGI
                                                                            COMMUNITY SHOP LLC | MOHEMED
  3005      Sublease                    COMMERCIAL LEASE                                                 MEX RE‐SE‐NC LLC                       $0.00
                                                                            ABDO NAGI
 [SERIAL]
492 | 1175
 | 1174 |
  1173 |
  1172 |
  1171 |
  1170 |
  1169 | Prime Lease (Multi‐Site)       MASTER LEASE AGREEMENT (13 SITES)   CONNECT EXPRESS LLC              MEX RE‐NE‐NJ LLC                   $0.00
  1168 |
  1167 |
  1166 |
  1165 |
  1164 |
  1163 |
   1160
           Purchase and Sale            UNCONDITIONAL GUARANTY OF
                                                                            CONNECT EXPRESS LLC              Mountain Express Oil Company       $0.00
           Agreement                    PAYMENT AND PERFORMANCE
                                        AMENDMENT TO AND ASSIGNMENT OF      CONSTANTINE BETHANIA CORP |
   374      Fuel Supply Agreement       MOTOR FUEL SUPPPLY AND              DANNY RIYANTO | NUR LAILI SHOIM Mountain Express Oil Company        $0.00
                                        COMMISSIONED SALES AGREEMENT        | HAGIAO THI NGUYEN
                                        MOTOR FUEL SUPPLY AND               CONSTANTINE BETHANIA CORP AND
   374      Fuel Supply Agreement                                                                           Mountain Express Oil Company        $0.00
                                        COMMISSIONED SALES AGREEMENT        DANNY RIYANTO
                                                                                                              Mountain Express Oil Company
                                        COMMERCIAL REAL ESTATE LEASE
   374      Sublease                                                        CONSTANTINE BETHANIA CORP.       (as successor‐in‐interest to       $0.00
                                        CONTRACT
                                                                                                             Winston Property Ventures, LLC)

                                                                            CORDELL PROPERTIES, LLC (AS       Mountain Express Oil Company
  3115      Prime Lease (Single Site)   LEASE AGREEMENT                     SUCCESSOR‐IN‐INTEREST TO J.      (as assignee of Central Oil and    $0.00
                                                                            ROGER RUTLEDGE)                  Supply Corporation)
                                                                            COUNTRY FOODMART LLC |
   57       Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                MEX Fuels SE‐MS LLC                $0.00
                                                                            SUKHWINDER SINGH
                                                                            COUNTRY FOODMART LLC |
   57       Fuel Supply Agreement       ACKNOWLEDGEMENT LETTER                                               Mountain Express Oil Company       $0.00
                                                                            SUKHWINDER SINGH


                                                                            21 of 98
                  Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 26 of 102
  Store
            Contract Type              Title                                 Counterparty                       Debtor Entity                  Est. Cure
 Number
                                                                             COUNTRY FOODMART LLC |
    57     Sublease                    COMMERCIAL LEASE                                                         MEX RE‐SE‐MS LLC                $0.00
                                                                             SUKHWINDER SINGH
                                                                                                    Mountain Express Oil Company
                                       ADDENDUM TO COUNTRYMARK BRAND COUNTRY MARK REFINANCING AND
    91     Oil Company Agreement                                                                   (as successor‐in‐interest to                 $0.00
                                       USE AGREEMENT                  LOGISTICS LLC
                                                                                                   Reliance Oil LLC)
                                                                                                    Mountain Express Oil Company
                                                                      COUNTRY MARK REFINANCING AND
    91     Oil Company Agreement       BRAND USE AGREEMENT                                         (as successor‐in‐interest to                 $0.00
                                                                      LOGISTICS LLC
                                                                                                   Reliance Oil LLC)
                                                                                                    Mountain Express Oil Company
                                       ADDENDUM TO COUNTRYMARK BRAND COUNTRY MARK REFINANCING AND
    92     Oil Company Agreement                                                                   (as successor‐in‐interest to                 $0.00
                                       USE AGREEMENT                  LOGISTICS LLC
                                                                                                   Reliance Oil LLC)
                                                                                                    Mountain Express Oil Company
                                                                      COUNTRY MARK REFINANCING AND
    92     Oil Company Agreement       BRAND USE AGREEMENT                                         (as successor‐in‐interest to                 $0.00
                                                                      LOGISTICS LLC
                                                                                                   Reliance Oil LLC)
                                                                                                    Mountain Express Oil Company
                                       ADDENDUM TO COUNTRYMARK BRAND COUNTRY MARK REFINANCING AND
    93     Oil Company Agreement                                                                   (as successor‐in‐interest to                 $0.00
                                       USE AGREEMENT                  LOGISTICS LLC
                                                                                                   Reliance Oil LLC)
                                                                                                    Mountain Express Oil Company
                                                                      COUNTRY MARK REFINANCING AND
    93     Oil Company Agreement       BRAND USE AGREEMENT                                         (as successor‐in‐interest to                 $0.00
                                                                      LOGISTICS LLC
                                                                                                   Reliance Oil LLC)
                                                                                                    Mountain Express Oil Company
                                       ADDENDUM TO COUNTRYMARK BRAND COUNTRY MARK REFINANCING AND
    94     Oil Company Agreement                                                                   (as successor‐in‐interest to                 $0.00
                                       USE AGREEMENT                  LOGISTICS LLC
                                                                                                   Reliance Oil LLC)
                                                                                                    Mountain Express Oil Company
                                                                      COUNTRY MARK REFINANCING AND
    94     Oil Company Agreement       BRAND USE AGREEMENT                                         (as successor‐in‐interest to                 $0.00
                                                                      LOGISTICS LLC
                                                                                                   Reliance Oil LLC)
                                                                                                    Mountain Express Oil Company
                                       ADDENDUM TO COUNTRYMARK BRAND COUNTRY MARK REFINANCING AND
    95     Oil Company Agreement                                                                   (as successor‐in‐interest to                 $0.00
                                       USE AGREEMENT                  LOGISTICS LLC
                                                                                                   Reliance Oil LLC)
                                                                                                    Mountain Express Oil Company
                                                                      COUNTRY MARK REFINANCING AND
    95     Oil Company Agreement       BRAND USE AGREEMENT                                         (as successor‐in‐interest to                 $0.00
                                                                      LOGISTICS LLC
                                                                                                   Reliance Oil LLC)
                                                                                                    Mountain Express Oil Company
                                       ADDENDUM TO COUNTRY MARK BRAND COUNTRY MARK REFINANCING AND
    96     Oil Company Agreement                                                                   (as successor‐in‐interest to                 $0.00
                                       USE AGREEMENT                  LOGISTICS LLC
                                                                                                   Reliance Oil LLC)
                                                                                                    Mountain Express Oil Company
                                                                      COUNTRY MARK REFINANCING AND
    96     Oil Company Agreement       BRAND USE AGREEMENT                                         (as successor‐in‐interest to                 $0.00
                                                                      LOGISTICS LLC
                                                                                                   Reliance Oil LLC)
                                                                                                    Mountain Express Oil Company
                                       ADDENDUM TO COUNTRYMARK BRAND COUNTRY MARK REFINANCING AND
    97     Oil Company Agreement                                                                   (as successor‐in‐interest to                 $0.00
                                       USE AGREEMENT                  LOGISTICS LLC
                                                                                                   Reliance Oil LLC)
                                                                                                    Mountain Express Oil Company
                                                                      COUNTRY MARK REFINANCING AND
    97     Oil Company Agreement       BRAND USE AGREEMENT                                         (as successor‐in‐interest to                 $0.00
                                                                      LOGISTICS LLC
                                                                                                   Reliance Oil LLC)
                                                                                                    Mountain Express Oil Company
                                       ADDENDUM TO COUNTRYMARK BRAND COUNTRY MARK REFINANCING AND
    98     Oil Company Agreement                                                                   (as successor‐in‐interest to                 $0.00
                                       USE AGREEMENT                  LOGISTICS LLC
                                                                                                   Reliance Oil LLC)
                                                                                                    Mountain Express Oil Company
                                                                      COUNTRY MARK REFINANCING AND
    98     Oil Company Agreement       BRAND USE AGREEMENT                                         (as successor‐in‐interest to                 $0.00
                                                                      LOGISTICS LLC
                                                                                                   Reliance Oil LLC)
96 | 98 | 91                                                                 COUNTRYMARK REFINING AND
             Oil Company Agreement     BRAND USE AGREEMENT                                                      Mountain Express Oil Company    $0.00
 | 97 | 94                                                                   LOGISTICS LLC
                                       Mountain Express Oil Company Retail   COUNTRYMARK REFINING AND
           Oil Company Agreement                                                                                Mountain Express Oil Company    $0.00
                                       Incentive                             LOGISTICS, LLC
                                       FIRST AMENDMENT OF COMMERCIAL
   951     Sublease                    LEASE, REBATE AGREEMENT, AND     COUNTY LINE EXPRESS INC                 Mountain Express Oil Company    $0.00
                                       COMMISSION FUEL SUPPLY AGREEMENT
                                       SECOND AMENDMENT OF REBATE
   951     Rebate Agreement                                                  COUNTY LINE EXPRESS INC            Mountain Express Oil Company    $0.00
                                       AGREEMENT
                                                                           COUNTYWIDE PETROLEUM
                                       Assignment and Assumption Agreement
           Oil Company Agreement                                           COMPANY | VALERO MARKETING           Mountain Express Oil Company    $0.00
                                       and VMSC Consent
                                                                           AND SUPPLY COMPANY
                                                                             COVINGTON FRIENDS INC | AMIN
   359     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                Mountain Express Oil Company        $0.00
                                                                             MADHANI | SHAHEED SIRAJ MOTANI

                                                                             COVINGTON FRIENDS INC | AMIN
   359     Sublease                    COMMERCIAL LEASE                                                     Mountain Express Oil Company        $0.00
                                                                             MADHANI | SHAHEED SIRAJ MOTANI

    24     Prime Lease (Single Site)   FORM OF LEASE AGREEMENT               CPSLOH CLEVELAND LLC               Mountain Express Oil Company    $0.00
                                                                             CROSBY ATHENS PARCEL 3 LLC (AS   MEX North Alabama, LLC (as
                                       LEASE AGREEMENT FOR COMMERCIAL
   550     Prime Lease (Single Site)                                         SUCCESSOR‐IN‐INTEREST TO KELLON successor‐in‐interest to Joe N.    $0.00
                                       PROPERTY
                                                                             CROSBY)                         Holmes and K.J. Mobley)
                                                                             22 of 98
                 Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 27 of 102
  Store
          Contract Type               Title                               Counterparty                    Debtor Entity                   Est. Cure
 Number
                                                                         CROSSROADS NUTRITION LLC |
  637     Prime Lease (Single Site)   COMMERCIAL LEASE                                                    Mountain Express Oil Company     $0.00
                                                                         MIGUEL SILVA
                                                                         CSRA LOCAL DEVELOPMENT
  304     Title Insurance             SUBORDINATION AGREEMENT                                             Mountain Express Oil Company     $0.00
                                                                         CORPORATION
                                      PETROLEUM PRODUCTS SUPPLY          D & DONE STOP, LLC AND DENISE
  756     Fuel Supply Agreement                                                                           Mountain Express Oil Company     $0.00
                                      AGREEMENT                          FARMER
                                      AMUSEMENT/VIDEO GAME DEVICE
  3052    Sublease                    PLACEMENT SPACE LEASE AND          D & L VENDING, INC               Mountain Express Oil Company     $0.00
                                      OPERATING AGREEMENT
                                      PETROLEUM PRODUCTS SUFFIX       D AND N BROS INC | MUHAMMAD
  577     Fuel Supply Agreement                                                                         Mountain Express Oil Company       $0.00
                                      AGREEMENT                       DANISH KHAN
                                      FIRST AMENDMENT OF PETROLEUM    D AND N BROS INC | MUHAMMAD
  577     Fuel Supply Agreement                                                                         Mountain Express Oil Company       $0.00
                                      PRODUCTS SUPPLY AGREEMENT       DANISH KHAN
                                                                      D S MONTPELIER AVE LLC | ZAHID
  485     Sublease                    COMMERCIAL LEASE                                                  Mountain Express Oil Company       $0.00
                                                                      KHAN
                                                                      D&S MONTPELIER AVE LLC | ZAHID
  485     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                             Mountain Express Oil Company       $0.00
                                                                      KHAN
                                      SECOND AMENDMENT OF COMMERCIAL D&S MONTPELIER AVE LLC | ZAHID
  485     Sublease                                                                                      Mountain Express Oil Company       $0.00
                                      LEASE                           KHAN
                                                                      D&S MONTPELIER AVE LLC | ZAHID
                                      SECOND AMENDMENT OF FUEL SUPPLY
  485     Fuel Supply Agreement                                       KHAN | TITHI NAOMI LLC | TEJALBEN Mountain Express Oil Company       $0.00
                                      AGREEMENT
                                                                      TEJAS PATEL
                                                                      D&S MONTPELIER AVE LLC | ZAHID
                                      THIRD AMENDMENT OF COMMERCIAL
  485     Sublease                                                    KHAN | TITHI NAOMI LLC | TEJALBEN Mountain Express Oil Company       $0.00
                                      LEASE
                                                                      TEJAS PATEL
                                                                      D.C. THOMAS GROUP, INC. (AS       West Hill Ranch Group LLC (as
  4031    Prime Lease (Single Site)   LEASE AGREEMENT                 SUCCESSOR‐IN‐INTEREST TO SUNSET successor‐in‐interest to Quik      $13,749.00
                                                                      PARK OF ASHEBORO, INC.)           Check, Inc.)
                                                                      DAGA1 LLC (AS SUCCESSOR‐IN‐
  448     Prime Lease (Single Site)   LEASE AGREEMENT                 INTEREST TO VAULT CS VINEVILLE    Mountain Express Oil Company       $0.00
                                                                      LLC)
                                      PETROLEUM PRODUCTS SUPPLY       DANISH KHAN INC | MUHAMMAD
  579     Fuel Supply Agreement                                                                         Mountain Express Oil Company       $0.00
                                      AGREEMENT                       DANISH KHAN
                                      FIRST AMENDMENT OF PETROLEUM    DANISH KHAN INC | MUHAMMAD
  579     Fuel Supply Agreement                                                                         Mountain Express Oil Company       $0.00
                                      PRODUCTS SUPPLY AGREEMENT       DANISH KHAN
                                      SECOND AMENDMENT OF PETROLEUM DANISH KHAN INC | MUHAMMAD
  579     Fuel Supply Agreement                                                                           Mountain Express Oil Company     $0.00
                                      PRODUCTS SUPPLY AGREEMENT     DANISH KHAN
                                      THIRD AMENDMENT OF PETROLEUM       DANISH KHAN INC | MUHAMMAD
  579     Fuel Supply Agreement                                                                           Mountain Express Oil Company     $0.00
                                      PRODUCTS SUPPLY AGREEMENT          DANISH KHAN

3054 | 512
 | 3056 |
  3016 |
3101 | 924
  | 513 |
  3040 | Vendor Agreement             Supplier Agreement                 DAS COMPANIES                    Mountain Express Oil Company     $0.00
  3053 |
  3052 |
  3260 |
3015 | 514
  | 3057

                                                                         DAY AND NIGHT WARREN LLC | ASIF
                                      THIRD AMENDMENT OF FUEL SUPPLY
  919     Fuel Supply Agreement                                          VALANI | HYDER K LALANI | MOHSIN Mountain Express Oil Company     $0.00
                                      AGREEMENT
                                                                         VARANI | KARMA ALLIANCE LLC

                                                                         DAY AND NIGHT WARREN LLC | ASIF
  919     Rebate Agreement            REBATE AGREEMENT                   VALANI | HYDER K LALANI | MOHSIN Mountain Express Oil Company     $0.00
                                                                         VARANI | KARMA ALLIANCE LLC

                                                                     DAY AND NIGHT WARREN LLC | ASIF
                                      SECOND AMENDMENT OF COMMERCIAL
  919     Sublease                                                   VALANI | HYDER K LALANI | MOHSIN Mountain Express Oil Company         $0.00
                                      SUBLEASE
                                                                     VARANI | KARMA ALLIANCE LLC
                                                                         DBROTHERS1 INC | DBROTHERS2
  191     Sublease                    COMMERCIAL LEASE                                                    Mountain Express Oil Company     $0.00
                                                                         INC
                                      PETROLEUM PRODUCTS SUPPLY          DBROTHERS1 INC | DBROTHERS2
  190     Fuel Supply Agreement                                                                           Mountain Express Oil Company     $0.00
                                      AGREEMENT                          INC | DEB R SHRESTHA
                                                                         DBROTHERS1 INC | DBROTHERS2
  190     Sublease                    COMMERCIAL LEASE                                                    Mountain Express Oil Company     $0.00
                                                                         INC | DEB R SHRESTHA
                                                                         DBROTHERS1 INC | DBROTHERS2
  190     Sublease                    AMENDMENT TO COMMERCIAL LEASE                                       Mountain Express Oil Company     $0.00
                                                                         INC | DEB R SHRESTHA
                                      AMENDMENT TO PETROLEUM             DBROTHERS1 INC | DBROTHERS2
  191     Fuel Supply Agreement                                                                           Mountain Express Oil Company     $0.00
                                      PRODUCTS SUPPLY AGREEMENT          INC | DEB R SHRESTHA
                                                                         23 of 98
                Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 28 of 102
 Store
         Contract Type              Title                              Counterparty                      Debtor Entity                     Est. Cure
Number
                                                                   DBROTHERS1 INC | DBROTHERS2
 191     Sublease                   COMMERCIAL LEASE                                                     Mountain Express Oil Company       $0.00
                                                                   INC | DEB R SHRESTHA
                                                                   DBROTHERS1 INC | DBROTHERS2
 191     Rebate Agreement           REBATE AGREEMENT                                                     Mountain Express Oil Company       $0.00
                                                                   INC | DEB R SHRESTHA
                                                                   DBROTHERS1 INC | DBROTHERS2
                                    FIRST AMENDMENT OF PETROLEUM
 190     Fuel Supply Agreement                                     INC | DEB R SHRESTHA | KIRITTEL       Mountain Express Oil Company       $0.00
                                    PRODUCTS SUPPLY AGREEMENT
                                                                   LLC | BANSARIBEN K PATEL
                                                                   DBROTHERS1 INC | DBROTHERS2
                                    SECOND AMENDMENT OF COMMERCIAL
 190     Sublease                                                  INC | DEB R SHRESTHA | KIRITTEL       Mountain Express Oil Company       $0.00
                                    LEASE
                                                                   LLC | BANSARIBEN K PATEL
                                    PETROLEUM PRODUCTS SUPPLY         DBROTHERS1 INC AND DBROTHERS2
 190     Fuel Supply Agreement                                                                      Mountain Express Oil Company            $0.00
                                    AGREEMENT                         INC AND DEB R SHRESTHA

                                    PETROLEUM PRODUCTS SUPPLY         DBROTHERS1 INC AND DBROTHERS2
 191     Fuel Supply Agreement                                                                      Mountain Express Oil Company            $0.00
                                    AGREEMENT                         INC AND DEB R SHRESTHA
  24     Fuel Supply Agreement      FUEL SUPPLY AGREEMENT             DEAN BAKER LLC | BAKER MAYOOF      MEX Fuels NE‐OH LLC                 $0.00
  24     Sublease                   COMMERCIAL LEASE                  DEAN BAKER LLC | BAKER MAYOOF      MEX RE‐NE‐OH LLC                    $0.00
  24     Equipment Lease            EQUIPMENT LEASE AGREEMENT         DEAN BAKER LLC | BAKER MAYOOF      MEX RE‐NE‐OH LLC                  $2,595.78
                                                                      DEAR HOMETOWN DONUT LLC |
 3200    Sublease                   COMMERCIAL LEASE                                                     MEX RE‐SW‐LA LLC                   $0.00
                                                                      SOVANN SOUM
                                    FIRST AMENDMENT COMMERCIAL        DEAR HOMETOWN DONUT LLC |
 3200    Sublease                                                                                   MEX RE‐SW‐LA LLC                        $0.00
                                    LEASE                             SOVANN SOUM | SALINA BUTTANDA
                                                                   DEVIYANIBEN PATEL | MOBILE 3224
                                    THIRD AMENDMENT OF COMMERCIAL  LLC | SHAHNEWAZ HOSSAIN |
 448     Sublease                                                                                  Mountain Express Oil Company             $0.00
                                    LEASE                          SOMNATH 1 LLC | DENISH
                                                                   NATUBHAI PATEL
                                                                   DEVIYANIBEN PATEL | MOBILE 3224
                                    SECOND AMENDMENT OF PETROLEUM LLC | SHAHNEWAZ HOSSAIN |
 448     Fuel Supply Agreement                                                                     Mountain Express Oil Company             $0.00
                                    PRODUCTS SUPPLY AGREEMENT      SOMNATH 1 LLC | DENISHNATUBHAI
                                                                   PATEL
                                                                   DHANVIN & KRIV LLC | PRIYABEN
 724     Sublease                   COMMERCIAL LEASE                                               Mountain Express Oil Company             $0.00
                                                                   PATEL | PRATIK PATEL
                                    PETROLEUM PRODUCTS SUPPLY      DHANVIN & KRIV LLC | PRIYABEN
 724     Fuel Supply Agreement                                                                     Mountain Express Oil Company             $0.00
                                    AGREEMENT                      PATEL | PRATIK PATEL
                                    PETROLEUM PRODUCTS SUPPLY
 109     Fuel Supply Agreement                                     DHIRAJ DUTA                     Mountain Express Oil Company             $0.00
                                    AGREEMENT
                                    SECOND AMENDMENT TO
 109     Fuel Supply Agreement      COMMERCIAL LEASE AND PETROLEUM DHIRAJ DUTTA                    Mountain Express Oil Company             $0.00
                                    PRODUCTS SUPPLY AGREEMENT
                                    AMENDMENT TO COMMERCIAL LEASE
 109     Fuel Supply Agreement      AND PETROLEUM PRODUCTS SUPPLY  DHIRAJ DUTTA                    Mountain Express Oil Company             $0.00
                                    AGREEMENT
                                    THIRD AMENDMENT OF MOTOR FUEL  DHIRAJ DUTTA | SANVI BUSINESS
 109     Fuel Supply Agreement      SUPPLY AND COMMISSIONED SALES  LLC | VIKRAMDIP SINGH | KALPESH Mountain Express Oil Company             $0.00
                                    AGREEMENT                      GAMAN JINWALA
 362     Fuel Supply Agreement      CREDIT CARD SETTLEMENT AGREEMENT DILLON OIL LLC | TALWINDER KAUR     Mountain Express Oil Company       $0.00
                                    MOTOR FUEL SUPPLY AND
 362     Fuel Supply Agreement                                        DILLON OIL LLC | TALWINDER KAUR    Mountain Express Oil Company       $0.00
                                    COMMISSIONED SALES AGREEMENT
                                    FIRST AMENDMENT OF COMMERCIAL     DIPAK V. PATEL | MANIBA 2019 INC
 425     Sublease                                                                                        Mountain Express Oil Company       $0.00
                                    LEASE                             | ANJANABEN M PATEL
 601     Fuel Supply Agreement      FUEL SUPPLY AGREEMENT             DIXIT B PATEL                      Mountain Express Oil Company       $0.00

 3280    QSR/Franchise Agreement FRANCHISE AGREEMENT RIDER            DOCTORS ASSOCIATES LLC             Mountain Express Oil Company       $0.00

 3280    QSR/Franchise Agreement FRANCHISE AGREEMENT                  DOCTORS ASSOCIATES LLC             Mountain Express Oil Company       $0.00

 3280    QSR/Franchise Agreement TRANSFER ADDENDUM                    DOCTORS ASSOCIATES LLC             Mountain Express Oil Company       $0.00
                                                                                                       DT ‐ Mountain Express Oil
                                                                                                       Company Southeast, LLC (as
 786     Fuel Supply Agreement      MARKETING AGREEMENT               DRS PROPERTIES INC                                                    $0.00
                                                                                                       assignee of Southeastern Energy
                                                                                                       Corporation)
                                                                                                       DT ‐ Mountain Express Oil
                                                                                                       Company Southeast, LLC (as
 787     Fuel Supply Agreement      MARKETING AGREEMENT               DRS PROPERTIES INC                                                    $0.00
                                                                                                       assignee of Southeastern Energy
                                                                                                       Corporation)
                                                                                                        MEX RE‐SW‐LA LLC (as successor‐
                                                                      DULITZ FAMILY LLC (AS SUCCESSOR‐
 4076    Prime Lease (Multi‐Site)   LEASE AGREEMENT                                                    in‐interest to Time Saver Stores,    $0.00
                                                                      IN‐INTEREST TO HARRIS M. DULITZ)
                                                                                                       Inc.)
                                    TEMPORARY SUPPLY AND LEASE        EAST GATE CHEVRON INC. | RIAD A.
 929     Sublease + Fuel Supply                                                                         Mountain Express Oil Company        $0.00
                                    AGREEMENT                         ABDELJABAR

                                                                      24 of 98
                  Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 29 of 102
  Store
            Contract Type           Title                              Counterparty                      Debtor Entity                  Est. Cure
 Number
                                    FIRST AMENDMENT OF PETROLEUM       EBEN & SUM INC AND SINDHU
   70       Fuel Supply Agreement                                                                        Mountain Express Oil Company    $0.00
                                    PRODUCTS SUPPLY AGREEMENT          SAMUEL
                                    PETROLEUM PRODUCTS SUPPLY          EBEN & SUMA INC | SINDHU
   70       Fuel Supply Agreement                                                                        Mountain Express Oil Company    $0.00
                                    AGREEMENT                          SAMUEL
                                                                       EL PATRON LLC | ABAGAIL V
   91       Sublease                COMMERCIAL LEASE                                                     MEX RE‐NE‐IN LLC                $0.00
                                                                       ANGULOANGEL
                                                                       EL TACO LOCO LLC | JOSE LUIS
   220      Sublease                COMMERCIAL LEASE                                                     MEX RE‐SE‐GA LLC                $0.00
                                                                       LOPEZ
                                    AMENDMENT TO PETROLEUM             ELLIJAY CONVENIENT INC | FAHRAN
   13       Fuel Supply Agreement                                                                        Mountain Express Oil Company    $0.00
                                    PRODUCTS SUPPLY AGREEMENT          HAMEED | IRAM HAMEED
                                    WHOLESALE MARKETER FACILITY
306 | 307 Oil Company Agreement     DEVELOPMENT INCENTIVE PROGRAM      EQUILON ENTERPRISES LLC           Mountain Express Oil Company    $0.00
                                    AGREEMENT
                                    NOTICE RE THE RIGHT TO CONVERT THE
  3101 |                            RETAIL OUTLETS TO SHELL BRAND
            Oil Company Agreement                                      EQUILON ENTERPRISES LLC           Mountain Express Oil Company    $0.00
   3102                             UNDER THE FACILITY DEVELOPMENT
                                    INCENTIVE PRGRAM AGREEMENT
                                    NOTICE RE THE RIGHT TO CONVERT THE
  3101 |                            RETAIL OUTLETS TO SHELL BRAND
            Oil Company Agreement                                      EQUILON ENTERPRISES LLC           Mountain Express Oil Company    $0.00
   3102                             UNDER THE FACILITY DEVELOPMENT
                                    INCENTIVE PRGRAM AGREEMENT
 Not Site
            Oil Company Agreement   COMMUNITY PUMP PROGRAM             EQUILON ENTERPRISES LLC           Mountain Express Oil Company    $0.00
 Specific
                                    WHOLESALE MARKETER FACILITY
                                                                       EQUILON ENTERPRISES LLC DBA
   698      Oil Company Agreement   DEVELOPMENT INCENTIVE PROGRAM                                        Mountain Express Oil Company    $0.00
                                                                       SHELL OIL PRODUCTS
                                    AGREEMENT AMENDMENT
                                    WHOLESALE MARKETER FACILITY
                                                                       EQUILON ENTERPRISES LLC DBA
   909      Oil Company Agreement   DEVELOPMENT INCENTIVE PROGRAM                                        Mountain Express Oil Company    $0.00
                                                                       SHELL OIL PRODUCTS
                                    AGREEMENTAMENDMENT
                                    WHOLESALE MARKETER FACILITY
                                                                       EQUILON ENTERPRISES LLC DBA
   910      Oil Company Agreement   DEVELOPMENT INCENTIVE PROGRAM                                        Mountain Express Oil Company    $0.00
                                                                       SHELL OIL PRODUCTS
                                    AGREEMENT AMENDMENT
                                    WHOLESALE MARKETER FACILITY
                                                                       EQUILON ENTERPRISES LLC DBA
   911      Oil Company Agreement   DEVELOPMENT INCENTIVE PROGRAM                                        Mountain Express Oil Company    $0.00
                                                                       SHELL OIL PRODUCTS
                                    AGREEMENT AMENDMENT
                                    WHOLESALE MARKETER FACILITY
                                                                       EQUILON ENTERPRISES LLC DBA
   913      Oil Company Agreement   DEVELOPMENT INCENTIVE PROGRAM                                        Mountain Express Oil Company    $0.00
                                                                       SHELL OIL PRODUCTS
                                    AGREEMENT AMENDMENT
                                    WHOLESALE MARKETER FACILITY
                                                                       EQUILON ENTERPRISES LLC DBA
   914      Oil Company Agreement   DEVELOPMENT INCENTIVE PROGRAM                                        Mountain Express Oil Company    $0.00
                                                                       SHELL OIL PRODUCTS
                                    AGREEMENT AMENDMENT
                                    WHOLESALE MARKETER FACILITY
                                                                       EQUILON ENTERPRISES LLC DBA
306 | 307 Oil Company Agreement     DEVELOPMENT INCENTIVE PROGRAM                                        Mountain Express Oil Company    $0.00
                                                                       SHELL OIL PRODUCTS
                                    AGREEMENT AMENDMENT
698 | 914 |                         WHOLESALE MARKETER FACILITY
                                                                       EQUILON ENTERPRISES LLC DBA
916 | 306 | Oil Company Agreement   DEVELOPMENT INCENTIVE PROGRAM                                        Mountain Express Oil Company    $0.00
                                                                       SHELL OIL PRODUCTS
   307                              AGREEMENT AMENDMENT
                                    Notice of Incentive Commencement   EQUILON ENTERPRISES LLC DBA
   306      Oil Company Agreement                                                                        Mountain Express Oil Company    $0.00
                                    Date and Brand Commitment Letter   SHELL OIL PRODUCTS US
                                    Notice of Incentive Commencement   EQUILON ENTERPRISES LLC DBA
   307      Oil Company Agreement                                                                        Mountain Express Oil Company    $0.00
                                    Date and Brand Commitment Letter   SHELL OIL PRODUCTS US
                                    Notice of Incentive Commencement   EQUILON ENTERPRISES LLC DBA
   907      Oil Company Agreement                                                                        Mountain Express Oil Company    $0.00
                                    Date and Brand Commitment Letter   SHELL OIL PRODUCTS US
                                    WHOLESALE MARKETER FACILITY
                                                                       EQUILON ENTERPRISES LLC DBA
   915      Oil Company Agreement   DEVELOPMENT INCENTIVE PROGRAM                                        Mountain Express Oil Company    $0.00
                                                                       SHELL OIL PRODUCTS US
                                    AGREEMENT AMENDMENT
                                    Notice of Incentive Commencement   EQUILON ENTERPRISES LLC DBA
   916      Oil Company Agreement                                                                        Mountain Express Oil Company    $0.00
                                    Date and Brand Commitment Letter   SHELL OIL PRODUCTS US
                                    Notice of Incentive Commencement   EQUILON ENTERPRISES LLC DBA
   923      Oil Company Agreement                                                                        Mountain Express Oil Company    $0.00
                                    Date and Brand Commitment Letter   SHELL OIL PRODUCTS US
308 | 3308                          Notice of Incentive Commencement   EQUILON ENTERPRISES LLC DBA
           Oil Company Agreement                                                                         Mountain Express Oil Company    $0.00
  | 4308                            Date and Brand Commitment Letter   SHELL OIL PRODUCTS US

907 | 908 |
909 | 910 |
                                                                       EQUILON ENTERPRISES LLC DBA
912 | 913 | Oil Company Agreement   INDEMNIFICATION AGREEMENT                                            Mountain Express Oil Company    $0.00
                                                                       SHELL OIL PRODUCTS US
914 | 915 |
 916 | 698




                                                                       25 of 98
                 Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 30 of 102
  Store
           Contract Type            Title                                     Counterparty                  Debtor Entity                        Est. Cure
 Number
908 | 907 |
916 | 909 |
910 | 911 |                                                                   EQUILON ENTERPRISES LLC DBA
            Oil Company Agreement   WHOLESALE MARKETER AGREEMENT                                            Mountain Express Oil Company         $19,177.26
914 | 916 |                                                                   SHELL OIL PRODUCTS US
913 | 923 |
   698
                                    Notice of Incentive Commencement          EQUILON ENTERPRISES LLC DBA
           Oil Company Agreement                                                                            Mountain Express Oil Company           $0.00
                                    Date and Brand Commitment Letter          SHELL OIL PRODUCTS US
                                    Notice of Incentive Commencement          EQUILON ENTERPRISES LLC DBA
           Oil Company Agreement                                                                            Mountain Express Oil Company           $0.00
                                    Date and Brand Commitment Letter          SHELL OIL PRODUCTS US
                                    Wholesale Marketer Facility
                                                                              EQUILON ENTERPRISES LLC DBA
           Oil Company Agreement    Development Incentive Program                                           Mountain Express Oil Company           $0.00
                                                                              SHELL OIL PRODUCTS US
                                    Agreement
                                    Wholesale Marketer Facility
                                                                              EQUILON ENTERPRISES LLC DBA
           Oil Company Agreement    Development Incentive Program                                           Mountain Express Oil Company           $0.00
                                                                              SHELL OIL PRODUCTS US
                                    Agreement Amendment (Poteau, OK)
                                    Intra Brand Transfer Single Site Letter   EQUILON ENTERPRISES LLC DBA
           Oil Company Agreement                                                                            Mountain Express Oil Company           $0.00
                                    Agreement ‐ Paris, AR                     SHELL OIL PRODUCTS US
                                    Transfer Letter Agreement ‐ OK and AR     EQUILON ENTERPRISES LLC DBA
           Oil Company Agreement                                                                            Mountain Express Oil Company           $0.00
                                    Sites                                     SHELL OIL PRODUCTS US
                                                                                                            Mountain Express Oil Company
                                    Facility Development Transfer Program     EQUILON ENTERPRISES LLC DBA
           Oil Company Agreement                                                                            (as assignee of Lipscomb Oil           $0.00
                                    Agreement (Jackson, MS)                   SHELL OIL PRODUCTS US
                                                                                                            Company)
                                                                                                            Mountain Express Oil Company
                                    Facility Development Transfer Program     EQUILON ENTERPRISES LLC DBA
           Oil Company Agreement                                                                            (as assignee of National Oil & Gas     $0.00
                                    Agreement (Deshler, OH)                   SHELL OIL PRODUCTS US
                                                                                                            Inc.)
                                                                                                            Mountain Express Oil Company
                                    Facility Development Transfer Program     EQUILON ENTERPRISES LLC DBA
           Oil Company Agreement                                                                            (as assignee of National Oil & Gas     $0.00
                                    Agreement (Lima, OH)                      SHELL OIL PRODUCTS US
                                                                                                            Inc.)
                                    Facility Development Transfer Program                                   Mountain Express Oil Company
                                                                              EQUILON ENTERPRISES LLC DBA
           Oil Company Agreement    Agreement (Winfield, AL ‐ State Hwy                                     (as assignee of Moore Petroleum        $0.00
                                                                              SHELL OIL PRODUCTS US
                                    253)                                                                    Co. Inc.)
                                                                                                            Mountain Express Oil Company
                                    Facility Development Transfer Program     EQUILON ENTERPRISES LLC DBA
           Oil Company Agreement                                                                            (as assignee of Moore Petroleum        $0.00
                                    Agreement (Winfield, AL ‐ Hwy 129)        SHELL OIL PRODUCTS US
                                                                                                            Co. Inc.)
                                                                                                            Mountain Express Oil Company
                                    Facility Development Transfer Program     EQUILON ENTERPRISES LLC DBA
           Oil Company Agreement                                                                            (as assignee of Moore Petroleum        $0.00
                                    Agreement (Winfield, AL ‐ Hwy 43)         SHELL OIL PRODUCTS US
                                                                                                            Co. Inc.)
                                                                                                            Mountain Express Oil Company
                                    Facility Development Transfer Program     EQUILON ENTERPRISES LLC DBA
           Oil Company Agreement                                                                            (as assignee of Moore Petroleum        $0.00
                                    Agreement (Natural Bridge, AL)            SHELL OIL PRODUCTS US
                                                                                                            Co. Inc.)
                                                                                                            Mountain Express Oil Company
                                    Facility Development Transfer Program     EQUILON ENTERPRISES LLC DBA
           Oil Company Agreement                                                                            (as assignee of Moore Petroleum        $0.00
                                    Agreement (Madison, AL)                   SHELL OIL PRODUCTS US
                                                                                                            Co. Inc.)
                                                                                                            Mountain Express Oil Company
                                    Facility Development Transfer Program     EQUILON ENTERPRISES LLC DBA
           Oil Company Agreement                                                                            (as assignee of Moore Petroleum        $0.00
                                    Agreement (Hueytown, AL)                  SHELL OIL PRODUCTS US
                                                                                                            Co. Inc.)
                                    Facility Development Transfer Program                                   Mountain Express Oil Company
                                                                              EQUILON ENTERPRISES LLC DBA
           Oil Company Agreement    Agreement (Hamilton, AL ‐ 239 Military                                  (as assignee of Moore Petroleum        $0.00
                                                                              SHELL OIL PRODUCTS US
                                    St.)                                                                    Co. Inc.)
                                                                                                            Mountain Express Oil Company
                                    Facility Development Transfer Program     EQUILON ENTERPRISES LLC DBA
           Oil Company Agreement                                                                            (as assignee of Moore Petroleum        $0.00
                                    Agreement (Hamilton, AL ‐ Bexar Ave)      SHELL OIL PRODUCTS US
                                                                                                            Co. Inc.)
                                    Facility Development Transfer Program                                   Mountain Express Oil Company
                                                                            EQUILON ENTERPRISES LLC DBA
           Oil Company Agreement    Agreement (Hamilton, AL ‐ 5476 Military                                 (as assignee of Moore Petroleum        $0.00
                                                                            SHELL OIL PRODUCTS US
                                    St.)                                                                    Co. Inc.)
                                                                                                            Mountain Express Oil Company
                                    Facility Development Transfer Program     EQUILON ENTERPRISES LLC DBA
           Oil Company Agreement                                                                            (as assignee of Moore Petroleum        $0.00
                                    Agreement (Guin, AL)                      SHELL OIL PRODUCTS US
                                                                                                            Co. Inc.)
                                                                                                            Mountain Express Oil Company
                                    Facility Development Transfer Program     EQUILON ENTERPRISES LLC DBA
           Oil Company Agreement                                                                            (as assignee of Moore Petroleum        $0.00
                                    Agreement (Carbon Hill, AL)               SHELL OIL PRODUCTS US
                                                                                                            Co. Inc.)
                                                                                                            Mountain Express Oil Company
                                    Facility Development Transfer Program     EQUILON ENTERPRISES LLC DBA
           Oil Company Agreement                                                                            (as assignee of Moore Petroleum        $0.00
                                    Agreement (Birmingham, AL)                SHELL OIL PRODUCTS US
                                                                                                            Co. Inc.)
                                    Wholesale Marketer Facility
                                                                              EQUILON ENTERPRISES LLC DBA
           Oil Company Agreement    Development Incentive Program                                           Mountain Express Oil Company           $0.00
                                                                              SHELL OIL PRODUCTS US
                                    Agreement (Paris, OK)
                                    Facility Development Transfer Program                                   Mountain Express Oil Company
                                                                              EQUILON ENTERPRISES LLC DBA
           Oil Company Agreement    Agreement (Madison, AL ‐ Old Madison                                    (as assignee of Browning Oil           $0.00
                                                                              SHELL OIL PRODUCTS US
                                    Pike)                                                                   Company)
                                    Facility Development Transfer Program                                   Mountain Express Oil Company
                                                                              EQUILON ENTERPRISES LLC DBA
           Oil Company Agreement    Agreement (Evansville, IN ‐ N. Green                                    (as assignee of Browning Oil           $0.00
                                                                              SHELL OIL PRODUCTS US
                                    River Rd.)                                                              Company)
                                                                              26 of 98
                  Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 31 of 102
  Store
           Contract Type               Title                                   Counterparty                      Debtor Entity                    Est. Cure
 Number
                                       Facility Development Transfer Program                                     Mountain Express Oil Company
                                                                               EQUILON ENTERPRISES LLC DBA
           Oil Company Agreement       Agreement (Evansville, IN ‐ E. Lloyd                                      (as assignee of Browning Oil      $0.00
                                                                               SHELL OIL PRODUCTS US
                                       Pkwy)                                                                     Company)
                                       Wholesale Marketer Facility
                                                                               EQUILON ENTERPRISES LLC DBA
           Oil Company Agreement       Development Incentive Program                                             Mountain Express Oil Company      $0.00
                                                                               SHELL OIL PRODUCTS US
                                       Agreement (Oklahoma City, OK)
                                       Wholesale Marketer Facility
                                                                               EQUILON ENTERPRISES LLC DBA
           Oil Company Agreement       Development Incentive Program                                             Mountain Express Oil Company      $0.00
                                                                               SHELL OIL PRODUCTS US
                                       Agreement (Cameron, OK)
                                                                                                                 Star Mountain Express, LLC (as
   877     Fuel Supply Agreement       FUEL DISPENSING LEASE AGREEMENT         EROS ENTERPRISES INC                                                $0.00
                                                                                                                 assignee of Star Fuels, Inc.)
  3452     Vendor Agreement            ATM SITE LOCATION AGREEMENT             ETHAN TINDELL                     MEX RE‐SW‐OK LLC                  $0.00
                                                                               EUCLID SUNOCO INC | FADI
   402     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                     Mountain Express Oil Company      $0.00
                                                                               SULAIMAN
                                                                               EUCLID SUNOCO INC | FADI
   402     Rebate Agreement            REBATE AGREEMENT                                                          Mountain Express Oil Company      $0.00
                                                                               SULAIMAN
                                                                               EUCLID SUNOCO INC | FADI
   402     Sublease                    COMMERCIAL LEASE                                                          Mountain Express Oil Company      $0.00
                                                                               SULAIMAN
    7      Prime Lease (Single Site)   FIRST AMENDMENT TO LEASE                EUNSAN CORPORATION LLC            Mountain Express Oil Company      $0.00

   385     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                   EXXON 2311 LLC | HASNIAN BASHIR   Mountain Express Oil Company      $0.00
                                                                               EXXON 2311 LLC | HASNIAN BASHIR
                                       FIRST AMENDMENT OF FUEL SUPPLY
   385     Fuel Supply Agreement                                               | SM47 ENTERPRISES LLC | SHAYAN   Mountain Express Oil Company      $0.00
                                       AGREEMENT
                                                                               MASOOD
   600     Oil Company Agreement       LUBRICANTS SUPPLY AGREEMENT             EXXON MOBIL OIL CORPORATION       Mountain Express Oil Company      $0.00
497 | 606 |                            BRANDED WHOLESALE INCENTIVE
            Oil Company Agreement                                               EXXON MOBIL OIL CORPORATION      Mountain Express Oil Company      $0.00
   536                                 PROGRAM
                                       Branded Wholesale Brand Incentive
   268     Oil Company Agreement       Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION       Mountain Express Oil Company      $0.00
                                       Completion Form
                                       Branded Wholesale Brand Incentive
   276     Oil Company Agreement       Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION       Mountain Express Oil Company      $0.00
                                       Completion Form
                                       Branded Wholesale Brand Incentive
   318     Oil Company Agreement       Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION       Mountain Express Oil Company      $0.00
                                       Completion Form
                                       Branded Wholesale Brand Incentive
   582     Oil Company Agreement       Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION       Mountain Express Oil Company      $0.00
                                       Completion Form
                                       AMENDMENT TO REIMBURSEMENT
   600     Oil Company Agreement                                                EXXONMOBIL OIL CORPORATION       Mountain Express Oil Company      $0.00
                                       AGREEMENT
                                       AMENDMENT TO REIMBURSEMENT
                                       AGREEMENT BETWEEN EXXONMOBIL
   600     Oil Company Agreement                                                EXXONMOBIL OIL CORPORATION       Mountain Express Oil Company      $0.00
                                       OIL CORPORATION AND MOUNTAIN
                                       EXPRESS OIL CO
                                       AMENDMENT TO REIMBURSEMENT
                                       AGREEMENT BETWEEN EXXONMOBIL
   600     Oil Company Agreement                                                EXXONMOBIL OIL CORPORATION       Mountain Express Oil Company      $0.00
                                       OIL CORPORATION AND MOUNTAIN
                                       EXPRESS OIL CO
   600     Oil Company Agreement       LUBRICANTS SUPPLY AGREEMENT             EXXONMOBIL OIL CORPORATION        Mountain Express Oil Company      $0.00
                                       EXXONMOBIL OIL CORPORATION
                                       (EXXONMOBIL) BRANDED WHOLESALE
                                       BRAND INCENTIVE PROGRAM (BIP)
                                       PROJECT PRE‐
   697     Oil Company Agreement                                                EXXONMOBIL OIL CORPORATION       Mountain Express Oil Company      $0.00
                                       AUTHORIZATION/COMPLETION FORM
                                       FOR BRANDED WHOLESALER (BW) OR
                                       BRAND FEE AGREEMENT HOLDER (BFA
                                       HOLDER)
                                       Branded Wholesale Brand Incentive
  1940     Oil Company Agreement       Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION       Mountain Express Oil Company      $0.00
                                       Completion Form
                                       Branded Wholesale Brand Incentive
  1945     Oil Company Agreement       Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION       Mountain Express Oil Company      $0.00
                                       Completion Form
                                       Branded Wholesale Brand Incentive
  1947     Oil Company Agreement       Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION       Mountain Express Oil Company      $0.00
                                       Completion Form
                                       Branded Wholesale Brand Incentive
  3066     Oil Company Agreement       Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION       Mountain Express Oil Company      $0.00
                                       Completion Form

                                                                               27 of 98
                 Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 32 of 102
  Store
           Contract Type            Title                                Counterparty                     Debtor Entity                  Est. Cure
 Number
                                    Branded Wholesale Brand Incentive
  3075     Oil Company Agreement    Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION   Mountain Express Oil Company    $0.00
                                    Completion Form
                                    Branded Wholesale Brand Incentive
  3084     Oil Company Agreement    Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION   Mountain Express Oil Company    $0.00
                                    Completion Form
                                    Branded Wholesale Brand Incentive
  3105     Oil Company Agreement    Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION   Mountain Express Oil Company    $0.00
                                    Completion Form
                                    Branded Wholesale Brand Incentive
  3227     Oil Company Agreement    Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION   Mountain Express Oil Company    $0.00
                                    Completion Form
                                    Branded Wholesale Brand Incentive
11 | 3311 |
            Oil Company Agreement   Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION   Mountain Express Oil Company    $0.00
   4311
                                    Completion Form
                                    Branded Wholesale Brand Incentive
  3062 |
           Oil Company Agreement    Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION   Mountain Express Oil Company    $0.00
   4062
                                    Completion Form
                                    Branded Wholesale Brand Incentive
  3063 |
           Oil Company Agreement    Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION   Mountain Express Oil Company    $0.00
   4063
                                    Completion Form
                                    Branded Wholesale Brand Incentive
  3065 |
           Oil Company Agreement    Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION   Mountain Express Oil Company    $0.00
   4065
                                    Completion Form
                                    Branded Wholesale Brand Incentive
  3067 |
           Oil Company Agreement    Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION   Mountain Express Oil Company    $0.00
   4067
                                    Completion Form
                                    Branded Wholesale Brand Incentive
  3070 |
           Oil Company Agreement    Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION   Mountain Express Oil Company    $0.00
   4070
                                    Completion Form
                                    Branded Wholesale Brand Incentive
  3072 |
           Oil Company Agreement    Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION   Mountain Express Oil Company    $0.00
   4072
                                    Completion Form
                                    Branded Wholesale Brand Incentive
  3073 |
           Oil Company Agreement    Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION   Mountain Express Oil Company    $0.00
   4073
                                    Completion Form
                                    Branded Wholesale Brand Incentive
  3074 |
           Oil Company Agreement    Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION   Mountain Express Oil Company    $0.00
   4074
                                    Completion Form
                                    Branded Wholesale Brand Incentive
  3076 |
           Oil Company Agreement    Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION   Mountain Express Oil Company    $0.00
   4076
                                    Completion Form
                                    Branded Wholesale Brand Incentive
  3080 |
           Oil Company Agreement    Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION   Mountain Express Oil Company    $0.00
   4080
                                    Completion Form
                                    Branded Wholesale Brand Incentive
  3081 |
           Oil Company Agreement    Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION   Mountain Express Oil Company    $0.00
   4081
                                    Completion Form
                                    Branded Wholesale Brand Incentive
  3083 |
           Oil Company Agreement    Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION   Mountain Express Oil Company    $0.00
   4083
                                    Completion Form
                                    Branded Wholesale Brand Incentive
  3085 |
           Oil Company Agreement    Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION   Mountain Express Oil Company    $0.00
   4085
                                    Completion Form
                                    Branded Wholesale Brand Incentive
  3086 |
           Oil Company Agreement    Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION   Mountain Express Oil Company    $0.00
   4086
                                    Completion Form
                                    Branded Wholesale Brand Incentive
  3089 |
           Oil Company Agreement    Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION   Mountain Express Oil Company    $0.00
   4089
                                    Completion Form
                                    Branded Wholesale Brand Incentive
  3092 |
           Oil Company Agreement    Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION   Mountain Express Oil Company    $0.00
   4092
                                    Completion Form
                                    Branded Wholesale Brand Incentive
  3115 |
           Oil Company Agreement    Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION   Mountain Express Oil Company    $0.00
   4115
                                    Completion Form
                                    Branded Wholesale Brand Incentive
  3155 |
           Oil Company Agreement    Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION   Mountain Express Oil Company    $0.00
   4155
                                    Completion Form
                                    Branded Wholesale Brand Incentive
  3200 |
           Oil Company Agreement    Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION   Mountain Express Oil Company    $0.00
   4200
                                    Completion Form
                                    Branded Wholesale Brand Incentive
  3215 |
           Oil Company Agreement    Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION   Mountain Express Oil Company    $0.00
   4215
                                    Completion Form
                                                                         28 of 98
                 Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 33 of 102
  Store
           Contract Type            Title                                   Counterparty                    Debtor Entity                  Est. Cure
 Number
                                    Branded Wholesale Brand Incentive
  3321 |
           Oil Company Agreement    Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION     Mountain Express Oil Company    $0.00
   4321
                                    Completion Form
                                    Branded Wholesale Brand Incentive
  3410 |
           Oil Company Agreement    Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION     Mountain Express Oil Company    $0.00
   4410
                                    Completion Form
                                    ASSUMPTION OF EXXONMOBIL
                                    BRANDED WHOLESALE BRAND
635 | 631 |
                                    INCENTIVE PROGRAM(BIP) AGREEMENT
685 | 643 |
            Oil Company Agreement   and EXXONMOBIL BRANDED                   EXXONMOBIL OIL CORPORATION     Mountain Express Oil Company    $0.00
617 | 634 |
                                    WHOLESALE CARD SITE DEVICE
 630 | 633
                                    INCENTIVE PROGRAM (CSD)
                                    AGREEMENT
 Not Site                           BRANDED WHOLESALER PMPA
          Oil Company Agreement                                              EXXONMOBIL OIL CORPORATION     Mountain Express Oil Company    $0.00
 Specific                           FRANCHISE AGREEMENT
 NOT SITE                           BRAND INCENTIVE PROGRAM
          Oil Company Agreement                                              EXXONMOBIL OIL CORPORATION     Mountain Express Oil Company    $0.00
 SPECIFIC                           AGREEMENT
 NOT SITE                           BRAND INCENTIVE PROGRAM
          Oil Company Agreement                                              EXXONMOBIL OIL CORPORATION     Mountain Express Oil Company    $0.00
 SPECIFIC                           AGREEMENT
                                    Branded Wholesale Brand Incentive
           Oil Company Agreement    Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION     Mountain Express Oil Company    $0.00
                                    Completion Form
                                    Branded Wholesale Brand Incentive
           Oil Company Agreement    Program (BIP) Project Pre‐Authorization‐ EXXONMOBIL OIL CORPORATION     Mountain Express Oil Company    $0.00
                                    Completion Form
                                    ExxonMobil Oil Corporation Unbranded
           Oil Company Agreement    Fuels Sales Agreement ‐ Formula‐Based EXXONMOBIL OIL CORPORATION        Mountain Express Oil Company    $0.00
                                    Business
           Oil Company Agreement    Reimbursement Agreement                 EXXONMOBIL OIL CORPORATION      Mountain Express Oil Company    $0.00
                                    Letter Authorization to use the Mobil
   276     Oil Company Agreement                                            EXXONMOBILE OIL CORPORATION     Mountain Express Oil Company    $0.00
                                    marks
                                    Letter Authorization to use the Mobil
   318     Oil Company Agreement                                            EXXONMOBILE OIL CORPORATION     Mountain Express Oil Company    $0.00
                                    marks
                                    Letter Authorization to use the Mobil
   582     Oil Company Agreement                                            EXXONMOBILE OIL CORPORATION     Mountain Express Oil Company    $0.00
                                    marks
311 | 3311                          Letter Authorization to use the Mobil
           Oil Company Agreement                                            EXXONMOBILE OIL CORPORATION     Mountain Express Oil Company    $0.00
  | 4311                            marks

312 | 3312                          Letter Authorization to use the Mobil
           Oil Company Agreement                                            EXXONMOBILE OIL CORPORATION     Mountain Express Oil Company    $0.00
  | 4312                            marks

316 | 3316                          Letter Authorization to use the Mobil
           Oil Company Agreement                                            EXXONMOBILE OIL CORPORATION     Mountain Express Oil Company    $0.00
  | 4316                            marks
  3321 |                            Letter Authorization to use the Mobil
           Oil Company Agreement                                            EXXONMOBILE OIL CORPORATION     Mountain Express Oil Company    $0.00
   4321                             marks
                                                                            EZ STOP FOOD MART LLC | HAUTER
   156     Fuel Supply Agreement    FUEL SUPPLY AGREEMENT                   TAYMOOR MOHAMMED | SAKER ALI Mountain Express Oil Company       $0.00
                                                                            MOHAMMED AL SAIDI
                                                                            EZ STOP FOOD MART LLC | HAUTER
   156     Sublease                 COMMERCIAL LEASE                        TAYMOOR MOHAMMED | SAKER ALI Mountain Express Oil Company       $0.00
                                                                            MOHAMMED AL SAIDI
                                                                            F M FOOD MART INC | MOHANNAD
   392     Fuel Supply Agreement    FUEL SUPPLY AGREEMENT                                                Mountain Express Oil Company       $0.00
                                                                            SALEH | MONTASER SALEH
                                    PETROLEUM PRODUCTS SUPPLY
   13      Fuel Supply Agreement                                            FAHRAN HAMEED                   Mountain Express Oil Company    $0.00
                                    AGREEMENT
                                                                            FAISAL ENTERPRISE | FARIDUL
   124     Fuel Supply Agreement    FUEL SUPPLY AGREEMENT                                                   Mountain Express Oil Company    $0.00
                                                                            BAHDUR
  3204     Sublease                 COMMERCIAL LEASE                        FAM FUELS 1 INC | NAGI FAHD M   MEX RE‐NE‐PA LLC                $0.00
  3204     Fuel Supply Agreement    FUEL SUPPLY AGREEMENT                   FAM FUELS 1 INC | NAGI FAHD M   Mountain Express Oil Company    $0.00

  3205     Fuel Supply Agreement    FUEL SUPPLY AGREEMENT                   FAM FUELS 1 INC | NAGI FAHD M   Mountain Express Oil Company    $0.00
  3205     Sublease                 COMMERCIAL LEASE                        FAM FUELS 1 INC | NAGI FAHD M   MEX RE‐NE‐PA LLC                $0.00
  3206     Sublease                 COMMERCIAL LEASE                        FAM FUELS 1 INC | NAGI FAHD M   MEX RE‐NE‐PA LLC                $0.00
  3206     Fuel Supply Agreement    FUEL SUPPLY AGREEMENT                   FAM FUELS 1 INC | NAGI FAHD M   Mountain Express Oil Company    $0.00
  3207     Sublease                 COMMERCIAL LEASE                        FAM FUELS 1 INC | NAGI FAHD M   MEX RE‐NE‐PA LLC                $0.00
  3207     Fuel Supply Agreement    FUEL SUPPLY AGREEMENT                   FAM FUELS 1 INC | NAGI FAHD M   Mountain Express Oil Company    $0.00




                                                                            29 of 98
                 Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 34 of 102
  Store
          Contract Type               Title                            Counterparty                      Debtor Entity                       Est. Cure
Number
 3204 |
 3205 |                               FIRST AMENDMENT OF COMMERCIAL
          Sublease                                                     FAM FUELS 1 INC | NAGI FAHD M     MEX RE‐NE‐PA LLC                     $0.00
 3206 |                               LEASE
  3207
                                                                       FAMS PETRO LLC | MOHAMED
  86      Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                              Mountain Express Oil Company         $0.00
                                                                       ELSAYED
                                      FIRST AMENDMENT OF COMMERCIAL    FAMS PETRO LLC | MOHAMED
  86      Sublease                                                                                       Mountain Express Oil Company         $0.00
                                      LEASE                            ELSAYED
                                                                       FAMS PETRO LLC | MOHAMED
  86      Sublease                    COMMERCIAL LEASE                                                   Mountain Express Oil Company         $0.00
                                                                       ELSAYED
                                                                       FARHAN WAZIRALI CHAGAN |
                                                                       SULTAN HUSEIN BADANI | SFS 5312
                                      FIRST AMENDMENT OF COMMERCIAL
  31      Sublease                                                     GROUP LLC | NADIRSHAH MOHANI | Mountain Express Oil Company            $0.00
                                      LEASE
                                                                       SHUKAR ENTERPRISE INC |
                                                                       SHALINAZ LALANI | TABRIK LALANI |

                                                                       FARHAN WAZIRALI CHAGAN |
                                                                       SULTAN HUSEIN BADANI | SFS 5312
                                      FIRST AMENDMENT OF PETROLEUM
  31      Fuel Supply Agreement                                        GROUP LLC | NADIRSHAH MOHANI | Mountain Express Oil Company            $0.00
                                      PRODUCTS SUPPLY AGREEMENT
                                                                       TABRIK LALANI | SHUKAR
                                                                       ENTERPRISE INC | SHALINAZ LALANI
                                      MOTOR FUEL SUPPLY AND
 355      Fuel Supply Agreement                                        FARID M KHAN                      Mountain Express Oil Company         $0.00
                                      COMMISSIONED SALES AGREEMENT
                                      FIRST AMENDMENT OF MOTOR FUEL    FARID M KHAN | ROYAL
 355      Fuel Supply Agreement       SUPPLY AND COMMISSIONED SALES    ENTERPRISES USA LLC | ASFIYA      Mountain Express Oil Company         $0.00
                                      AGREEMENT                        AHMED
                                                                       FASTWAY WOODOW WILSON INC
 363      Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                        MEX Fuels SE‐MS LLC                        $0.00
                                                                       AND MOHAMMED NAJI ALTUWATTY

                                                                       FASTWAY WOODROW WILSON INC |
 363      Sublease                    COMMERCIAL LEASE                                              MEX RE‐SE‐MS LLC                          $0.00
                                                                       MOHAMMED NAJI ALTUWATTY
                                                                                                          Mountain Express Oil Company
                                      COMMERCIAL REAL ESTATE LEASE                                       (as successor‐in‐interest to
 415      Sublease                                                     FASYNC, LLC                                                            $0.00
                                      CONTRACT                                                           Georgian Investment Properties,
                                                                                                         LLC)
                                      FIRST AMENDMENT OF PETROLEUM     FAYYAZI FUEL ENTERPRISES INC |
 314      Fuel Supply Agreement                                                                         Mountain Express Oil Company          $0.00
                                      PRODUCTS SUPPLY AGREEMENT        UMIYA 2022 INC
                                                                       FAYYAZI FUEL ENTERPRISES INC AND
                                      PETROLEUM PRODUCTS SUPPLY
 314      Fuel Supply Agreement                                        AHMAD M FAYYAZI AND USMAN M Mountain Express Oil Company               $0.00
                                      AGREEMENT
                                                                       FAYYAZI
                                      PETROLEUM PRODUCTS SUPPLY
 173      Fuel Supply Agreement                                        FAZEELAT DOSSANI                  Mountain Express Oil Company         $0.00
                                      AGREEMENT
                                      SECOND MODIFICATION OF PETROLEUM
 173      Fuel Supply Agreement                                        FAZEELAT DOSSANI                  Mountain Express Oil Company         $0.00
                                      PRODUCTS SUPPLY AGREEMENT

                                                                                                          Mountain Express Oil Company
                                                                       FEILONG COMPANY, INC. DBA
 637      Prime Lease (Single Site)   LEASE AGREEMENT                                                    (as successor‐in‐interest to Star    $0.00
                                                                       CHEN'S BUFFET
                                                                                                         Development, Inc.)
                                      FIRST AMENDMENT OF COMMERCIAL    FEILONG COMPANY, INC. DBA
 637      Prime Lease (Single Site)                                                                      Mountain Express Oil Company         $0.00
                                      LEASE                            CHEN'S BUFFET
 208      Sublease                    COMMERCIAL LEASE                 FEROZ ALI                         Mountain Express Oil Company         $0.00
                                      MOTOR FUEL SUPPLY AND
 208      Fuel Supply Agreement                                        FEROZ ALI                         Mountain Express Oil Company         $0.00
                                      COMMISSIONED SALES AGREEMENT
                                      PETROLEUM PRODUCTS SUPPLY
 438      Fuel Supply Agreement                                        FEROZ ALI                         Mountain Express Oil Company         $0.00
                                      AGREEMENT
 483      Fuel Supply Agreement       UNCONDITIONAL PERSONAL GUARANTY FEROZ ALI                          Mountain Express Oil Company         $0.00
                                      AMENDMENT TO AND ASSIGNMENT OF
                                                                       FEROZ ALI | HAFSAARIZ LLC |
                                      MOTOR FUEL SUPPLY AND
 208      Fuel Supply Agreement                                        JALALUDDIN NOORANI | SHAFEEQ      Mountain Express Oil Company         $0.00
                                      COMMISSIONED SALES AGREEMENT
                                                                       ALI MOHAMMED
                                      AND COMMERCIAL LEASE
                                      MOTOR FUEL SUPPLY AND            FEROZ ALI | SIRAJ ALI | SIRAJ G
 442      Fuel Supply Agreement                                                                          Mountain Express Oil Company         $0.00
                                      COMMISSIONED SALES AGREEMENT     LILANI
                                      MOTOR FUEL SUPPLY AND            FHF ENTERPRISES, INC | SAEED A.
 897      Fuel Supply Agreement                                                                          Mountain Express Oil Company         $0.00
                                      COMMISSIONED SALES AGREEMENT     SHAIKH
          Sublease                    COMMERCIAL LEASE                 FINER FOOD SERVICES LLC           Mountain Express Oil Company         $0.00
                                                                       FITZGERALD FUEL STOP LLC |
 189      Sublease                    COMMERCIAL LEASE                                                   MEX RE‐SE‐GA LLC                     $0.00
                                                                       VENKATA SIVA NAGA GARLAPATI
                                                                       FITZGERALD FUEL STOP LLC |
 189      Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                              MEX RE‐SE‐GA LLC                     $0.00
                                                                       VENKATA SIVA NAGA GARLAPATI
                                                                       30 of 98
                  Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 35 of 102
  Store
            Contract Type              Title                            Counterparty                        Debtor Entity                      Est. Cure
 Number
                                                                        FIVE PARTNERS LLC | SALIM
           Capital Contribution
   426                                 PLEDGE AGREEMENT                 MERCHANT | ZCESHAN NOORANI |        Mountain Express Oil Company        $0.00
           Agreement
                                                                        RAZIA KAPASI | DAWOOD KAPASI
                                                                                                             Mountain Express Oil Company
                                                                                                            (as successor‐in‐interest to
  3112     Sublease                    AMENDMENT TO CONTRACT OF LEASE   FLASH LUBE AND OIL LLC                                                  $0.00
                                                                                                            Central Oil and Supply
                                                                                                            Corporation)
                                                                                                             Mountain Express Oil Company
                                                                                                            (as successor‐in‐interest to
  3112     Sublease                    CONTRACT OF LEASE                FLASH LUBE AND OIL LLC                                                  $0.00
                                                                                                            Central Oil and Supply
                                                                                                            Corporation)
                                                                        FONTANUEVA MULTISERVICE |
  3058     Sublease                    COMMERCIAL LEASE                 EDWING ROBERT ODELIN                Mountain Express Oil Company        $0.00
                                                                        FONTANILLS
                                                                        FONTANUEVA MULTISERVICE |
                                       FIRST AMENDMENT OF COMMERCIAL
  3058     Sublease                                                     EDWING ROBERT ODELIN                Mountain Express Oil Company        $0.00
                                       LEASE
                                                                        FONTANILLS
                                       TEMPORARY SUPPLY AND LEASE       FOODMART 1 LLC | SUKHRANJAN
  3114     Sublease + Fuel Supply                                                                           Mountain Express Oil Company        $0.00
                                       AGREEMENT                        SINGH MULTANI
                                                                        FORD BROTHERS GAS INC | ALI FADI
   958     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                Mountain Express Oil Company        $0.00
                                                                        HASSAN
                                                                        FORD BROTHERS GAS INC | ALI FADI
   958     Equipment Lease             EQUIPMENT LEASE AGREEMENT                                            Mountain Express Oil Company        $0.00
                                                                        HASSAN
                                                                        FORD BROTHERS GAS INC | ALI FADI
   958     Sublease                    COMMERCIAL LEASE                                                     Mountain Express Oil Company        $0.00
                                                                        HASSAN
                                                                        FORD BROTHERS GAS INC | ALI FADI
   958     Rebate Agreement            REBATE AGREEMENT                                                     Mountain Express Oil Company        $0.00
                                                                        HASSAN
                                       FIRST AMENDMENT OF REBATE        FORD BROTHERS GAS INC | ALI FADI
   958     Rebate Agreement                                                                                 Mountain Express Oil Company        $0.00
                                       AGREEMENT                        HASSAN
                                       TEMPORARY SUPPLY AND LEASE       FORSYTHE TRAVEL PLAZA, LLC | AZIZ
  3122     Sublease + Fuel Supply                                                                           MEX Fuels SW‐LA LLC                 $0.00
                                       AGREEMENT                        AMIN TEJANI
                                                                        FORTUNA INVEST 100, LLC (AS
   686     Prime Lease (Single Site)   LEASE AGREEMENT                  SUCCESSOR‐IN‐INTEREST TO VAULT      Mountain Express Oil Company        $0.00
                                                                        CS 100 SERVICE LLC)
                                                                        FOUAD AL JALAL | MONROE FUELS
   404     Equipment Lease             EQUIPMENT LEASE AGREEMENT                                            MEX RE‐NE‐IN LLC                   $5,672.07
                                                                        CO INC
  3054 |
  3056 |
  3059 |
  3053 |                                                                FOX FUELS RETAIL GROUP LLC |
            Sublease                   COMMERCIAL LEASE                                                     MEX RE‐SW‐TX LLC                    $0.00
  3052 |                                                                AMIT SONIMINDE
  3055 |
  3058 |
   3057
  3052 |
  3054 |
  3056 |
  3059 |                                                                FOX FUELS RETAIL GROUP LLC AND
            Fuel Supply Agreement      FUEL SUPPLY AGREEMENT                                                Mountain Express Oil Company        $0.00
  3053 |                                                                AMIT SONIMINDDE
  3055 |
  3058 |
   3057
907 | 908 |
                                                                        FREEWAY STORES AL LLC | FREEWAY
909 | 910 |
                                                                        STORES AR LLC | FREEWAY STORES
911 | 912 | Fuel Supply Agreement      MASTER FUEL SUPPLY AGREEMENT                                      Mountain Express Oil Company           $0.00
                                                                        OK LLC | FREEWAY STORES TX LLC |
913 | 914 |
                                                                        NAVJIT AHLUWALIA | PRITPAL GULRI
   914

907 | 908 |
                                                                        FREEWAY STORES AL LLC | FREEWAY
909 | 910 |
                                                                        STORES AR LLC | FREEWAY STORES
911 | 912 | Sublease                   MASTER COMMERCIAL LEASE                                          Mountain Express Oil Company            $0.00
                                                                        TX LLC | NAVJIT AHLUWALIA |
913 | 914 |
                                                                        PRITPAL GULRI
   914
                                                                                                            MEX RE Holdings LLC (as assignee
           Purchase and Sale                                            FTF ACQUISITIONS PLACEHOLDER
                                       PURCHASE AND SALE AGREEMENT                                          of Mountain Express Oil             $0.00
           Agreement                                                    LLC
                                                                                                            Company)
                                                                                                            MEX RE Holdings LLC (as assignee
           Purchase and Sale           FIRST AMENDMENT TO PURCHASE AND FTF ACQUISITIONS PLACEHOLDER
                                                                                                            of Mountain Express Oil             $0.00
           Agreement                   SALE AGREEMENT                  LLC
                                                                                                            Company)
                                                                        FUEL SMART 10 INC | SHIHAB ABDO
  3013     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                            Mountain Express Oil Company            $0.00
                                                                        ALIARADIE AND ABDUL NASSER


                                                                        31 of 98
                Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 36 of 102
 Store
         Contract Type            Title                             Counterparty                      Debtor Entity                  Est. Cure
Number
                                                                    FUEL SMART 10 INC | SHIHAB ABDO
 3013    Sublease                 COMMERCIAL LEASE                                                  MEX RE‐SE‐NC LLC                  $0.00
                                                                    ALJARADIE | ABDUL NASSER
                                                                    FUEL SMART 11 INC | HAFAID KAID
 3004    Sublease                 COMMERCIAL LEASE                                                    MEX RE‐SE‐NC LLC                $0.00
                                                                    ALKOLANY | MAHMOOD M AHMED
                                                                    FUEL SMART 11 INC | NAFAID KAID
 3004    Fuel Supply Agreement    FUEL SUPPLY AGREEMENT             ALKOLANY AND MAHMOOD M            Mountain Express Oil Company    $0.00
                                                                    AHMED
                                                                    FUEL SMART 12 INC | HAFAID KAID
 3017    Sublease                 COMMERCIAL LEASE                                                    MEX RE‐SE‐NC LLC                $0.00
                                                                    ALKOLANY | MAHMOOD M AHMED
                                                                    FUEL SMART 12 INC | HAFAID KAID
 3017    Fuel Supply Agreement    FUEL SUPPLY AGREEMENT             ALKOLANY AND MAHMOOD M            Mountain Express Oil Company    $0.00
                                                                    AHMED
                                                                    FUEL SMART 13 INC | KHALID
 3047    Fuel Supply Agreement    FUEL SUPPLY AGREEMENT                                               Mountain Express Oil Company    $0.00
                                                                    ASHAIF | MAHMOOD MAHMED
                                                                    FUEL SMART 13 INC | KHALID
 3047    Sublease                 COMMERCIAL LEASE                                                    MEX RE‐SE‐NC LLC                $0.00
                                                                    ASHAIF | MAHMOOD MAHMED
                                                                    FUEL SMART 14 INC | KHALED
 3023    Sublease                 COMMERCIAL LEASE                                                    MEX RE‐SE‐NC LLC                $0.00
                                                                    ASHAIF | MAHMOODM AHMED
                                                                    FUEL SMART 14 INC | KHALED
 3023    Fuel Supply Agreement    FUEL SUPPLY AGREEMENT                                               Mountain Express Oil Company    $0.00
                                                                    ASHAIF AND MAHMOOD M AHMED
                                                                    FUEL SMART 15 INC | KHALED
 3021    Sublease                 COMMERCIAL LEASE                                                  MEX RE‐SE‐NC LLC                  $0.00
                                                                    ASHAIF | ABDULNASSER
                                                                    FUEL SMART 15 INC | KHALED
 3021    Fuel Supply Agreement    FUEL SUPPLY AGREEMENT                                             Mountain Express Oil Company      $0.00
                                                                    ASHAIF AND ABDUL NASSER
                                                                    FUEL SMART 16 INC | SHIHAB ABDO
 3003    Sublease                 COMMERCIAL LEASE                                                  MEX RE‐SE‐NC LLC                  $0.00
                                                                    ALJARADIE | ABDUL NASSER
                                                                    FUEL SMART 16 INC | SHIHAB ABDO
 3003    Fuel Supply Agreement    FUEL SUPPLY AGREEMENT                                             Mountain Express Oil Company      $0.00
                                                                    ALJARADIE AND ABDUL NASSER
                                                                    FUEL SMART 17 INC | MAHMOOD M
 3405    Fuel Supply Agreement    FUEL SUPPLY AGREEMENT                                               MEX Fuels SW‐LA LLC             $0.00
                                                                    AHMED
                                                                    FUEL SMART 17 INC | MAHMOOD M
 3405    Sublease                 COMMERCIAL LEASE                                                    MEX RE‐SW‐LA LLC                $0.00
                                                                    AHMED
                                                                    FUEL SMART 18 INC | MAHMOOD M
 4322    Sublease                 COMMERCIAL LEASE                                                    MEX RE‐SW‐LA LLC                $0.00
                                                                    AHMED
                                                                    FUEL SMART 18 INC | MAHMOOD M
 4322    Fuel Supply Agreement    FUEL SUPPLY AGREEMENT                                               MEX Fuels SW‐LA LLC             $0.00
                                                                    AHMED
                                                                    FUEL SMART 4 INC | HASHED
 3008    Sublease                 COMMERCIAL LEASE                  MOHAMED HASSAN | ABDUL            MEX RE‐SE‐NC LLC                $0.00
                                                                    NASSER
                                                                    FUEL SMART 4 INC | HASHED
 3008    Fuel Supply Agreement    FUEL SUPPLY AGREEMENT             MOHAMED HASSAN AND ABDUL          Mountain Express Oil Company    $0.00
                                                                    NASSER
                                                                    FUEL SMART 5 INC | HASHED
 3018    Sublease                 COMMERCIAL LEASE                  MOHAMED HASSAN | ABDUL            MEX RE‐SE‐NC LLC                $0.00
                                                                    NASSER
                                                                    FUEL SMART 5 INC | HASHED
 3018    Fuel Supply Agreement    FUEL SUPPLY AGREEMENT             MOHAMED HASSAN AND ABDUL          Mountain Express Oil Company    $0.00
                                                                    NASSER
                                                                    FUEL SMART 7 INC | SHAYEF
 3020    Fuel Supply Agreement    FUEL SUPPLY AGREEMENT             MOHAMED SALEH NASSAN AND          Mountain Express Oil Company    $0.00
                                                                    MAHMOOD M AHMED
                                                                    FUEL SMART 9 INC | SHIHAB ABDO
 3049    Fuel Supply Agreement    FUEL SUPPLY AGREEMENT                                               Mountain Express Oil Company    $0.00
                                                                    ALJARADIE | ABDUL NASSER
                                                                    FUEL SMART 9 INC | SHIHAB ABDO
 3049    Sublease                 COMMERCIAL LEASE                                                    MEX RE‐SE‐NC LLC                $0.00
                                                                    ALJARADIE | ABDUL NASSER
                                                                    GARALD ENTERPRISES INC | RICK
 3012    Sublease                 COMMERCIAL LEASE                                                    MEX RE‐SE‐NC LLC                $0.00
                                                                    BRITT
                                  ASSIGNMENT AND AMENDMENT TO       GAYATRI TAPANSINGH | TAPAN
  12     Fuel Supply Agreement                                                                        Mountain Express Oil Company    $0.00
                                  PETROLEUM SUPPLY AGREEMENT        SINGH | KANISAR INC | TGAA LLC
                                  FIRST AMENDMENT OF PETROLUEM
 131     Fuel Supply Agreement                                      GEETAMATA LLC                     Mountain Express Oil Company    $0.00
                                  PRODUCTS SUPPLY AGREEMENT
                                                                    GEORGE'S AUTO CARE LLC | JORGE
 125     Sublease                 COMMERCIAL LEASE                                                    Mountain Express Oil Company    $0.00
                                                                    AYALA
                                  FIRST AMENDMENT OF COMMERCIAL     GEORGE'S AUTO CARE LLC | JORGE
 125     Sublease                                                                                     Mountain Express Oil Company    $0.00
                                  LEASE                             AYALA
                                  TEMPORARY LEASE AND FUEL SUPPLY   GEPP FOOD MART, LLC | NAJI
 3137    Sublease + Fuel Supply                                                                       MEX RE‐SW‐AR LLC                $0.00
                                  AGREEMENT                         ALIKAIWAN
                                                                    GIL'S INVESTMENTS OF ATL ,LLC |
 241     Sublease                 COMMERCIAL LEASE                                                    MEX RE‐SE‐GA LLC                $0.00
                                                                    PABLO G VICENS



                                                                    32 of 98
                Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 37 of 102
 Store
         Contract Type               Title                            Counterparty                     Debtor Entity                    Est. Cure
Number
                                                                      GIRI SUBRAMANI | VENKAT
                                     FIRST AMENDMENT OF FUEL SUPPLY   ENTERPRISES INC | RAKESHKUMAR
 737     Fuel Supply Agreement                                                                          Mountain Express Oil Company     $0.00
                                     AGREEMENT                        PATEL | HARESHKUMAR PATEL |
                                                                      RAJESH PATEL | HPRP TOLEDO LLC

                                                                      GIRI SUBRAMANI | VENKAT
                                     THIRD AMENDMENT OF COMMERCIAL
                                                                      ENTERPRISES INC | RAKESHKUMAR
 737     Sublease                    LEASE AND FIRST AMENDMENT OF                                       Mountain Express Oil Company     $0.00
                                                                      PATEL | HARESHKUMAR PATEL |
                                     EQUIPMENT LEASE
                                                                      RAJESH PATEL | HPRP TOLEDO LLC

 204     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT            GK BROTHER LLC | SUKHBIR SINGH    MEX Fuels SE‐MS LLC              $0.00

 204     Sublease                    COMMERCIAL LEASE                 GK BROTHER LLC | SUKHBIR SINGH    MEX RE‐SE‐MS LLC                 $0.00
                                     SECOND AMENDMENT TO
 1949    Sublease                                                     GLENWOOD RETAIL LLC               Mountain Express Oil Company     $0.00
                                     COMMERCIAL LEASE
                                     THIRD AMENDMENT OF COMMERCIAL    GLENWOOD RETAIL LLC | NAVKAR
 1949    Sublease                                                                                       Mountain Express Oil Company     $0.00
                                     LEASE                            RETAIL LLC | HARDIK SHAH
                                     FIRST AMENDMENT OF FUEL SUPPLY   GLENWOOD RETAIL LLC | NAVKAR
 1949    Fuel Supply Agreement                                                                          Mountain Express Oil Company     $0.00
                                     AGREEMENT                        RETAIL LLC|
                                                                      GLENWOOD RETAIL LLC | NILESH
 1949    Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                              Mountain Express Oil Company     $0.00
                                                                      PATEL
                                                                                                       MEX RE‐NE‐NY‐LI LLC (as
 976     Prime Lease (Single Site)   CONVENIENCE STORE SUBLEASE       GLOBAL MONTELLO GROUP CORP                                       $20,085.00
                                                                                                       assignee of VM Petro Inc.)
                                                                                                       MEX Fuels NE‐NY LLC (as
 973     Fuel Supply Agreement       COMMISSIONED AGENT AGREEMENT     GLOBAL MONTELLO GROUP CORP.                                        $0.00
                                                                                                       assignee of VM Petro Inc.)
 120     Sublease                    COMMERCIAL LEASE                 GOLD COAST AUTOMOTIVE LLC         Mountain Express Oil Company     $0.00
                                                                                                    Mountain Express Oil Company
                                                                      GOLDEN RESTAURANT OPERATIONS
  85     Sublease                    AMENDMENT OF LEASE                                            (as successor‐in‐interest to Lula     $0.00
                                                                      INC
                                                                                                   M. Crisp)
                                                                   GOOD FRIENDS HOLDINGS LLC |
                                     SECOND AMENDMENT TO PETROLEUM NOORUDDIN KHAJA | NIZAR
 483     Fuel Supply Agreement                                                                          Mountain Express Oil Company     $0.00
                                     PRODUCTS SUPPLY AGREEMENT     BATADA | SAJID JALALI | ACCESS
                                                                   COMMERCIAL, INC. | VAHID KAJANI
                                                                      GOOD FRIENDS HOLDINGS LLC |
                                     PETROLEUM PRODUCTS SUPPLY
 483     Fuel Supply Agreement                                        NOORUDDIN KHAJA | NIZAR          Mountain Express Oil Company      $0.00
                                     AGREEMENT
                                                                      BATADA | SALID JALALI
                                                                      GOOD LUCK VENTURES INC | DILDAR
 644     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                             Mountain Express Oil Company      $0.00
                                                                      SINGH
                                     FIRST AMENDMENT TO FUEL SUPPLY   GOOD LUCK VENTURES INC | DILDAR
 644     Fuel Supply Agreement                                                                         Mountain Express Oil Company      $0.00
                                     AGREEMENT                        SINGH
                                                                      GOPI OF NC LLC | NATVARBHAI
 3010    Fuel Supply Agreement       FUEL SUPPLY AGREEMENT            SHIVABHAI PATEL | VISATBHAI      Mountain Express Oil Company      $0.00
                                                                      NATVARLAL PATEL
                                                                      GOPI OF NC LLC | NATVARBHAI
 3010    Sublease                    COMMERCIAL LEASE                 SHIVABHAI PATEL | VISTBHAI       MEX RE‐SE‐NC LLC                  $0.00
                                                                      NATVARLAL PATEL
 555     Sublease                    SUBLEASE AGREEMENT               GPS HOSPITALITY HUTS LLC         MEX North Alabama, LLC            $0.00
                                                                      GROVE C STORE LLC | VENKATA
 956     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                             Mountain Express Oil Company      $0.00
                                                                      KIRAN KUMAR MELAPU
                                                                                                       Mountain Express Oil Company
 956     Sublease                    COMMERCIAL LEASE AGREEMENT       GROVE C‐STORE LLC               (as assignee of Shamrock           $0.00
                                                                                                      Landings LLC)
                                     DEALER CREDIT CARD PROCESSING
 584     Fuel Supply Agreement                                        GS BUSINESS LLC                   Mountain Express Oil Company     $0.00
                                     AGREEMENT
                                     PETROLEUM PRODUCTS SUPPLY
 584     Fuel Supply Agreement                                        GS BUSINESS LLC | GAURAB BASNET Mountain Express Oil Company       $0.00
                                     AGREEMENT
                                                                      GSS HOLDINGS 1 LLC | SUKHRANJAN
 207     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                            MEX RE‐SE‐MS LLC                   $0.00
                                                                      SINGH MULTANI
                                                                      GSS HOLDINGS 1 LLC | SUKHRANJAN
 207     Sublease                    COMMERCIAL LEASE                                                 MEX RE‐SE‐MS LLC                   $0.00
                                                                      SINGH MULTANI




                                                                      33 of 98
                 Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 38 of 102
  Store
           Contract Type           Title                            Counterparty            Debtor Entity                  Est. Cure
Number
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                                                                    GSS HOLDINGS LA LLC |
 3090 |    Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                    MEX Fuels SW‐LA LLC             $0.00
                                                                    SUKHRANJAN MULTANI
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 3089 |                            FIRST AMENDMENT OF FUEL SUPPLY   GSS HOLDINGS LA LLC |
           Fuel Supply Agreement                                                            Mountain Express Oil Company    $0.00
 3090 |                            AGREEMENT                        SUKHRANJAN MULTANI
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                                                                    GSS HOLDINGS LA LLC |
3073 |     Sublease                COMMERCIAL LEASE                                         Mountain Express Oil Company    $0.00
                                                                    SUKHRANJAN MULTANI
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                 Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 39 of 102
  Store
          Contract Type            Title                            Counterparty            Debtor Entity                  Est. Cure
Number
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                                   FIRST AMENDMENT OF COMMERCIAL    GSS HOLDINGS LA LLC |
 3073 |   Sublease                                                                          Mountain Express Oil Company    $0.00
                                   LEASE AND                        SUKHRANJAN MULTANI
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                                   MUTUAL TERMINATION AND RELEASE   GSS HOLDINGS LA LLC |
3073 |    Sublease + Fuel Supply                                                            MEX Fuels SW‐LA LLC             $0.00
                                   AGREEMENT                        SUKHRANJAN MULTANI
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                                   SECOND AMENDMENT OF COMMERCIAL GSS HOLDINGS LA LLC |
3073 |    Sublease                                                                          Mountain Express Oil Company    $0.00
                                   LEASE                          SUKHRANJAN MULTANI
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                                                                    GSS HOLDINGS LA LLC |
3098 |    Sublease                 COMMERCIAL LEASE                                         MEX RE‐SW‐LA LLC                $0.00
                                                                    SUKHRANJAN MULTANI
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                Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 40 of 102
  Store
          Contract Type           Title                            Counterparty            Debtor Entity                  Est. Cure
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 3094 |                                                            GSS HOLDINGS LA LLC |
          Sublease                ACKNOWLEDGEMENT LETTER                                   MEX RE‐SW‐LA LLC                $0.00
 3098 |                                                            SUKHRANJAN MULTANI
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                                  FIRST AMENDMENT OF FUEL SUPPLY   GSS HOLDINGS LA LLC |
 3078 |   Fuel Supply Agreement                                                            Mountain Express Oil Company    $0.00
                                  AGREEMENT                        SUKHRANJAN MULTANI
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                                                                   GSS HOLDINGS LA LLC |
4095 |    Sublease                COMMERCIAL LEASE                                         MEX RE‐SW‐LA LLC                $0.00
                                                                   SUKHRANJAN MULTANI
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                Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 41 of 102
  Store
          Contract Type           Title                             Counterparty                    Debtor Entity                  Est. Cure
Number
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 3067 |                           FIRST AMENDMENT OF COMMERCIAL
                                                                    GSS HOLDINGS LA LLC AND
 3073 |   Fuel Supply Agreement   LEASE AND FUEL SUPPLY AGREEMENT                                   Mountain Express Oil Company    $0.00
                                                                    SUKHRANJAN MULTANI
 3091 |                           (“Amendment”)
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                                                                    GSS HOLDINGS LLC | SUJHRANJAN
   206    Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                             MEX RE‐SE‐MS LLC                $0.00
                                                                    SINGH MULTANI
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                                                                    GSS HOLDINGS LLC | SUKHRANJAN
 3073 |   Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                             MEX Fuels SW‐LA LLC             $0.00
                                                                    MULTANI
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                                                                    GSS HOLDINGS LLC | SUKHRANJAN
3073 |    Sublease                COMMERCIAL LEASE                                                  Mountain Express Oil Company    $0.00
                                                                    MULTANI
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                                                                    GSS HOLDINGS LLC | SUKHRANJAN
3095 |    Sublease                COMMERCIAL LEASE                                                  MEX RE‐SW‐LA LLC                $0.00
                                                                    MULTANI
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                  Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 42 of 102
  Store
            Contract Type           Title                                   Counterparty                    Debtor Entity                  Est. Cure
 Number
                                                                            GSS HOLDINGS LLC | SUKHRANJAN
   206      Sublease                COMMERCIAL LEASE                                                        MEX RE‐SE‐MS LLC                $0.00
                                                                            SINGH MULTANI
                                                                            GTBD INVESTMENT 3 LLC |
   957      Rebate Agreement        REBATE AGREEMENT                                                        Mountain Express Oil Company    $0.00
                                                                            TALUKDAR GOLAP
                                                                            GTBD INVESTMENT 3 LLC |
   957      Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                                   Mountain Express Oil Company    $0.00
                                                                            TALUKDAR GOLAP
                                                                            GTBD INVESTMENT 3 LLC |
   957      Sublease                COMMERCIAL LEASE                                                        Mountain Express Oil Company    $0.00
                                                                            TALUKDAR GOLAP
   437      Oil Company Agreement   Gulf Branded Distributor Rack Offer     GULF OIL LIMITED PARTNERSHIP    Mountain Express Oil Company    $0.00
                                    LIST OF STATIONS, CONTRACTUAL
   581      Oil Company Agreement   MINIMUM VOLUMES, AND SPECIFIED          GULF OIL LIMITED PARTNERSHIP    Mountain Express Oil Company    $0.00
                                    TERMINALS
                                    RE: GULF BRANDED DISTRIBUTER RACK
   659      Oil Company Agreement                                           GULF OIL LIMITED PARTNERSHIP    Mountain Express Oil Company    $0.00
                                    OFFER
   659      Oil Company Agreement   Gulf Branded Distributor Rack Offer     GULF OIL LIMITED PARTNERSHIP    Mountain Express Oil Company    $0.00

160 | 659 |
581 | 187 |                         Exhibit A to Gulf Branded Distributor
            Oil Company Agreement                                           GULF OIL LIMITED PARTNERSHIP    Mountain Express Oil Company    $0.00
437 | 361 |                         Agreement
 349 | 173

173 | 349 |
            Oil Company Agreement   SMOOTH REBATE ADDENDUM                  GULF OIL LIMITED PARTNERSHIP    Mountain Express Oil Company    $0.00
 282 | 361

173 | 349 |
            Oil Company Agreement   Gulf Branded Distributor Rack Offer     GULF OIL LIMITED PARTNERSHIP    Mountain Express Oil Company    $0.00
 282 | 361

173 | 361 Oil Company Agreement     Gulf Branded Distributor Rack Offer     GULF OIL LIMITED PARTNERSHIP    Mountain Express Oil Company    $0.00
                                    LIST OF STATIONS, CONTRACTUAL
349 | 581 Oil Company Agreement     MINIMUM VOLUMES, AND SPECIFIED          GULF OIL LIMITED PARTNERSHIP    Mountain Express Oil Company    $0.00
                                    TERMINALS
363 | 540 |
            Oil Company Agreement   Gulf Branded License Agreement          GULF OIL LIMITED PARTNERSHIP    Mountain Express Oil Company    $0.00
   539
                                    Branding, Image, and Investment
539 | 540 |
            Oil Company Agreement   Allowance Addendum: License             GULF OIL LIMITED PARTNERSHIP    Mountain Express Oil Company    $0.00
   363
                                    Distributor
                                    SCHEDULE 1 TO BRANDING, IMAGE,
581 | 349 Oil Company Agreement     AND INVESTMENT ALLOWANCE                GULF OIL LIMITED PARTNERSHIP    Mountain Express Oil Company    $0.00
                                    ADDENDUM
659 | 581 |
                                    Branding, Image, and Investment
187 | 437 | Oil Company Agreement                                           GULF OIL LIMITED PARTNERSHIP    Mountain Express Oil Company    $0.00
                                    Allowance Addendum
 361 | 173
                                    LIST OF STATIONS, CONTRACT
   Gulf     Oil Company Agreement                                           GULF OIL LIMITED PARTNERSHIP    Mountain Express Oil Company    $0.00
                                    VOLUMES, AND SPECIFIED TERMINALS
 Not Site
            Oil Company Agreement   CONFIDENTIALITY AGREEMENT               GULF OIL LIMITED PARTNERSHIP    Mountain Express Oil Company    $0.00
 Specific
 Not Site                           GULF BRANDED DISTRIBUTOR
            Oil Company Agreement                                           GULF OIL LIMITED PARTNERSHIP    Mountain Express Oil Company    $0.00
 Specific                           AGREEMENT
                                    AMENDMENT NO. 2 TO GULF BRANDED
 Not Site
            Oil Company Agreement   DISTRIBUTOR AGREEMENT AND               GULF OIL LIMITED PARTNERSHIP    Mountain Express Oil Company    $0.00
 Specific
                                    SMOOTH REBATE ADDENDUM
                                    Amendment No. 1 to Gulf Branded
            Oil Company Agreement   Distributor Agreement and Smooth        GULF OIL LIMITED PARTNERSHIP    Mountain Express Oil Company    $0.00
                                    Rebate Addendum
                                    Amendment No. 2 to Gulf Branded
            Oil Company Agreement   Distributor Agreement and Smooth        GULF OIL LIMITED PARTNERSHIP    Mountain Express Oil Company    $0.00
                                    Rebate Addendum
            Oil Company Agreement   Gulf Branded Distributor Agreement      GULF OIL LIMITED PARTNERSHIP    Mountain Express Oil Company    $0.00
                                    Gulf Credit Card Program Agreement ‐
            Oil Company Agreement                                           GULF OIL LIMITED PARTNERSHIP    Mountain Express Oil Company    $0.00
                                    Distributor
                                    Gulf Credit Card Program Agreement ‐
            Oil Company Agreement                                           GULF OIL LIMITED PARTNERSHIP    Mountain Express Oil Company    $0.00
                                    Licensee
            Oil Company Agreement   Smooth Rebate Addendum                  GULF OIL LIMITED PARTNERSHIP    Mountain Express Oil Company    $0.00
                                    Branding, Image, and Investment
            Oil Company Agreement   Allowance Addendum: License             GULF OIL LIMITED PARTNERSHIP    Mountain Express Oil Company    $0.00
                                    Distributor
   437      Oil Company Agreement   Gulf Branded Distributor Rack Offer     GULF OIL LIMITED PARTNERSHIP    Mountain Express Oil Company    $0.00
   437      Sublease                COMMERCIAL LEASE                        GUNATITAM INC | HARDIK PATEL    MEX RE‐SE‐GA LLC                $0.00
   437      Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                   GUNATITAM INC | HARDIK PATEL    MEX Fuels SE‐GA LLC             $0.00
                                                                            38 of 98
                Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 43 of 102
 Store
         Contract Type           Title                             Counterparty                    Debtor Entity                      Est. Cure
Number
 3027    Fuel Supply Agreement   FUEL SUPPLY AGREEMENT            GUNWANTI INC | RAJIV KAUSHIK     Mountain Express Oil Company        $0.00
 4027    Sublease                COMMERCIAL LEASE                 GUNWANTI INC | RAJIV KAUSHIK     MEX RE‐SE‐NC LLC                    $0.00
 742     Guarantee               UNCONDITIONAL PERSONAL GUARANTY GYANENDRA KUMAR SHAHI             Mountain Express Oil Company        $0.00
                                                                HA NGOC LE PHAM | HA NGOC
 241     Sublease                COMMERCIAL LEASE                                                  Mountain Express Oil Company        $0.00
                                                                LEPHAM
                                 AMENDMENT TO AND ASSIGNMENT OF HABIBULLAH HEMANI | NISA
 442     Fuel Supply Agreement   MOTOR FUEL SUPPLY AND          MANAGEMENT INC | FEROZ ALI |       Mountain Express Oil Company        $0.00
                                 COMMISSIONED SALES AGREEMENT   SIRAJ ALI | SIRAJ G LILANI |
                                 FIRST AMENDMENT COMMERCIAL
 183     Sublease                                               HAESAN INC | HVO SHIK AHN          Mountain Express Oil Company        $0.00
                                 LEASE
 183     Sublease                COMMERCIAL LEASE                 HAESAN INC | HYO SHIK AHN        Mountain Express Oil Company        $0.00
                                 SECOND AMENDMENT OF COMMERCIAL HAESAN INC | HYO SHIK AHN | TD
 183     Sublease                                                                                  Mountain Express Oil Company        $0.00
                                 LEASE                          88 LLC | MINTAN YANG
                                 ASSIGNMENT OF PETROLEUM        HAESAN, INC | THE ESTATE OF HYO
 183     Sublease                                                                                  Mountain Express Oil Company        $0.00
                                 PRODUCTS LEASE                 SHIK AHN | SOON OK AHN
                                                                HAFSAARIZ LLC | JALALUDDIN
                                 PETROLEUM PRODUCTS SUPPLY
 208     Fuel Supply Agreement                                  NOORANI | SHAFEEQ ALI              Mountain Express Oil Company        $0.00
                                 AGREEMENT
                                                                MOHAMMED
                                 SECOND AMENDMENT OF MOTOR FUEL HAFSAARIZ LLC | JALALUDDIN
 208     Fuel Supply Agreement   SUPPLY AND COMMISSIONED SALES  NOORANI | SHAFEEQ ALI       Mountain Express Oil Company               $0.00
                                 AGREEMENT AND COMMERCIAL LEASE MOHAMMED | NYLA CUMMING LLC
                                                                  HAGIAO THI NGUYEN | NUR LAILI
                                 AMENDMENT TO AND ASSIGNMENT OF SHOIM | MASELA SPRINGS INC |        Mountain Express Oil Company
 374     Sublease                COMMERCIAL REAL ESTATE LEASE     DANNY RIYANTO | WINSTON          (as successor‐in‐interest to        $0.00
                                 CONTRACT                         PROPERTY VENTURES LLC |          Winston Property Ventures, LLC)
                                                                  CONSTANTINE BETHANIA CORP |
                                 FIRST AMENDMENT OF COMMERCIAL    HAGRAS CONVENIENCE LLC | ISLAM
  78     Sublease                                                                                  Mountain Express Oil Company        $0.00
                                 LEASE                            HAGRAS
                                                                  HAGRAS CONVENIENCE LLC | ISLAM
  78     Sublease                COMMERCIAL LEASE                                                  Mountain Express Oil Company        $0.00
                                                                  HAGRAS
                                 AMENDED AND RESTATED FUEL SUPPLY HAGRAS CONVENIENCE LLC | ISLAM
  80     Fuel Supply Agreement                                                                     Mountain Express Oil Company        $0.00
                                 AGREEMENT                        HAGRAS
                                                                  HAGRAS CONVENIENCE LLC | ISLAM
 120     Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                             Mountain Express Oil Company        $0.00
                                                                  HAGRAS
                                                                  HAGRAS CONVENIENCE LLC | ISLAM
 121     Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                             Mountain Express Oil Company        $0.00
                                                                  HAGRAS
                                 AMENDED AND RESTATED FUEL SUPPLY HAGRAS CONVENIENCE LLC | ISLAM
 126     Fuel Supply Agreement                                                                     Mountain Express Oil Company        $0.00
                                 AGREEMENT                        M HAGRAS
                                                                  HANUMAN ENTERPPRISES LLC |
 3126    Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                             MEX Fuels SW‐OK LLC                 $0.00
                                                                  ARPITKUMAR PATEL
                                                                  HANUMAN ENTERPRISES LLC |
 3126    Sublease                COMMERCIAL LEASE                                                  MEX RE‐SW‐OK LLC                    $0.00
                                                                  ARPITKUMAR PATEL
                                 PETROLEUM PRODUCTS SUPPLY        HARDIK PARIKH | V AND H
 605     Fuel Supply Agreement                                                                     Mountain Express Oil Company        $0.00
                                 AGREEMENT                        CONVENIENCE LLC
                                                                  HARDIK PARIKH | V AND H
                                 FIRST AMENDMENT OF PETROLEUM
 605     Fuel Supply Agreement                                    CONVENIENCE LLC | SHASEE PRIME   Mountain Express Oil Company        $0.00
                                 PRODUCTS SUPPLY AGREEMENT
                                                                  LLC | SURESH RAO
                                 PETROLEUM PRODUCTS SUPPLY
 536     Fuel Supply Agreement                                    HARGURTAG SINGH                  Mountain Express Oil Company        $0.00
                                 AGREEMENT
                                 FIRST AMENDMENT OF PETROLEUM     HARGURTAG SINGH | JSR LLC |
 591     Fuel Supply Agreement                                                                     Mountain Express Oil Company        $0.00
                                 PRODUCTS SUPPLY AGREEMENT        DILRAJ KAUR
                                                                  HARGURTAG SINGH | OM SAI RAM
                                 FIRST AMENDMENT OF PETROLEUM
 536     Fuel Supply Agreement                                    BUSINSES INC | RAMANDEEP         Mountain Express Oil Company        $0.00
                                 PRODUCTS SUPPLY AGREEMENT
                                                                  MOKHA
                                                                  HARLEM FOOD MART & VAPE LLC |
 1946    Sublease                COMMERCIAL LEASE                                                  Mountain Express Oil Company        $0.00
                                                                  ARAFAT ABDO MUSLEH ALHYANI
                                                                  HARLEM FOOD MART AND VAPE LLC
 1946    Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                           Mountain Express Oil Company          $0.00
                                                                  | ARAFAT ABDO | MUSLEH ALHYANI
                                                                                                   MEX RE Holdings LLC (as assignee
         Purchase and Sale                                        HARPARMESHWAR LLC | FD RETAIL
 129                             PURCHASE AND SALE AGREEMENT                                       of Mountain Express Oil             $0.00
         Agreement                                                PROPERTIES LLC
                                                                                                   Company)
                                 PETROLEUM PRODUCTS SUPPLY
 394     Fuel Supply Agreement                                    HARSIDABEN PATEL                 Mountain Express Oil Company        $0.00
                                 AGREEMENT
 638     Fuel Supply Agreement   FUEL SUPPLY AGREEMENT            HASAN MUSTAFA SYED               Mountain Express Oil Company        $0.00

 638     Rebate Agreement        REBATE AGREEMENT                 HASAN MUSTAFA SYED               Mountain Express Oil Company        $0.00

 638     Sublease                COMMERCIAL LEASE                 HASAN MUSTAFA SYED               Mountain Express Oil Company        $0.00


                                                                  39 of 98
                  Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 44 of 102
 Store
           Contract Type               Title                             Counterparty                      Debtor Entity                   Est. Cure
Number
                                       FIRST AMENDMENT OF SUPPLY         HASAN MUSTAFA SYED | HMS
  638      Fuel Supply Agreement                                                                           Mountain Express Oil Company     $0.00
                                       AGREEMENT                         FOODS LLC
                                       FIRST AMENDMENT OF COMMERCIAL     HASAN MUSTAFA SYED | HMS
  638      Sublease                                                                                        Mountain Express Oil Company     $0.00
                                       LEASE                             FOODS LLC
                                       FIRST AMENDMENT OF FUEL SUPPLY    HASANALI AND DILSHAD LLC | ARIF
  599      Fuel Supply Agreement                                                                           Mountain Express Oil Company     $0.00
                                       AGREEMENT                         HASANALI JIWAN
                                                                         HASANALI AND DILSHAD LLC | ARIF
  599      Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                               Mountain Express Oil Company     $0.00
                                                                         HASANALI JIWANI
                                                                         HASANALI AND DILSHAD LLC | ARIF
  599      Rebate Agreement            REBATE AGREEMENT                                                    Mountain Express Oil Company     $0.00
                                                                         HASANALI JIWANI
                                       FOURTH AMENDMENT OF COMMERCIAL
  792      Sublease                                                   HASMIKAL PATEL | PRIKRIT INC         Mountain Express Oil Company     $0.00
                                       LEASE
                                                                      HASMUKHBHAI CHAUDHARY | SAI
 3029      Fuel Supply Agreement       FUEL SUPPLY AGREEMENT          ENT INC | PRAHLADBHAI                Mountain Express Oil Company     $0.00
                                                                      CHAUDHARI
                                                                      HASMUKHBHAI CHAUDHARY | SAI
 3029      Sublease                    COMMERCIAL LEASE               ENT INC | PRAHLADBHAI                MEX RE‐SE‐NC LLC                 $0.00
                                                                      CHAUDHARI
                                                                                                            Mountain Express Oil Company
                                       COMMERCIAL REAL ESTATE LEASE
  614      Sublease                                                      HB MART LLC                       (as successor‐in‐interest to     $0.00
                                       CONTRACT
                                                                                                           Buford Dam Ventures, LLC)
                                                                         HB MART LLC | AVANI USA
                                       FIRST AMENDMENT OF COMMERCIAL
  614      Sublease                                                      CORPORATION | KARTIKKUMAR A       Mountain Express Oil Company     $0.00
                                       REAL ESTATE LEASE CONTRACT
                                                                         CHAUDHARI
                                       MOTOR FUEL SUPPLY AND             HB MART LLC | BHAVESH SHAH |
  614      Fuel Supply Agreement                                                                           Mountain Express Oil Company     $0.00
                                       COMMISSIONED SALES AGREEMENT      SONA SHAH
                                       FIRST AMENDMENT OF MOTOR FUEL
                                                                         HB MART LLC | BHAVESH SHAH |
  614      Fuel Supply Agreement       SUPPLY AND COMMISSIONED SALES                                       Mountain Express Oil Company     $0.00
                                                                         SONA SHAH
                                       AGREEMENT
                                                                      HB MART LLC | BHAVESH SHAH |
                                       SECOND AMENDMENT OF MOTOR FUEL
                                                                      SONA SHAH | AVANI USA
  614      Fuel Supply Agreement       SUPPLY AND COMMISSIONED SALES                                       Mountain Express Oil Company     $0.00
                                                                      CORPORATION | KARTIKKUMAR A
                                       AGREEMENT
                                                                      CHAUDHARI
                                                                      HEDMARK II, LLC (AS ASSIGNEE OF
  369      Prime Lease (Single Site)   LEASE AGREEMENT                                                     Mountain Express Oil Company     $0.00
                                                                      VAULT CS FAYETTEVILLE LLC)
                                       ROSWELL CONNECTION CONVENINCE
   7       Sublease                                                   HEE CHEOL EUN                        Mountain Express Oil Company     $0.00
                                       CENTER LEASE CONTRACT
                                       PETROLEUM PRODUCTS SUPPLY
  560      Fuel Supply Agreement                                      HELAL MOHAMED NAGI ALFAQEH           Mountain Express Oil Company     $0.00
                                       AGREEMENT
  560      Sublease                    COMMERCIAL LEASE                  HELAL MOHAMED NAGI ALFAQEH        Mountain Express Oil Company     $0.00
                                                                         HELAL MOHAMED NAGI ALFAQEH |
  560      Sublease                    AMENDMENT TO COMMERCIAL LEASE                                       Mountain Express Oil Company     $0.00
                                                                         EMPIRE 1 INC
                                                                         HESTERS TRUCK REPAIR SP | BILLY
 3061      Sublease                    COMMERCIAL LEASE                                                    MEX RE‐SE‐AL LLC                 $0.00
                                                                         HESTER JR
                                       STATION UPGRADE DISCOUNT          HF SINCLAIR REFINING &
 4281      Oil Company Agreement                                                                           Mountain Express Oil Company     $0.00
                                       AGREEMENT                         MARKETING LLC
                                       STATION UPGRADE DISCOUNT          HF SINCLAIR REFINING &
 4282      Oil Company Agreement                                                                           Mountain Express Oil Company     $0.00
                                       AGREEMENT                         MARKETING LLC
                                       STATION UPGRADE DISCOUNT          HF SINCLAIR REFINING &
 4283      Oil Company Agreement                                                                           Mountain Express Oil Company     $0.00
                                       AGREEMENT                         MARKETING LLC
                                       STATION UPGRADE DISCOUNT          HF SINCLAIR REFINING &
 4284      Oil Company Agreement                                                                           Mountain Express Oil Company     $0.00
                                       AGREEMENT                         MARKETING LLC
                                       STATION UPGRADE DISCOUNT          HF SINCLAIR REFINING &
 4285      Oil Company Agreement                                                                           Mountain Express Oil Company     $0.00
                                       AGREEMENT                         MARKETING LLC
                                       STATION UPGRADE DISCOUNT          HF SINCLAIR REFINING &
 4287      Oil Company Agreement                                                                           Mountain Express Oil Company     $0.00
                                       AGREEMENT                         MARKETING LLC
                                       STATION UPGRADE DISCOUNT          HF SINCLAIR REFINING &
 4289      Oil Company Agreement                                                                           Mountain Express Oil Company     $0.00
                                       AGREEMENT                         MARKETING LLC
                                       STATION UPGRADE DISCOUNT          HF SINCLAIR REFINING &
 4290      Oil Company Agreement                                                                           Mountain Express Oil Company     $0.00
                                       AGREEMENT                         MARKETING LLC
                                       STATION UPGRADE DISCOUNT          HF SINCLAIR REFINING &
 4291      Oil Company Agreement                                                                           Mountain Express Oil Company     $0.00
                                       AGREEMENT                         MARKETING LLC
                                       STATION UPGRADE DISCOUNT          HF SINCLAIR REFINING &
 4292      Oil Company Agreement                                                                           Mountain Express Oil Company     $0.00
                                       AGREEMENT                         MARKETING LLC
                                       STATION UPGRADE DISCOUNT          HF SINCLAIR REFINING &
 4293      Oil Company Agreement                                                                           Mountain Express Oil Company     $0.00
                                       AGREEMENT                         MARKETING LLC
                                       STATION UPGRADE DISCOUNT          HF SINCLAIR REFINING &
 4294      Oil Company Agreement                                                                           Mountain Express Oil Company     $0.00
                                       AGREEMENT                         MARKETING LLC
Not Site                               STATION UPGRADE DISCOUNT          HF SINCLAIR REFINING &
           Oil Company Agreement                                                                           Mountain Express Oil Company     $0.00
Specific                               AGREEMENT                         MARKETING LLC
Not Site                                                                 HF SINCLAIR REFINING &
           Oil Company Agreement       SINCLAIR TRADEMARK AGREEMENT                                        Mountain Express Oil Company     $0.00
Specific                                                                 MARKETING LLC


                                                                         40 of 98
                  Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 45 of 102
 Store
           Contract Type               Title                             Counterparty                     Debtor Entity                     Est. Cure
Number
Not Site                                                                 HF SINCLAIR REFINING &
           Oil Company Agreement       DISTRIBUTOR SALES CONTRACT                                          Mountain Express Oil Company      $0.00
Specific                                                                 MARKETING LLC
                                       ASSIGNMENT AND ASSUMPTION         HF SINCLAIR REFINING &
  3298     Oil Company Agreement                                                                           Mountain Express Oil Company      $0.00
                                       AGREEMENT                         MARKETING LLC | BREW OIL LLC
                                       ASSIGNMENT AND ASSUMPTION         HF SINCLAIR REFINING &
3459 | 48 Oil Company Agreement                                                                            Mountain Express Oil Company      $0.00
                                       AGREEMENT                         MARKETING LLC | RAM INC
                                       PETROLEUM PRODUCTS SUPPLY         HIGH VALUE BUSINESS VENTURES
  258      Fuel Supply Agreement                                                                           Mountain Express Oil Company      $0.00
                                       AGREEMENT                         INC AND AZIZ ALI
  128      Prime Lease (Single Site)   ASSIGNMENT OF LEASE               HIGHWAY ENERGY LLC                Mountain Express Oil Company      $0.00
                                                                        HIGHWAY MART AND FUEL LLC |
   81      Sublease                    COMMERCIAL LEASE                                                    Mountain Express Oil Company      $0.00
                                                                        GAGANDEEP KUMAR
                                       AMENDED AND RESTATED FUEL SUPPLY HIGHWAY MART AND FUEL LLC |
   81      Fuel Supply Agreement                                                                           Mountain Express Oil Company      $0.00
                                       AGREEMENT                        GAGANDEEP KUMAR
                                       MOTOR FUEL SUPPLY AND
  349      Fuel Supply Agreement                                        HIM LAL TIMSINA                    Mountain Express Oil Company      $0.00
                                       COMMISSIONED SALES AGREEMENT
                                       FIRST AMENDMENT OF FUEL SUPPLY
  349      Fuel Supply Agreement                                        HIM LAL TIMSINA                    Mountain Express Oil Company      $0.00
                                       AGREEMENT
                                                                        HIMAL PETROLEUM LLC | PABI
                                       FIRST AMENDMENT OF COMMERCIAL    GAUTAM | KHAGEN DHAMALA |
  174      Fuel Supply Agreement                                                                           Mountain Express Oil Company      $0.00
                                       LEASE AND FUEL SUPPLY AGREEMENT  KPRP PARTNERSHIP | MOHON
                                                                        DHAMALA | PRAKASH RIMAL |
                                                                        HIMAL PETROLEUM LLC | TARA
  174      Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                               Mountain Express Oil Company      $0.00
                                                                        NIDHI TIMSINA
                                                                        HIMAL PETROLEUM LLC | TARA
  174      Sublease                    COMMERCIAL LEASE                                                    Mountain Express Oil Company      $0.00
                                                                        NIDHI TIMSINA
                                                                        HK MIAN BUSINESS, INC | SAJJAD
  857      Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                               Mountain Express Oil Company      $0.00
                                                                        MIAN
                                       MOTOR FUEL SUPPLY AND            HKL ENTERPRISES INC | HYOUR
  742      Fuel Supply Agreement                                                                           Mountain Express Oil Company      $0.00
                                       COMMISSIONED SALES AGREEMENT     LALANI
                                       SECOND AMENDMENT OF MOTOR FUEL HKL ENTERPRISES, INC | HYDER
  742      Fuel Supply Agreement       SUPPLY AND COMMSSIONED SALES     LALANI | AANG, INC | GYANENDRA     Mountain Express Oil Company      $0.00
                                       AGREEMENT                        KUMAR SHAHI
                                       FIRST AMENDMENT OF MOTOR FUEL    HKL ENTERPRISES, INC | HYDER
  742      Fuel Supply Agreement       SUPPLY AND COMMSSIONED SALES     LALANI | GYANENDRA KUMAR           Mountain Express Oil Company      $0.00
                                       AGREEMENT                        SHAHI
                                                                        HOLLY KWIK MART INC | TANISHA
  153      Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                               Mountain Express Oil Company      $0.00
                                                                        DAMANI | BHAVESH N SHAH
                                                                        HOLLY KWIK MART INC | TANISHA
  153      Sublease                    COMMERCIAL LEASE                                                    Mountain Express Oil Company      $0.00
                                                                        DAMANI | BHAVESH N SHAH
                                       MOTOR FUEL SUPPLY AND
  454      Fuel Supply Agreement                                        HOPE 85 INC | SALIMA DHANANI       Mountain Express Oil Company      $0.00
                                       COMMISSIONED SALES AGREEMENT
                                                                                                           Mountain Express Oil Company
                                       SECOND ROSWELL CONNECTION
   7       Sublease                                                      HOSSEIN ABOUSAEED                (as successor‐in‐interest to       $0.00
                                       CONVENIENCE CENTER
                                                                                                          Empire Petroleum Partners, LLC)
                                       ASSIGNMENT AND ASSUMPTION OF
                                                                         HOSSEIN ABOUSAEEDI | MARYAM
                                       ROSWELL CONNECTION CONVENIENCE                                     Mountain Express Oil Company
                                                                         ABOUSAEEDI | AMA PETRO INC |
   7       Sublease + Fuel Supply      CENTER SUB‐LEASE CONTRACT AND                                     (as successor‐in‐interest to        $0.00
                                                                         SEIFOLLAH KARIMI | AKBAR AHMADI
                                       PETROLEUM PRODUCES SUPPLY                                         Empire Petroleum Partners, LLC)
                                                                         | MOSTAFA MALLARDJAFAR
                                       AGREEMENT
                                                                      HPRP NORTHWOOD LLC | RAJESH
  735      Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                               Mountain Express Oil Company      $0.00
                                                                      PATEL | KRUPABEN PATEL
                                       FIRST AMENDMENT OF COMMERCIAL  HPRP NORTHWOOD LLC | RAJESH
  735      Sublease                                                                                        Mountain Express Oil Company      $0.00
                                       LEASE AND EQUIPMENT LEASE      PATEL | KRUPABEN PATEL
                                                                      HPRP NORTHWOOD LLC | RAJESH
  735      Sublease                    COMMERCIAL LEASE                                                    Mountain Express Oil Company      $0.00
                                                                      PATEL | KRUPABEN PATEL
                                                                      HPRP NORTHWOOD LLC | RAJESH
  735      Equipment Lease             EQUIPMENT LEASE AGREEMENT                                           Mountain Express Oil Company     $3,767.96
                                                                      PATEL | KRUPABEN PATEL
                                                                      HPRP TOLEDO LLC | RAJESH PATEL |
                                       SECOND AMENDMENT OF COMMERCIAL
  737      Sublease                                                   HARESHKUMAR PATEL |                  Mountain Express Oil Company      $0.00
                                       LEASE
                                                                      RAKESHKUMAR PATEL
                                       ADDENDUM TO FRANCHISE
  304      Fuel Supply Agreement                                      HR 24 ENTERPRISES INC                Mountain Express Oil Company      $0.00
                                       AGREEMENT
                                       PETROLEUM PRODUCTS SUPPLY      HUSSAIN USA LLC | ZEHRA
   33      Fuel Supply Agreement                                                                           Mountain Express Oil Company      $0.00
                                       AGREEMENT                      CHARANIA
                                                                      HUSSAIN USA LLC | ZEHRA
                                       FIRST AMENDMENT OF PETROLEUM   CHARANIA | 5401 FLOYD ROAD
   33      Fuel Supply Agreement                                                                           Mountain Express Oil Company      $0.00
                                       PRODUCTS SUPPLY AGREEMENT      LUCKY 117 INC | SHOAIB JAMIL
                                                                      KHAN
                                       SECOND AMENDMENT OF COMMERCIAL HWY 5 KQIK MART LLC |
  180      Sublease                                                                                  Mountain Express Oil Company            $0.00
                                       LEASE                          SWEETYBEN PATEL | BHAVESH SHAH




                                                                         41 of 98
                   Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 46 of 102
  Store
            Contract Type              Title                             Counterparty                     Debtor Entity                   Est. Cure
 Number

224 | 223 |
228 | 221 |
                                                                         HYDER DANNY LALANI |
225 | 169 | Sublease                   MASTER AGREEMENT                                                    Mountain Express Oil Company    $0.00
                                                                         SHAMSUDDIN NASSIR
170 | 171 |
 168 | 167

   742     Sublease                    COMMERCIAL LEASE                  HYDER LALANI                      Mountain Express Oil Company    $0.00
                                       FIRST AMENDMENT OF COMMERCIAL     HYDER LALANI | GYANENDRA
   742     Sublease                                                                                        Mountain Express Oil Company    $0.00
                                       LEASE                             KUMAR SHAHI
  4281 |
  4282 |
  4283 |
  4284 |
  4285 |
  4286 |                                                                 ICC GROVE FUEL LLC | ICC W 53RD
  4287 |                                                                 FUEL LLC | ICC BLAIRS FERRY FUEL
  4288 |   Prime Lease (Multi‐Site)    MASTER LEASE AGREEMENT            LLC | ICC 303 W LOCUST FUEL LLC | MEX RE‐NW‐IA LLC                $0.00
  4289 |                                                                 ICC 1ST AVE FUEL LLC | ICC E LOCUST
  4290 |                                                                 FUEL LLC
  4291 |
  4292 |
  4293 |
  4294 |
   4295
   223     Prime Lease (Single Site)   LEASE                             ICE 3996 LLC                      MEX RE‐NE‐IN LLC                $0.00
                                       COMMERCIAL REAL ESTATE LEASE
   528     Sublease                                                      IL WHAN CHUNG | KETAN PATEL       Mountain Express Oil Company    $0.00
                                       CONTRACT
209 | 210 |
211 | 212 | Sublease                   COMMERCIAL LEASE                  IMPERIAL CAPITAL LLC | ABRAR ABID Mountain Express Oil Company    $0.00
   213
209 | 210 |
211 | 212 | Fuel Supply Agreement      FUEL SUPPLY AGREEMENT             IMPERIAL CAPITAL LLC | ABRAR ABID Mountain Express Oil Company    $0.00
   213
977 | 978 |
979 | 980 |
981 | 982 | Sublease                   COMMERCIAL LEASE                  IMPERIAL CAPITAL LLC | ABRAR ABID Mountain Express Oil Company    $0.00
983 | 984 |
   985

977 | 978 |
979 | 980 |
981 | 982 | Fuel Supply Agreement      FUEL SUPPLY AGREEMENT             IMPERIAL CAPITAL LLC | ABRAR ABID Mountain Express Oil Company    $0.00
983 | 984 |
   985
981 | 982 |                            FIRST AMENDMENT OF COMMERCIAL
            Fuel Supply Agreement                                        IMPERIAL CAPITAL LLC | ABRAR ABID Mountain Express Oil Company    $0.00
   983                                 LEASE AND FUEL SUPPLY AGREEMENT
260 | 261 |                            TEMPORARY SUPPLY AND LEASE        IMPERIAL OPERATING WI LLC |
            Sublease + Fuel Supply                                                                         MEX RE‐NW‐MN LLC                $0.00
   262                                 AGREEMENT                         MOHAMMAD SAJJAD
744 | 745 |                                                              IMPERIAL RELIANCE LLC |
            Fuel Supply Agreement      FUEL SUPPLY AGREEMENT                                               Mountain Express Oil Company    $0.00
   746                                                                   MOHAMMAD SAJJAD
744 | 745 |                                                              IMPERIAL RELIANCE LLC |
            Sublease                   MASTER SUBLEASE AGREEMENT                                           Mountain Express Oil Company    $0.00
   746                                                                   MOHAMMAD SAJJAD
744 | 745 |
746 | 747 |                            FIRST AMENDMENT OF FUEL SUPPLY    IMPERIAL RELIANCE LLC |
            Fuel Supply Agreement                                                                          Mountain Express Oil Company    $0.00
748 | 749 |                            AGREEMENT                         MOHAMMAD SAJJAD
 750 | 751
747 | 748 |
                                                                         IMPERIAL RELIANCE LLC |
749 | 750 | Fuel Supply Agreement      FUEL SUPPLY AGREEMENT                                               Mountain Express Oil Company    $0.00
                                                                         MOHAMMAD SAJJAD
   751
747 | 748 |
                                                                         IMPERIAL RELIANCE LLC |
749 | 750 | Sublease                   MASTER SUBLEASE AGREEMENT                                           Mountain Express Oil Company    $0.00
                                                                         MOHAMMAD SAJJAD
   751
                                                                         IMRAN R MOMIN | RAHIM LALANI |
                                       FIRST AMENDMENT TO PETROLEUM
   187     Fuel Supply Agreement                                         7TH LION LLC | 1325 SAMS FOOD  Mountain Express Oil Company       $0.00
                                       PRODUCTS SUPPLY AGREEMENT
                                                                         MART 2 LLC |
                                       PETROLEUM PRODUCTS SUPPLY         J&J ENTERPRISE INC | JITENDRA
   441     Fuel Supply Agreement                                                                        Mountain Express Oil Company       $0.00
                                       AGREEMENT                         KUMAR PATEL
                                                                         JAI GORAKHNATH LLC | MIN
   428     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT             BAHADUR KARKI AND SURUCHI      MEX FUELS‐SW‐TX LLC                $0.00
                                                                         THAPA

                                                                         42 of 98
                Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 47 of 102
 Store
         Contract Type               Title                              Counterparty                     Debtor Entity                       Est. Cure
Number
                                                                       JAI GORAKHNATH LLC | MIN
 428     Sublease                    COMMERCIAL LEASE                  BAHADUR KARKI AND SURUCHI         MEX RE‐SW‐TX LLC                     $0.00
                                                                       THAPA
                                                                       JAI GORANKHNATH LLC | MIN
                                     FIRST AMENDMENT OF COMMERCIAL
 428     Sublease                                                      BAHADUR KARKI AND SURUCHI         MEX RE‐SW‐TX LLC                     $0.00
                                     LEASE
                                                                       THAPA
                                                                                                          Mountain Express Oil Company
                                     PETROLEUM PRODUCT SUPPLY
 637     Fuel Supply Agreement                                         JALABAPA INC                      (as successor‐in‐interest to Star    $0.00
                                     AGREEMENT
                                                                                                         Development, Inc.)

                                                                                                          Mountain Express Oil Company
 637     Sublease                    LEASE AGREEMENT                   JALABAPA INC                      (as successor‐in‐interest to Star    $0.00
                                                                                                         Development, Inc.)
                                                                       JALALUDDIN NOORANI | HAFSAARIZ
 208     Sublease                    COMMERCIAL LEASE                                                 Mountain Express Oil Company            $0.00
                                                                       LLC
                                     CONTENGENCY FEE CONTRACT FOR
  36     Vendor Agreement                                              JAMES T JOHNSON JR LLC            Mountain Express Oil Company         $0.00
                                     LEGAL SERVICES
                                     CONTINGENCY FEE CONTRACT FOR
 609     Vendor Agreement                                              JAMES T JOHNSON JR LLC            Mountain Express Oil Company         $0.00
                                     LEGAL SERVICES
                                     CONTINGENCY FEE CONTRACT FOR
 377     Vendor Agreement                                              JAMES T. JOHNSTON, JR. LLC        Mountain Express Oil Company         $0.00
                                     LEGAL SERVICES
                                     CONTINGENCY FEE CONRACT FOR LEGAL
 707     Vendor Agreement                                              JAMES T. JOHNSTON, JR., LLC       Mountain Express Oil Company         $0.00
                                     SERVICES
                                     AMENDMENT TO PETROLEUM
 232     Fuel Supply Agreement                                         JANAKKUMAR PATEL | SRIJAY LLC     Mountain Express Oil Company         $0.00
                                     PRODUCTS SUPPLY AGREEMENT
                                                                       JANAKKUMAR PATEL | SRIJAY LLC
 232     Fuel Supply Agreement       ADDENDUM TO JOBBERS AGREEMENT                                       Mountain Express Oil Company         $0.00
                                                                       DBA MARATHON FOOD MART
                                                                       JASH2019 INC., D/B/A WELCOME
 492     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT             KATHLEEN FOODS | SHAZIA Z.        Mountain Express Oil Company         $0.00
                                                                       CHOUDHARY
                                                                                                          Mountain Express Oil Company
                                     PETROLEUM PRODUCTS SUPPLY
  7      Fuel Supply Agreement                                         JASMINE GADHIA | AZEEM ALI        (as successor‐in‐interest to         $0.00
                                     AGREEMENT
                                                                                                         Empire Petroleum Partners, LLC)

                                                                                                          Mountain Express Oil Company
                                     AMENDMENT TO PETROLEUM SUPPLY
  7      Fuel Supply Agreement                                         JASMINE GADHIA | AZEEM ALI        (as successor‐in‐interest to         $0.00
                                     AGREEMENT
                                                                                                         Empire Petroleum Partners, LLC)

                                                                                                          Mountain Express Oil Company
                                     ROSWELL CONNECTION CONVENIENCE
  7      Sublease                                                      JASMINE GADHIA | AZEEM ALI        (as successor‐in‐interest to         $0.00
                                     CENTER SUBLEASE CONTRACT
                                                                                                         Empire Petroleum Partners, LLC)
                                                                       JATINKUMAR B PATEL | RAMKABIR
                                     FIRST AMENDMENT OF PETROLEUM
 435     Fuel Supply Agreement                                         HOLDING INC | SUDHA K PATEL |     Mountain Express Oil Company         $0.00
                                     PRODUCTS SUPPLY AGREEMENT
                                                                       RAMKABIR HOLDING INC |
 603     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT              JAVELIN ANIL PATEL               Mountain Express Oil Company         $0.00
                                     RE: Petroleum Products Supply
 159     Fuel Supply Agreement                                         JAY MAA MALDI LLC | RIPAL PATEL   Mountain Express Oil Company         $0.00
                                     Agreement
                                     FIRST AMENDMENT OF COMMERCIAL    JAY MAKALI INC | SANJAY PATEL |
 324     Sublease                                                                                        Mountain Express Oil Company         $0.00
                                     LEASE                            VIJAKYUMAR PATEL
                                                                      JAY MAKALI INC | SANJAY PATEL |
 324     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                               Mountain Express Oil Company         $0.00
                                                                      VIJAYKUMAR PATEL
                                                                      JAY MAKALI INC | SANJAY PATEL |
 324     Sublease                    COMMERCIAL LEASE                                                    Mountain Express Oil Company         $0.00
                                                                      VIJAYKUMAR PATEL
                                     SECOND AMENDMENT OF COMMERCIAL JAY MAKALI INC | SANJAY PATEL |
 324     Sublease                                                                                        Mountain Express Oil Company         $0.00
                                     LEASE                            VIJAYKUMAR PATEL
                                     THIRD AMENDMENT OF COMMERCIAL JAY MAKALI INC | SANJAY PATEL |
 324     Sublease                                                                                        Mountain Express Oil Company         $0.00
                                     LEASE                            VIJAYKUMAR PATEL
                                                                      JCM GAS LLC (AS SUCCESSOR‐IN‐
  75     Prime Lease (Single Site)   MASTER LEASE AGREEMENT           INTEREST TO 4COURT HOLDINGS        Mountain Express Oil Company         $0.00
                                                                      LLC)
                                                                      JCORP INCORPORATED | ELIZABETH
 160     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                               Mountain Express Oil Company         $0.00
                                                                      WAINWRIGHT
                                     AMENDED AND RESTATED FUEL SUPPLY JDI AUTO REPAIR LLC | JESUS
  88     Fuel Supply Agreement                                                                           Mountain Express Oil Company         $0.00
                                     AGREEMENT                        VARGAS
                                                                      JDI AUTO REPAIR LLC | JESUS
  88     Sublease                    COMMERCIAL LEASE                                                    Mountain Express Oil Company         $0.00
                                                                      VARGAS
         Purchase and Sale                                            JESS LLC | R&H LLC | SHOREWOOD
                                     PURCHASE AND SALE AGREEMENT                                         MEX RE Holdings LLC                  $0.00
         Agreement                                                    CENTER LLC
                                                                                                          Mountain Express Oil Company
                                     OKLAHOMA COMMERCIAL LEASE
 3125    Sublease                                                      JESUS TORRES                      (as successor‐in‐interest to 4417    $0.00
                                     AGREEMENT
                                                                                                         QUICK STOP LLC)

                                                                        43 of 98
                 Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 48 of 102
 Store
          Contract Type               Title                             Counterparty                       Debtor Entity                        Est. Cure
Number
                                                                        JEUNG SOOK CHONG | ALTAF
                                      FIRST AMENDMENT OF PETROLEUM
  433     Fuel Supply Agreement                                         DHAMANI | ADDYS LLC |              Mountain Express Oil Company          $0.00
                                      PRODUCTS SUPPLY AGREEMENT
                                                                        JASPERFOOD MART LLC |
                                      PETROLEUM PRODUCTS SUPPLY
  294     Fuel Supply Agreement                                         JEWRU TOURAY                       Mountain Express Oil Company          $0.00
                                      AGREEMENT
  363     Sublease                    COMMERCIAL LEASE                  JHD LLC | JARNAIL SINGH            Mountain Express Oil Company          $0.00
                                                                     JHS MASTER CAPITAL, LLC (AS
                                                                                                            West Hill Ranch Group LLC (as
                                                                     SUCCESSOR‐IN‐INTEREST TO DAVID
  3021    Prime Lease (Single Site)   LEASE AGREEMENT                                                      successor‐in‐interest to Quik        $7,050.00
                                                                     HAROLD BRILES AND EDITH B.
                                                                                                           Check, Inc.)
                                                                     BRILES)
                                                                     JIGNESH SATISHKUMAR
                                      SECOND AMENDMENT TO MOTOR FUEL
                                                                     BRAHMBHATT AND SHADARA
   1      Fuel Supply Agreement       SUPPLY AND COMMISSIONED SALES                                        Mountain Express Oil Company          $0.00
                                                                     INVESTMENT LLC | 1 KB COMPANY
                                      AGREEMENT (“Amendment”)
                                                                     INC AND KASHIF RANA
                                                                     JITENDRA NATVARLAL DAVE | TASH
                                      SECOND AMENDMENT OF PETROLEUM INC | MANISHKUMAR PATEL | KUNJ
  386     Fuel Supply Agreement                                                                            Mountain Express Oil Company          $0.00
                                      PRODUCTS SUPPLY AGREEMENT      CONSTRUCTION USA INC | ASHOK
                                                                     KUMAR PATEL | ATITA LLC
                                                                                                            Mountain Express Oil Company
                                                                        JOE J CANTU AND OFILIA CANTU |
  520     Prime Lease (Single Site)   GROUND LEASE                                                         (as successor‐in‐interest to KFLP     $0.00
                                                                        KFLP LTD
                                                                                                           Ltd.)
  550     Prime Lease (Single Site)   RATIFICATION                      JOE N. HOLMES | K.J. MOBLEY         MEX North Alabama, LLC               $0.00
                                                                        JOHAINA POONAWALLA | PEACH
537 | 538 Fuel Supply Agreement       MASTER AGREEMENT                  KOUNTRY LLC | ZAHEER FIROZ         Mountain Express Oil Company          $0.00
                                                                        POONAWALLA | POC USA INC
                                                                        JOHN C. HOLBROOK, JR | WENDY M. West Hill Ranch Group LLC (as
  3008    Sublease                    LEASE AGREEMENT                   HOLBROOK | DAVID A. HOLBROOK | successor‐in‐interest to Quik             $0.00
                                                                        CARROLL S. HOLBROOK             Check, Inc.)
  3090    Sublease                    LEASE AGREEMENT                   JOSEPH BAZILE | BARBARA B MIRE     MEX RE‐SW‐LA LLC                      $0.00
                                                                        JOSEPH BAZILE AND BARBARA B         MEX RE‐SW‐LA LLC (as successor‐
  3090    Prime Lease (Single Site)   LEASE AGREEMENT                                                                                           $5,600.00
                                                                        MIRE DBA JL BUILDING               in‐interest to 1227 Veterans, LLC)

                                                                        JOSEPH BAZILE JR AND BARBARA B      MEX RE‐SW‐LA LLC (as successor‐
  3090    Prime Lease (Single Site)   LEASE AGREEMENT AMENDMENT                                                                                 $5,600.00
                                                                        MIRE DBA JL BUILDING               in‐interest to 1227 Veterans, LLC)
                                                                        JOSEPH BAZILE JR. AND BARBARA B.
  3090    Prime Lease (Single Site)   LEASE AGREEMENT AMENDMENT                                            MEX RE‐SW‐LA LLC                     $5,600.00
                                                                        MIRE DBA J.L. BUILDING
                                                                                                            Mountain Express Oil Company
  1945    Equipment Lease             EQUIPMENT LEASE AGREEMENT         JOUNIEH 2 LLC                      (as successor‐in‐interest to Prime    $0.00
                                                                                                           Properties Limited Partnership)

  111     Sublease                    COMMERCIAL LEASE                  JOUNIEH 3 | RAMI CHALHOUB          Mountain Express Oil Company          $0.00

  111     Equipment Lease             EQUIPMENT LEASE AGREEMENT         JOUNIEH 3 | RAMI CHALHOUB          Mountain Express Oil Company         $4,331.79

  111     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT             JOUNIEH 3 | RAMI CHALHOUB          Mountain Express Oil Company          $0.00

                                                                                                            Mountain Express Oil Company
  1938    Equipment Lease             EQUIPMENT LEASE AGREEMENT         JOUNIEH LLC                        (as successor‐in‐interest to Prime    $0.00
                                                                                                           4915 Memphis LLC)

                                                                                                            Mountain Express Oil Company
  1938    Sublease                    LEASE AGREEMENT                   JOUNIEH LLC                        (as successor‐in‐interest to Prime    $0.00
                                                                                                           4915 Memphis LLC)

  1938    Fuel Supply Agreement       FUEL SUPPLY AGREEMENT             JOUNIEH LLC | RAMI CHALHOUB        Mountain Express Oil Company          $0.00
                                      FIRST AMENDMENT OF FUEL SUPPLY
  1938    Fuel Supply Agreement                                         JOUNIEH2 LLC | RAMI CHALHOUB       Mountain Express Oil Company          $0.00
                                      AGREEMENT
  1945    Fuel Supply Agreement       FUEL SUPPLY AGREEMENT             JOUNIEH2 LLC | RAMI CHALHOUB       Mountain Express Oil Company          $0.00
                                      SECOND AMENDMENT OF FUEL SUPPLY
  1945    Fuel Supply Agreement                                         JOUNIEH2 LLC | RAMI CHALHOUB       Mountain Express Oil Company          $0.00
                                      AGREEMENT
  2085    Sublease                    LEASE AGREEMENT                   JR FOOD STORES INC                 MEX RE‐NE‐IN LLC                      $0.00
  2086    Sublease                    LEASE AGREEMENT                   JR FOOD STORES INC                 MEX RE‐NE‐IN LLC                      $0.00
  2083    Sublease                    LEASE AGREEMENT                   JR FOOD STORES, INC                MEX RE‐SE‐AL LLC                      $0.00
  2085    Fuel Supply Agreement       TEMPORARY FUEL SUPPLY AGREEMENT JR FOOD STORES, INC                  MEX Fuels NE‐IN LLC                   $0.00
                                      PETROLEUM PRODUCTS SUPPLY
  410     Fuel Supply Agreement                                         JRV GROUP LLC                      Mountain Express Oil Company          $0.00
                                      AGREEMENT
                                      RE: Petroleum Products Supply
  410     Fuel Supply Agreement                                         JRV GROUP LLC                      Mountain Express Oil Company          $0.00
                                      Agreement

                                                                        44 of 98
                  Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 49 of 102
  Store
            Contract Type              Title                             Counterparty                       Debtor Entity                    Est. Cure
 Number
                                                                     JRV GROUP LLC | GOGA MAHARAJ
   410     Fuel Supply Agreement       LETTER AGREEMENT                                             Mountain Express Oil Company              $0.00
                                                                     LLC
                                                                     JSA 2019 INC. | MOHAMMED SALIM
                                       SECOND AMENDMENT OF PETROLEUM
   155     Fuel Supply Agreement                                     ULLAH | JAI BAGLAMUKHI LLC |   Mountain Express Oil Company              $0.00
                                       PRODUCTS SUPPLY AGREEMENT
                                                                     RAJU THAPA
                                       FIRST AMENDMENT OF PETROLEUM
   457     Fuel Supply Agreement                                     JTG PAWAR LLC | DALJIT KAUR    Mountain Express Oil Company              $0.00
                                       PRODUCTS SUPPLY AGREEMENT
679 | 680 |                                                              JUBILEE ALLIANCE LLC AND MOHSIN
681 | 682 |                                                              VIRANI | NADIRSHAH RATTANI |
            Fuel Supply Agreement      TRI‐PARTY AGREEMENT                                               Mountain Express Oil Company         $0.00
683 | 684 |                                                              MANSOOR LAKHANI | ASIF VALANI |
 685 | 686                                                               SEWELL TRANSPORT LLC
                                                                         JUBRANCO LLC | MOJALI AKRAM
  3002     Sublease                    COMMERCIAL LEASE                                                     MEX RE‐SE‐NC LLC                  $0.00
                                                                         MOHAMED
                                                                         JUBRANCO LLC | MOJALI AKRAM
  3002     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                Mountain Express Oil Company      $0.00
                                                                         MOHAMED
                                                                                                             West Hill Ranch Group LLC (as
  3004     Prime Lease (Single Site)   LEASE AGREEMENT                   JW TERRELL AND BILLIE F TERRELL    successor‐in‐interest to Quik    $2,000.00
                                                                                                            Check, Inc.)
                                                                         JZ INVESTMENTS LLC (AS SUCCESSOR‐
   638     Prime Lease (Single Site)   LEASE AGREEMENT                   IN‐INTEREST TO VAULT CS RIVERSIDE Mountain Express Oil Company       $0.00
                                                                         LLC)
                                                                         K P GASOLINE LLC | NEHAL KUMAR
    82     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                               Mountain Express Oil Company       $0.00
                                                                         PATEL
    79     Sublease                    COMMERCIAL LEASE                  K P PATEL LLC | NEHALKUMAR PATEL MEX RE‐NE‐NJ LLC                    $0.00
                                       PETROLEUM PRODUCTS SUPPLY
   360     Fuel Supply Agreement                                         KABIR NURANI | QUICKSHOT INC       Mountain Express Oil Company      $0.00
                                       AGREEMENT
                                                                         KAIWAN TRUCK STOP INC | NAJI ALI
    75     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                Mountain Express Oil Company      $0.00
                                                                         KAIWAN
                                                                         KAIWAN TRUCK STOP INC | NAJI ALI
    75     Sublease                    COMMERCIAL LEASE                                                     Mountain Express Oil Company      $0.00
                                                                         KAIWAN
                                       MOTOR FUEL SUPPLY AND                                                Mountain Express Oil Company
   721     Fuel Supply Agreement                                         KALPESH BHANDARI | MDK INC                                           $0.00
                                       COMMISSIONED SALES AGREEMENT                                         Southeast, LLC
                                                                                                            Mountain Express Oil Company
   721     Sublease                    COMMERCIAL LEASE                  KALPESH BHANDARI | MDK INC                                           $0.00
                                                                                                            Southeast, LLC
                                       FIRST AMENDMENT TO MOTOR FUEL     KALPESH BHANDARI | MDK INC |
                                                                                                            Mountain Express Oil Company
   721     Fuel Supply Agreement       SUPPLY AND COMMISSIONED SALES     MUKESH SHANTILAL JOSHI |                                             $0.00
                                                                                                            Southeast, LLC
                                       AGREEMENT AND COMMERCIAL LEASE    SANGEETA DOSHI
                                       TAKE OVER AND INDEMNITY           KANUBHAI C PATEL | ORANGEBURG
   441     Fuel Supply Agreement                                                                            Mountain Express Oil Company      $0.00
                                       AGREEMENT                         TRUCK STOP LLC
                                       THIRD AMENDMENT OF PETROLEUM      KAPASIA, INC | MASUD AHMED |
   712     Fuel Supply Agreement                                                                            Mountain Express Oil Company      $0.00
                                       PRODUCTS SUPPLY AGREEMENT         ASADEE BEGUM
                                       FOURTH AMENDMENT OF FUEL SUPPLY   KAPSIA, INC | ASADEE BEGUM |
   712     Fuel Supply Agreement                                                                            Mountain Express Oil Company      $0.00
                                       AGREEMENT                         MASUD AHMED
                                       PETROLEUM PRODUCTS SUPPLY
   351     Fuel Supply Agreement                                         KARIM DHOLAKAYA                    Mountain Express Oil Company      $0.00
                                       AGREEMENT
                                       PETROLEUM PRODUCTS SUPPLY
   449     Fuel Supply Agreement                                         KARIM DHOLAKIA                     Mountain Express Oil Company      $0.00
                                       AGREEMENT
                                       FIRST AMENDMENT TO PETROLEUM      KARIM DHOLAKIYA|DHAYANA
   135     Fuel Supply Agreement                                                                            Mountain Express Oil Company      $0.00
                                       PRODUCTS SUPPLY AGREEMENT         BUSINESS INC|HASSAN ALI LNU
                                       FIRST AMENDMENT OF PETROLEUM      KARIM DHOLAYAKA | ROME EXXON
   351     Fuel Supply Agreement                                                                            Mountain Express Oil Company      $0.00
                                       PRODUCTS SUPPLY AGREEMENT         10 INC | TARIQ ABDUL TARIQ

                                       FIRST AMENDMENT OF MOTOR FUEL     KARIM KESHWANI | CANTON USA
   408     Fuel Supply Agreement       SUPPLY AND COMMISSIONED SALES     INC | SONA SHAH | ANUPKUMAR        Mountain Express Oil Company      $0.00
                                       AGREEMENT                         GIRISHBHAIDAVE | BHAVESH SHAH
                                                                         KARMA ALLIANCE LLC | MOHSIN
                                       PETROLEUM PRODUCTS SUPPLY
   617     Fuel Supply Agreement                                         VIRANI | ASIF VALANI | HYDER K     Mountain Express Oil Company      $0.00
                                       AGREEMENT
                                                                         LALANI
                                                                         KARMA ALLIANCE LLC | MOHSIN
   617     Sublease                    COMMERCIAL LEASE                  VIRANI | ASIF VALANI | HYDER K     Mountain Express Oil Company      $0.00
                                                                         LALANI
                                                                         KARMA ALLIANCE LLC | MOHSIN
                                       PETROLEUM PRODUCTS SUPPLY
   626     Fuel Supply Agreement                                         VIRANI | ASIF VALANI | HYDER K     Mountain Express Oil Company      $0.00
                                       AGREEMENT
                                                                         LALANI
                                                                         KARMA ALLIANCE LLC | MOHSIN
   626     Sublease                    COMMERCIAL LEASE                  VIRANI | ASIF VALANI | HYDER K     Mountain Express Oil Company      $0.00
                                                                         LALANI
                                                                         KARMA ALLIANCE LLC | MOHSIN
                                       PETROLEUM PRODUCTS SUPPLY
   627     Fuel Supply Agreement                                         VIRANI | ASIF VALANI | HYDER K     Mountain Express Oil Company      $0.00
                                       AGREEMENT
                                                                         LALANI



                                                                         45 of 98
               Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 50 of 102
 Store
         Contract Type           Title                          Counterparty                     Debtor Entity                  Est. Cure
Number
                                                                KARMA ALLIANCE LLC | MOHSIN
 627     Sublease                COMMERCIAL LEASE               VIRANI | ASIF VALANI | HYDER K   Mountain Express Oil Company    $0.00
                                                                LALANI
                                                                KARMA ALLIANCE LLC | MOHSIN
                                 PETROLEUM PRODUCTS SUPPLY
 628     Fuel Supply Agreement                                  VIRANI | ASIF VALANI | HYDER K   Mountain Express Oil Company    $0.00
                                 AGREEMENT
                                                                LALANI
                                                                KARMA ALLIANCE LLC | MOHSIN
 628     Sublease                COMMERCIAL LEASE               VIRANI | ASIF VALANI | HYDER K   Mountain Express Oil Company    $0.00
                                                                LALANI
                                                                KARMA ALLIANCE LLC | MOHSIN
                                 PETROLEUM PRODUCTS SUPPLY
 629     Fuel Supply Agreement                                  VIRANI | ASIF VALANI | HYDER K   Mountain Express Oil Company    $0.00
                                 AGREEMENT
                                                                LALANI
                                                                KARMA ALLIANCE LLC | MOHSIN
 629     Sublease                COMMERCIAL LEASE               VIRANI | ASIF VALANI | HYDER K   Mountain Express Oil Company    $0.00
                                                                LALANI
                                                                KARMA ALLIANCE LLC | MOHSIN
                                 PETROLEUM PRODUCTS SUPPLY
 630     Fuel Supply Agreement                                  VIRANI | ASIF VALANI | HYDER K   Mountain Express Oil Company    $0.00
                                 AGREEMENT
                                                                LALANI
                                                                KARMA ALLIANCE LLC | MOHSIN
 630     Sublease                COMMERCIAL LEASE               VIRANI | ASIF VALANI | HYDER K   Mountain Express Oil Company    $0.00
                                                                LALANI
                                                                KARMA ALLIANCE LLC | MOHSIN
                                 PETROLEUM PRODUCTS SUPPLY
 631     Fuel Supply Agreement                                  VIRANI | ASIF VALANI | HYDER K   Mountain Express Oil Company    $0.00
                                 AGREEMENT
                                                                LALANI
                                                                KARMA ALLIANCE LLC | MOHSIN
 631     Sublease                COMMERCIAL LEASE               VIRANI | ASIF VALANI | HYDER K   Mountain Express Oil Company    $0.00
                                                                LALANI
                                                                KARMA ALLIANCE LLC | MOHSIN
                                 PETROLEUM PRODUCTS SUPPLY
 632     Fuel Supply Agreement                                  VIRANI | ASIF VALANI | HYDER K   Mountain Express Oil Company    $0.00
                                 AGREEMENT
                                                                LALANI
                                                                KARMA ALLIANCE LLC | MOHSIN
 632     Sublease                COMMERCIAL LEASE               VIRANI | ASIF VALANI | HYDER K   Mountain Express Oil Company    $0.00
                                                                LALANI
                                                                KARMA ALLIANCE LLC | MOHSIN
                                 PETROLEUM PRODUCTS SUPPLY
 633     Fuel Supply Agreement                                  VIRANI | ASIF VALANI | HYDER K   Mountain Express Oil Company    $0.00
                                 AGREEMENT
                                                                LALANI
                                                                KARMA ALLIANCE LLC | MOHSIN
 633     Sublease                COMMERCIAL LEASE               VIRANI | ASIF VALANI | HYDER K   Mountain Express Oil Company    $0.00
                                                                LALANI
                                                                KARMA ALLIANCE LLC | MOHSIN
                                 PETROLEUM PRODUCTS SUPPLY
 634     Fuel Supply Agreement                                  VIRANI | ASIF VALANI | HYDER K   Mountain Express Oil Company    $0.00
                                 AGREEMENT
                                                                LALANI
                                                                KARMA ALLIANCE LLC | MOHSIN
 634     Sublease                COMMERCIAL LEASE               VIRANI | ASIF VALANI | HYDER K   Mountain Express Oil Company    $0.00
                                                                LALANI
                                                                KARMA ALLIANCE LLC | MOHSIN
                                 PETROLEUM PRODUCTS SUPPLY
 635     Fuel Supply Agreement                                  VIRANI | ASIF VALANI | HYDER K   Mountain Express Oil Company    $0.00
                                 AGREEMENT
                                                                LALANI
                                                                KARMA ALLIANCE LLC | MOHSIN
 635     Sublease                COMMERCIAL LEASE               VIRANI | ASIF VALANI | HYDER K   Mountain Express Oil Company    $0.00
                                                                LALANI
                                                                KARMA ALLIANCE LLC | MOHSIN
                                 PETROLEUM PRODUCTS SUPPLY
 674     Fuel Supply Agreement                                  VIRANI | ASIF VALANI | HYDER K   Mountain Express Oil Company    $0.00
                                 AGREEMENT
                                                                LALANI
                                                                KARMA ALLIANCE LLC | MOHSIN
                                 FIRST AMENDMENT TO PETROLEUM
 674     Fuel Supply Agreement                                  VIRANI | ASIF VALANI | HYDER K   Mountain Express Oil Company    $0.00
                                 PRODUCTS SUPPLY AGREEMENT
                                                                LALANI
                                                                KARMA ALLIANCE LLC | MOHSIN
 674     Sublease                COMMERCIAL LEASE               VIRANI | ASIF VALANI | HYDER K   Mountain Express Oil Company    $0.00
                                                                LALANI
                                                                KARMA ALLIANCE LLC | MOHSIN
                                 PETROLEUM PRODUCTS SUPPLY
 675     Fuel Supply Agreement                                  VIRANI | ASIF VALANI | HYDER K   Mountain Express Oil Company    $0.00
                                 AGREEMENT
                                                                LALANI
                                                                KARMA ALLIANCE LLC | MOHSIN
 675     Sublease                COMMERCIAL LEASE               VIRANI | ASIF VALANI | HYDER K   Mountain Express Oil Company    $0.00
                                                                LALANI
                                                                KARMA ALLIANCE LLC | MOHSIN
                                 PETROLEUM PRODUCTS SUPPLY
 677     Fuel Supply Agreement                                  VIRANI | ASIF VALANI | HYDER K   Mountain Express Oil Company    $0.00
                                 AGREEMENT
                                                                LALANI
                                                                KARMA ALLIANCE LLC | MOHSIN
 677     Sublease                COMMERCIAL LEASE               VIRANI | ASIF VALANI | HYDER K   Mountain Express Oil Company    $0.00
                                                                LALANI
                                                                KARMA ALLIANCE LLC | MOHSIN
                                 FIRST AMENDMENT TO PETROLEUM
 677     Fuel Supply Agreement                                  VIRANI | ASIF VALANI | HYDER K   Mountain Express Oil Company    $0.00
                                 PRODUCTS SUPPLY AGREEMENT
                                                                LALANI |
                                                                46 of 98
                  Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 51 of 102
  Store
           Contract Type           Title                             Counterparty                     Debtor Entity                  Est. Cure
 Number
                                                                  KARMA ALLIANCE LLC | MOHSIN
                                   FIRST AMENDMENT TO PETROLEUM   VIRANI | ASIF VALANI | HYDER K
   675     Fuel Supply Agreement                                                                      Mountain Express Oil Company    $0.00
                                   PRODUCTS SUPPLY AGREEMENT      LALANI | SAMAYA ENTERPRISES LLC
                                                                  | SAMSHU MERCHANT
                                                                  KARMA ALLIANCE LLC | MOHSIN
                                   SECOND AMENDMENT OF PETROLEUM VIRANI | ASIF VALANI | HYDER K
   675     Fuel Supply Agreement                                                                      Mountain Express Oil Company    $0.00
                                   PRODUCTS SUPPLY AGREEMENT      LALANI | SAMAYA ENTERPRISES LLC
                                                                  | SAMSHU MERCHANT
                                                                  KARMA ALLIANCE LLC | MOHSIN
                                   FIRST AMENDMENT TO COMMERCIAL  VIRANI | ASIF VALANI | HYDER K
   675     Sublease                                                                                   Mountain Express Oil Company    $0.00
                                   LEASE                          LALANI | SAMAYA ENTERPRISES LLC
                                                                  | SAMSHU MERCHANT
                                                                  KARMA ALLIANCE LLC | MOHSIN
                                   SECOND AMENDMENT OF COMMERCIAL VIRANI | ASIF VALANI | HYDER K
   675     Sublease                                                                                   Mountain Express Oil Company    $0.00
                                   LEASE                          LALANI | SAMAYA ENTERPRISES LLC
                                                                  | SAMSHU MERCHANT
                                                                  KARMA ALLIANCE LLC | MOHSIN
                                   SECOND AMENDMENT TO PETROLEUM VIRANI | ASIF VALANI | HYDER K
   677     Fuel Supply Agreement                                                                      Mountain Express Oil Company    $0.00
                                   PRODUCTS SUPPLY AGREEMENT      LALANI | SAMAYA ENTERPRISES LLC
                                                                  | SAMSHU MERCHANT
                                                                  KARMA ALLIANCE LLC | MOHSIN
                                   FIRST AMENDMENT TO COMMERCIAL  VIRANI | ASIF VALANI | HYDER K
   677     Sublease                                                                                   Mountain Express Oil Company    $0.00
                                   LEASE                          LALANI | SAMAYA ENTERPRISES LLC
                                                                  | SAMSHU MERCHANT
617 | 626 |
627 | 628 |
                                                                    KARMA ALLIANCE LLC | MOHSIN
629 | 630 |
            Settlement Agreement   SETTLEMENT AGREEMENT             VIRANI | ASIF VALANI | HYDER K.   Mountain Express Oil Company    $0.00
631 | 632 |
                                                                    LALANI
633 | 634 |
   635
                                                                  KARMA ALLIANCE LLC | MOHSIN
                                   SECOND AMENDMENT TO PETROLEUM VIRANO | ASIF VALANI | HYDER K
   674     Fuel Supply Agreement                                                                      Mountain Express Oil Company    $0.00
                                   PRODUCTS SUPPLY AGREEMENT      LALANI | SAMAYA ENTERPRISES LLC
                                                                  AND SAMSHU MERCHANT
                                                                  KARMA ALLIANCE LLC | MOSHIN
                                   FIRST AMENDMENT TO COMMERCIAL  VIRANI | ASIF VALANI | HYDER K
   674     Sublease                                                                                   Mountain Express Oil Company    $0.00
                                   LEASE                          LALANI | SAMAYA ENTERPRISES LLC
                                                                  | SAMSHU MERCHANT
                                   MOTOR FUEL SUPPLY AND
    1      Fuel Supply Agreement                                  KASHIF RANA                         Mountain Express Oil Company    $0.00
                                   COMMISSIONED SALES AGREEMENT
                                   MOTOR FUEL SUPPLY AND
    1      Fuel Supply Agreement                                  KASHIF RANA                         Mountain Express Oil Company    $0.00
                                   COMMISSIONED SALES AGREEMENT
                                   FIRST AMENDMENT TO MOTOR FUEL  KASHIF RANA | JIGNESH
    1      Fuel Supply Agreement   AND COMMISSIONED SALES         SATISHICUMAR BRAHMBHATT |           Mountain Express Oil Company    $0.00
                                   AGREEMENT                      SHARADA INVESTMENT LLC
           Environmental/Code/Zoni ENVIRONMENTAL RELEASE AND
    91                                                            KDA PROPERTIES IN LLC               Mountain Express Oil Company    $0.00
           ng Document             INDEMNITY
                                                                  KESHAV JIVAN LLC | MAHENDRA
                                                                  CHUNILAL PATEL | DINESH
   782     Sublease                AMENDMENT TO COMMERCIAL LEASE                                      Mountain Express Oil Company    $0.00
                                                                  CHANDRAKANT PATEL | NIRAV
                                                                  PRAVINBHAI PATEL
                                                                  KESHAV JIVAN LLC | MAHENDRA
                                   SECOND AMENDMENT OF COMMERCIAL CHUNILAL PATEL | DINESH
   782     Sublease                                                                                   Mountain Express Oil Company    $0.00
                                   LEASE                          CHANDRAKANT PATEL | NIRAV
                                                                  PRAVINBHAI PATEL
                                                                  KHALEDA FANCY | M.D. FAZUL
   220     Sublease                COMMERCIAL LEASE                                                   Mountain Express Oil Company    $0.00
                                                                  HUQUE
                                   PETROLEUM PRODUCTS SUPPLY
   220     Fuel Supply Agreement                                  KHALEDA FANCY MD FAZUL HUQUE        Mountain Express Oil Company    $0.00
                                   AGREEMENT
                                   PETROLEUM PRODUCTS SUPPLY      KHANCEPTS DBA STORE 363 STAR
   899     Fuel Supply Agreement                                                                      Star Mountain Express, LLC      $0.00
                                   AGREEMENT                      FUEL | HIMMAD KHAN
                                                                  KHUSHNOOR INC | RAJWINDER
    61     Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                              Mountain Express Oil Company    $0.00
                                                                  SINGH
                                                                  KHUSHNOOR INC | RAJWINDER
    61     Sublease                COMMERCIAL LEASE                                                   Mountain Express Oil Company    $0.00
                                                                  SINGH
                                   FOURTH AMENDMENT OF COMMERCIAL
   555     Sublease                                               KIM FIKUS | TRUC NGUYEN             MEX North Alabama, LLC          $0.00
                                   LEASE
                                                                  KIRITTEL LLC | BANSARIBEN K PATEL
                                   SECOND AMENDMENT OF PETROLEUM
   190     Fuel Supply Agreement                                  | GOLDENYORK LLC | ANKIT            Mountain Express Oil Company    $0.00
                                   PRODUCTS SUPPLY AGREEMENT
                                                                  KIRITBHAI PATEL
                                                                  KIRITTEL LLC | BANSARIBEN K PATEL
                                   THIRD AMENDMENT OF COMMERCIAL
   190     Sublease                                               | GOLDENYORK LLC | ANKIT            Mountain Express Oil Company    $0.00
                                   LEASE
                                                                  KIRITBHAI PATEL


                                                                     47 of 98
                Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 52 of 102
 Store
         Contract Type               Title                                 Counterparty                      Debtor Entity                          Est. Cure
Number
 3056    Sublease                    COMMERCIAL LEASE                      KOKO FRUTERIA                     Mountain Express Oil Company            $0.00
                                     AMENDED AND RESTATED FUEL SUPPLY      KP PATEL LLC | NEHALKUMAR
  79     Fuel Supply Agreement                                                                               Mountain Express Oil Company            $0.00
                                     AGREEMENT                             BABUBHAI PATEL
                                     AMENDED AND RESTATED FUEL SUPPLY      KP PATEL LLC | NEHALKUMAR
 128     Fuel Supply Agreement                                                                               Mountain Express Oil Company            $0.00
                                     AGREEMENT                             BABUBHAI PATEL
                                     FIRST AMENDMENT OF FUEL SUPPLY        KP PATEL LLC | NEHALKUMAR
 128     Fuel Supply Agreement                                                                               Mountain Express Oil Company            $0.00
                                     AGREEMENT                             BABUBHAI PATEL
 1936    Prime Lease (Single Site)   LEASE AGREEMENT                       KPMM LLC                          Mountain Express Oil Company          $20,755.98

 1937    Prime Lease (Single Site)   LEASE AGREEMENT                       KPMM LLC                          Mountain Express Oil Company          $20,349.00

 1943    Prime Lease (Single Site)   LEASE AGREEMENT                       KPMM LLC                          Mountain Express Oil Company          $22,238.55

 1945    Prime Lease (Single Site)   LEASE AGREEMENT                       KPMM LLC                          Mountain Express Oil Company          $31,133.97

  30     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                 KRINAN JAGDA                      Mountain Express Oil Company            $0.00

  30     Sublease                    COMMERCIAL LEASE                      KRINAN JAGDA                      Mountain Express Oil Company            $0.00

  30     Equipment Lease             EQUIPMENT LEASE AGREEMENT             KRINAN JAGDA                      Mountain Express Oil Company          $15,589.02

  30     Sublease                    ACKNOWLEDGEMENT LETTER                KRINAN JAGDA                      Mountain Express Oil Company            $0.00
                                     FIRST AMENDMENT OF PETROLEUM          KRISH R INC | RAJESH PATEL | GMKR
 755     Fuel Supply Agreement                                                                                Mountain Express Oil Company           $0.00
                                     PRODUCTS SUPPLY AGREEMENT             INC
                                                                                                              Mountain Express Oil Company
                                     PETROLEUM PRODUCTS SUPPLY                                               (as successor‐in‐interest to
 755     Fuel Supply Agreement                                             KRISH‐R INC AND RAJESH PATEL                                              $0.00
                                     AGREEMENT                                                               Mountain Express Oil Company
                                                                                                             Southeast, LLC)
                                                                           KRUNAL PATEL | NAVPREET KAUR |
 410     Fuel Supply Agreement       AGREEMENT                                                                Mountain Express Oil Company           $0.00
                                                                           GOGA MAHARAJ
 303     Fuel Supply Agreement       Petroleum Products Supply Agreement   KUNJ CONSTRUCTION USA INC         Mountain Express Oil Company            $0.00

                                                                                                             DT ‐ Mountain Express Oil
 388     Fuel Supply Agreement       Product Supply Agreement              KUNJ CONSTRUCTION USA INC         Company (as successor‐in‐               $0.00
                                                                                                             interest to New Era Energies Inc. )
                                     PETROLEUM PRODUCTS SUPPLY        KUNJ CONSTRUCTION USA INC |
 304     Fuel Supply Agreement                                                                               Mountain Express Oil Company            $0.00
                                     AGREEMENT                        ASHOK KUMAR PATEL
                                     PETROLEUM PRODUCTS SUPPLY        KUNJ CONSTRUCTION USA INC |
 386     Fuel Supply Agreement                                                                               Mountain Express Oil Company            $0.00
                                     AGREEMENT                        ASHOK KUMAR PATEL
                                     PETROLEUM PRODUCTS SUPPLY        KUNJ CONSTRUCTION USA INC |
 424     Fuel Supply Agreement                                                                               Mountain Express Oil Company            $0.00
                                     AGREEMENT                        ASHOK KUMAR PATEL
                                                                      KUNJ CONSTRUCTION USA INC |
                                     FIRST AMENDMENT OF PETROLEUM     ASHOK KUMAR PATEL |
 387     Fuel Supply Agreement                                                                               Mountain Express Oil Company            $0.00
                                     PRODUCTS SUPPLY AGREEMENT        CENTERVILLE 2020 LLC | HANSA
                                                                      PATEL
                                                                      KUNJ CONSTRUCTION USA INC |
                                     SECOND AMENDMENT OF PETROLEUM
 304     Fuel Supply Agreement                                        ASHOK KUMAR PATEL | HR 24              Mountain Express Oil Company            $0.00
                                     PRODUCTS SUPPLY AGREEMENT
                                                                      ENTERPRISE INC | PRADIP BHATT
                                     PETROLEUM PRODUCTS SUPPLY        KUNJ CONSTRUCTION USA, INC |
 387     Fuel Supply Agreement                                                                               Mountain Express Oil Company            $0.00
                                     AGREEMENT                        ASHOK KUMAR PATEL
                                                                      KWICK MART LLC | KONDREDDI
  72     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                   Mountain Express Oil Company            $0.00
                                                                      JOSTNAMBHA
                                                                      KWICK MART LLC | KONDREDDI
  72     Sublease                    COMMERCIAL LEASE                                                        Mountain Express Oil Company            $0.00
                                                                      JOSTNAMBHA
                                     FIRST AMENDMENT OF COMMERCIAL    KWICK MART LLC | KONDREDDI
  72     Sublease                                                                                            Mountain Express Oil Company            $0.00
                                     LEASE                            JOSTNAMBHA
                                                                      KWICK MART LLC | KONDREDDI
 163     Sublease                    COMMERCIAL LEASE                                                        Mountain Express Oil Company            $0.00
                                                                      JOSTNAMBHA
                                     FIRST AMENDMENT OF COMMERCIAL    KWICK MART LLC | KONNREDDI
 163     Sublease                                                                                            Mountain Express Oil Company            $0.00
                                     LEASE                            JOSTNAMBHA
                                                                      KWICK MART LLC | KONREDDI
 163     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                   Mountain Express Oil Company            $0.00
                                                                      JOSTNAMBHA
                                                                      LACE RATTO AND NACY RATTO AS
                                                                      TRUSTEES OF THE LANCE RATTO
 324     Prime Lease (Single Site)   MASTER LEASE AGREEMENT                                                  Mountain Express Oil Company            $0.00
                                                                      AND NANCY RATTO 2007
                                                                      REVOCABLE TRUST
                                     AMENDED AND RESTATED FUEL SUPPLY LAKE GROVE CONVENIENCE STORE
 972     Fuel Supply Agreement                                                                               MEX Fuels NE‐NY LLC                     $0.00
                                     AGREEMENT                        INC
                                     AMENDED AND RESTATED             LAKE GROVE CONVENIENCE STORE
 972     Sublease                                                                                            MEX RE‐NE‐NY‐LI LLC                     $0.00
                                     COMMERCIAL LEASE                 INC



                                                                           48 of 98
                Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 53 of 102
 Store
         Contract Type               Title                                 Counterparty                     Debtor Entity                        Est. Cure
Number
                                                                          LANCE RATTO AND NANCY RATTO
                                                                          AS TRUSTEES OF THE LANCE RATTO
  27     Prime Lease (Single Site)   MASTER LEASE AGREEMENT               AND NANCY RATTO 2007              Mountain Express Oil Company          $0.00
                                                                          REVOCABLE TRUST DATED MAY 2
                                                                          2007
                                     MIDSTATE DISTRIBUTING, INC.                                             Mountain Express Oil Company
 669     Fuel Supply Agreement       PETROLEUM SUPPLY CONTRACT            LAROUSSI BEN AHMED LADKI          (as assignee of Midstate              $0.00
                                     (BRANDED)                                                              Distributing Inc.)
                                     PETROLEUM PRODUCTS SUPPLY            LARRY DELORENZO | MARCIE
 796     Fuel Supply Agreement                                                                              Mountain Express Oil Company          $0.00
                                     AGREEMENT                            DELORENZO
                                                                          LARRY DELORENZO | MARCIE          Mountain Express Oil Company
 796     Sublease                    COMMERCIAL LEASE                                                                                             $0.00
                                                                          DELORENZO                         Southeast, LLC
 3093    Oil Company Agreement       CONTRACT OF SALE (BRANDED)           LAVIGNEBAKER LLC                  Lapalco Brothers No 125, LLC          $0.00
 3094    Oil Company Agreement       CONTRACT OF SALE (BRANDED)           LAVIGNEBAKER LLC                  Avondale Brothers No 128 LLC          $0.00
                                     BRANDING AND PRODUCT PURCHASE
 3095    Oil Company Agreement                                            LAVIGNEBAKER PETROLEUM LLC        Brothers Carol Sue, LLC               $0.00
                                     COMMITMENT AGREEMENT
                                     FIRST AMENDMENT TO COMMERCIAL
  36     Sublease                                                         LAWRENCE R BERMAN                  Mountain Express Oil Company         $0.00
                                     LEASE
  36     Sublease                    COMMERCIAL LEASE                     LAWRENCE R BERMAN                 Mountain Express Oil Company          $0.00

 231     Sublease                    COMMERCIAL LEASE                     LAWRENCE R. BERMAN                Mountain Express Oil Company          $0.00
                                                                          LEFTMAN PERLMAN INC | THE      Mountain Express Oil Company
 731     Prime Lease (Single Site)   COMMERCIAL LEASE                                                                                             $0.00
                                                                          STONEWALL CORPORATION          Southeast, LLC
                                                                          LEGACY ACQUISITIONS, LLC (AS
 3676    Prime Lease (Single Site)   LEASE AGREEMENT                      SUCCESSOR‐IN‐INTEREST TO VAULT Mountain Express Oil Company           $38,975.13
                                                                          CS 4350 HWY 63 LLC)
                                                                                                             Mountain Express Oil Company
 3088    Prime Lease (Single Site)   LEASE AGREEMENT                      LHJ PROPERTY LLC                  (as successor‐in‐interest to 2698   $10,800.00
                                                                                                            Barataria Blvd LLC)
                                                                          LIDHAR MANAGEMENT GROUP, LLC Texas MEX Limited Company, LLC
 519     Prime Lease (Single Site)   GROUND LEASE                         (AS SUCCESSOR‐IN‐INTEREST TO (as successor‐in‐interest to Star          $0.00
                                                                          MEYERHOFF FAMILY TRUST)      Operators, Inc.)
 327     Fuel Supply Agreement       LANDLORDS COMMISSION AGREEMENT LILBURN NOTE PURCHASE LLC                Mountain Express Oil Company         $0.00
                                     MOTOR FUEL SUPPLY AND                   LILBURN VENTURES LLC | SHABNAM
 178     Fuel Supply Agreement                                                                               Mountain Express Oil Company         $0.00
                                     COMMISSIONED SALES AGREEMENT            PANJWANI
                                     FIRST AMENDMENT OF LEASE                LINDA HONG LY DBA KING NAIL AND
 637     Prime Lease (Single Site)                                                                           Mountain Express Oil Company         $0.00
                                     AGREEMENT                               SPA
                                     Consent to a Transfer from Lipscomb Oil
         Oil Company Agreement       Company Inc to Mountain Express Oil     LIPSCOMB OIL COMPANY INC.       Mountain Express Oil Company         $0.00
                                     Company
                                                                             LITHIA KWIK MART INC | KARIM
 606     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                   FEROZALI KESHWANI | BHAVESH     Mountain Express Oil Company         $0.00
                                                                             SHAH
                                                                             LITHIA KWIK MART INC | KARIM
                                     FIRST AMENDMENT OF FUEL SUPPLY
 606     Fuel Supply Agreement                                               FEROZALI KESHWANI | BHAVESH     Mountain Express Oil Company         $0.00
                                     AGREEMENT
                                                                             SHAH
                                                                             LITHIA KWIK MART INC | KARIM
 606     Sublease                    COMMERCIAL LEASE                        FEROZALI KESHWANI | BHAVESH     Mountain Express Oil Company         $0.00
                                                                             SHAH
                                                                             LITHIA KWIK MART INC | KARIM
 606     Rebate Agreement            REBATE AGREEMENT                        FEROZALI KESHWANI | BHAVESH     Mountain Express Oil Company         $0.00
                                                                             SHAH
                                                                             LJM5903 PROPERTIES, LLC AND
                                                                             AFTERMARKET SALES &
 925     Prime Lease (Single Site)   MASTER LEASE AGREEMENT                  CONSULTING, LLC (AS SUCCESSORS‐ Mountain Express Oil Company         $0.00
                                                                             IN‐INTEREST TO TAYLOR
                                                                             MERCANTILE OK1 LLC)
 3057    Sublease                    COMMERCIAL LEASE                     LLESENIA S FIGUEROA               Mountain Express Oil Company          $0.00
                                                                          LNJ INC | BILLY LANCE TATUM AND
  48     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                  Mountain Express Oil Company          $0.00
                                                                          AMANDA TATUM
                                                                          LOGANVILLE VENTURES LLC |
 405     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                  Mountain Express Oil Company          $0.00
                                                                          ADNANALI MAKHANI
                                                                          LOGANVILLE VENTURES LLC |
 405     Sublease                    COMMERCIAL LEASE                                                       Mountain Express Oil Company          $0.00
                                                                          ADNANALI MAKHANI




                                                                          49 of 98
                 Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 54 of 102
   Store
           Contract Type              Title                              Counterparty                       Debtor Entity                  Est. Cure
 Number
582 | 3078
 | 3088 |
  3081 |
  3094 |
  3072 |
  3091 |
  3071 |
                                      PARTIAL ASSIGNMENT AND             LOOMIS ARMORED US LLC |
  3076 |
           Vendor Agreement           ASSUMPTION OF SAFEPOINT            BXPRESS 24100 ELYSIAN FIELDS LLC | Brothers Petroleum, LLC        $9,915.19
  4063 |
                                      AGREEMENT                          GSS HOLDINGS LA LLC
  3068 |
  3067 |
  4062 |
  3086 |
  3085 |
  3065 |
   3084
                                                                         LOS BORIS AUTO SHOP AND
   52     Sublease                    COMMERCIAL LEASE                                                      MEX RE‐SE‐NC LLC                $0.00
                                                                         CARWASH LLC | ROY ROSA
   145    Prime Lease (Single Site)   MASTER LEASE AGREEMENT             LOWIN ENTERPRISES LLC              MEX RE‐NW‐KS LLC                $0.00
   404    Prime Lease (Single Site)   MASTER LEASE AGREEMENT             LTE CAPITAL LLC                    Mountain Express Oil Company    $0.00

   306    Prime Lease (Single Site)   MASTER LEASE AGREEMENT             LULA HOLDINGS LLP                  Mountain Express Oil Company    $0.00

   307    Prime Lease (Single Site)   MASTER LEASE AGREEMENT             LULA HOLDINGS LLP                  Mountain Express Oil Company    $0.00
                                                                         M AND A MINI MART 1 INC |
   51     Sublease                    COMMERCIAL LEASE                                                      Mountain Express Oil Company    $0.00
                                                                         MAHMOOD AHMED
                                                                         M AND A MINI MART 2 INC |
   52     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                 Mountain Express Oil Company    $0.00
                                                                         MAHMOOD AHMED
                                                                         M AND A MINI MART 3 INC |
   53     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                 Mountain Express Oil Company    $0.00
                                                                         MAHMOOD AHMED
                                                                         M AND A MINI MART 3 INC |
   53     Sublease                    COMMERCIAL LEASE                                                      Mountain Express Oil Company    $0.00
                                                                         MAHMOOD AHMED
                                                                         M AND A MINI MART INC |
   594    Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                 Mountain Express Oil Company    $0.00
                                                                         MAHMOOD M AHMED
                                                                         M AND A MINI MART INC |
   594    Sublease                    COMMERCIAL LEASE                                                      Mountain Express Oil Company    $0.00
                                                                         MAHMOOD M AHMED
                                      MOTOR FUEL SUPPLY AND              M AND J FAST FOOD INC | GOPAL
   452    Fuel Supply Agreement                                                                             Mountain Express Oil Company    $0.00
                                      COMMISSIONED SALES AGREEMENT       SINGH
                                      ASSIGNMENT AMENDMENT AND
                                                                         M AND M LILBURN | MONAHAN
   396    Fuel Supply Agreement       CONSENT AGREEMENT TO FUEL SUPPLY                                      Mountain Express Oil Company    $0.00
                                                                         PANICKER
                                      CONTRACT
                                      PETROLEUM PRODUCTS SUPPLY          M AND M LILBURN LLC | MOHANAN
   396    Fuel Supply Agreement                                                                          Mountain Express Oil Company       $0.00
                                      AGREEMENT                          PANICKER
                                      FIRST AMENDMENT TO PETROLEUM       M AND M LILBURN LLC | MOHANAN
   396    Fuel Supply Agreement                                                                          Mountain Express Oil Company       $0.00
                                      PRODUCTS SUPPLY AGREEMENT          PANICKER
                                                                         M&A MINI MART 1 INC |
   51     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                              Mountain Express Oil Company       $0.00
                                                                         MAHMOOD AHMED
                                                                         M&A MINI MART 2 INC |
   52     Sublease                    COMMERCIAL LEASE                                                   Mountain Express Oil Company       $0.00
                                                                         MAHMOOD AHMED
                                                                         M&A QUICKSTOP, INC | HYDER      Mountain Express Oil Company
   279    Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                                                 $0.00
                                                                         LALANI                          Southeast, LLC
                                      PETROLEUM PRODUCTS SUPPLY          M&I ENTERPRISES 2 LLC | ISHTIAQ
   354    Fuel Supply Agreement                                                                          Mountain Express Oil Company       $0.00
                                      AGREEMENT                          MOHAMMED
                                                                         M&M FOOD MART LLC | MOHSIN
   183    Sublease                    COMMERCIAL LEASE                                                   Mountain Express Oil Company       $0.00
                                                                         MOHAMMED
                                                                         M&M FOOD MART LLC | MOHSIN
                                      FIRST AMENDMENT COMMERCIAL
   183    Sublease                                                       MOHAMMED | TONY ENTERPRISES        Mountain Express Oil Company    $0.00
                                      LEASE
                                                                         USA INC | TAHIR N KHAN
                                      MOTOR FUEL SUPPLY AND            M&M FOOD MART LLC AND
   183    Fuel Supply Agreement                                                                             Mountain Express Oil Company    $0.00
                                      COMMISSIONED SALES AGREEMENT     MOSHIN MOHAMMED
                                                                       MAA ENTERPRENUER LLC | NIKUNJ
   103    Sublease                    COMMERCIAL LEASE                                                      Mountain Express Oil Company    $0.00
                                                                       PATEL
                                      AMENDED AND RESTATED FUEL SUPPLY MAA ENTREPENEUR LLC | NIKUNJ
   103    Fuel Supply Agreement                                                                             Mountain Express Oil Company    $0.00
                                      AGREEMENT                        PATEL
                                      PETROLEUM PRODUCTS SUPPLY
   557    Fuel Supply Agreement                                        MADISON FOOD MART INC                Mountain Express Oil Company    $0.00
                                      AGREEMENT
   557    Sublease                    COMMERCIAL LEASE                   MADISON FOOD MART INC              Mountain Express Oil Company    $0.00




                                                                         50 of 98
               Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 55 of 102
 Store
         Contract Type           Title                                Counterparty                      Debtor Entity                       Est. Cure
Number
                                                                                                         Mountain Express Oil Company
                                                                      MADYAN MANSOOB DBA 269            Southeast, LLC (as successor‐in‐
 731     Sublease                LEASE AGREEMENT                                                                                             $0.00
                                                                      EXPRESS FOOD MART                 interest to Southeastern Energy
                                                                                                        Corporation)
                                                                      MAGNOLIA MARKET & DELI INC |
 951     Sublease                COMMERCIAL LEASE                     MOHAMMAD ALMAHAMEED |             Mountain Express Oil Company         $0.00
                                                                      NAJEH M ZAHRAWI
                                                                                                         Mountain Express Oil Company
                                 FUEL CONSIGNMENT AND SALES
 608     Fuel Supply Agreement                                        MAHA K LLC                        (as successor‐in‐interest to Elon    $0.00
                                 AGREEMENT
                                                                                                        Oil Company LLC)

                                                                                                         Mountain Express Oil Company
 608     Sublease                CONVENIENCE STORE LEASE              MAHA K LLC                        (as successor‐in‐interest to Elon    $0.00
                                                                                                        Oil Company LLC)
 108     Sublease                COMMERCIAL LEASE                     MAHADEV LLC | HARDIK AGATH   MEX RE‐SW‐OK LLC                          $0.00
 108     Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                MAHADEV LLC AND HARDIK AGATH MEX Fuels SW‐OK LLC                       $0.00
                                 Motor Fuel Supply and Commissioned   MAHAMMAD QAWASMEI | SUFYAN
 264     Fuel Supply Agreement                                                                     Mountain Express Oil Company              $0.00
                                 Sales Agreement                      MUSA
                                                                      MAHENDERNATH PANJARLA | MAA
                                 FIRST AMENDMENT OF FUEL SUPPLY
 103     Fuel Supply Agreement                                        ENTERPRENUER LLC | NIKUNJ PATEL Mountain Express Oil Company           $0.00
                                 AGREEMENT
                                                                      | SHRIYANSH PETROLEUM LLC
                                                                      MAHENDRA CHUNILAL PATEL |
                                 PETROLEUM PRODUCTS SUPPLY
 782     Fuel Supply Agreement                                        DINESH CHANDRAKANT PATEL |        Mountain Express Oil Company         $0.00
                                 AGREEMENT
                                                                      NIRAV PRAVINBHAI PATEL
                                                                      MAHENDRA CHUNILAL PATEL |
 782     Sublease                COMMERCIAL LEASE                     DINESH CHANDRAKANT PATEL |        Mountain Express Oil Company         $0.00
                                                                      NIRAV PRAVINBHAI PATEL
                                                                      MAHENDRA CHUNILAL PATEL |
                                 FIRST AMENDMENT OF PETROLEUM         DINESH CHANDRAKANT PATEL |
 782     Fuel Supply Agreement                                                                          Mountain Express Oil Company         $0.00
                                 PRODUCTS SUPPLY AGREEMENT            NIRAV PRAVINBHAI PATEL | KESHAV
                                                                      JIVAN LLC
                                 MOTOR FUEL SUPPLY AND                MAHIR CORPORATION | TUSHAR
 278     Fuel Supply Agreement                                                                          Mountain Express Oil Company         $0.00
                                 COMMISSIONED SALES AGREEMENT         PATEL
                                                                      MAHMOOD M AHMED | FUEL
 3033    Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                SMART 6 INC | SHAYEF MOHAMED      Mountain Express Oil Company         $0.00
                                                                      SALEH HASSAN |
                                                                      MAHMOOD M AHMED | FUEL
 3033    Sublease                COMMERCIAL LEASE                     SMART 6 INC | SHAYEF MOHAMED      MEX RE‐SE‐NC LLC                     $0.00
                                                                      SALEH HASSAN |
                                                                      MAHMOOD M AHMED | FUEL
 3020    Sublease                COMMERCIAL LEASE                     SMART 7 INC | SHAYEF MOHAMED      MEX RE‐SE‐NC LLC                     $0.00
                                                                      SALEH HASSAN |
 582     Sublease                COMMERCIAL LEASE                     MAHMOUD ZIADEH                    Mountain Express Oil Company         $0.00
                                 FIRST AMENDMENT OF COMMERCIAL
 582     Sublease                                               MAHMOUD ZIADEH                   Mountain Express Oil Company                $0.00
                                 LEASE
                                 FIRST AMENDMENT OF FUEL SUPPLY
 582     Fuel Supply Agreement                                  MAHMOUD ZIADEH                   Mountain Express Oil Company                $0.00
                                 AGREEMENT
                                 SECOND AMENDMENT OF COMMERCIAL
 582     Sublease                                               MAHMOUD ZIADEH                   Mountain Express Oil Company                $0.00
                                 LEASE
                                 PETROLEUM PRODUCTS SUPPLY      MAJEED TAYYAB | OMEGA
  10     Fuel Supply Agreement                                                                   Mountain Express Oil Company                $0.00
                                 AGREEMENT                      PETROLEUM INC
                                                                MAJEED TAYYAB | OMEGA
                                 AMENDMENT OF FUEL SUPPLY       PETROLEUM INC | STATE LINE LLC |
  10     Fuel Supply Agreement                                                                   Mountain Express Oil Company                $0.00
                                 AGREEMENT                      ROCKDALE BUSINESS MANAGEMENT
                                                                LLC
 597     Sublease                COMMERCIAL LEASE               MAJORYA PASCAL                   MEX RE‐SE‐FL LLC                            $0.00
                                 PETROLEUM PRODUCTS SUPPLY
 551     Fuel Supply Agreement                                  MAMINDRA KARKI                   Mountain Express Oil Company                $0.00
                                 AGREEMENT
 551     Sublease                COMMERCIAL LEASE                     MAMINDRA KARKI                    Mountain Express Oil Company         $0.00

 556     Sublease                AMENDMENT TO COMMERCIAL LEASE        MAMINDRA KARKI                    Mountain Express Oil Company         $0.00
                                 PETROLEUM PRODUCTS SUPPLY
 556     Fuel Supply Agreement                                        MAMINDRA KARKI                    Mountain Express Oil Company         $0.00
                                 AGREEMENT
 551     Sublease                AMENDMENT TO COMMERCIAL LEASE        MAMINDRA KARKI | SAMU2018 INC Mountain Express Oil Company             $0.00

 582     Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                MAMOUD ZIADEH                     Mountain Express Oil Company         $0.00
                                                                      MAN INVESTMENTS LLC | MURAD
 559     Sublease                COMMERCIAL LEASE                                                       Mountain Express Oil Company         $0.00
                                                                      ALI BUDWANI

                                                                      51 of 98
               Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 56 of 102
 Store
         Contract Type           Title                            Counterparty                       Debtor Entity                       Est. Cure
Number
                                 PETROLEUM PRODUCTS SUPPLY        MAN INVESTMENTS, LLC | MURAD
 559     Fuel Supply Agreement                                                                       Mountain Express Oil Company         $0.00
                                 AGREEMENT                        ALI BUDWANI
                                 FIRST AMENDMENT TO PETROLEUM     MANDANI HUSSAIN | MANDANI
 360     Fuel Supply Agreement                                                                       Mountain Express Oil Company         $0.00
                                 PRODUCTS SUPPLY AGREEMENT        HUSSAIN | QUICKSHOP INC
                                                                                                      Mountain Express Oil Company
 934     Fuel Supply Agreement   INVESTMENT INCENTIVE AGREEMENT   MANI OF LA LLC                     (as successor‐in‐interest to Pel‐    $0.00
                                                                                                     State Oil Company Inc.)
                                                                  MANIBA 2917 INC | SYED ZULFIQAR
 159     Sublease                COMMERCIAL LEASE                                                    Mountain Express Oil Company         $0.00
                                                                  HAIDER
                                 PETROLEUM PRODUCTS SUPPLY        MANIBA 2917 INC | SYED ZULFIQAR
 159     Fuel Supply Agreement                                                                       Mountain Express Oil Company         $0.00
                                 AGREEMENT                        HAIDER
                                                                  MANIBA 2917 INC | SYED ZULFIQAR
                                 FIRST AMENDMENT OF PETROLEUM
 159     Fuel Supply Agreement                                    HAIDER | THOMSON 2657 INC |        Mountain Express Oil Company         $0.00
                                 PRODUCTS SUPPLY AGREEMENT
                                                                  SATISH PATEL
                                                                  MANIBA 2917 INC | SYED ZULFIQAR
                                 FIRST AMENDMENT OF COMMERCIAL
 159     Sublease                                                 HAIDER | THOMSON 2657 INC |        Mountain Express Oil Company         $0.00
                                 LEASE
                                                                  SATISH PATEL
                                                                  MANISHKUMAR PATEL | KUNJ
                                 FIRST AMENDMENT OF PETROLEUM
 386     Fuel Supply Agreement                                    CONSTRUCTION USA INC | ASHOK       Mountain Express Oil Company         $0.00
                                 PRODUCTS SUPPLY AGREEMENT
                                                                  KUMAR PATEL | ATITA LLC
                                                                  MANORI 1&B INC | ALMAS ANWAR
 581     Sublease                COMMERCIAL LEASE                                                    Mountain Express Oil Company         $0.00
                                                                  MAVANY
                                 FIRST AMENDMENT OF COMMERCIAL    MANORI 1&B INC | ALMAS ANWAR
 581     Sublease                                                                                    Mountain Express Oil Company         $0.00
                                 LEASE                            MAVANY
                                 MOTOR FUEL SUPPLY AND            MANORI1&B INC | ALMAS ANWAR
 581     Fuel Supply Agreement                                                                       Mountain Express Oil Company         $0.00
                                 COMMISSIONED SALES AGREEMENT     MAVANY
                                                                  MANSOOR LAKHANI | MOHSIN
 679     Fuel Supply Agreement   FUEL SUPPLY AGREEMENT            VIRANI | ASIF VALANI | NADIRSHAH   Mountain Express Oil Company         $0.00
                                                                  RATTANI
                                                                  MANSOOR LAKHANI | MOHSIN
 680     Sublease                COMMERCIAL LEASE                 VIRANI | ASIF VALANI | NADIRSHAH   Mountain Express Oil Company         $0.00
                                                                  RATTANI
                                                                  MANSOOR LAKHANI | MOHSIN
 681     Sublease                COMMERCIAL LEASE                 VIRANI | ASIF VALANI | NADIRSHAH   Mountain Express Oil Company         $0.00
                                                                  RATTANI
                                                                  MANSOOR LAKHANI | MOHSIN
 682     Sublease                COMMERCIAL LEASE                 VIRANI | ASIF VALANI | NADIRSHAH   Mountain Express Oil Company         $0.00
                                                                  RATTANI
                                                                  MANSOOR LAKHANI | MOHSIN
 683     Sublease                COMMERCIAL LEASE                 VIRANI | ASIF VALANI | NADIRSHAH   Mountain Express Oil Company         $0.00
                                                                  RATTANI
                                                                  MANSOOR LAKHANI | MOHSIN
 684     Sublease                COMMERCIAL LEASE                 VIRANI | ASIF VALANI | NADIRSHAH   Mountain Express Oil Company         $0.00
                                                                  RATTANI
                                                                                                     Mountain Express Oil Company &
                                 PETROLEUM PRODUCTS SUPPLY        MARATHON FOODMART |
 712     Fuel Supply Agreement                                                                       Mountain Express Oil Company         $0.00
                                 AGREEMENT                        SHAHARIAR SHIHAB
                                                                                                     Southeast, LLC
                                 ROLLOVER AND MASTER IMPROVEMENT MARATHON PETROLEUM COMPANY
 979     Oil Company Agreement                                                              Mountain Express Oil Company                  $0.00
                                 AGREEMENT                       LP




                                                                  52 of 98
                  Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 57 of 102
  Store
            Contract Type            Title                               Counterparty                    Debtor Entity                  Est. Cure
 Number



| 433 | 221
| 165 | 31 |
228 | 493 |
459 | 638 |
248 | 709 |
721 | 712 |
731 | 707 |
414 | 314 |
415 | 603 |
408 | 367 |                          Branded Product Supply and Trademark MARATHON PETROLEUM COMPANY
             Oil Company Agreement                                                                   Mountain Express Oil Company        $0.00
297 | 393 |                          License Agreement                    LP
232 | 271 |
115 | 231 |
1 | 14 | 435
| 13 | 234 |
 181 | 18 |
498 | 144 |
438 | 224 |
583 | 169 |
  724 | 10



228 | 224 |
                                                                         MARATHON PETROLEUM COMPANY
221 | 167 | Oil Company Agreement    MASTER IMPROVEMENT AGREEMENT                                   Mountain Express Oil Company         $0.00
                                                                         LP
   602

707 | 731 |
583 | 712 |
724 | 721 |
709 | 493 |
232 | 414 |
 10 | 234 |                          MASTER ROLLOVER AND MASTER          MARATHON PETROLEUM COMPANY
             Oil Company Agreement                                                                  Mountain Express Oil Company         $0.00
181 | 408 |                          IMPROVEMENT AGREEMENT               LP
 438 | 31 |
296 | 16 | 5
| 271 | 144
| 231 | 143
  | 248 |

 Not Site                                                                 MARATHON PETROLEUM COMPANY
            Oil Company Agreement    GUARANTY FROM A CORPORATION                                         Mountain Express Oil Company    $0.00
 Specific                                                                 LP
 Not Site                                                                 MARATHON PETROLEUM COMPANY
            Oil Company Agreement    GUARANTEED SUPPLY AGREEMENT                                         Mountain Express Oil Company    $0.00
 Specific                                                                 LP
                                                                          MARATHON PETROLEUM COMPANY
            Oil Company Agreement    Marathon Guaranty for MEX Southeast                                 Mountain Express Oil Company    $0.00
                                                                          LP
                                     Master Improvement Agreement ‐       MARATHON PETROLEUM COMPANY
            Oil Company Agreement                                                                        Mountain Express Oil Company    $0.00
                                     IN/OH                                LP
                                     Branded Product Supply and Trademark MARATHON PETROLEUM COMPANY
            Oil Company Agreement                                                                        Mountain Express Oil Company    $0.00
                                     License Agreement                    LP
                                     PETROLEUM PRODUCTS SUPPLY
   364      Fuel Supply Agreement                                         MAREF QURAN | MOHANAD SALEH Mountain Express Oil Company       $0.00
                                     AGREEMENT
                                     PETROLEUM PRODUCTS SUPPLY
   367      Fuel Supply Agreement                                         MAREF QURAN | SAMER ISSA       Mountain Express Oil Company    $0.00
                                     AGREEMENT
                                     PETROLEUM PRODUCTS SUPPLY
   399      Fuel Supply Agreement                                         MAREF QURAN | SAMER ISSA       Mountain Express Oil Company    $0.00
                                     AGREEMENT
                                     FIRST AMENDMENT OF PETROLEUM
   399      Fuel Supply Agreement                                         MAREF QURAN | SAMER ISSA       Mountain Express Oil Company    $0.00
                                     PRODUCTS SUPPLY AGREEMENT
                                                                          MAREF QURAN | SAMER ISSA |
                                     FIRST AMENDMENT OF FUEL SUPPLY
   367      Fuel Supply Agreement                                         MEENAKSHI ENTERPRISE LLC |     Mountain Express Oil Company    $0.00
                                     AGREEMENT
                                                                          FERDAUSI AKTER
                                                                          MAREF QURAN | SAMER ISSA | ZMS
                                     SECOND AMENDMENT OF PETROLEUM
   399      Fuel Supply Agreement                                         ENTERPRISE INC | MD SHAHA      Mountain Express Oil Company    $0.00
                                     PRODUCTS SUPPLY AGREEMENT
                                                                          ULLAHA
                                                                          MAREF QURAN | SAMER ISSA |
                                     THIRD AMENDMENT TO PETROLEUM         ZMS ENTERPRISE INC |
   399      Fuel Supply Agreement                                                                        Mountain Express Oil Company    $0.00
                                     PRODUCTS SUPPLY AGREEMENT            MD SHAHA ULLAHA | HWY 22 LLC |
                                                                          MASUM MOSTAFA
                                                                          MARKET FOODMART AND            Mountain Express Oil Company
   712      Sublease                 COMMERCIAL LEASE                                                                                    $0.00
                                                                          SHAHARIAR SHIHAB               Southeast, LLC


                                                                         53 of 98
                Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 58 of 102
 Store
         Contract Type               Title                            Counterparty                       Debtor Entity                     Est. Cure
Number
                                     FIRST AMENDMENT OF PETROLEUM     MARUF INCORPORATED | ABU T.
 350     Fuel Supply Agreement                                                                            Mountain Express Oil Company      $0.00
                                     PRODUCTS SUPPLY AGREEMENT        AHMED
                                                                      MARUTI GROCERY MART LLC | JINAL
  91     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                MEX Fuels NE‐IN LLC               $0.00
                                                                      MADHABHAI PATEL
                                                                      MARUTI GROCERY MART LLC | JINAL
  91     Sublease                    COMMERCIAL LEASE                                                     MEX RE‐NE‐IN LLC                  $0.00
                                                                      MADHABHAI PATEL
                                     PETROLEUM PRODUCTS SUPPLY        MARUTINANDAN LLC | DINESH K
 414     Fuel Supply Agreement                                                                            Mountain Express Oil Company      $0.00
                                     AGREEMENT                        PATEL
                                                                      MARUTINANDAN, LLC | DINESH K.
                                     FIRST AMENDMENT OF PETROLEUM     PATEL | ATHENS MINIM ART
 414     Fuel Supply Agreement                                                                            Mountain Express Oil Company      $0.00
                                     PRODUCTS SUPPLY AGREEMENT        CORPORATION | D/B/A MAKCO
                                                                      FOOD STORE | RIZWANA SABEEN
                                     FIRST AMENDMENT OF PETROLEUM                                Mountain Express Oil Company
 712     Fuel Supply Agreement                                      MASUD AHMED | ASADEE BEGUM                                              $0.00
                                     PRODUCTS SUPPLY AGREEMENT                                   Southeast, LLC
                                     FIRST AMENDMENT OF COMMERCIAL
 712     Sublease                                                   MASUD AHMED | ASADEE BEGUM   Mountain Express Oil Company               $0.00
                                     LEASE
                                     SECOND AMENDMENT OF COMMERCIAL MASUD AHMED | ASADEE BEGUM |
 712     Sublease                                                                                Mountain Express Oil Company               $0.00
                                     LEASE                          KAPASIA INC
                                     THIRD AMENDMENT OF COMMERCIAL MASUD AHMED | ASADEE BEGUM |
 712     Sublease                                                                                Mountain Express Oil Company               $0.00
                                     LEASE                          KAPASIA INC
                                     SECOND AMENDMENT OF PETROLEUM MASUD AHMED | ASADEE BEGUM | Mountain Express Oil Company
 712     Fuel Supply Agreement                                                                                                              $0.00
                                     PRODUCTS SUPPLY AGREEMENT     KAPASIA, INC                 Southeast, LLC
                                                                      MATANG PPATEL | RONAK D. PATEL
  17     Fuel Supply Agreement       AGREEMENT                        | GANESHA INVESTMENT LLC |     Mountain Express Oil Company           $0.00
                                                                      KRUNAL P. PATEL |
                                                                      MAZR INVESTMENT INC | NAHIDUL
                                     FIRST AMENDMENT OF PETROLEUM     KHAN | AURA SERVICES, LLC |
 287     Fuel Supply Agreement                                                                        Mountain Express Oil Company          $0.00
                                     PRODUCTS SUPPLY AGREEMENT        ANKUR D. CHOKSI | JALARAM23 LLC
                                                                      | NIHAR DILIPBHAI PATEL
                                     PETROLEUM PRODUCTS SUPPLY        MAZR INVESTMENT INC DBA FUEL
 287     Fuel Supply Agreement                                                                            Mountain Express Oil Company      $0.00
                                     AGREEMENT                        MARKET | NAHIDUL KHAN
                                                                      MCDONALD'S CORPORATION (AS        Mountain Express Oil Company
  85     Prime Lease (Single Site)   LEASE                            SUCCESSOR‐IN‐INTEREST TO GINO'S, (as successor‐in‐interest to Lula    $0.00
                                                                      NO. 1 OF NEW JERSEY, INC.)       M. Crisp)
         Vendor Agreement            DISTRIBUTION SERVICE AGREEMENT   MCLANE COMPANY INC                  West Hill Ranch Group LLC         $0.00
 123     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT            MCLEEN OIL INC | PRABHJOT SINGH Mountain Express Oil Company          $0.00

 123     Sublease                    COMMERCIAL LEASE                 MCLEEN OIL INC | PRABHJOT SINGH Mountain Express Oil Company          $0.00
                                     PETROLEUM PRODUCTS SUPPLY                                           Mountain Express Oil Company
 779     Fuel Supply Agreement                                        MCM LLC                                                               $0.00
                                     AGREEMENT                                                           Southeast, LLC
                                                                                                         DT ‐ Mountain Express Oil
                                                                                                         Company Southeast, LLC (as
 772     Fuel Supply Agreement       CONSIGNMENT AGREEMENT            MD ANWAR HOSSAIN                                                      $0.00
                                                                                                         assignee of Southeastern Energy
                                                                                                         Corporation)
 180     Sublease                    COMMERCIAL LEASE                 MD FAZLUL HUQUE                     Mountain Express Oil Company      $0.00
                                     PETROLEUM PRODUCTS SUPPLY
 180     Fuel Supply Agreement                                        MD FAZLUL HUQUE                     Mountain Express Oil Company      $0.00
                                     AGREEMENT
                                                                      MD FAZLUL HUQUE | HWY 5 KWIK
                                     FIRST AMENDMENT OF PETROLEUM
 180     Fuel Supply Agreement                                        MART LLC | SWEETYBEN PATEL |        Mountain Express Oil Company      $0.00
                                     PRODUCTS SUPPLY AGREEMENT
                                                                      BHAVESH SHAH
                                                                      MD FAZLUL HUQUE | HWY 5 KWIK
                                     FIRST AMENDMENT OF COMMERCIAL
 180     Sublease                                                     MART LLC | SWEETYBEN PATEL |        Mountain Express Oil Company      $0.00
                                     LEASE
                                                                      BHAVESH SHAH
                                     MODIFICATION OF PETROLEUM        MEHBOOB ALI HUSAIN | BANO
  9      Fuel Supply Agreement                                                                            Mountain Express Oil Company      $0.00
                                     PRODUCTS SUPPLY AGREEMENT        ENTERPRISES INC
                                     MODIFICATION OF PETROLEUM        MEHBOOB ALI HUSAIN | BANO
  28     Fuel Supply Agreement                                                                            Mountain Express Oil Company      $0.00
                                     PRODUCTS SUPPLY AGREEMENT        ENTERPRISES INC
                                     PETROLEUM PRODUCTS SUPPLY        MEHBOOB ALI HUSAIN | BANO
  35     Fuel Supply Agreement                                                                            Mountain Express Oil Company      $0.00
                                     AGREEMENT                        PROPERTIES, INC
                                     MOTOR FUEL SUPPLY AND            MERCHANT CONVENIENCE LLC AND
 166     Fuel Supply Agreement                                                                            Mountain Express Oil Company      $0.00
                                     COMMISSIONED SALES AGREEMENT     SALIM MERCHANT
                                                                      MESA VALLEY HOUSING ASSOCIATES
                                                                      LIMITED PARTNERSHIP (AS
 637     Prime Lease (Single Site)   LEASE AGREEMENT                                                 Mountain Express Oil Company           $0.00
                                                                      SUCCESSOR‐IN‐INTEREST TO VAULT
                                                                      CS AUBURN LLC)
                                                                                                   Mountain Express Oil Company
                                     EXCLUSIVE PLACEMENT AGREEMENT
 3260    Sublease                                                     METRO GAMING & AMUSEMENT CO (as successor‐in‐interest to Pilot        $0.00
                                     REGARDING VIDEO GAMING DEVICES
                                                                                                  Corporation)

                                                                      54 of 98
                Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 59 of 102
 Store
         Contract Type               Title                              Counterparty                      Debtor Entity                        Est. Cure
Number
  72     Prime Lease (Single Site)   MASTER LEASE AGREEMENT             MEX 1123 LAKE LLC                 Mountain Express Oil Company          $0.00

 402     Prime Lease (Single Site)   MASTER LEASE AGREEMENT             MEX 12800 EUCLID LLC              Mountain Express Oil Company          $0.00
 3162    Prime Lease (Single Site)   FORM OF MASTER LEASE AGREEMENT     MEX 1515 LLC                      MEX RE‐NW‐KS LLC                    $17,500.00
                                     UNCONDITIONAL GUARANTY OF
 3162    Prime Lease (Single Site)                                      MEX 1515 LLC                      MEX RE‐NW‐KS LLC                    $17,500.00
                                     PAYMENT AND PERFORMANCE
 733     Prime Lease (Single Site)   MASTER LEASE AGREEMENT             MEX 1719 LAGRANGE LLC             Mountain Express Oil Company        $90,000.00

  73     Prime Lease (Single Site)   MASTER LEASE AGREEMENT             MEX 1992 ELM LLC                  Mountain Express Oil Company          $0.00

 110     Prime Lease (Single Site)   MASTER LEASE AGREEMENT             MEX 2110 ELM LLC                  Mountain Express Oil Company          $0.00

 403     Prime Lease (Single Site)   MASTER LEASE AGREEMENT             MEX 300 FARNSWORTH LLC            Mountain Express Oil Company          $0.00
                                     UNCONDITIONAL GUARANTY OF
  30     Prime Lease (Single Site)                                      MEX 3803 II LLC                   Mountain Express Oil Company          $0.00
                                     PAYMENT AND PERFORMANCE
  30     Prime Lease (Single Site)   MASTER LEASE AGREEMENT             MEX 3808 LLC                      Mountain Express Oil Company          $0.00

 115     Prime Lease (Single Site)   MASTER LEASE AGREEMENT             MEX 4126 PEARL LLC                Mountain Express Oil Company          $0.00

 737     Prime Lease (Single Site)   MASTER LEASE AGREEMENT             MEX 4468 MONROE LLC               Mountain Express Oil Company          $0.00

 114     Prime Lease (Single Site)   MASTER LEASE AGREEMENT             MEX 514 N MARKET LLC              Mountain Express Oil Company          $0.00
 417     Prime Lease (Single Site)   FORM OF MASTER LEASE AGREEMENT     MEX 6152 LLC | MEX 6152 II LLC    MEX RE‐NE‐OH LLC                      $0.00
 164     Prime Lease (Single Site)   MASTER LEASE AGREEMENT             MEX 650 S HIGH, LLC               Mountain Express Oil Company          $0.00
 3145    Prime Lease (Single Site)   MASTER LEASE AGREEMENT             MEX HAYTI LLC                     MEX RE‐NW‐MO LLC                      $0.00
 599     Prime Lease (Single Site)   LEASE AGREEMENT                    MEX TEXAS LLC                     Mountain Express Oil Company          $0.00
                                     COMMERCIAL REAL ESTATE LEASE
 457     Sublease                                                       MGS VENTURE LLC                   Mountain Express Oil Company          $0.00
                                     CONTRACT
                                                                                                          DT ‐ MEX Fuels NE‐NY LLC (as
                                     DISTRIBUTORSHIP/SUPPLY APPLICATION
 966     Fuel Supply Agreement                                          MIDLAND FUEL INC                  successor‐in‐interest to VM Petro     $0.00
                                     AND AGREEMENT
                                                                                                          Inc.)
                                                                                                          DT ‐ Mountain Express Oil
 966     Sublease + Fuel Supply      LEASE                              MIDLAND FUEL INC                  Company (as successor‐in‐             $0.00
                                                                                                          interest to Vanish Inc.)
                                     AMENDMENT AND REAFFIRMATION OF
                                                                    MIKASA INC | GOPAL BABUBHAI
 533     Fuel Supply Agreement       CONTRACT SUPPLY AGREEMENT AND                                     Mountain Express Oil Company             $0.00
                                                                    PATEL
                                     AMOUNTS PAYABLE TO SUPPLIER
                                     PETROLEUM PRODUCTS SUPPLY      MIKASA INC | GOPAL BABUBHAI
 533     Fuel Supply Agreement                                                                         Mountain Express Oil Company             $0.00
                                     AGREEMENT                      PATEL
                                     SECOND AMENDMENT OF MOTOR FUEL MILIND D PATEL | SHREEJI 786 LLC |
 422     Fuel Supply Agreement       SUPPLY AND COMMISSIONED SALES  TARA 1941 LLC | VIPUL DALAL |      Mountain Express Oil Company             $0.00
                                     AGREEMENT                      EKATA RUPESH BRAHMBHATT
                                     THIRD AMENDMENT OF MOTOR FUEL      MILIND D PATEL | SHREEJI 786 LLC |
 422     Fuel Supply Agreement                                                                             Mountain Express Oil Company         $0.00
                                     SUPPLY                             TARA EXXON LLC | HIMANSHU AMIN
                                     PETROLEUM PRODUCTS SUPPLY
 358     Fuel Supply Agreement                                          MIRZA VASAY | SHAMSA VASAY        Mountain Express Oil Company          $0.00
                                     AGREEMENT
                                                                        MISHU OMIEE 2 INC | SABINA
 234     Rebate Agreement            REBATE AGREEMENT                                                     Mountain Express Oil Company          $0.00
                                                                        CHOWDHURY
                                                                        MISHU OMIEE 2 INC | SABINA
 234     Sublease                    COMMERCIAL LEASE                                                     Mountain Express Oil Company          $0.00
                                                                        CHOWDURY
                                                                        MISHUA OMIEE 2 INC | SABINA
 234     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                Mountain Express Oil Company          $0.00
                                                                        CHOWDHURY
                                     PETROLEUM PRODUCTS SUPPLY          MMFL FLORIDA LLC | RAHMAN
 709     Fuel Supply Agreement                                                                            Mountain Express Oil Company          $0.00
                                     AGREEMENT                          MAHBUR
 553     Sublease                    COMMERCIAL LEASE                   MOFED ABDO ALWAJIH                Mountain Express Oil Company          $0.00
                                     MOTOR FUEL SUPPLY AND
 553     Fuel Supply Agreement                                          MOFED ABDO ALWAJIH                Mountain Express Oil Company          $0.00
                                     COMMISSIONED SALES AGREEMENT
                                     COMMERCIAL LEASE | SECOND
                                     AMENDMENT TO COMMERCIAL LEASE      MOHAMMAD MONIRUZZAMAN |
 143     Sublease                                                                                         Mountain Express Oil Company          $0.00
                                     AND PETROLEUM PRODUCTS SUPPLY      MOST MOMOTAZ BEGUM
                                     AGREEMENT
                                     SECOND AMENDMENT TO
                                                                        MOHAMMAD MONIRUZZAMAN
 143     Fuel Supply Agreement       COMMERCIAL LEASE AND PETROLEUM                                       Mountain Express Oil Company          $0.00
                                                                        AND MOST MOMOTAZ BEGUM
                                     PRODUCTS SUPPLY AGREEMENT
                                     PETROLEUM PRODUCTS SUPPLY          MOHAMMAD MONIRUZZAN | MOST
 143     Fuel Supply Agreement                                                                     Mountain Express Oil Company                 $0.00
                                     AGREEMENT                          MOMOTAZ BEGUM
                                     MOTOR FUEL SUPPLY AND              MOHAMMAD QAWASMEI | MAREF
 268     Fuel Supply Agreement                                                                     Mountain Express Oil Company                 $0.00
                                     CONIIVESSIONED SALES AGREEMENT     QURAN
                                                                        55 of 98
                  Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 60 of 102
  Store
           Contract Type           Title                             Counterparty                     Debtor Entity                       Est. Cure
 Number
                                   PETROLEUM PRODUCTS SUPPLY         MOHAMMAD QAWASMEI|SUFYAN
   264     Fuel Supply Agreement                                                                      Mountain Express Oil Company         $0.00
                                   AGREEMENT                         MUSA
                                                                                                       Mountain Express Oil Company
  3125     Sublease                Oklahoma Commercial Lease Agreement MOHAMMAD S ISLAM               (as successor‐in‐interest to 4417    $0.00
                                                                                                      QUICK STOP LLC)

   593     Fuel Supply Agreement   FUEL SUPPLY AGREEMENT             MOHAMMAD UZAIR KHAN              Mountain Express Oil Company         $0.00

   593     Rebate Agreement        REBATE AGREEMENT                  MOHAMMAD UZAIR KHAN              Mountain Express Oil Company         $0.00
                                   FIRST AMENDMENT OF FUEL SUPPLY    MOHAMMAD UZAIR KHAN | H 2 O
   593     Fuel Supply Agreement                                                                      Mountain Express Oil Company         $0.00
                                   AGREEMENT                         ENTERPRISES, LLC
                                   FIRST AMENDMENT TO REBATE         MOHAMMAD UZAIR KHAN | H 2 O
   593     Rebate Agreement                                                                           Mountain Express Oil Company         $0.00
                                   AGREEMENT                         ENTERPRISES, LLC
                                   MOTOR FUEL SUPPLY AND             MOHAMMAD WALEED | KASHIF
   288     Fuel Supply Agreement                                                                      Mountain Express Oil Company         $0.00
                                   COMMISSIONED SALES AGREEMENT      RANA | TQ FOOD MART INC
                                                                     MOHAMMED ANIS WADA |
                                   ASSIGNMENT OF LEASE AND SUPPLY
    12     Fuel Supply Agreement                                     MOHAMMED SALIM | GAYATRI         Mountain Express Oil Company         $0.00
                                   AGREEMENT
                                                                     TAPANSINGH | TAPAN SINGH
                                                                     MOHAMMED NAJI ALTUWATTY |
   363     Fuel Supply Agreement   ACKNOWLEDGEMENT LETTER                                             MEX RE‐SE‐MS LLC                     $0.00
                                                                     FASTWAY WOODROW WILSON INC
                                   PETROLEUM PRODUCTS SUPPLY         MOHAMMED TAREK | TAREK REAL
   327     Fuel Supply Agreement                                                                      Mountain Express Oil Company         $0.00
                                   AGREEMENT                         ESTATE LLC
                                   SECOND AMENDMENT OF MASTER        MOHEB M. YOUSSEF | NASHWA F
   306     Fuel Supply Agreement                                                                      Mountain Express Oil Company         $0.00
                                   AGREEMENT                         ABOYOUSSEF
                                   SECOND AMENDMENT OF FUEL SUPPLY   MOHEB M. YOUSSEF | SANGRIA LLC
   307     Fuel Supply Agreement                                                                      Mountain Express Oil Company         $0.00
                                   AGREEMENT                         | NASHWA F. ABOYOUSSEF
679 | 680 |
681 | 682 |
            Settlement Agreement   SETTLEMENT AGREEMENT              MOHSIN VIRANI                    Mountain Express Oil Company         $0.00
683 | 684 |
 685 | 686
                                                                     MOHSIN VIRANI | NADIRSHAH
                                   FIRST AMENDMENT TO PETROLEUM
   680     Fuel Supply Agreement                                     RATTANI | MANSOOR LAKHANI |      Mountain Express Oil Company         $0.00
                                   PRODUCTS SUPPLY AGREEMENT
                                                                     ASIF VALANI
                                                                     MOHSIN VIRANI | NADIRSHAH
                                   FIRST AMENDMENT OF COMMERCIAL
   680     Sublease                                                  RATTANI | MANSOOR LAKHANI |      Mountain Express Oil Company         $0.00
                                   LEASE
                                                                     ASIF VALANI
                                                                     MOHSIN VIRANI | NADIRSHAH
                                   PETROLEUM PRODUCTS SUPPLY
   681     Fuel Supply Agreement                                     RATTANI | MANSOOR LAKHANI |      Mountain Express Oil Company         $0.00
                                   AGREEMENT
                                                                     ASIF VALANI
                                                                     MOHSIN VIRANI | NADIRSHAH
                                   FIRST AMENDMENT TO PETROLEUM
   681     Fuel Supply Agreement                                     RATTANI | MANSOOR LAKHANI |      Mountain Express Oil Company         $0.00
                                   PRODUCTS SUPPLY AGREEMENT
                                                                     ASIF VALANI
                                                                     MOHSIN VIRANI | NADIRSHAH
                                   PETROLEUM PRODUCTS SUPPLY
   682     Fuel Supply Agreement                                     RATTANI | MANSOOR LAKHANI |      Mountain Express Oil Company         $0.00
                                   AGREEMENT
                                                                     ASIF VALANI
                                                                     MOHSIN VIRANI | NADIRSHAH
                                   FIRST AMENDMENT TO PETROLEUM
   682     Fuel Supply Agreement                                     RATTANI | MANSOOR LAKHANI |      Mountain Express Oil Company         $0.00
                                   PRODUCTS SUPPLY AGREEMENT
                                                                     ASIF VALANI
                                                                     MOHSIN VIRANI | NADIRSHAH
                                   PETROLEUM PRODUCTS SUPPLY
   683     Fuel Supply Agreement                                     RATTANI | MANSOOR LAKHANI |      Mountain Express Oil Company         $0.00
                                   AGREEMENT
                                                                     ASIF VALANI
                                                                     MOHSIN VIRANI | NADIRSHAH
                                   FIRST AMENDMENT TO PETROLEUM
   683     Fuel Supply Agreement                                     RATTANI | MANSOOR LAKHANI |      Mountain Express Oil Company         $0.00
                                   PRODUCTS SUPPLY AGREEMENT
                                                                     ASIF VALANI
                                                                     MOHSIN VIRANI | NADIRSHAH
                                   FIRST AMENDMENT OF COMMERCIAL
   684     Sublease                                                  RATTANI | MANSOOR LAKHANI |      Mountain Express Oil Company         $0.00
                                   LEASE
                                                                     ASIF VALANI
                                                                     MOHSIN VIRANI | NADIRSHAH
                                   PETROLEUM PRODUCTS SUPPLY
   685     Fuel Supply Agreement                                     RATTANI | MANSOOR LAKHANI |      Mountain Express Oil Company         $0.00
                                   AGREEMENT
                                                                     ASIF VALANI
                                                                     MOHSIN VIRANI | NADIRSHAH
   685     Sublease                COMMERCIAL LEASE                  RATTANI | MANSOOR LAKHANI |      Mountain Express Oil Company         $0.00
                                                                     ASIF VALANI
                                                                     MOHSIN VIRANI | NADIRSHAH
   685     Rebate Agreement        REBATE AGREEMENT                  RATTANI | MANSOOR LAKHANI |      Mountain Express Oil Company         $0.00
                                                                     ASIF VALANI
                                                                     MOHSIN VIRANI | NADIRSHAH
                                   PETROLEUM PRODUCTS SUPPLY
   686     Fuel Supply Agreement                                     RATTANI | MANSOOR LAKHANI |      Mountain Express Oil Company         $0.00
                                   AGREEMENT
                                                                     ASIF VALANI
                                                                     MOHSIN VIRANI | NADIRSHAH
   686     Sublease                COMMERCIAL LEASE                  RATTANI | MANSOOR LAKHANI |      Mountain Express Oil Company         $0.00
                                                                     ASIF VALANI
                                                                     56 of 98
                  Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 61 of 102
  Store
            Contract Type           Title                              Counterparty                     Debtor Entity                    Est. Cure
 Number
                                                                       MOHSIN VIRANI | NADIRSHAH
   686     Rebate Agreement         REBATE AGREEMENT                   RATTANI | MANSOOR LAKHANI |      Mountain Express Oil Company      $0.00
                                                                       ASIF VALANI
679 | 680 |
                                    RE First Amendment each dated      MOHSIN VIRANI | NADIRSHAH
681 | 682 |
            Fuel Supply Agreement   February 16 2019 for each of the   RATTANI | MANSOOR LAKHANI |      Mountain Express Oil Company      $0.00
683 | 684 |
                                    following locations                ASIF VALANI
 685 | 686
                                                                       MOHSIN VIRANI | NADIRSHAH
                                    PETROLEUM PRODUCTS SUPPLY
   680     Fuel Supply Agreement                                       RATTANI | MANSOOR LAKHANI        Mountain Express Oil Company      $0.00
                                    AGREEMENT
                                                                       |ASIF VALANI
                                                                       MOHSIN VIRANI | NADIRSHAH
   680     Rebate Agreement         REBATE AGREEMENT                   RATTANI | MANSOOR LAKHANI |      Mountain Express Oil Company      $0.00
                                                                       ASIF VALANI
                                                                       MOHSIN VIRANI | NADIRSHAH
   681     Rebate Agreement         REBATE AGREEMENT                   RATTANI | MANSOOR LAKHANI |      Mountain Express Oil Company      $0.00
                                                                       ASIF VALANI
                                                                       MOHSIN VIRANI | NADIRSHAH
   682     Rebate Agreement         REBATE AGREEMENT                   RATTANI | MANSOOR LAKHANI |      Mountain Express Oil Company      $0.00
                                                                       ASIF VALANI
                                                                       MOHSIN VIRANI | NADIRSHAH
   683     Rebate Agreement         REBATE AGREEMENT                   RATTANI | MANSOOR LAKHANI |      Mountain Express Oil Company      $0.00
                                                                       ASIF VALANI
                                                                       MOHSIN VIRANI | NADIRSHAH
   684     Rebate Agreement         REBATE AGREEMENT                   RATTANI | MANSOOR LAKHANI |      Mountain Express Oil Company      $0.00
                                                                       ASIF VALANI
                                                                       MONROE FUELS CO INC | FOUAD AL
   404     Fuel Supply Agreement    FUEL SUPPLY AGREEMENT                                               MEX Fuels NE‐IN LLC               $0.00
                                                                       JALAL
                                                                       MONROE FUELS CO INC | FOUAD AL
   404     Sublease                 COMMERCIAL LEASE                                                    MEX RE‐NE‐OH LLC                  $0.00
                                                                       JALAL
                                                                       MONSOOR LAKHANI | NADIRSHAH
                                    FIRST AMENDMENT TO PETROLEUM
   686     Fuel Supply Agreement                                       RATTANI | MOHSIN VIRANI | ASIF   Mountain Express Oil Company      $0.00
                                    PRODUCT SUPPLY AGREEMENT
                                                                       VALANI
                                                                                                        DT ‐ Mountain Express Oil
                                                                                                        Company (as successor‐in‐
   643     Fuel Supply Agreement    EXCLUSIVE FUEL SUPPLY AGREEMENT    MONTICELLO EXXON INC                                               $0.00
                                                                                                        interest to Felton Oil Company
                                                                                                        LLC)
                                    AMENDED AND RESTATED FUEL SUPPLY
   961     Fuel Supply Agreement                                     MONTO FOOD MART INC                MEX Fuels NE‐NY LLC               $0.00
                                    AGREEMENT
                                    AMENDED AND RESTATED
   961     Sublease                                                  MONTO FOOD MART INC                MEX RE‐NE‐NY‐LI LLC               $0.00
                                    COMMERCIAL LEASE
  3265 |
                                                                       MOORE PETROLEUM CO INC |
  3255 |
           Oil Company Agreement    Consent to a Transfer              EQUILON ENTERPRISES LLC DBA      Mountain Express Oil Company      $0.00
3262 | 373
                                                                       SHELL OIL PRODUCTS US
   | 344
                                    PETROLEUM PRODUCTS SUPPLY          MOSANI INVESTMENTS INC | NEW
   516     Fuel Supply Agreement                                                                        Mountain Express Oil Company      $0.00
                                    AGREEMENT                          PASADENA INVESTMENTS INC
                                                                       MOSHIN PROPERTIES LLC | FEROZ
   442     Rebate Agreement         REBATE AGREEMENT                                                    Mountain Express Oil Company      $0.00
                                                                       ALI
                                    FIRST AMENDMENT OF REBATE          MOSHIN PROPERTIES LLC | FEROZ
   442     Rebate Agreement                                                                             Mountain Express Oil Company      $0.00
                                    AGREEMENT                          ALI
                                    AMENDMENT OF ROSWELL
    7      Sublease + Fuel Supply   CONNECTION CONVENIENCE CENTER    MOSTAFA MALLARDJAFAR               Mountain Express Oil Company      $0.00
                                    SUB‐LEASE
                                    AMENDMENT OF ROSWELL
                                    CONNECTION CONVENIENCE CENTER
    7      Fuel Supply Agreement                                     MOSTAFA MALLARDJAFAR               Mountain Express Oil Company      $0.00
                                    SUB‐LEASE CONTRACT AND PETROLEUM
                                    SUPPLY AGREEMENT
                                    ADDENDUM TO PETROLEUM PRODUCTS MOTHERLAND ENTERPRISE INC |
   418     Fuel Supply Agreement                                                                        Mountain Express Oil Company      $0.00
                                    SUPPLY AGREEMENT                 REZAUR REHMAN
                                                                     MOTHERLAND ENTERPRISE INC |
   418     Fuel Supply Agreement    AGREEMENT REGARDING DEF                                             Mountain Express Oil Company      $0.00
                                                                     REZAUR REHMAN
                                    PETROLEUM PRODUCTS SUPPLY        MOTHERLAND ENTERPRISE INC |
   418     Fuel Supply Agreement                                                                        Mountain Express Oil Company      $0.00
                                    AGREEMENT                        REZAUR REHMAN
                                    FACILITY DEVELOPMENT INCENTIVE
   522     Oil Company Agreement                                     MOTIVA ENTERPRISE LLC              Mountain Express Oil Company      $0.00
                                    PROGRAM AGREEMENT
                                    WHOLESALE MARKETER FACILITY
   516     Oil Company Agreement    DEVELOPMENT INCENTIVE PROGRAM    MOTIVA ENTERPRISES INC             Mountain Express Oil Company      $0.00
                                    AGREEMENT
                                    FACILITY DEVELOPMENT INCENTIVE
   510     Oil Company Agreement                                     MOTIVA ENTERPRISES LLC             Mountain Express Oil Company      $0.00
                                    PROGRAM AGREEMENT
                                    WHOLESALE MARKETER FACILITY
   510     Oil Company Agreement    DEVELOPMENT INCENTIVE PROGRAM    MOTIVA ENTERPRISES LLC             Mountain Express Oil Company      $0.00
                                    AGREEMENT


                                                                       57 of 98
                 Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 62 of 102
  Store
           Contract Type           Title                            Counterparty             Debtor Entity                         Est. Cure
 Number
                                   WHOLESALE MARKETER FACILITY
   511    Oil Company Agreement    DEVELOPMENT INCENTIVE PROGRAM    MOTIVA ENTERPRISES LLC   Mountain Express Oil Company           $0.00
                                   AGREEMENT
                                   FACILITY DEVELOPMENT INCENTIVE
   512    Oil Company Agreement                                     MOTIVA ENTERPRISES LLC   Mountain Express Oil Company           $0.00
                                   PROGRAM AGREEMENT
                                   WHOLESALE MARKETER FACILITY
   512    Oil Company Agreement    DEVELOPMENT INCENTIVE PROGRAM    MOTIVA ENTERPRISES LLC   Mountain Express Oil Company           $0.00
                                   AGREEMENT
                                   WHOLESALE MARKETER FACILITY
   513    Oil Company Agreement    DEVELOPMENT INCENTIVE PROGRAM    MOTIVA ENTERPRISES LLC   Mountain Express Oil Company           $0.00
                                   AGREEMENT
                                   WHOLESALE MARKETER FACILITY
   514    Oil Company Agreement    DEVELOPMENT INCENTIVE PROGRAM    MOTIVA ENTERPRISES LLC   Mountain Express Oil Company           $0.00
                                   AGREEMENT
                                   FACILITY DEVELOPMENT INCENTIVE
   515    Oil Company Agreement                                     MOTIVA ENTERPRISES LLC   Mountain Express Oil Company           $0.00
                                   PROGRAM AGREEMENT
                                   FACILITY DEVELOPMENT INCENTIVE
   516    Oil Company Agreement                                     MOTIVA ENTERPRISES LLC   Mountain Express Oil Company           $0.00
                                   PROGRAM AGREEMENT
                                   FACILITY DEVELOPMENT INCENTIVE
   517    Oil Company Agreement                                     MOTIVA ENTERPRISES LLC   Mountain Express Oil Company           $0.00
                                   PROGRAM AGREEMENT
                                   WHOLESALE MARKETER FACILTY
   517    Oil Company Agreement    DEVELOPMENT INCENTIVE PROGRAM    MOTIVA ENTERPRISES LLC   Mountain Express Oil Company           $0.00
                                   AGREEMENT
                                   WHOLESALE MARKETER FACILITY
   518    Oil Company Agreement    DEVELOPMENT INCENTIVE PROGRAM    MOTIVA ENTERPRISES LLC   Mountain Express Oil Company           $0.00
                                   AGREEMENT
                                   WHOLESALE MARKETER FACILITY
   519    Oil Company Agreement    DEVELOPMENT INCENTIVE PROGRAM    MOTIVA ENTERPRISES LLC   Mountain Express Oil Company           $0.00
                                   AGREEMENT
                                   FACILITY DEVELOPMENT INCENTIVE
   520    Oil Company Agreement                                     MOTIVA ENTERPRISES LLC   Mountain Express Oil Company           $0.00
                                   PROGRAM AGREEMENT
                                   WHOLESALE MARKETER FACILITY
   520    Oil Company Agreement    DEVELOPMENT INCENTIVE PROGRAM    MOTIVA ENTERPRISES LLC   Mountain Express Oil Company           $0.00
                                   AGREEMENT
                                   WHOLESALE MARKETER FACILITY
   522    Oil Company Agreement    DEVELOPMENT INCENTIVE PROGRAM    MOTIVA ENTERPRISES LLC   Mountain Express Oil Company           $0.00
                                   AGREEMENT
                                   76 BRAND WHOLESALE MARKETER
   600    Oil Company Agreement                                     MOTIVA ENTERPRISES LLC   Mountain Express Oil Company           $0.00
                                   AGREEMENT PRICING AMENDMENT
                                   FACILITY DEVELOPMENT INCENTIVE
   600    Oil Company Agreement                                     MOTIVA ENTERPRISES LLC   Mountain Express Oil Company           $0.00
                                   PROGRAM AGREEMENT
                                   FACILITY DEVELOPMENT INCENTIVE
   600    Oil Company Agreement                                     MOTIVA ENTERPRISES LLC   Mountain Express Oil Company           $0.00
                                   PROGRAM AGREEMENT
                                   WHOLESALE MARKETER FACILITY
   600    Oil Company Agreement    DEVELOPMENT INCENTIVE PROGRAM    MOTIVA ENTERPRISES LLC   Mountain Express Oil Company           $0.00
                                   AGREEMENT
                                   WHOLESALE MARKETER FACILITY
   600    Oil Company Agreement    DEVELOPMENT INCENTIVE PROGRAM    MOTIVA ENTERPRISES LLC   Mountain Express Oil Company           $0.00
                                   AGREEMENT
                                   WHOLESALE MARKETER FACILITY
   600    Oil Company Agreement    DEVELOPMENT INCENTIVE PROGRAM    MOTIVA ENTERPRISES LLC   Mountain Express Oil Company           $0.00
                                   AGREEMENT
                                                                                              Mountain Express Oil Company
                                   FACILITY DEVELOPMENT INCENTIVE
  1028    Oil Company Agreement                                     MOTIVA ENTERPRISES LLC   (as successor‐in‐interest to United    $0.00
                                   PROGRAM AGREEMENT
                                                                                             Fuel LLC)
                                                                                              Mountain Express Oil Company
                                   FACILITY DEVELOPMENT INCENTIVE
  1029    Oil Company Agreement                                     MOTIVA ENTERPRISES LLC   (as successor‐in‐interest to United    $0.00
                                   PROGRAM AGREEMENT
                                                                                             Fuel LLC)
                                                                                              Mountain Express Oil Company
                                   FACILITY DEVELOPMENT INCENTIVE
  1030    Oil Company Agreement                                     MOTIVA ENTERPRISES LLC   (as successor‐in‐interest to United    $0.00
                                   PROGRAM AGREEMENT
                                                                                             Fuel LLC)
                                                                                              Mountain Express Oil Company
                                   FACILITY DEVELOPMENT INCENTIVE
  1031    Oil Company Agreement                                     MOTIVA ENTERPRISES LLC   (as successor‐in‐interest to United    $0.00
                                   PROGRAM AGREEMENT
                                                                                             Fuel LLC)
                                                                                              Mountain Express Oil Company
                                   FACILITY DEVELOPMENT INCENTIVE
  1032    Oil Company Agreement                                     MOTIVA ENTERPRISES LLC   (as successor‐in‐interest to United    $0.00
                                   PROGRAM AGREEMENT
                                                                                             Fuel LLC)

  1031 |
1028 | 513                         76 BRAND WHOLESALE MARKETER
           Oil Company Agreement                                    MOTIVA ENTERPRISES LLC   Mountain Express Oil Company           $0.00
 | 1029 |                          AGREEMENT
1027 | 600




                                                                    58 of 98
                   Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 63 of 102
  Store
            Contract Type              Title                             Counterparty                    Debtor Entity                  Est. Cure
 Number
511 | 513 |
                                       76 BRAND WHOLESALE MARKETER
518 | 600 | Oil Company Agreement                                        MOTIVA ENTERPRISES LLC          Mountain Express Oil Company    $0.00
                                       AGREEMENT
   516
                                       FACILITY DEVELOPMENT INCENTIVE
            Oil Company Agreement                                        MOTIVA ENTERPRISES LLC          Mountain Express Oil Company    $0.00
                                       PROGRAM AGREEMENT
                                       FACILITY DEVELOPMENT INCENTIVE
            Oil Company Agreement                                        MOTIVA ENTERPRISES LLC          Mountain Express Oil Company    $0.00
                                       PROGRAM AGREEMENT
                                       FACILITY DEVELOPMENT INCENTIVE
            Oil Company Agreement                                        MOTIVA ENTERPRISES LLC          Mountain Express Oil Company    $0.00
                                       PROGRAM AGREEMENT
                                       FACILITY DEVELOPMENT INCENTIVE
            Oil Company Agreement                                        MOTIVA ENTERPRISES LLC          Mountain Express Oil Company    $0.00
                                       PROGRAM AGREEMENT
                                       WHOLESALE MARKETER FACILITY
            Oil Company Agreement      DEVELOPMENT INCENTIVE PROGRAM     MOTIVA ENTERPRISES LLC          Mountain Express Oil Company    $0.00
                                       AGREEMENT
                                       WHOLESALE MARKETER FACILITY
            Oil Company Agreement      DEVELOPMENT INNCENTIVE PROGRAM    MOTIVA ENTERPRISES LLC          Mountain Express Oil Company    $0.00
                                       AGREEMENT
                                       FACILITY DEVELOPMENT INCENTIVE
   519      Oil Company Agreement                                        MOTIVA ENTERPRISES LLC |        Mountain Express Oil Company    $0.00
                                       PROGRAM AGREEMENT
                                       WHOLESALE MARKETER FACILITY
   511      Oil Company Agreement      DEVELOPMENT INCENTIVE PROGRAM     MOTIVA ENTERPRISES LLC          Mountain Express Oil Company    $0.00
                                       AGREEMENT
                                       WHOLESALE MARKETER FACILITY
   513      Oil Company Agreement      DEVELOPMENT INCENTIVE PROGRAM     MOTIVA ENTERPRISES LLC          Mountain Express Oil Company    $0.00
                                       AGREEMENT
                                       WHOLESALE MARKETER FACILITY
   514      Oil Company Agreement      DEVELOPMENT INCENTIVE PROGRAM     MOTIVA ENTERPRISES LLC          Mountain Express Oil Company    $0.00
                                       AGREEMENT
                                       WHOLESALE MARKETER FACILITY
   518      Oil Company Agreement      DEVELOPMENT INCENTIVE PROGRAM     MOTIVA ENTERPRISES LLC          Mountain Express Oil Company    $0.00
                                       AGREEMENT
                                                                         MOUNTAIN DATX001 | MOUNTAIN
                                                                         DATX003 | MOUNTAIN PORTFOLIO
                                                                         OWNER LA 2 LLC | MOUNTAIN
  3603 |
                                                                         PORTFOLIO OWNER LA 2 LLC |
  3055 |                               AMENDED AND RESTATED AMENDED
                                                                         MOUNTAIN PORTFOLIO OWNER NJ
3056 | 582 Prime Lease (Multi‐Site)    AND RESTATED MASTER LEASE                                         MEX RE‐SW‐LA LLC                $0.00
                                                                         LLC | MOUNTAIN PORTFOLIO
 | 3086 |                              AGREEMENT
                                                                         OWNER PA LLC | MOUNTAIN
   3085
                                                                         PORTFOLIO OWNER NC 2 LLC |
                                                                         MOUNTAIN PORTFOLIO OWNER OK
                                                                         LLC
                                                                         MOUNTAIN DATX001 LLC |
                                                                         MOUNTAIN BSTX001 LLC |
                                                                         MOUNTAIN DATX003 LLC |
                                                                         MOUNTAIN PORTFOLIO OWNER LA
                                       FIRST AMENDMENT TO AMEND AND
                                                                         3 LLC | MOUNTAIN PORTFOLIO
[102 Sites] Prime Lease (Multi‐Site)   RESTATED MASTER LEASE AGREEMENT                                   Mountain Express Oil Company    $0.00
                                                                         OWNER LA 2 LLC | MOUNTAIN
                                       [11 DEBTORS]
                                                                         PORTFOLIO OWNER NJ LLC |
                                                                         MOUNTAIN PORTFOLIO OWNER NC
                                                                         2 LLC | MOUNTAIN PORTFOLIO
                                                                         OWNER
                                                                         MOUNTAIN EXPRESS OIL COMPANY
                                       FIRST AMENDMENT OF PETROLEUM      | KUNJ CONSTRUCTION USA INC |
   303      Fuel Supply Agreement                                                                        Mountain Express Oil Company    $0.00
                                       PRODUCTS SUPPLY AGREEMENT         ASHOK KUMAR PATEL | FARHAN
                                                                         CHAGANI
                                                                         MOUNTAIN PORTFOLIO LA 8 LLC |
 Not Site
            Prime Lease (Multi‐Site)   Letter Agreement                  MOUNTAIN PORTFOLIO OWNER OK     MEX RE‐SW‐LA LLC                $0.00
 Specific
                                                                         3 LLC | MOUNTAIN MCTXOO1 LLC




                                                                         59 of 98
                    Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 64 of 102
    Store
             Contract Type              Title                                   Counterparty                   Debtor Entity                  Est. Cure
  Number
3111 | 56 |
57 | 60 | 61
 | 62 | 63 |
 64 | 189 |
204 | 207 |
977 | 978 |
979 | 980 |
981 | 982 |
983 | 984 |
985 | 986 |
   1941 |
   1944 |                                                               MOUNTAIN PORTFOLIO OWNER
   1946 |                                                               ALARMS LLC | MOUNTAIN
   1947 |                                                               PORTFOLIO OWNER AROKMS LLC |
   1948 |                                                               MOUNTAIN PORTFOLIO OWNER IA
                                        FIRST AMENDMENT TO AMENDED AND
   3112 | Prime Lease (Multi‐Site)                                      LLC | MOUNTAIN PORTFOLIO               Mountain Express Oil Company   $11,084.13
                                        RESTATED MASTER LEASE AGREEMENT
   3114 |                                                               OWNER IN LLC | MOUNTAIN
   3117 |                                                               PORTFOLIO OWNER KS LLC |
   3123 |                                                               MOUNTAIN PORTFOLIO OWNER LA
   3133 |                                                               8 LLC
   3135 |
   3138 |
   3149 |
   3151 |
   3152 |
   3153 |
   3154 |
   3160 |
   3201 |
   3202 |
   3203 |
                                                                                MOUNTAIN PORTFOLIO OWNER
                                        Letter Agreement re Tenants
   3261      Prime Lease (Multi‐Site)                                           ALARMS LLC | OAK STREET REAL   MEX RE‐SE‐AL LLC                 $0.00
                                        Environmental Obligations
                                                                                ESTATE CAPITAL
                                                                                MOUNTAIN PORTFOLIO OWNER
             Purchase and Sale
   3269                                 Letter Agreement re Parcel Split        ALARMS LLC | OAK STREET REAL   MEX RE‐SE‐AL LLC                 $0.00
             Agreement
                                                                                ESTATE CAPITAL LLC
  3273 |
                                                                                MOUNTAIN PORTFOLIO OWNER
  3261 |                                Re: Letter Agreement re Tenant’s code
            Prime Lease (Multi‐Site)                                            ALARMS LLC | OAK STREET REAL   MEX RE‐SE‐AL LLC                 $0.00
3262 | 63 |                             compliance obligations
                                                                                ESTATE CAPITAL, LLC
   3259

311 | 312 |
313 | 3315
                                                                                MOUNTAIN PORTFOLIO OWNER AR
| 316 | 317 Prime Lease (Multi‐Site)    MASTER LEASE AGREEMENT                                                 Mountain Express Oil Company     $0.00
                                                                                LLC
| 318 | 320
   | 3315

                                        Re: Letter Agreement re Tenant’s     MOUNTAIN PORTFOLIO OWNER
189 | 3154 Prime Lease (Multi‐Site)                                                                            MEX RE‐NW‐MO LLC                 $0.00
                                        environmental obligations            ARGAMO LLC
  1941 |                                RE: LETTER AGREEMENT RE TENANTS      MOUNTAIN PORTFOLIO OWNER
             Prime Lease (Multi‐Site)                                                                          MEX RE Holdings LLC            $5,688.52
   1942                                 ENVIRONMENTAL OBLIGATIONS            ARGAMO LLC
                                                                             MOUNTAIN PORTFOLIO OWNER
                                        LETTER AGREEMENT RE TENANTS
   3130      Prime Lease (Multi‐Site)                                        AROKMS LLC | OAK STREET REAL      MEX RE‐SE‐MS LLC                 $0.00
                                        ENVIROMENTAL OBLIGATIONS
                                                                             ESTATE CAPITAL
                                                                             MOUNTAIN PORTFOLIO OWNER
             Purchase and Sale          LETTER AGREEMENT RE TENANTS CODE
 3135 | 61                                                                   AROKMS LLC | OAK STREET REAL      MEX RE‐SE‐MS LLC                 $0.00
             Agreement                  COMPLIANCE OBLIGATIONS
                                                                             ESTATE CAPITAL
                                                                             MOUNTAIN PORTFOLIO OWNER
                                        LETTER AGREEMENT RE TENANT'S CODE
   210       Prime Lease (Multi‐Site)                                        AROKMS LLC | OAK STREET REAL      MEX RE‐SW‐OK LLC                 $0.00
                                        COMPLIANCE OBLIGATIONS
                                                                             ESTATE CAPITAL LLC
                                                                             MOUNTAIN PORTFOLIO OWNER IA
                                                                             LLC | MOUNTAIN PORTFOLIO
980 | 3201
                                        NOTICE LETTER Re Letter Agreement re OWNER PA 3 LLC | MOUNTAIN
  | 983 | Prime Lease (Multi‐Site)                                                                             MEX RE‐NE‐IN LLC                 $0.00
                                        Tenant’s code compliance obligation  PORTFOLIO OWNER SCMNWI LLC |
   3203
                                                                             OAK STREET REAL ESTATE CAPITAL,
                                                                             LLC
                                                                             MOUNTAIN PORTFOLIO OWNER IA
                                                                             LLC | MOUNTAIN PORTFOLIO
982 | 3201
                                        Re: Letter Agreement re Tenant’s     OWNER PA 3 LLC | MOUNTAIN
  | 984 | Prime Lease (Multi‐Site)                                                                             MEX RE‐NE‐IN LLC                 $0.00
                                        environmental obligations            PORTFOLIO OWNER SCMNWI LLC |
   3202
                                                                             OAK STREET REAL ESTATE CAPITAL,
                                                                             LLC

                                                                                60 of 98
                   Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 65 of 102
  Store
            Contract Type              Title                                   Counterparty                     Debtor Entity                  Est. Cure
 Number
                                                                               MOUNTAIN PORTFOLIO OWNER IN
            Purchase and Sale          LETTER AGREEMENT REGARDING
    94                                                                         LLC | OAK STREET REAL ESTATE     Mountain Express Oil Company    $0.00
            Agreement                  REMOVAL OF RESIDENTIAL BUILDINGS
                                                                               CAPITAL LLC
                                                                               MOUNTAIN PORTFOLIO OWNER KS
                                       Re: Letter Agreement re Tenant’s code
   3160     Prime Lease (Multi‐Site)                                           LLC | OAK STREET REAL ESTATE     MEX RE‐NW‐KS LLC                $0.00
                                       compliance obligations
                                                                               CAPITAL, LLC
  3062 |
3063 | 924
                                                                               MOUNTAIN PORTFOLIO OWNER LA
 | 3077 | Prime Lease (Multi‐Site)     Letter Agreement                                                         Brothers Petroleum, LLC         $0.00
                                                                               2 LLC
  3081 |
   3085

  3062 |
3063 | 924
                                                                               MOUNTAIN PORTFOLIO OWNER LA
 | 3077 | Prime Lease (Multi‐Site)     Letter Agreement                                                         Mountain Express Oil Company    $0.00
                                                                               2 LLC
  3081 |
   3085
                                                                               MOUNTAIN PORTFOLIO OWNER LA
            Purchase and Sale
   3067                                Letter Agreement                        2 LLC | OAK STREET REAL ESTATE   Mountain Express Oil Company    $0.00
            Agreement
                                                                               CAPITAL LLC
                                                                               MOUNTAIN PORTFOLIO OWNER LA
            Purchase and Sale
   4084                                Letter Agreement Regarding Lease        2 LLC | OAK STREET REAL ESTATE   Mountain Express Oil Company    $0.00
            Agreement
                                                                               CAPITAL LLC
                                                                               MOUNTAIN PORTFOLIO OWNER LA
   3067     Prime Lease (Multi‐Site)   Letter Agreement                        2 LLC | OAK STREET REAL ESTATE   Mountain Express Oil Company    $0.00
                                                                               CAPITAL, LLC
                                                                               MOUNTAIN PORTFOLIO OWNER LA
   4084     Prime Lease (Multi‐Site)   Letter Agreement                        2 LLC | OAK STREET REAL ESTATE   Mountain Express Oil Company    $0.00
                                                                               CAPITAL, LLC
                                                                               MOUNTAIN PORTFOLIO OWNER LA
                                                                               3 LLC | MOUNTAIN PORTFOLIO
                                       AMENDED AND RESTATED                    OWNER LA2 LLC | MOUNTAIN
[102 SITES] Prime Lease (Multi‐Site)   UNCONDITIONAL GUARANTY OF               PORTFOLIO OWNER NJ LLC |         Mountain Express Oil Company    $0.00
                                       PAYMENT AND PERFORMANCE                 MOUNTAIN PORTFOLIO OWNER NJ
                                                                               LLC |MOUNTAIN PORTFOLIO
                                                                               OWNER NY LLC
                                                                               MOUNTAIN PORTFOLIO OWNER LA
            Purchase and Sale
   3250                                Letter Agreement                        3 LLC | OAK STREET REAL ESTATE   MEX RE‐SW‐LA LLC                $0.00
            Agreement
                                                                               CAPITAL, LLC
            Purchase and Sale                                                  MOUNTAIN PORTFOLIO OWNER LA
   3227                                Letter Agreement                                                         Mountain Express Oil Company    $0.00
            Agreement                                                          LLC
                                                                               MOUNTAIN PORTFOLIO OWNER LA
   3215     Prime Lease (Multi‐Site)   Letter Agreement                        LLC | OAK STREET REAL ESTATE     Mountain Express Oil Company    $0.00
                                                                               CAPITAL, LLC
                                                                               MOUNTAIN PORTFOLIO OWNER LA
   3215     Prime Lease (Multi‐Site)   Letter Agreement                        LLC | OAK STREET REAL ESTATE     Mountain Express Oil Company    $0.00
                                                                               CAPITAL, LLC
  3029 |
                                                                               MOUNTAIN PORTFOLIO OWNER LLC
  3010 |
                                                                               | MOUNTAIN PORTFOLIO OWNER
  3010 |
                                                                               AR LLC | MOUNTAIN PORTFOLIO
  3033 |
                                                                               OWNER LA LLC | MOUNTAIN
  3027 |
                                       OMNIBUS AMENDMENT TO LETTER             IRTX001 LLC | MOUNTAIN DATX002
  3007 | Prime Lease (Multi‐Site)                                                                             West Hill Ranch Group LLC         $0.00
                                       AGREEMENTS (ENVIRONMENTAL)              LLC | MOUNTAIN DATX004 LLC |
  3022 |
                                                                               MOUNTAIN DATX005 LLC |
3022 | 318
                                                                               MOUNTAIN METX001 LLC |
 | 3023 |
                                                                               MOUNTAIN PORTFOLIO OWNER NC
  3028 |
                                                                               LLC
   3057




                                                                               61 of 98
                   Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 66 of 102
   Store
           Contract Type               Title                              Counterparty                   Debtor Entity                  Est. Cure
 Number
  3029 |
  3321 |
  3321 |
  3215 |
  3010 |
  3010 |
  3033 |
  3033 |
                                                                          MOUNTAIN PORTFOLIO OWNER LLC
  3059 |
                                                                          | MOUNTAIN PORTFOLIO OWNER
  3027 |
                                                                          AR LLC | MOUNTAIN PORTFOLIO
  3007 |
                                                                          OWNER NC LLC | MOUNTAIN
  3022 |                               AMENDED AND RESTATED MASTER
           Prime Lease (Multi‐Site)                                       PORTFOLIO OWNER LA LLC |     Mountain Express Oil Company      $0.00
  3022 |                               LEASE AGREEMENT
                                                                          MOUNTAIN IRTX001 LLC |
  3006 |
                                                                          MOUNTAIN DATX002 LLC |
  3006 |
                                                                          MOUNTAIN DATX004 LLC |
  3058 |
                                                                          MOUNTAIN DATX005 LLC
3019 | 318
 | 3002 |
  3002 |
  3023 |
  3020 |
  3020 |
  3028 |
   3057
  3029 |
                                                                          MOUNTAIN PORTFOLIO OWNER LLC
  3010 |
                                                                          | MOUNTAIN PORTFOLIO OWNER
  3010 |
                                                                          AR LLC |MOUNTAIN PORTFOLIO
  3033 |
                                                                          OWNER NC LLC | MOUNTAIN
  3027 |                               AMENDED AND RESTATED
                                                                          PORTFOLIO OWNER LA LLC |
  3007 | Prime Lease (Multi‐Site)      UNCONDITIONAL GUARANTY OF                                       Mountain Express Oil Company      $0.00
                                                                          MOUNTAIN IRTX001 LLC |
  3022 |                               PAYMENT AND PERFORMANCE
                                                                          MOUNTAIN DATX002 LLC|
3022 | 318
                                                                          MOUNTAIN DATX004 LLC |
 | 3023 |
                                                                          MOUNTAIN DATX005 LLC |
  3028 |
                                                                          MOUNTAIN METX001 LLC
   3057
  3029 |
  3054 |
  3321 |
  3215 |
                                                                       MOUNTAIN PORTFOLIO OWNER LLC
  3010 |
                                                                       | MOUNTAIN PORTFOLIO OWNER
  3010 |
                                                                       AR LLC |MOUNTAIN PORTFOLIO
  3033 |
                                                                       OWNER NC LLC | MOUNTAIN
  3059 |                               FIRST AMENDMENT TO AMENDED AND
                                                                       PORTFOLIO OWNER LA LLC |
  3027 | Prime Lease (Multi‐Site)      RESTATED MASTER LEASE AGREEMENT                              Mountain Express Oil Company         $0.00
                                                                       MOUNTAIN IRTX001 LLC |
  3007 |                               (OAK TRUST)
                                                                       MOUNTAIN DATX002 LLC|
  3405 |
                                                                       MOUNTAIN DATX004 LLC |
  3022 |
                                                                       MOUNTAIN DATX005 LLC |
  3022 |
                                                                       MOUNTAIN METX001 LLC
3058 | 318
 | 3023 |
  3028 |
   3057
           Purchase and Sale                                              MOUNTAIN PORTFOLIO OWNER MS
    543                                Letter Agreement                                                Mountain Express Oil Company      $0.00
           Agreement                                                      LLC
                                                                          MOUNTAIN PORTFOLIO OWNER MS
           Purchase and Sale
   545                                 Letter Agreement                   LLC | OAK STREET REAL ESTATE Mountain Express Oil Company      $0.00
           Agreement
                                                                          CAPITAL LLC
                                                                          MOUNTAIN PORTFOLIO OWNER MS
   544     Prime Lease (Single Site)   Letter Agreement Regarding Lease   LLC | OAK STREETREAL ESTATE  Mountain Express Oil Company      $0.00
                                                                          CAPITAL LLC
  3007     Prime Lease (Multi‐Site)    Letter Agreement                   MOUNTAIN PORTFOLIO OWNER NC    West Hill Ranch Group LLC       $0.00

  3014     Prime Lease (Multi‐Site)    Letter Agreement                   MOUNTAIN PORTFOLIO OWNER NC    West Hill Ranch Group LLC       $0.00

  3018     Prime Lease (Multi‐Site)    Letter Agreement                   MOUNTAIN PORTFOLIO OWNER NC    West Hill Ranch Group LLC       $0.00

  3029     Prime Lease (Multi‐Site)    Letter Agreement                   MOUNTAIN PORTFOLIO OWNER NC    West Hill Ranch Group LLC       $0.00
121 | 53 |                                                                MOUNTAIN PORTFOLIO OWNER NC
           Prime Lease (Multi‐Site)    Letter Agreement                                                  Mountain Express Oil Company    $0.00
  3036                                                                    2 LLC
                                                                          MOUNTAIN PORTFOLIO OWNER NC
  3049     Prime Lease (Multi‐Site)    Letter Agreement                                                  West Hill Ranch Group LLC       $0.00
                                                                          LLC
                                                                          62 of 98
                    Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 67 of 102
  Store
             Contract Type              Title                    Counterparty                     Debtor Entity                  Est. Cure
 Number
                                                                 MOUNTAIN PORTFOLIO OWNER NJ
            Purchase and Sale
    121                                 Letter Agreement         LLC | MOUNTAIN PORTFOLIO         Mountain Express Oil Company    $0.00
            Agreement
                                                                 OWNER PA
                                                                 MOUNTAIN PORTFOLIO OWNER NJ
            Purchase and Sale
    123                                 Letter Agreement         LLC | MOUNTAIN PORTFOLIO         Mountain Express Oil Company    $0.00
            Agreement
                                                                 OWNER PA LLC
77 | 78 | 79
 | 80 | 81 |
                                                                 MOUNTAIN PORTFOLIO OWNER NJ
82 | 83 | 86
             Prime Lease (Multi‐Site)   MASTER LEASE AGREEMENT   LLC | MOUNTAIN PORTFOLIO         Mountain Express Oil Company    $0.00
| 88 | 105 |
                                                                 OWNER PA LLC
123 | 124 |
    125
                                                                 MOUNTAIN PORTFOLIO OWNER NJ
            Purchase and Sale                                    LLC | MOUNTAIN PORTFOLIO
    77                                  Letter Agreement                                          Mountain Express Oil Company    $0.00
            Agreement                                            OWNER PA LLC | OAK STREET REAL
                                                                 ESTATE CAPITAL LLC
                                                                 MOUNTAIN PORTFOLIO OWNER NJ
            Purchase and Sale                                    LLC | MOUNTAIN PORTFOLIO
    78                                  Letter Agreement                                          Mountain Express Oil Company    $0.00
            Agreement                                            OWNER PA LLC | OAK STREET REAL
                                                                 ESTATE CAPITAL LLC
                                                                 MOUNTAIN PORTFOLIO OWNER NJ
                                                                 LLC | MOUNTAIN PORTFOLIO
    85      Prime Lease (Multi‐Site)    Letter Agreement                                          Mountain Express Oil Company    $0.00
                                                                 OWNER PA LLC | OAK STREET REAL
                                                                 ESTATE CAPITAL LLC
                                                                 MOUNTAIN PORTFOLIO OWNER NJ
            Purchase and Sale                                    LLC | MOUNTAIN PORTFOLIO
    87                                  Letter Agreement                                          Mountain Express Oil Company    $0.00
            Agreement                                            OWNER PA LLC | OAK STREET REAL
                                                                 ESTATE CAPITAL LLC
                                                                 MOUNTAIN PORTFOLIO OWNER NJ
            Purchase and Sale                                    LLC | MOUNTAIN PORTFOLIO
    122                                 Letter Agreement                                          Mountain Express Oil Company    $0.00
            Agreement                                            OWNER PA LLC | OAK STREET REAL
                                                                 ESTATE CAPITAL LLC
                                                                 MOUNTAIN PORTFOLIO OWNER NJ
            Purchase and Sale                                    LLC | MOUNTAIN PORTFOLIO
    126                                 Letter Agreement                                          Mountain Express Oil Company    $0.00
            Agreement                                            OWNER PA LLC | OAK STREET REAL
                                                                 ESTATE CAPITAL LLC
                                                                 MOUNTAIN PORTFOLIO OWNER NJ
            Purchase and Sale                                    LLC | MOUNTAIN PORTFOLIO
    79                                  Letter Agreement                                          Mountain Express Oil Company    $0.00
            Agreement                                            OWNER PA LLC | OAK STREET REAL
                                                                 ESTATE CAPITAL, LLC
                                                                 MOUNTAIN PORTFOLIO OWNER NJ
            Purchase and Sale                                    LLC | MOUNTAIN PORTFOLIO
    82                                  Letter Agreement                                          Mountain Express Oil Company    $0.00
            Agreement                                            OWNER PA LLC | OAK STREET REAL
                                                                 ESTATE CAPITAL, LLC
                                                                 MOUNTAIN PORTFOLIO OWNER NJ
            Purchase and Sale                                    LLC | MOUNTAIN PORTFOLIO
    88                                  Letter Agreement                                          Mountain Express Oil Company    $0.00
            Agreement                                            OWNER PA LLC | OAK STREET REAL
                                                                 ESTATE CAPITAL, LLC
                                                                 MOUNTAIN PORTFOLIO OWNER NJ
            Purchase and Sale                                    LLC | MOUNTAIN PORTFOLIO
    125                                 Letter Agreement                                          Mountain Express Oil Company    $0.00
            Agreement                                            OWNER PA LLC | OAK STREET REAL
                                                                 ESTATE CAPITAL, LLC
                                                                 MOUNTAIN PORTFOLIO OWNER NJ
            Purchase and Sale                                    LLC | MOUNTAIN PORTFOLIO
    127                                 Letter Agreement                                          Mountain Express Oil Company    $0.00
            Agreement                                            OWNER PA LLC | OAK STREET REAL
                                                                 ESTATE CAPITAL, LLC
121 | 79 |
                                                                 MOUNTAIN PORTFOLIO OWNER NJ
 86 | 83 |
                                                                 LLC | MOUNTAIN PORTFOLIO
125 | 88 | Prime Lease (Multi‐Site)     Letter Agreement                                          Mountain Express Oil Company    $0.00
                                                                 OWNER PA LLC | OAK STREET REAL
 78 | 77 |
                                                                 ESTATE CAPITAL, LLC
 127 | 81
           Purchase and Sale                                     MOUNTAIN PORTFOLIO OWNER NY
   967                                  Letter Agreement                                          Mountain Express Oil Company    $0.00
           Agreement                                             LLC
                                                                 MOUNTAIN PORTFOLIO OWNER NY
    965     Prime Lease (Multi‐Site)    Letter Agreement         LLC | OAK STREET REAL ESTATE     Mountain Express Oil Company    $0.00
                                                                 CAPITAL, LLC
                                                                 MOUNTAIN PORTFOLIO OWNER OH
   1941     Prime Lease (Multi‐Site)    Letter Agreement                                          MEX RE Holdings LLC            $3,468.61
                                                                 LLC
                                                                 MOUNTAIN PORTFOLIO OWNER OK
            Purchase and Sale
   3458                                 Letter Agreement         2 LLC | OAK STREET REAL ESTATE   Mountain Express Oil Company    $0.00
            Agreement
                                                                 CAPITAL LLC
                                                                 MOUNTAIN PORTFOLIO OWNER OK
            Purchase and Sale
   3458                                 Letter Agreement         2 LLC | OAK STREET REAL ESTATE   Mountain Express Oil Company    $0.00
            Agreement
                                                                 CAPITAL LLC
                                                                 63 of 98
                    Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 68 of 102
  Store
             Contract Type             Title                            Counterparty                    Debtor Entity                   Est. Cure
 Number
                                                                        MOUNTAIN PORTFOLIO OWNER OK
                                                                        3 LLC | MOUNTAIN PORTFOLIO
                                       AMENDED AND RESTATED MASTER      OWNER LA 8 LLC | MOUNTAIN
 [29 Sites] Prime Lease (Multi‐Site)   LEASE AGREEMENT (29 SITES) (19   PORTFOLIO OWNER MS 2 LLC |      MEX RE‐SW‐LA LLC                 $0.00
                                       DEBTOR ENTITIES)                 MOUNTAIN PORTFOLIO OWNER PA
                                                                        3 LLC | MOUNTAIN PORTFOLIO
                                                                        OWNER AROKMS LLC

   1938 |
   1939 |
   1940|
1941| 1942
  | 1944 |
   1946 |
   1947 |
   1948 |
1949 | 209
                                                                        MOUNTAIN PORTFOLIO OWNER OK
| 210 | 211
                                                                        3 LLC | MOUNTAIN PORTFOLIO
| 212 | 213
                                                                        OWNER LA 8 LLC | MOUNTAIN
  | 3123 |                             AMENDED AND RESTATED MASTER
            Prime Lease (Multi‐Site)                                    PORTFOLIO OWNER MS 2 LLC |      MEX RE‐SW‐LA LLC               $47,718.39
   3124 |                              LEASE AGREEMENT (29 SITES)
                                                                        MOUNTAIN PORTFOLIO OWNER PA
   3125 |
                                                                        3 LLC | MOUNTAIN PORTFOLIO
   3126 |
                                                                        OWNER AROKMS LLC
   3127 |
   3128 |
   3129 |
3525 | 363
  | 3111 |
   3114 |
   3113 |
3508 | 56 |
     57

                                                                          MOUNTAIN PORTFOLIO OWNER OK
                                                                          3 LLC | MOUNTAIN PORTFOLIO
                                       OMNIBUS AMENDMENT TO LETTER
                                                                          OWNER MS 2 LLC | MOUNTAIN
                                       AGREEMENTS AMENDED AND RESTATED
[102 Sites] Prime Lease (Multi‐Site)                                      PORTFOLIO OWNER IN LLC |      Mountain Express Oil Company     $0.00
                                       MASTER LEASE (102 SITES)(19 DEBTOR
                                                                          MOUNTAIN PORTFOLIO OWNER LA
                                       ENTITIES)
                                                                          8 LLC | MOUNTAIN PORTFOLIO
                                                                          OWNER AROKMS LLC
56 | 57 | 60
 | 61 | 62 |
63 | 64 | 91
 | 93 | 94 |
95 | 96 | 97
| 98 | 189 |
204 | 206 |
207 | 209 |
210 | 211 |
212 | 213 |
217 | 353 |
363 | 681 |
954 | 971 |                                                             MOUNTAIN PORTFOLIO OWNER OK
974 | 977 |                                                             3 LLC | MOUNTAIN PORTFOLIO
                                       AMENDED AND RESTATED
978 | 979 |                                                             OWNER MS 2 LLC | MOUNTAIN
                                       UNCONDITIONAL GUARANTY OF
980 | 981 | Prime Lease (Multi‐Site)                                    PORTFOLIO OWNER IN LLC |        Mountain Express Oil Company   $53,035.73
                                       PAYMENT AND PERFORMANCE (102
982 | 983 |                                                             MOUNTAIN PORTFOLIO OWNER LA
                                       Sites)
984 | 985 |                                                             8 LLC | MOUNTAIN PORTFOLIO
986 | 1938                                                              OWNER AROKMS LLC
  | 1939 |
   1940 |
   1941 |
   1942 |
   1944 |
   1946 |
   1947 |
   1948 |
   1949 |
   3111 |
   3112 |
   3113 |

                                                                        64 of 98
                   Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 69 of 102
  Store
            Contract Type               Title                           Counterparty                    Debtor Entity                   Est. Cure
 Number
                                                                        MOUNTAIN PORTFOLIO OWNER WI
                                                                        MI LLC | MOUNTAIN BMTX001 LLC |
                                                                        MOUNTAIN FWTX001 LLC |
                                                                        MOUNTAIN FWTX002 LLC |
                                        OMNIBUS AMENDMENT TO LETTER     MOUNTAIN FWTX003 LLC |
[102 sites] Prime Lease (Multi‐Site)                                                                    Mountain Express Oil Company     $0.00
                                        AGREEMENTS                      MOUNTAIN NRTX001 LLC |
                                                                        MOUNTAIN PORTFOLIO OWNER MS
                                                                        LLC | MOUNTAIN PORTFOLIO
                                                                        OWNER NC| MOUNTAIN PORTFOLIO
                                                                        OWNER OK LLC |
                                                                        MOUNTAIN PORTFOLIO OWNER WI
                                                                        MI LLC | MOUNTAIN BMTX001 LLC |
                                                                        MOUNTAIN FWTX001 LLC |
                                                                        MOUNTAIN FWTX002 LLC |
                                        OMNIBUS AMENDMENT TO LETTER     MOUNTAIN FWTX003 LLC |
[102 sites] Prime Lease (Multi‐Site)                                                                    Mountain Express Oil Company     $0.00
                                        AGREEMENTS                      MOUNTAIN NRTX001 LLC |
                                                                        MOUNTAIN PORTFOLIO OWNER MS
                                                                        LLC | MOUNTAIN PORTFOLIO
                                                                        OWNER NC| MOUNTAIN PORTFOLIO
                                                                        OWNER OK LLC |
                                                                        MOUNTAIN PORTFOLIO OWNER WI
                                                                        MI LLC | MOUNTAIN BMTX001 LLC |
                                                                        MOUNTAIN FWTX001 LLC |
                                                                        MOUNTAIN FWTX002 LLC |
                                        OMNIBUS AMENDMENT TO LETTER     MOUNTAIN FWTX003 LLC |
[102 SITES] Prime Lease (Multi‐Site)                                                                    Mountain Express Oil Company     $0.00
                                        AGREEMENTS [19 DEBTORS]         MOUNTAIN NRTX001 LLC |
                                                                        MOUNTAIN PORTFOLIO OWNER MS
                                                                        LLC | MOUNTAIN PORTFOLIO
                                                                        OWNER NC| MOUNTAIN PORTFOLIO
                                                                        OWNER OK LLC |
                                                                        MOUNTAIN PORTFOLIO OWNER WI
                                                                        MI LLC | MOUNTAIN BMTX001 LLC |
                                                                        MOUNTAIN FWTX001 LLC |
                                                                        MOUNTAIN FWTX002 LLC |
                                        OMNIBUS AMENDMENT TO LETTER     MOUNTAIN FWTX003 LLC |
[102 SITES] Prime Lease (Multi‐Site)                                                                    Mountain Express Oil Company     $0.00
                                        AGREEMENTS [19 DEBTORS]         MOUNTAIN NRTX001 LLC |
                                                                        MOUNTAIN PORTFOLIO OWNER MS
                                                                        LLC | MOUNTAIN PORTFOLIO
                                                                        OWNER NC| MOUNTAIN PORTFOLIO
                                                                        OWNER OK LLC |
                                                                        MOUNTAIN PORTFOLIO OWNER WI
                                                                        MI LLC | MOUNTAIN BMTX001 LLC |
                                                                        MOUNTAIN FWTX001 LLC |
                                                                        MOUNTAIN FWTX002 LLC |
                                        OMNIBUS AMENDMENT TO LETTER     MOUNTAIN FWTX003 LLC |
[54 SITES] Prime Lease (Multi‐Site)                                                                     Mountain Express Oil Company     $0.00
                                        AGREEMENTS                      MOUNTAIN NRTX001 LLC |
                                                                        MOUNTAIN PORTFOLIO OWNER MS
                                                                        LLC | MOUNTAIN PORTFOLIO
                                                                        OWNER NC| MOUNTAIN PORTFOLIO
                                                                        OWNER OK LLC |
                                                                        MR. MC'S BARBER LOUNGE LLC |
    51      Sublease                    COMMERCIAL LEASE                                                MEX RE‐SE‐NC LLC                 $0.00
                                                                        CHRISTOPHER MCLENDON
                                        PETROLEUM PRODUCTS SUPPLY       MUDDESSAR AHMAD | OMEGA
   296      Fuel Supply Agreement                                                                       Mountain Express Oil Company     $0.00
                                        AGREEMENT                       BUILDERS LLC
                                                                        MUHAMMAD ABDUL MANA |
                                        FIRST AMENDMENT OF PETROLEUM
    54      Fuel Supply Agreement                                       MUHAMMAD UMER IJAZ | S R 9508    Mountain Express Oil Company    $0.00
                                        PRODUCTS SUPPLY AGREEMENT
                                                                        LLC | JITENDRAKUMAR D PATEL
                                        MOTOR FUEL SUPPLY AND
   415      Fuel Supply Agreement                                       MUHAMMAD NADEEM AHMAD            Mountain Express Oil Company    $0.00
                                        COMMISSIONED SALES AGREEMENT
                                        PETROLEUM PRODUCTS SUPPLY
   578      Fuel Supply Agreement                                       MUHAMMAD NAZISH                  Mountain Express Oil Company    $0.00
                                        AGREEMENT
                                        FIRST AMENDMENT OF PETROLEUM
   578      Fuel Supply Agreement                                       MUHAMMAD NAZISH | NKRE, INC      Mountain Express Oil Company    $0.00
                                        PRODUCTS SUPPLY AGREEMENT
                                        PETROLEUM PRODUCTS SUPPLY       MUHAMMAD UMER IJAZ |
    54      Fuel Supply Agreement                                                                        Mountain Express Oil Company    $0.00
                                        AGREEMENT                       MUHAMMAD ABUL MANAN
                                        MOTOR FUEL SUPPLY AND
   284      Fuel Supply Agreement                                       MUHAMMAD ZALIM SALEEM            Mountain Express Oil Company    $0.00
                                        COMMISSIONED SALES AGREEMENT
                                                                        MUHAMMED WAHEDUZZAMAN |
                                        FIRST AMENDMENT OF LEASE WITH
   399      Sublease                                                    SHEIKH MOHIUDDIN AHAMED | MD Mountain Express Oil Company        $0.00
                                        OPTION TO PURCHASE
                                                                        SHANA ULLAHA |
                                                                                                     MEX RE‐NE‐NY‐LI LLC (as
   972      Prime Lease (Single Site)   LEASE                           MUSTAMED ASSOCIATES, INC.                                        $0.00
                                                                                                     assignee of VM Estate Corp.)



                                                                        65 of 98
                  Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 70 of 102
  Store
            Contract Type              Title                            Counterparty                         Debtor Entity                      Est. Cure
 Number
                                                                                                              MEX RE‐NY‐LI LLC (as successor‐
   974     Prime Lease (Single Site)   LEASE                            MUSTAMED ASSOCIATES, INC.                                                $0.00
                                                                                                             in‐interest to Varun, Inc.)
                                       PETROLEUM PRODUCTS SUPPLY
   522     Fuel Supply Agreement                                        MUY GRANDE, INC.                     Mountain Express Oil Company        $0.00
                                       AGREEMENT
   334     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT            MVI FACILITY SERVICES                Mountain Express Oil Company        $0.00

   335     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT            MVI FACILITY SERVICES                Mountain Express Oil Company        $0.00

           Vendor Agreement            Management Services Agreement    MVI FIELD SERVICES, LLC              Spartan Tank Management LLC         $0.00
                                                                        MVI FUEL SERVICES LLC | MVI
                                       PETROLEUM PRODUCTS SUPPLY
   455     Fuel Supply Agreement                                        FACILITY SERVICES LLC | MVI FIELD    Mountain Express Oil Company        $0.00
                                       AGREEMENT
                                                                        SERVICES LLC
330 | 331 |                            MASTER PETROLEUM PRODUCTS        MVI FUEL SERVICES LLC | MVI
332 | 333 | Fuel Supply Agreement      SUPPLY AGREEMENT FOR CONRAC      FACILITY SERVICES LLC | MVI FIELD    Mountain Express Oil Company        $0.00
   427                                 OPERATIONS                       SERVICES LLC
                                                                        MVI FUEL SERVICES LLC | MVI
                                       ASSIGNMENT OF PAYMENTS DUE FOR
           Fuel Supply Agreement                                        FACILITY SERVICES LLC | MVI FIELD    Mountain Express Oil Company        $0.00
                                       CONRAC OPERATIONS
                                                                        SERVICES LLC
                                                                        MYPARTNA DEM ENT LLC |
   143     Sublease                    COMMERCIAL LEASE                                                      Mountain Express Oil Company        $0.00
                                                                        BRANDON ANDERSON
                                                                        NAAW USA INC | AHMED ABDULLA
  3265     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                 Mountain Express Oil Company        $0.00
                                                                        BHADIGIA
                                                                                                       Mountain Express Oil Company
                                       COMMERCIAL REAL ESTATE LEASE
   486     Sublease                                                     NABEEL GROUP OF COMPANIES INC (as assignee of SMZ Jonesboro,             $0.00
                                       CONTRACT
                                                                                                      LLC)
                                                                                                       Mountain Express Oil Company
                                       COMMERCIAL REAL ESTATE LEASE     NABEEL GROUP OF COMPANIES INC
   498     Sublease                                                                                   (as successor‐in‐interest to Main‐         $0.00
                                       CONTRACT                         | MAIN‐MCGEE INVESTMENT,LLC
                                                                                                      McGee Investment, LLC)
                                       PETROLEUM PRODUCTS SUPPLY        NABEEL GROUP OF COMPANIES INC
   486     Fuel Supply Agreement                                                                      Mountain Express Oil Company               $0.00
                                       AGREEMENT                        | NABEEL MEMON
                                       FIRST AMENDMENT OF PETROLEUM     NABEEL GROUP OF COMPANIES INC
   486     Fuel Supply Agreement                                                                      Mountain Express Oil Company               $0.00
                                       PRODUCTS SUPPLY AGREEMENT        | NABEEL MEMON | NADIM HIRANI

                                       SECOND AMENDMENT OF PETROLEUM NABEEL GROUP OF COMPANIES INC
   486     Fuel Supply Agreement                                                                   Mountain Express Oil Company                  $0.00
                                       PRODUCTS SUPPLY AGREEMENT     | NABEEL MEMON | NADIM HIRANI

                                                                                                        Mountain Express Oil Company
                                       COMMERCIAL REAL ESTATE LEASE
   278     Sublease                                                     NABEEL GROUP OF COMPANIES, INC (as successor‐in‐interest to Mt.          $0.00
                                       CONTRACT
                                                                                                       Zion Ventures, LLC)
                                       FIRST AMENDMENT OF COMMERCIAL    NABEEL GROUP OF COMPANIES,
   498     Sublease                                                                                          Mountain Express Oil Company        $0.00
                                       REAL ESTATE LEASE CONTRACT       INC. | BAFNA LLC | VIRAG SHAH
   486     Fuel Supply Agreement       UNCONDITIONAL PERSONAL GUARANTY NABEEL MEMON | NADIM HIRANI           Mountain Express Oil Company        $0.00
                                                                                                             DT ‐ Mountain Express Oil
                                                                                                             Company (as successor‐in‐
  3269     Fuel Supply Agreement       Supply Agreement                 NABIL A EIDHAH                                                           $0.00
                                                                                                             interest to Moore Petroleum
                                                                                                             Company, Inc.)
                                                                                                             DT ‐ Mountain Express Oil
                                                                                                             Company (as successor‐in‐
  3269     Sublease                    COMMERCIAL LEASE                 NABILA A EIDHAH                                                          $0.00
                                                                                                             interest to Moore Petroleum
                                                                                                             Company, Inc.)
                                                                        NADER GROUP LLC | MICHELLE
   733     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                 Mountain Express Oil Company        $0.00
                                                                        NADER
                                       FIRST AMENDMENT OF FUEL SUPPLY   NADER GROUP LLC | MICHELLE
   733     Fuel Supply Agreement                                                                             Mountain Express Oil Company        $0.00
                                       AGREEMENT                        NADER
                                                                        NADER GROUP LLC | MICHELLE
   733     Sublease                    COMMERCIAL LEASE                                                      Mountain Express Oil Company        $0.00
                                                                        NADER
                                                                        NADER GROUP LLC | MICHELLE
   733     Equipment Lease             EQUIPMENT LEASE AGREEMENT                                             Mountain Express Oil Company        $0.00
                                                                        NADER
                                                                        NAJEH M ZAHRAWI | MAGNOLIA
   950     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT            MARKET AND DELI INC |                Mountain Express Oil Company        $0.00
                                                                        MOHAMMAD ALMAHAMEED
                                                                        NAJEH M ZAHRAWI | MAGNOLIA
   950     Sublease                    COMMERCIAL LEASE                 MARKET AND DELI INC |                Mountain Express Oil Company        $0.00
                                                                        MOHAMMAD ALMAHAMEED
                                                                        NAJEH M ZAHRAWI | MAGNOLIA
   950     Rebate Agreement            REBATE AGREEMENT                 MARKET AND DELI INC |                Mountain Express Oil Company        $0.00
                                                                        MOHAMMAD ALMAHAMEED |
                                                                        NAPOLI'S PIZZA & SUBS, LLC | LUIGI
    52     Sublease                    COMMERCIAL LEASE                                                      MEX RE‐SE‐NC LLC                    $0.00
                                                                        PUGLIESE | SALVATORE CASTIGLIA

                                                                        66 of 98
                  Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 71 of 102
  Store
            Contract Type          Title                              Counterparty                      Debtor Entity                    Est. Cure
 Number
                                   SECOND AMENDMENT OF COMMERCIAL NASHWA F. ABOYOUSSEF | MOHEB
   307     Sublease                                                                                     Mountain Express Oil Company      $0.00
                                   LEASE                          M YOUSSEF
  1944     Sublease                COMMERCIAL LEASE                  NASRIN GAS INC | NASRIN ISLAM      Mountain Express Oil Company      $0.00

  1944     Fuel Supply Agreement   FUEL SUPPLY AGREEMENT             NASRIN GAS INC AND NASRIN ISLAM Mountain Express Oil Company         $0.00
                                   FIRST AMENDMENT OF FUEL SUPPLY    NASRIN GAS INC. AND NASRIN
  1944     Fuel Supply Agreement                                                                        Mountain Express Oil Company      $0.00
                                   AGREEMENT                         ISLAM
                                   MOTOR FUEL SUPPLY AND
    36     Fuel Supply Agreement                                     NAVINBHAI PATEL                    Mountain Express Oil Company      $0.00
                                   COMMISSIONED SALES AGREEMENT
    36     Sublease                COMMERCIAL LEASE                  NAVINBHAI PATEL                    Mountain Express Oil Company      $0.00
                                   FIRST AMENDMENT OF COMMERCIAL
    36     Sublease                                                  NAVINBHAI PATEL                    Mountain Express Oil Company      $0.00
                                   LEASE
                                                                     NAVKAR RETAIL LLC (AS SUCCESSOR‐ Mountain Express Oil Company
  1949     Sublease                LEASE AMENDMENT                   IN‐INTEREST TO GLENWOOD RETAIL (as successor‐in‐interest to Prime    $0.00
                                                                     LLC)                             465 East Glenwood LLC)

                                                                     NAVKAR RETAIL LLC (AS SUCCESSOR‐ Mountain Express Oil Company
  1949     Sublease                LEASE                             IN‐INTEREST TO GLENWOOD RETAIL (as successor‐in‐interest to Prime    $0.00
                                                                     LLC)                             465 East Glenwood LLC)
                                   PETROLEUM PRODUCTS SUPPLY
   515     Fuel Supply Agreement                                     NAWAZ SAYANI                       Mountain Express Oil Company      $0.00
                                   AGREEMENT
   515     Sublease                COMMERCIAL LEASE                  NAWAZ SAYANI                       Mountain Express Oil Company      $0.00

   646     Fuel Supply Agreement   FUEL SUPPLY AGREEMENT             NAWAZ SAYANI                       Mountain Express Oil Company      $0.00
                                                                     NAWAZ SAYANI | 786 LAREDO
                                                                     INVESTMENT LLC | RAZMAN
   518     Sublease                ASSIGNMENT OF COMMERCIAL LEASE    MOSANI | MOSANI INVESTMENTS        Mountain Express Oil Company      $0.00
                                                                     INC | NEW PASADENA
                                                                     INVESTMENTS INC
                                                                     NAWAZ SAYANI | IQBAL NASAR | ALI
   514     Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                                Mountain Express Oil Company      $0.00
                                                                     SHAHZAD
                                   FIRST AMENDMENT OF FUEL SUPPLY    NAWAZ SAYANI | IQBAL NASAR | ALI
   514     Fuel Supply Agreement                                                                        Mountain Express Oil Company      $0.00
                                   AGREEMENT                         SHAHZAD
                                                                     NAWAZ SAYANI | IQBAL NASAR | ALI
   514     Sublease                COMMERCIAL LEASE                                                     Mountain Express Oil Company      $0.00
                                                                     SHAHZAD
                                   FIRST AMENDMENT OF FUEL SUPPLY    NAWAZ SAYANI | NDSRS LLC |
   646     Fuel Supply Agreement                                                                    Mountain Express Oil Company          $0.00
                                   AGREEMENT                         RAHIM JAFFAR ALI
                                   SECOND AMENDMENT OF MOTOR FUEL
                                                                  NEPAL INC. | DINESH SHAH | RIYZAH
   497     Fuel Supply Agreement   SUPPLY AND COMMISSIONED SALES                                    Mountain Express Oil Company          $0.00
                                                                  LLC | ZOHRA ARIF AMLANI
                                   AGREEMENT
                                   SECOND AMENDMENT OF COMMERCIAL NEPAL INC. | DINESH SHAH | RIYZAH
   497     Sublease                                                                                 Mountain Express Oil Company          $0.00
                                   LEASE                          LLC | ZOHRA ARIF AMLANI
   270     Fuel Supply Agreement   ADDENDUM TO JOBBER AGREEMENT      NEW ERA VENTURES LLC               Mountain Express Oil Company      $0.00
           Purchase and Sale
                                   PURCHASE AND SALE AGREEMENT       NEWELL EXPRESS LLC                 MEX RE Holdings LLC               $0.00
           Agreement
    36     Fuel Supply Agreement   UNCONDITIONAL PERSONAL GUARANTY NIRAJ N PATEL | NAVINBHAI PATEL      Mountain Express Oil Company      $0.00
                                   FIRST AMENDMENT OF MOTOR FUEL     NIRAJ PATEL | RAY1610 FOOD MART
   454     Fuel Supply Agreement   SUPPLY AND COMMISSIONED SALES     INC | HOPE 85 INC | SALIMA      Mountain Express Oil Company         $0.00
                                   AGREEMENT                         DHANANI
                                                                     NISHA R PATEL | CHIRAG PATEL |
                                   PETROLEUM PRODUCTS SUPPLY
   291     Fuel Supply Agreement                                     NISHA 2012 INC | RELIABLE MART |   Mountain Express Oil Company      $0.00
                                   AGREEMENT
                                                                     AMRITIALA A PATEL | DOLAMA LLC

224 | 223 |
                                                                     NL INVESTMENT PARTNERS ONE LLC
228 | 221 |
                                   FIRST AMENDMENT OF MASTER         | NL INVESTMENT PARTNERS TWO
225 | 169 | Sublease                                                                                 Mountain Express Oil Company         $0.00
                                   AGREEMENT                         LLC | HYDER LALANI | SHAMSUDDIN
170 | 171 |
                                                                     NASSAR
 168 | 167

                                                                     NL INVESTMENT PARTNERS TWO LLC
   167     Sublease                COMMERCIAL LEASE                  | HYDER K DANNY LALANI |       Mountain Express Oil Company          $0.00
                                                                     SHAMSUDDIN NASSAR
                                                                     NL INVESTMENTS ONE LLC | HYDER
   225     Fuel Supply Agreement   FUEL SUPPLY AGREEMENT             K DANNY LALNI | SHAMSUDDIN     Mountain Express Oil Company          $0.00
                                                                     NASSAR
                                                                     NL INVESTMENTS ONE LLC | HYDER
   228     Fuel Supply Agreement   FUEL SUPPLY AGREEMENT             K DANNY LALNI | SHAMSUDDIN     Mountain Express Oil Company          $0.00
                                                                     NASSAR
                                                                     67 of 98
                 Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 72 of 102
 Store
           Contract Type           Title                             Counterparty                   Debtor Entity                Est. Cure
Number
                                                                  NL INVESTMENTS PARTNERS ONE
  223      Rebate Agreement        REBATE AGREEMENT                                               Mountain Express Oil Company    $0.00
                                                                  LLC
                                                                  NL INVESTMENTS PARTNERS ONE
  223      Sublease                COMMERCIAL LEASE               LLC | HYDER K "DANNY" LALANI |  Mountain Express Oil Company    $0.00
                                                                  SHAMSUDDIN NASSAR
                                                                  NL INVESTMENTS PARTNERS ONE
  225      Sublease                COMMERCIAL LEASE               LLC | HYDER K "DANNY" LALANI |  Mountain Express Oil Company    $0.00
                                                                  SHAMSUDDIN NASSAR
                                                                  NL INVESTMENTS PARTNERS ONE
  228      Sublease                COMMERCIAL LEASE               LLC | HYDER K "DANNY" LALANI |  Mountain Express Oil Company    $0.00
                                                                  SHAMSUDDIN NASSAR
                                                                  NL INVESTMENTS PARTNERS ONE
  221      Fuel Supply Agreement   FUEL SUPPLY AGREEMENT          LLC | HYDER K DANNY LALANI |    Mountain Express Oil Company    $0.00
                                                                  SHAMSUDDIN NASSAR
                                                                  NL INVESTMENTS PARTNERS ONE
  221      Sublease                COMMERCIAL LEASE               LLC | HYDER K DANNY LALANI |    Mountain Express Oil Company    $0.00
                                                                  SHAMSUDDIN NASSAR
                                                                  NL INVESTMENTS PARTNERS ONE
  223      Fuel Supply Agreement   FUEL SUPPLY AGREEMENT          LLC | HYDER K DANNY LALANI |    Mountain Express Oil Company    $0.00
                                                                  SHAMSUDDIN NASSAR
                                                                  NL INVESTMENTS PARTNERS ONE
  224      Fuel Supply Agreement   FUEL SUPPLY AGREEMENT          LLC | HYDER K DANNY LALANI |    Mountain Express Oil Company    $0.00
                                                                  SHAMSUDDIN NASSAR
                                                                  NL INVESTMENTS PARTNERS ONE
  224      Sublease                COMMERCIAL LEASE               LLC | HYDER K DANNY LALANI |    Mountain Express Oil Company    $0.00
                                                                  SHAMSUDDIN NASSAR
                                                                  NL INVESTMENTS PARTNERS ONE
  225      Rebate Agreement        REBATE AGREEMENT               LLC | HYDER K LALANI AKA DANNY  Mountain Express Oil Company    $0.00
                                                                  LALANI | SHAMSUDDIN NASSAR
                                                                  NL INVESTMENTS PARTNERS ONE
  167      Settlement Agreement    SETTLEMENT AGREEMENT           LLC | NL INVESTEMENTS PARTNERS Mountain Express Oil Company     $0.00
                                                                  TWO LLC
                                                                  NL INVESTMENTS PARTNERS TWO
  228      Rebate Agreement        REBATE AGREEMENT                                               Mountain Express Oil Company    $0.00
                                                                  LLC
                                                                  NL INVESTMENTS PARTNERS TWO
  169      Fuel Supply Agreement   FUEL SUPPLY AGREEMENT          LLC | DANNY LALANI | SHAMSUDDIN Mountain Express Oil Company    $0.00
                                                                  NASSAR
                                                                  NL INVESTMENTS PARTNERS TWO
  167      Fuel Supply Agreement   FUEL SUPPLY AGREEMENT          LLC | HYDER K DANNY LALANI |    Mountain Express Oil Company    $0.00
                                                                  SHAMSUDDIN NASSAR
                                                                  NL INVESTMENTS PARTNERS TWO
  168      Fuel Supply Agreement   FUEL SUPPLY AGREEMENT          LLC | HYDER K DANNY LALANI |    Mountain Express Oil Company    $0.00
                                                                  SHAMSUDDIN NASSAR
                                                                  NL INVESTMENTS PARTNERS TWO
  168      Sublease                COMMERCIAL LEASE               LLC | HYDER K DANNY LALANI |    Mountain Express Oil Company    $0.00
                                                                  SHAMSUDDIN NASSAR
                                                                  NL INVESTMENTS PARTNERS TWO
  169      Sublease                COMMERCIAL LEASE               LLC | HYDER K DANNY LALANI |    Mountain Express Oil Company    $0.00
                                                                  SHAMSUDDIN NASSAR
                                                                  NL INVESTMENTS PARTNERS TWO
  171      Fuel Supply Agreement   FUEL SUPPLY AGREEMENT          LLC | HYDER K DANNY LALANI|     Mountain Express Oil Company    $0.00
                                                                  SHAMSUDDIN NASSAR
NOT SITE   Confidentiality                                        OAK STREET REAL ESTATE CAPITAL,
                                   Confidentiality Agreement                                      Mountain Express Oil Company    $0.00
SPECIFIC   Agreement/NDA                                          LLC
Not Site   Confidentiality                                        OAK STREET REAL ESTATE CAPITAL,
                                   Confidentiality Agreement                                      Mountain Express Oil Company    $0.00
Specific   Agreement/NDA                                          LLC
NOT SITE   Confidentiality                                        OAK STREET REAL ESTATE CAPITAL,
                                   Confidentiality Agreement                                      Mountain Express Oil Company    $0.00
SPECIFIC   Agreement/NDA                                          LLC
                                                                  OAKLAND PRIME LLC | SHAHNEWAZ
  658      Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                          Mountain Express Oil Company    $0.00
                                                                  HOSSAIN
                                                                  OAKLAND PRIME LLC | SHAHNEWAZ
                                   FIRST AMENDMENT OF FUEL SUPPLY
  658      Fuel Supply Agreement                                  HOSSAIN | ANA USA INC | SOHIL S Mountain Express Oil Company    $0.00
                                   AGREEMENT
                                                                  HUDDA
                                   FIRST AMENDMENT OF COMMERCIAL  OHIO FOOD AND FUEL LLC |
  24       Sublease                                                                               Mountain Express Oil Company    $0.00
                                   LEASE                          LINDAMANENI VAMSI KRISHNA
                                                                  OHIO FOOD AND FUEL LLC |
                                   SECOND AMENDMENT OF COMMERCIAL
  24       Sublease                                               LINGAMANENI VAMSI KRISHNA |     Mountain Express Oil Company    $0.00
                                   LEASE
                                                                  DEAN BAKER LLC | BAKER MAYOOF
                                                                  OKLAN LLC | ATAKAN ATALAN |
  85       Sublease                COMMERCIAL LEASE                                               Mountain Express Oil Company    $0.00
                                                                  OLGUN OZDEMIR
                                                                  OM GANESHA INVESTMENT LLC |
                                   PETROLEUM PRODUCTS SUPPLY
  17       Fuel Supply Agreement                                  KRUNAL P PATE | RONAK D PATEL | Mountain Express Oil Company    $0.00
                                   AGREEMENT
                                                                  MATANG P PATEL



                                                                     68 of 98
                Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 73 of 102
 Store
         Contract Type               Title                             Counterparty                     Debtor Entity                       Est. Cure
Number
                                                                     OM GANESHA INVESTMENT LLC |
                                     Re: Motor Fuel Supply arid
  17     Fuel Supply Agreement                                       KRUNAL P PATEL | RONAK D PATEL |   Mountain Express Oil Company         $0.00
                                     Commissioned Sales Agreement
                                                                     MATANG P PATEL
                                                                     OM GANESHA INVESTMENTS LLC |
  17     Sublease                    COMMERCIAL LEASE                KRUNAL PATEL | RONAK D. PATEL |    Mountain Express Oil Company         $0.00
                                                                     MATANG P PATEL
                                                                     OM SAI RAM BUSINESS INC |
                                     SECOND AMENDMENT OF PETROLEUM
 536     Fuel Supply Agreement                                       RAMANDEEP MOKHA | TARA BLVD        Mountain Express Oil Company         $0.00
                                     PRODUCTS SUPPLY AGREEMENT
                                                                     USA INC | BRITTANY BEARD
                                     PETROLEUM PRODUCTS SUPPLY       ONE THREE FOUR INC | NURUDDIN
  45     Fuel Supply Agreement                                                                          Mountain Express Oil Company         $0.00
                                     AGREEMENT                       NASSAR
                                     MOTOR FUEL SUPPLY AND           ONE THREE FOUR INVESTMENT LLC
  74     Fuel Supply Agreement                                                                          Mountain Express Oil Company         $0.00
                                     COMMISSIONED SALES AGREEMENT    | SHAMSUDDIN NASSAR
                                     COMMERCIAL REAL ESTATE LEASE
 271     Sublease                                                    OPEN COUNT, LLC                    Mountain Express Oil Company         $0.00
                                     CONTRACT
                                     FIRST AMENDMENT OFMOTOR FUEL    OPEN COUNT, LLC | SONIKA
 271     Fuel Supply Agreement       SUPPLY AND COMMISIONED SALES    AHLUWALIA | TUSHAR PATEL |         Mountain Express Oil Company         $0.00
                                     AGREEMENT                       ASPEN GOLD LLC
                                                                     OPEN COUNT, LLC | SONIKA
                                     FIRST AMENDMENT OF COMMERCIAL
 271     Sublease                                                    AHLUWALIA | TUSHAR PATEL |         Mountain Express Oil Company         $0.00
                                     REAL ESTATE LEASE CONTRACT
                                                                     ASPEN GOLD LLC
                                     MOTOR FUEL SUPPLY AND           OPEN COURT LLC | TUSHAR PATEL |
 271     Fuel Supply Agreement                                                                          Mountain Express Oil Company         $0.00
                                     COMMISSIONED SALES AGREEMENT    SONIKA AHLUWALLA
                                     AGREEMENT REGARDING TRANSFER OF
                                     MOTOR FUEL SUPPLY AND
                                     COMMISSIONED SALES AGREEMENT | OPEN COURT LLC | TUSHAR PATEL |
 271     Fuel Supply Agreement                                                                          Mountain Express Oil Company         $0.00
                                     AGREEMENT REGARDING TRANSFER OF SONIKA AHLUWALLA
                                     MOTOR FUEL SUPPLY AND
                                     COMMISSIONED SALES AGREEMENT
                                     PETROLEUM PRODUCTS SUPPLY
 407     Fuel Supply Agreement                                       OPESTIC INC | SADIGALLY CHUNARA    Mountain Express Oil Company         $0.00
                                     AGREEMENT
                                     AMENDMENT TO PETROLEUM          OPESTIC INC | SADIGALLY CHUNARA
 407     Fuel Supply Agreement                                                                          Mountain Express Oil Company         $0.00
                                     PRODUCTS SUPPLY AGREEMENT       | ONE EXXON INC
                                     SECOND AMENDMENT OF PETROLEUM OPESTIC INC | SADIGALLY CHUNARA
 407     Fuel Supply Agreement                                                                     Mountain Express Oil Company              $0.00
                                     PRODUCTS SUPPLY AGREEMENT     | ONE EXXON INC
                                                                       ORANGE BUFFALO LLC (AS
 513     Prime Lease (Single Site)   LEASE AGREEMENT                   SUCCESSOR‐IN‐INTEREST TO VAULT Texas MEX Limited Company, LLC         $0.00
                                                                       CS PHARR LLC)
                                                                       PABI GAUTAM | KHAGEN DHAMALA
                                                                       | PRAKASH RIMAL | MOHON
                                     FIRST AMENDMENT OF COMMERCIAL
 174     Sublease                                                      DHAMALA | HIMAL PETROLEUM LLC Mountain Express Oil Company            $0.00
                                     LEASE AND FUEL SUPPLY AGREEMENT
                                                                       | TARA NIDHI TIMSINA | KPRP
                                                                       PARTNERSHIP
                                                                     PABI GAUTAM | KHAGENDHAMALA
                                     SECOND AMENDMENT OF FUEL SUPPLY
 174     Fuel Supply Agreement                                       | KPRP PARTNERSHIP | MONA          Mountain Express Oil Company         $0.00
                                     AGREEMENT
                                                                     DHAMALA, | PRAKASH RIMAL |
                                     FIRST AMENDMENT TO MOTOR FUEL
                                                                       PANKAJ NARESH JAIN | SALEEM
 270     Fuel Supply Agreement       SUPPLY AND COMMISSIONED SALES                                     Mountain Express Oil Company          $0.00
                                                                       HAJIYANI | NEW ERA VENTURES LLC
                                     AGREEMENT
                                     ATM FULL PLACEMENT AND            PARAMOUNT MANAGEMENT
 3061    Vendor Agreement                                                                               Mountain Express Oil Company         $0.00
                                     PROCESSING AGREEMENT              GROUP, LLC
                                                                       PAULA ROSE LEE MULTANI |
                                     MUTUAL TERMINATION AND RELEASE
 3064    Fuel Supply Agreement                                         GURBANI HOLDINGS 1 LA LLC |      MEX RE‐SW‐LA LLC                     $0.00
                                     AGREEMENT
                                                                       GURBANI HOLDINGS LA LLC |
                                                                                                         Mountain Express Oil Company
 637     Prime Lease (Single Site)   LEASE AGREEMENT                   PAYLESS WIRELESS, INC.           (as successor‐in‐interest to Star    $0.00
                                                                                                        Development, Inc.)
                                                                       PB QUIK STOP LLC | MADAN
 916     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                              Mountain Express Oil Company         $0.00
                                                                       BHANDARI
                                                                       PB QUIK STOP LLC | MADAN
 916     Sublease                    COMMERCIAL LEASE                                                   Mountain Express Oil Company         $0.00
                                                                       BHANDARI
                                                                       PB QUIK STOP LLC | MADAN
 916     Rebate Agreement            REBATE AGREEMENT                                                   Mountain Express Oil Company         $0.00
                                                                       BHANDARI
                                                                       PEACH KOUNTRY LLC | ZAHEER
 537     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                              Mountain Express Oil Company         $0.00
                                                                       FIROZ POONAWALLA
                                                                       PEDRO PROPERTIES LLC (AS
 172     Prime Lease (Single Site)   MASTER LEASE AGREEMENT            SUCCESSOR‐IN‐INTEREST TO LTE     Mountain Express Oil Company         $0.00
                                                                       CAPITAL LLC)
                                     PETROLEUM PRODUCTS SUPPLY         PERVAIZ THARANI | AFZAN
 353     Fuel Supply Agreement                                                                          Mountain Express Oil Company         $0.00
                                     AGREEMENT                         ENTERPRISES, INC
 3058    Sublease                    COMMERCIAL LEASE                  PFB GROUP INC | FARHAD POLANI    Mountain Express Oil Company         $0.00

                                                                       69 of 98
                   Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 74 of 102
  Store
            Contract Type              Title                                    Counterparty                       Debtor Entity                  Est. Cure
 Number
   600      Oil Company Agreement      TRADEMARK LICENSE AGREEMENT              PHILLIPS 66 COMPANY                Mountain Express Oil Company    $0.00
448 | 9 |                              Second Amendment to Trademark
          Oil Company Agreement                                      PHILLIPS 66 COMPANY                           Mountain Express Oil Company    $0.00
443 | 449                              License Agreement
                                       SECOND AMENDMENT TO TRADEMARK
449 | 448 Oil Company Agreement                                      PHILLIPS 66 COMPANY                           Mountain Express Oil Company    $0.00
                                       LICENSE AGREEMENT
579 | 950 |
                                       Exhibit A‐1 to Trademark Licensing
145 | 956 | Oil Company Agreement                                               PHILLIPS 66 COMPANY                                                $0.00
                                       Agreement
 951 | 674

593 | 965 |
967 | 961 |
972 | 964 |                            Exhibit A‐1 to Branded Marketer
            Oil Company Agreement                                               PHILLIPS 66 COMPANY                                                $0.00
974 | 443 |                            Agreement
975 | 968 |
 963 | 962

951 | 952 |
            Oil Company Agreement      BRANDED MARKETER AGREEMENT               PHILLIPS 66 COMPANY                Mountain Express Oil Company    $0.00
956 | 3126
                                       First Amendment to Trademark License
            Oil Company Agreement                                               PHILLIPS 66 COMPANY                Mountain Express Oil Company    $0.00
                                       Agreement
                                                                                PHILLIPS 66 COMPANY | PREMIER
            Oil Company Agreement      Letter Re: Trademark License Agreement                                      Mountain Express Oil Company    $0.00
                                                                                PETROLEUM INC
                                       FIRST AMENDMENT OF COMMERCIAL            PHOENIX WORSHIP CENTER INC |
   369      Sublease                                                                                               Mountain Express Oil Company    $0.00
                                       LEASE                                    ALLISON MARKS
                                                                                PHOENIX WORSHIP CENTER, INC |
   369      Sublease                   COMMERCIAL LEASE                                                            Mountain Express Oil Company    $0.00
                                                                                ALLISON MARKS

726 | 739 |
740 | 741 |
752 | 762 |
                                                                                PIER HILL PETRO LLC | MD JAHIRUL
766 | 767 | Sublease                   COMMERCIAL LEASE                                                            MEX RE‐NE‐NJ LLC                $0.00
                                                                                ALAM
769 | 771 |
773 | 774 |
 776 | 778


726 | 739 |
740 | 741 |
752 | 762 |
                                                                                PIER HILL PETRO LLC | MD JAHIRUL
766 | 767 | Prime Lease (Multi‐Site)   COMMERCIAL LEASE                                                            MEX RE‐NE‐NJ LLC                $0.00
                                                                                ALAM
769 | 771 |
773 | 774 |
 776 | 778


726 | 739 |
740 | 741 |
752 | 762 |
                                                                                PIER HILL PETRO LLC | MD JAHIRUL
766 | 767 | Fuel Supply Agreement      FUEL SUPPLY AGREEMENT                                                       MEX Fuels NE‐NJ LLC             $0.00
                                                                                ALAM
769 | 771 |
773 | 774 |
 776 | 778


726 | 739 |
740 | 741 |
752 | 762 |
                                                                                PIER HILL PETRO LLC AND MD
766 | 767 | Fuel Supply Agreement      FUEL SUPPLY AGREEMENT                                                       MEX Fuels NE‐NJ LLC             $0.00
                                                                                JAHIRUL ALAM
769 | 771 |
773 | 774 |
 776 | 778

   3250     Sublease                   Lease Agreement                          PILOT CORPORATION                  MEX RE‐SW‐LA LLC                $0.00
   3250     Sublease                   Sublease Agreement                       PILOT CORPORATION                  WHRG TC‐SW‐LA LLC               $0.00
   3170     Sublease                   SUBLEASE                                 PILOT TRAVEL CENTERS               MEX RE‐NW‐IA LLC                $0.00
   3300     Sublease                   SUBLEASE                                 PILOT TRAVEL CENTERS               MEX RE‐NW‐IA LLC                $0.00
                                       TRANSITION PERIOD SUBLEASE
   3300     Sublease                                                            PILOT TRAVEL CENTERS               MEX RE‐NW‐IA LLC                $0.00
                                       AGREEMENT
                                       EQUIPMENT LEASE AND THRU‐PUT
   3006     Oil Company Agreement                                               PILOT TRAVEL CENTERS LLC           West Hill Ranch Group LLC       $0.00
                                       AGREEMENT


                                                                                70 of 98
                   Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 75 of 102
  Store
            Contract Type              Title                                  Counterparty                  Debtor Entity                    Est. Cure
 Number
                                       EQUIPMENT LEASE AND THRU‐PUT
   3015     Oil Company Agreement                                             PILOT TRAVEL CENTERS LLC      West Hill Ranch Group LLC         $0.00
                                       AGREEMENT
                                       EQUIPMENT LEASE AND THRU‐PUT
   3040     Oil Company Agreement                                             PILOT TRAVEL CENTERS LLC      Mountain Express Oil Company      $0.00
                                       AGREEMENT
   3040     Fuel Supply Agreement      GAS PRODUCT SALES AGREEMENT            PILOT TRAVEL CENTERS LLC      Mountain Express Oil Company      $0.00
                                       EQUIPMENT LEASE AND THRU‐PUT
   3060     Oil Company Agreement                                             PILOT TRAVEL CENTERS LLC      Mountain Express Oil Company      $0.00
                                       AGREEMENT
   3060     Fuel Supply Agreement      GAS PRODUCT SALES AGREEMENT            PILOT TRAVEL CENTERS LLC      Mountain Express Oil Company      $0.00
   3150     Sublease                   SUBLEASE                               PILOT TRAVEL CENTERS LLC      MEX RE‐NW‐MO LLC                  $0.00
                                       EQUIPMENT LEASE AND THRU‐PUT
   3152     Oil Company Agreement                                             PILOT TRAVEL CENTERS LLC      WHRG TC‐NW‐MO LLC                 $0.00
                                       AGREEMENT
                                       AMENDED AND RESTATED EQUIPMENT
   3202     Oil Company Agreement                                     PILOT TRAVEL CENTERS LLC              WHRG TC‐NE‐PA LLC                 $0.00
                                       LEASE AND THRU PUT AGREEMENT
                                       EQUIPMENT LEASE AND THRU‐PUT
   3250     Oil Company Agreement                                             PILOT TRAVEL CENTERS LLC      WHRG TC‐SW‐LA LLC                 $0.00
                                       AGREEMENT
                                       EQUIPMENT LEASE AND THRU‐PUT
   3260     Oil Company Agreement                                             PILOT TRAVEL CENTERS LLC      WHRG TC‐SW‐LA LLC                 $0.00
                                       AGREEMENT
   3270     Sublease                   Lease Agreement                        PILOT TRAVEL CENTERS LLC      MEX RE‐NW‐ND LLC                  $0.00
                                       EQUIPMENT LEASE AND THRU PUT
   3270     Oil Company Agreement                                             PILOT TRAVEL CENTERS LLC      WHRG TC‐NW‐ND LLC                 $0.00
                                       AGREEMENT
                                       EQUIPMENT LEASE AND THRU PUT
   3280     Oil Company Agreement                                             PILOT TRAVEL CENTERS LLC      WHRG TC‐NW‐ND LLC                 $0.00
                                       AGREEMENT
 73 | 404   Oil Company Agreement      MOTOR FUEL SALES AGREEMENT             PILOT TRAVEL CENTERS LLC      Mountain Express Oil Company      $0.00
                                       Gasoline Sales Agreement (Birmingham,
            Oil Company Agreement                                            PILOT TRAVEL CENTERS LLC       Mountain Express Oil Company      $0.00
                                       AL)
            Oil Company Agreement      Gasoline Sales Agreement (Monroe, NC) PILOT TRAVEL CENTERS LLC       Mountain Express Oil Company      $0.00
                                       Equipment Lease and Thru‐Put
            Oil Company Agreement                                             PILOT TRAVEL CENTERS LLC      WHRG TC‐SW‐LA LLC                 $0.00
                                       Agreement (La Place, LA)
                                       Equipment Lease and Thru‐Put
            Oil Company Agreement                                             PILOT TRAVEL CENTERS LLC      WHRG TC‐NE‐PA LLC                 $0.00
                                       Agreement (Pine Grove, LA)
            Oil Company Agreement      Motor Fuel Sales Agreement             PILOT TRAVEL CENTERS LLC      Mountain Express Oil Company      $0.00

                                       Equipment Lease and Thru‐Put                                         WHRG TC‐NW‐KS LLC (as assignee
            Oil Company Agreement                                             PILOT TRAVEL CENTERS LLC                                        $0.00
                                       Agreement (Kansas City, KS)                                          of 786 Enterprises Inc.)
                                       First Amendment to Equipment Lease
                                                                                                            WHRG TC‐NW‐KS LLC (as assignee
            Oil Company Agreement      and Thru‐Put Agreement (Kansas City,   PILOT TRAVEL CENTERS LLC                                        $0.00
                                                                                                            of 786 Enterprises Inc.)
                                       KS)
                                                                              PILOT TRAVEL CENTERS LLC |
   3160     Fuel Supply Agreement      GAS PRODUCT SALES AGREEMENT                                          WHRG TC‐NW‐KS LLC                 $0.00
                                                                              SARATOGA RACK MARKETING LLC
                                                                              PILOT TRAVEL CENTERS LLC |
   3202     Fuel Supply Agreement      GAS PRODUCT SALES AGREEMENT                                          WHRG TC‐NE‐PA LLC                 $0.00
                                                                              SARATOGA RACK MARKETING LLC
                                                                              PILOT TRAVEL CENTERS LLC |
   3250     Oil Company Agreement      GAS PRODUCT SALES AGREEMENT                                          WHRG TC‐SW‐LA LLC                 $0.00
                                                                              SARATOGA RACK MARKETING LLC
                                                                              PILOT TRAVEL CENTERS LLC |
   3260     Oil Company Agreement      GAS PRODUCT SALES AGREEMENT                                          WHRG TC‐SW‐LA LLC                 $0.00
                                                                              SARATOGA RACK MARKETING LLC
                                                                              PILOT TRAVEL CENTERS LLC |
   3270     Oil Company Agreement      GAS PRODUCT SALES AGREEMENT                                          WHRG TC‐NW‐ND LLC                 $0.00
                                                                              SARATOGA RACK MARKETING LLC
                                                                              PILOT TRAVEL CENTERS LLC |
   3280     Oil Company Agreement      GAS PRODUCT SALES AGREEMENT                                          WHRG TC‐NW‐ND LLC                 $0.00
                                                                              SARATOGA RACK MARKETING LLC
                                       Equipment Lease and Thru‐Put
   3152     Oil Company Agreement                                             PILOT TRAVELCENTERS LLC       WHRG TC‐NW‐MO LLC                 $0.00
                                       Agreement
   604      Fuel Supply Agreement      FUEL SUPPLY AGREEMENT                  PINAK PATEL                   Mountain Express Oil Company      $0.00

                                       SECOND AMENDMENT OF PETROLEUM PINAL DANTARA | SS CANTON USA
   161      Fuel Supply Agreement                                                                           Mountain Express Oil Company      $0.00
                                       PRODUCTS SUPPLY AGREEMENT     INC | MALIKA KESHWANI

116 | 395 Prime Lease (Multi‐Site)     LEASE AGREEMENT                        PINE MEX OH 2 LLC             Mountain Express Oil Company      $0.00

116 | 395 Prime Lease (Multi‐Site)     LEASE AGREEMENT                        PINE MEX OH 2, LLC            Mountain Express Oil Company      $0.00
111 | 174 |
            Prime Lease (Multi‐Site)   LEASE AGREEMENT                        PINE MEX OH, LLC              Mountain Express Oil Company      $0.00
   734
                                       FIRST AMENDMENT OF COMMERCIAL  PINKYS BAR & GRILL LLC | SONIA
   143      Sublease                                                                                        Mountain Express Oil Company      $0.00
                                       LEASE                          TURNER | TROY NEAL
                                       FOURTH AMENDMENT OF COMMERCIAL PINKYS BAR & GRILL LLC | SONIA
   143      Sublease                                                                                        Mountain Express Oil Company      $0.00
                                       LEASE                          TURNER | TROY NEAL
                                       FOURTH AMENDMENT OF COMMERCIAL PINKYS BAR & GRILL LLC | SONIA
   143      Sublease                                                                                        Mountain Express Oil Company      $0.00
                                       LEASE                          TURNER | TROY NEAL

                                                                              71 of 98
                Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 76 of 102
 Store
         Contract Type               Title                              Counterparty                    Debtor Entity                       Est. Cure
Number
                                     SIXTH AMENDMENT OF COMMERCIAL PINKYS BAR & GRILL LLC | SONIA
 143     Sublease                                                                                        Mountain Express Oil Company        $0.00
                                     LEASE                          TURNER | TROY NEAL
                                     SEVENTH AMENDMENT OF           PINKYS BAR & GRILL LLC | SONIA
 143     Sublease                                                                                        Mountain Express Oil Company        $0.00
                                     COMMERCIAL LEASE               TURNER | TROY NEAL
                                     SEVENTH AMENDMENT OF           PINKYS BAR & GRILL LLC | SONIA
 143     Sublease                                                                                        Mountain Express Oil Company        $0.00
                                     COMMERCIAL LEASE               TURNER | TROY NEAL
                                     NINTH AMENDMENT OF COMMERCIAL PINKYS BAR & GRILL LLC | SONIA
 143     Sublease                                                                                        Mountain Express Oil Company        $0.00
                                     LEASE                          TURNER | TROY NEAL
                                     ELEVENTH AMENDMENT OF          PINKYS BAR & GRILL LLC | SONIA
 143     Sublease                                                                                        Mountain Express Oil Company        $0.00
                                     COMMERCIAL LEASE               TURNER | TROY NEAL
                                     TWELTH AMENDMENT OF COMMERCIAL PINKYS BAR & GRILL LLC | SONIA
 143     Sublease                                                                                        Mountain Express Oil Company        $0.00
                                     LEASE                          TURNER | TROY NEAL
                                     SECOND AMENDMENT OF COMMERCIAL PINKYS BAR & GRILL LLC | SONIA
 143     Sublease                                                                                        Mountain Express Oil Company        $0.00
                                     LEASE                          TURNER AND TROY NEAL
                                     TENTH AMENDMENT OF COMMERCIAL PINKYS BAR & GRILL LLC | TROY
 143     Sublease                                                                                        Mountain Express Oil Company        $0.00
                                     LEASE                          NEAL | SONIA TURNER
                                                                    PINKYS BAR AND GRILL LLC | SONIA
 143     Sublease                    COMMERCIAL LEASE                                                    Mountain Express Oil Company        $0.00
                                                                    TURNER | TROY NEAL
                                                                    PIW USA INC | AHMED ABDULLA
 3258    Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                               Mountain Express Oil Company        $0.00
                                                                    BHADIGIA
                                                                                                        Star Mountain Express, LLC (as
 868     Fuel Supply Agreement       FUEL DISPENSING LEASE AGREEMENT    PIXAR INVESTMENT INC                                                 $0.00
                                                                                                        assignee of Star Fuels, Inc.)
                                     AMENDED AND RESTATED FUEL SUPPLY
 967     Fuel Supply Agreement                                          PLAINVIEW FUEL INC               MEX Fuels NE‐NY LLC                 $0.00
                                     AGREEMENT
                                     AMENDED AND RESTATED
 967     Sublease                                                       PLAINVIEW FUEL INC               MEX RE‐NE‐NY‐LI LLC                 $0.00
                                     COMMERCIAL LEASE
                                     FIRST AMENDMENT TO PETROLEUM       PLATINUM DISTRIBUTING GROUP
 531     Fuel Supply Agreement                                                                           Mountain Express Oil Company        $0.00
                                     PRODUCTS SUPPLY AGREEMENT          INC AND HARPEET SINGH
                                     SECOND AMENDMENT OF PETROLEUM PLATINUM DISTRIBUTING GROUP
 531     Fuel Supply Agreement                                                                           Mountain Express Oil Company        $0.00
                                     PRODUCTS SUPPLY AGREEMENT     INC AND HARPEET SINGH
                                     PETROLEUM PRODUCTS SUPPLY          PLATINUM DISTRIBUTING GROUP,
 531     Fuel Supply Agreement                                                                           Mountain Express Oil Company        $0.00
                                     AGREEMENT                          INC | HARPEET SINGH
                                                                        POC USA INC | JOHAINA
 538     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                               Mountain Express Oil Company        $0.00
                                                                        POONAWALLA
                                                                                                         Mountain Express Oil Company
                                     AMENDMENT TO AND MEMORANDUM
 628     Prime Lease (Single Site)                               POLLY CURRY                            (as successor‐in‐interest to E&M     $0.00
                                     OF LEASE
                                                                                                        Oil Company LLC)
                                                                                                        DT ‐ Mountain Express Oil
                                                                        POLLY CURRY (AS SUCCESSOR‐IN‐   Company (as successor‐in‐
 628     Prime Lease (Single Site)   LEASE AGREEMENT                                                                                         $0.00
                                                                        INTEREST TO JAMES O. YOUNG)     interest to Security Oil Company,
                                                                                                        Inc.)
                                     ADDENDUM 3 TO THE SERVICE          PORSCHE CARS NORTH AMERICA
 300     Fuel Supply Agreement                                                                           Mountain Express Oil Company        $0.00
                                     AGREEMENT                          INC
                                     ADDENDUM 4 TO THE SERVICE          PORSCHE CARS NORTH AMERICA
 300     Fuel Supply Agreement                                                                           Mountain Express Oil Company        $0.00
                                     AGREEMENT                          INC
                                     ADDENDUM #1 TO THE SERVICE         PORSCHE CARS NORTH AMERICA
 300     Fuel Supply Agreement                                                                           Mountain Express Oil Company        $0.00
                                     AGREEMENT                          INC
                                     ADDENDUM #2 TO THE SERVICE         PORSCHE CARS NORTH AMERICA
 300     Fuel Supply Agreement                                                                           Mountain Express Oil Company        $0.00
                                     AGREEMENT                          INC
                                     PETROLEUM PRODUCTS SUPPLY          PORSCHE CARS NORTH AMERICA
 300     Fuel Supply Agreement                                                                           Mountain Express Oil Company        $0.00
                                     AGREEMENT                          INC
                                     AMENDED AND RESTATED
 973     Sublease                                                       PORT JEFFERSON FUEL INC          MEX RE‐NE‐NY‐LI LLC                 $0.00
                                     COMMERCIAL LEASE
                                     AMENDED AND RESTATED FUEL SUPPLY
 973     Fuel Supply Agreement                                          PORT JEFFERSON FUEL, INC         MEX Fuels NE‐NY LLC                 $0.00
                                     AGREEMENT
 534     Fuel Supply Agreement       ADDENDUM TO JOBBER ' AGREEMENT     PPBB LLC AND CHIRANJI SHARMA     Mountain Express Oil Company        $0.00
                                     PETROLEUM PRODUCTS SUPPLY
 534     Fuel Supply Agreement                                          PPBB, LLC | CHIRANJI SHARMA      Mountain Express Oil Company        $0.00
                                     AGREEMENT
  62     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT              PRABH LLC | SHER SINGH           Mountain Express Oil Company        $0.00

  62     Sublease                    COMMERCIAL LEASE                   PRABH LLC | SHER SINGH           Mountain Express Oil Company        $0.00

  63     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT              PRABH LLC | SHER SINGH           Mountain Express Oil Company        $0.00

  63     Sublease                    COMMERCIAL LEASE                   PRABH LLC | SHER SINGH           Mountain Express Oil Company        $0.00

                                                                        PRADIP BHATT | HR 24ENTERPRISE,
                                     FIRST AMENDMENT OF PETROLEUM
 304     Fuel Supply Agreement                                          INC | KUNJ CONSTRUCTION USA INC Mountain Express Oil Company         $0.00
                                     PRODUCTS SUPPLY AGREEMENT
                                                                        | ASHOK KUMAR PATEL


                                                                        72 of 98
                  Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 77 of 102
 Store
           Contract Type           Title                               Counterparty                       Debtor Entity                     Est. Cure
Number
                                                                       PREFERED FUEL LLC | KAZI AYESHA
  925      Sublease                COMMERCIAL LEASE                                                       Mountain Express Oil Company       $0.00
                                                                       SHAHADAT
                                                                       PREFERED FUEL LLC | KAZI AYESHA
  925      Rebate Agreement        REBATE AGREEMENT                                                       Mountain Express Oil Company       $0.00
                                                                       SHAHADAT
                                   FIRST AMENDMENT OF REBATE           PREFERED FUEL LLC | KAZI AYESHA
  925      Rebate Agreement                                                                               Mountain Express Oil Company       $0.00
                                   AGREEMENT                           SHAHADAT
                                                                       PREFERRED FUEL LLC | KAZI AYESHA
  925      Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                                  Mountain Express Oil Company       $0.00
                                                                       SHAHADAT
                                   FIRST AMENDMENT OF COMMERCIAL       PREMIER PIZZA, INC | VRMMM
  742      Sublease                                                                                       Mountain Express Oil Company       $0.00
                                   LEASE                               PIZZA, LLC | GRANT FORD
                                                                                                          Mountain Express Oil Company
  742      Sublease                COMMERCIAL LEASE                    PREMIER PIZZA, INC.                                                   $0.00
                                                                                                          Southeast, LLC
                                                                                                        Mountain Express Oil Company
 2008      Fuel Supply Agreement   Supply Agreement                    PREMJEE CO LLC DBA RED AND LIDS (as successor‐in‐interest to Moore    $0.00
                                                                                                       Petroleum Co., Inc.)
                                   THIRD AMENDMENT OF COMMERCIAL
  792      Sublease                                                    PRIKRIT INC | HASMUKLAL PATEL      Mountain Express Oil Company       $0.00
                                   LEASE
                                   FIFTH AMENDMENT OF COMMERCIAL
  792      Sublease                                                    PRIKRIT INC | HASMUKLAL PATEL      Mountain Express Oil Company       $0.00
                                   LEASE
                                   AMENDED AND RESTATED FUEL SUPPLY
  965      Fuel Supply Agreement                                       PRIME PETRO INC                    MEX Fuels NE‐NY LLC                $0.00
                                   AGREEMENT
                                   AMENDED AND RESTATED
  965      Sublease                                                    PRIME PETRO INC                    MEX RE‐NE‐NY‐LI LLC                $0.00
                                   COMMERCIAL LEASE
                                   THIRD AMENDMENT OF COMMERCIAL
  555      Sublease                                                    PRISCILLA LY | KIM FIKUS           MEX North Alabama, LLC              $0.00
                                   LEASE
                                   FIRST AMENDMENT OF COMMERCIAL       PRITPAL GULRI | FINER FOOD
           Sublease                                                                                       Mountain Express Oil Company       $0.00
                                   LEASE                               SERVICES LLC | NAVJIT AHLUWALIA
                                                                       PRITPAL GULRI | FREEWAY STORES
  921      Sublease                COMMERCIAL LEASE                                                       Mountain Express Oil Company       $0.00
                                                                       AR LLC | NAVJIT AHLUWALIA |
                                                                       PROFESSIONAL DATA SOLUTIONS
           Vendor Agreement        HOSTING SERVICES AGREEMENT                                             Mountain Express Oil Company       $0.00
                                                                       INC
  600      Vendor Agreement        PDI MASTER SERVICES AGREEMENT       PROFESSIONAL DATASOLUTIONS INC Mountain Express Oil Company           $0.00
                                   PDI Master Software License Agreement
  600      Vendor Agreement                                              PROFESSIONAL DATASOLUTIONS INC Mountain Express Oil Company        $2,008.65
                                   (“MSLA”)
Not Site                           MASTER SOFTWARE LICENSE               PROFESSIONAL DATASOLUTIONS INC
           Vendor Agreement                                                                             Mountain Express Oil Company         $0.00
Specific                           ADDENDUM                              DBA PDI
                                   MASTER SOFTWARE LICENSE               PROFESSIONAL DATASOLUTIONS INC
           Vendor Agreement                                                                             Mountain Express Oil Company         $0.00
                                   ADDENDUM                              DBA PDI
  897      Fuel Supply Agreement   MASTER FUEL SUPPLY AGREEMENT        PROTEC FUEL MANAGEMENT, LLC        Mountain Express Oil Company       $0.00
                                                                       PUNYA INC | JAGRUTIBEN HIREN
  964      Sublease                COMMERCIAL LEASE                                                       Mountain Express Oil Company       $0.00
                                                                       SHAH
                                                                       PUNYA INC | JAGRUTIBEN HIREN
  964      Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                                  Mountain Express Oil Company       $0.00
                                                                       SHAH
                                   FIRST AMENDMENT TO PETROLEUM        PURE 9 LLC | MUHAMMAD ZAHID
  283      Fuel Supply Agreement                                                                          Mountain Express Oil Company       $0.00
                                   PRODUCTS SUPPLY AGREEMENT           SALEEM | ALIYA WASEEM
                                   PETROLEUM PRODUCT S SUPPLY          PURE 9, LLC | MUHAMMAD ZAHID
  283      Fuel Supply Agreement                                                                          Mountain Express Oil Company       $0.00
                                   AGREEMENT                           SALEEM
           Purchase and Sale
                                   PURCHASE AND SALE AGREEMENT         PYCO 2 MARLTON PIKE LLC            MEX RE Holdings LLC                $0.00
           Agreement
                                   MIDSTATE DISTRIBUTING INC                                               Mountain Express Oil Company
  666      Fuel Supply Agreement   PETROLEUM SUPPLY CONTRACT           QADIR INC                          (as assignee of Midstate           $0.00
                                   (BRANDED)                                                              Distributing Inc.)
 3060      QSR/Franchise Agreement UNIT FRANCHISE AGREEMENT            QUALITY IS OUR RECIPE LLC          West Hill Ranch Group LLC          $0.00

 3060      QSR/Franchise Agreement FRANCHISE AGREEMENT AMENDMENT       QUALITY IS OUR RECIPE LLC          West Hill Ranch Group LLC          $0.00
                                   MOUNTAIN EXPRESS ADDENDUM
 3060      QSR/Franchise Agreement                                     QUALITY IS OUR RECIPE LLC          West Hill Ranch Group LLC          $0.00
                                   AGREEMENT
                                                                       QUALITY J/N SIGNS AND OUTDOOR
  555      Sublease                LEASE AGREEMENT                                                        Mountain Express Oil Company       $0.00
                                                                       ADVERTISING LLC
                                                                       QUICK CHECK MART 2 LLC | KHALED
 3410      Sublease                COMMERCIAL LEASE                                                       MEX RE‐SW‐LA LLC                   $0.00
                                                                       NAGI
                                                                       QUICK CHECK MART 2 LLC | KHALED
 3410      Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                                  MEX Fuels SW‐LA LLC                $0.00
                                                                       NAGI
                                                                       QUICK CHECK MART 4 LLC |
 3112      Sublease                COMMERCIAL LEASE                                                       MEX RE‐SW‐LA LLC                   $0.00
                                                                       MOHAMED ISMAIL
                                                                       QUICK CHECK MART 4 LLC |
 3112      Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                                  MEX Fuels SW‐LA LLC                $0.00
                                                                       MOHAMMED ISMAIL
                                                                       QUICK CHECK MART LLC | KHALED
 3115      Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                                  MEX Fuels SW‐LA LLC                $0.00
                                                                       NAGI
                                                                       QUICK CHECK MART LLC | KHALED
 3115      Sublease                COMMERCIAL LEASE                                                       MEX RE‐SW‐LA LLC                   $0.00
                                                                       NAGI
                                                                       73 of 98
               Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 78 of 102
 Store
         Contract Type           Title                              Counterparty                   Debtor Entity                       Est. Cure
Number
                                                                 QUIK FUEL LEXINGTON INC | GAMIL
 3022    Sublease                COMMERCIAL LEASE                                                 MEX RE‐SE‐NC LLC                      $0.00
                                                                 YAHYA ALJARADI
                                                                 QUIK FUEL LEXINGTON INC | GAMIL
 3022    Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                            Mountain Express Oil Company          $0.00
                                                                 YAHYA ALJARADI
                                                                 R AND R EXPRESS INC | HASHIM
 692     Sublease                COMMERCIAL LEASE                                                 Mountain Express Oil Company          $0.00
                                                                 MOHAMMED ABDO AL MONSTIR
                                                                 R AND R EXPRESS INC | HASHIM
 3676    Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                            Mountain Express Oil Company          $0.00
                                                                 MOHAMMED ABDO AL MONSTIR
                                                                 R AND R EXPRESS INC | HASHIM
 3676    Sublease                COMMERCIAL LEASE                                                 Mountain Express Oil Company          $0.00
                                                                 MOHAMMED ABDO AL MONSTIR
                                                                 R SNACK N POP STORE LLC | NILESH
 172     Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                            Mountain Express Oil Company          $0.00
                                                                 B PATEL
                                                                 R SNACK N POP STORE LLC | NILESH
 172     Equipment Lease         EQUIPMENT LEASE AGREEMENT                                        Mountain Express Oil Company         $4,389.26
                                                                 B PATEL
                                                                 R SNACK N POP STORE LLC | NILESH
 172     Sublease                COMMERCIAL LEASE                                                 Mountain Express Oil Company          $0.00
                                                                 BPATEL
                                                                 R&R EXPRESS INC | HASHIM
 692     Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                            Mountain Express Oil Company          $0.00
                                                                 MOHAMMED ABDO AL‐MONSTIR
                                 PETROLEUM PRODUCTS SUPPLY       RABISN LLC | GURSIMRAN PAL
 592     Fuel Supply Agreement                                                                    Mountain Express Oil Company          $0.00
                                 AGREEMENT                       SINGH RAINA
                                                                 RADHI BROADWAY CORPORATION |
 854     Fuel Supply Agreement   ACKNOWLEDGEMENT LETTER                                           Mountain Express Oil Company          $0.00
                                                                 HEENA V JETHVA
                                                                 RADHI BROADWAY CORPORATION
 854     Fuel Supply Agreement   FUEL SUPPLY AGREEMENT           DBA PEARLAND K FOOD MART |       Mountain Express Oil Company          $0.00
                                                                 HEENA V. JETHVA
                                                                 RADHI BROADWAY CORPORATION
                                 FIRST AMENDMENT OF FUEL SUPPLY
 854     Fuel Supply Agreement                                   DBA PEARLAND K FOOD MART |       Mountain Express Oil Company          $0.00
                                 AGREEMENT
                                                                 HEENA V. JETHVA
                                                                 RAHEELA RAZA INCORPORATED
                                 PETROLEUM PRODUCTS SUPPLY
 887     Fuel Supply Agreement                                   D/B/A RAHEELA FOOD MART | SYED Mountain Express Oil Company            $0.00
                                 AGREEMENT
                                                                 HUSSAIN NAQVI
                                                                 RAHEELA RAZA INCORPORATED DBA
                                 SECOND AMENDMENT TO PETROLEUM
 887     Fuel Supply Agreement                                   RAHEELA FOOD MART | SYED         Mountain Express Oil Company          $0.00
                                 PRODUCTS SUPPLY AGREEMENT
                                                                 HUSSAIN NAQVI
                                                                 RAHEELA RAZA INCORPORATED DBA
                                 FIRST AMENDMENT TO PETROLEUM
 887     Fuel Supply Agreement                                   RAHEELA FOOD MART | SYED         Mountain Express Oil Company          $0.00
                                 PRODUCTS SUPPLY AGREEMENT
                                                                 HUSSAIN NAQVI
                                                                 RAHEELA RAZA INCORPORATED DBA
                                 PETROLEUM PRODUCTS SUPPLY
 887     Fuel Supply Agreement                                   RAHEELA FOOD MART AND SYED       Mountain Express Oil Company          $0.00
                                 AGREEMENT
                                                                 HUSSAIN NAQVI
                                 FIRST AMENDMENT OF COMMERCIAL   RAHIM VIRANI | DJ 2020 INC |
  14     Fuel Supply Agreement                                                                    Mountain Express Oil Company          $0.00
                                 LEASE AND FUEL SUPPLY AGREEMENT SANJAY DINMOHAMAD KADIWAL
                                                                 RAHMAN MAHBUR | MMFL FLORIDA Mountain Express Oil Company
 709     Sublease                COMMERCIAL LEASE                                                                                       $0.00
                                                                 LLC                              Southeast, LLC
                                                                                                    Mountain Express Oil Company
                                 OKLAHOMA COMMERCIAL LEASE         RAHMATULLYA FESHANI AND MD
 3125    Sublease                                                                                  (as successor‐in‐interest to 4417    $0.00
                                 AGREEMENT                         RAIHAN ALI
                                                                                                   QUICK STOP LLC)
                                 SECOND AMENDMENT OF MOTOR FUEL RAIHAN FOOD & GAS INC |
  36     Fuel Supply Agreement   SUPPLY AND COMMISSIONED SALES  NAVINBHAI PATEL | AMEYA         Mountain Express Oil Company            $0.00
                                 AGREEMENT                      ENTERPRISES INC | SANJAY AHUJA
                                                                RAIHAN FOOD & GAS INC |
                                 THIRD AMENDMENT OF COMMERCIAL
  36     Sublease                                               NAVINBHAI PATEL | AMEYA         Mountain Express Oil Company            $0.00
                                 LEASE
                                                                ENTERPRISES INC | SANJAY AHUJA
                                 FIRST AMENDMENT OF MOTOR FUEL
                                                                RAIHAN FOOD GAS INC | NAVINBHAI
  36     Fuel Supply Agreement   SUPPLY AND COMMISSIONED SALES                                  Mountain Express Oil Company            $0.00
                                                                PATEL
                                 AGREEMENT
                                                                RAINA RAKIN ENTERPRISES LLC |
                                 AMENDMENT TO AND ASSIGNMENT OF
                                                                FNU SHAHJAHAN |
  38     Fuel Supply Agreement   PETROLEUM PRODUCTS SUPPLY                                      Mountain Express Oil Company            $0.00
                                                                SWAMI ENTERPRISES, INC. |
                                 AGREEMENT
                                                                SAUMIL PATEL
                                                                RAINA RAKIN ENTERPRISES LLC |
                                 SECOND AMENDMENT OF PETROLEUM
  38     Fuel Supply Agreement                                  RNU SHAHJAHAN | AMEYA           Mountain Express Oil Company            $0.00
                                 PRODUCTS SUPPLY AGREEMENT
                                                                WOODSTOCK INC | JYOTI AHUJA
                                 PETROLEUM PRODUCTS SUPPLY      RAINA SINGH LLC | HARGURTAG
 591     Fuel Supply Agreement                                                                  Mountain Express Oil Company            $0.00
                                 AGREEMENT                      SINGH
                                 PETROLEUM PRODUCTS SUPPLY
 155     Fuel Supply Agreement                                  RAJA THAPA | JAI BAGLAMUKHI LLC Mountain Express Oil Company            $0.00
                                 AGREEMENT
                                 FIRST AMENDMENT TO PETROLEUM
 155     Fuel Supply Agreement                                  RAJU THAPA|JAI BAGLAMUKHI LLC   Mountain Express Oil Company            $0.00
                                 PRODUCTS SUPPLY AGREEMENT
                                                                RAKESHKUMAR PATEL |
 737     Fuel Supply Agreement   FUEL SUPPLY AGREEMENT          HARESHKUMAR PATEL | RAJESH      Mountain Express Oil Company            $0.00
                                                                PATEL | HPRP TOLEDO LLC



                                                                   74 of 98
                 Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 79 of 102
 Store
          Contract Type               Title                             Counterparty                     Debtor Entity                    Est. Cure
Number
                                                                        RAKESHKUMAR PATEL |
  737     Sublease                    COMMERCIAL LEASE                  HARESHKUMAR PATEL | RAJESH       Mountain Express Oil Company       $0.00
                                                                        PATEL | HPRP TOLEDO LLC
                                                                        RAKESHKUMAR PATEL |
  737     Equipment Lease             EQUIPMENT LEASE AGREEMENT         HARESHKUMAR PATEL | RAJESH       Mountain Express Oil Company      $710.82
                                                                        PATEL | HPRP TOLEDO LLC
                                      FIRST AMENDMENT OF FUEL SUPPLY
  1945    Fuel Supply Agreement                                         RAMI CHALHOUB | JOUNIEH2 LLC     Mountain Express Oil Company       $0.00
                                      AGREEMENT
                                                                        RAMZAN MOSANI | MOSANI
                                      FIRST AMENDMENT OF MOTOR FUEL
                                                                        INVESTMENTS INC | NEW
  516     Fuel Supply Agreement       SUPPLY AND COMMISSIONED SALES                                     Mountain Express Oil Company        $0.00
                                                                        PASADENA INVESTMENTS INC | ANIL
                                      AGREEMENT
                                                                        D POPATIYA
                                                                        RAMZAN MOSANI | MOSANI
                                                                        INVESTMENTS INC | NEW
                                      ASSIGNMENT OF PETROLEUM
  516     Fuel Supply Agreement                                         PASADENA INVESTMENTS INC | ANIL Mountain Express Oil Company        $0.00
                                      PRODUCTS SUPPLY AGREEMENT
                                                                        D POPATIYA | NAWAZ SAYANI |
                                                                        SECOND LAREDO STORE INC
                                                                        RAMZAN MOSANI AND MOSANI
                                      PETROLEUM PRODUCTS SUPPLY
  517     Fuel Supply Agreement                                         INVESTMENTS, INC AND NEW         Mountain Express Oil Company       $0.00
                                      AGREEMENT
                                                                        PASADENA INVESTMENTS, INC.,
                                                                        RAMZAN MOSANI AND MOSANI
                                      PETROLEUM PRODUCTS SUPPLY
  518     Fuel Supply Agreement                                         INVESTMENTS, INC AND NEW         Mountain Express Oil Company       $0.00
                                      AGREEMENT
                                                                        PASADENA INVESTMENTS, INC.,
                                                                        RAXIT PATEL | 95 NASCAR BLVD LLC
                                      FIRST AMENDMENT OF FUEL SUPPLY
  384     Fuel Supply Agreement                                         | AMITA1974 INC | AMITABEN M.    Mountain Express Oil Company       $0.00
                                      AGREEMENT
                                                                        PATEL
                                                                        RAZMAN MOSANI | MOSANI
  516     Sublease                    COMMERCIAL LEASE                  INVESTMENTS INC | NEW            Texas MEX Limited Company, LLC     $0.00
                                                                        PASADENA INVESTMENTS INC
                                                                        RAZMAN MOSANI | MOSANI
  517     Sublease                    COMMERCIAL LEASE                  INVESTMENTS INC | NEW            Texas MEX Limited Company, LLC     $0.00
                                                                        PASADENA INVESTMENTS INC
                                                                        RAZMAN MOSANI | MOSANI
  518     Rebate Agreement            REBATE AGREEMENT                  INVESTMENTS INC | NEW            Texas MEX Limited Company, LLC     $0.00
                                                                        PASADENA INVESTMENTS INC
                                                                        RAZMAN MOSANI | MOSANI
                                      FIRST AMENDMENT OF MOTOR FUEL
                                                                        INVESTMENTS INC | NEW
  518     Fuel Supply Agreement       SUPPLY AND COMMISSIONED SALES                                      Mountain Express Oil Company       $0.00
                                                                        PASADENA INVESTMENTS INC | ANIL
                                      AGREEMENT (“Amendment”)
                                                                        D POPATIYA
  738     Prime Lease (Single Site)   MASTER LEASE AGREEMENT            RCPOH2, LLC                      Mountain Express Oil Company       $0.00
                                                                        RED BAY TOBACCO MART INC |
  566     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                              Mountain Express Oil Company       $0.00
                                                                        NAJRAN SALEH ALNAJJAR
                                      FIRST AMENDMENT OF PETROLEUM      RED BAY TOBACCO MART INC |
  566     Fuel Supply Agreement                                                                          Mountain Express Oil Company       $0.00
                                      SUPPLY AGREEMENT                  NAJRAN SALEH ALNAJJAR
                                                                        RED BAY TOBACCO MART INC |
  566     Sublease                    COMMERCIAL LEASE                                                   Mountain Express Oil Company       $0.00
                                                                        NAJRAN SALEH ALNAJJAR
                                      COOPERATIVE MERCHANDISING
          Vendor Agreement                                              RED BULL NORTH AMERICA INC       West Hill Ranch Group LLC        $79,430.85
                                      AGREEMENT
                                      MOTOR FUEL SUPPLY AND
  576     Fuel Supply Agreement                                         REDAN CHEVRON LLC                Mountain Express Oil Company       $0.00
                                      COMMISSIONED SALES AGREEMENT
                                                                        REDP LAREDO HOLDINGS LLC (AS
  515     Prime Lease (Single Site)   LEASE AGREEMENT                   SUCCESSOR‐IN‐INTEREST TO VAULT Texas MEX Limited Company, LLC       $0.00
                                                                        CS LAFAYETTE LLC)
                                                                        REFUEL EXPRESS LLC (AS SUCCESSOR‐
  927     Prime Lease (Single Site)   MASTER LEASE AGREEMENT            IN‐INTEREST TO TAYLOR             Mountain Express Oil Company      $0.00
                                                                        MERCANTILE LLC)
                                      FIRST AMENDMENT OF PETROLEUM      REGAL FOOD MART LLC | MOHSIN
  445     Fuel Supply Agreement                                                                           Mountain Express Oil Company      $0.00
                                      PRODUCTS SUPPLY AGREEMENT         MOHAMMED
                                      MOTOR FUEL SUPPLY AND
  447     Fuel Supply Agreement                                         REHMAT MERCHANT                  Mountain Express Oil Company       $0.00
                                      COMMISSIONED SALES AGREEMENT
                                                                       RELIABLE FOOD AND FUEL INC | MD
  596     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                              Mountain Express Oil Company       $0.00
                                                                       SHANA ULLAHA
                                                                       RELIABLE FOOD AND FUEL INC | MD
  596     Sublease                    COMMERCIAL LEASE                                                   Mountain Express Oil Company       $0.00
                                                                       SHANA ULLAHA
                                                                       RELIABLE FOOD AND FUEL INC | MD
  598     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                              Mountain Express Oil Company       $0.00
                                                                       SHANA ULLAHA
                                                                       RELIABLE FOOD AND FUEL INC | MD
  598     Sublease                    COMMERCIAL LEASE                                                   Mountain Express Oil Company       $0.00
                                                                       SHANA ULLAHA
                                                                       RELIABLE FOOD AND FUEL INC | MD
596 | 598 Sublease                    CREDIT CARD SETTLEMENT AGREEMENT                                   Mountain Express Oil Company       $0.00
                                                                       SHANA ULLAHA
                                                                       RELIABLE FOOD AND FUEL INC | MD
596 | 598 Sublease                    MASTER AGREEMENT                                                   Mountain Express Oil Company       $0.00
                                                                       SHANA ULLAHA


                                                                        75 of 98
                Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 80 of 102
 Store
         Contract Type               Title                             Counterparty                       Debtor Entity                     Est. Cure
Number
                                     MOTOR FUEL SUPPLY AND
 701     Fuel Supply Agreement                                         RENISH ISHANI                      Mountain Express Oil Company       $0.00
                                     COMMISSIONED SALES AGREEMENT
                                     FIRST AMENDMENT OF MOTOR FUEL
                                                                                                          Mountain Express Oil Company
 701     Fuel Supply Agreement       SUPPLY AND COMMISSIONED SALES     RENISH ISHANI                                                         $0.00
                                                                                                          Southeast, LLC
                                     AGREEMENT
                                     FIRST AMENDMENT OF COMMERCIAL
 701     Sublease                                                      RENISH ISHANI                      Mountain Express Oil Company       $0.00
                                     LEASE
 701     Sublease                    COMMERCIAL LEASE                  RENISH ISHANI                      Mountain Express Oil Company       $0.00
                                                                       REX FOODMART LLC | ZAIN S
 639     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                Mountain Express Oil Company       $0.00
                                                                       SOHANI
                                                                       REX FOODMART LLC | ZAIN S
 639     Sublease                    COMMERCIAL LEASE                                                     Mountain Express Oil Company       $0.00
                                                                       SOHANI
                                     MOTOR FUEL SUPPLY AND
 297     Fuel Supply Agreement                                         REZA KABA                          Mountain Express Oil Company       $0.00
                                     COMMISSIONED SALES AGREEMENT
                                     FIRST AMENDMENT OF MOTOR FUEL
                                                                       REZA KABA | JALIA GROUP LLC |
 297     Fuel Supply Agreement       SUPPLY AND COMMISSIONED SALES                                        Mountain Express Oil Company       $0.00
                                                                       SURESHBHAI PATEL
                                     AGREEMENT
                                                                       RICHARD FRANCIS SAPPINGTON JR |
 163     Prime Lease (Single Site)   MASTER LEASE AGREEMENT                                            Mountain Express Oil Company          $0.00
                                                                       NANCY S SAPPINGTON
                                     MOTOR FUEL SUPPLY AND             RIGHT BUSINESS INC | ARSHAD ALI
 282     Fuel Supply Agreement                                                                         Mountain Express Oil Company          $0.00
                                     COMMISSIONED SALES AGREEMENT      KHAN
                                     CONFIRMATION NOTICE EXERCISING
                                     THE CUSTOMERS RIGHT TO CONVERT    RIGHT BUSINESS INC | ARSHAD ALI
 282     Fuel Supply Agreement                                                                            Mountain Express Oil Company       $0.00
                                     THE MOTOR FUEL SUPPLY AND         KHAN
                                     COMMISSIONED SALES AGREEMENT
                                                                       RIGHT BUSINESS INC | ARSHAD ALI
                                     FIRST AMENDMENT OF PETROLEUM
 280     Fuel Supply Agreement                                         KHAN | SAHIL LALANI | SS LALANI    Mountain Express Oil Company       $0.00
                                     PRODUCTS SUPPLY AGREEMENT
                                                                       786 LLC
                                                                       RIGHT BUSINESS INC | ARSHAD ALI
                                     FIRST AMENDMENT OF PETROLEUM
 281     Fuel Supply Agreement                                         KHAN | SS LALANI 786 LLC | SAHIL   Mountain Express Oil Company       $0.00
                                     PRODUCTS SUPPLY AGREEMENT
                                                                       LALANI
                                     PETROLEUM PRODUCTS SUPPLY         RIGHT BUSINESS INC AND ARSHAD
 280     Fuel Supply Agreement                                                                            Mountain Express Oil Company       $0.00
                                     AGREEMENT                         ALI KHAN
                                     PETROLEUM PRODUCTS SUPPLY         RIGHT BUSINESS, INC | ARSHAD ALI
 281     Fuel Supply Agreement                                                                            Mountain Express Oil Company       $0.00
                                     AGREEMENT                         KHAN
                                                                                                          Star Mountain Express, LLC (as
 869     Fuel Supply Agreement       FUEL DISPENSING LEASE AGREEMENT   RINZIM INVESTMENTS, INC                                               $0.00
                                                                                                          assignee of Star Fuels, Inc.)

                                                                    RISHI OCEAN 138, LLC | ZOHEB ALI
                                     SECOND AMENDMENT TO MOTOR FUEL MOHAMMED | SHYAM SUNDER
 288     Fuel Supply Agreement       SUPPLY AND COMMISSIONED SALES  THADEPU | R AND V MANAGEMENT Mountain Express Oil Company                $0.00
                                     AGREEMENT                      LLC | SHYAM SUNDER THADEP |
                                                                    VENKATESHWARLU KOYYADA
3029 |
3010 |
3004 |
3033 |
3027 |
3007 |   Purchase and Sale
                                     BROKER COMPENSATION AGREEMENT     RIVER BROKERS LLC                  Mountain Express Oil Company       $0.00
3021 |   Agreement
3026 |
3022 |
3031 |
3023 |
 3028
                                                                       RIYAZ BADRUDDIN KHETANI |
                                     FIRST AMENDMENT OF PETROLEUM
 447     Fuel Supply Agreement                                         REHMAT MERCHANT | SIERRA           Mountain Express Oil Company       $0.00
                                     PRODUCTS SUPPLY AGREEMENT
                                                                       ENTERPRISES USA INC |
                                     THIRD AMENDMENT OF COMMERCIAL
                                                                       RIYZAH LLC | ZOHRA ARIF AMLANI |
 497     Fuel Supply Agreement       LEASE AND MOTOR FUEL SUPPLY AND                                      Mountain Express Oil Company       $0.00
                                                                       ZIYARH LLC | MAYANK N PANDAYA
                                     COMMISSIONED SALES AGREEMENT
                                     MOTOR FUEL SUPPLY AND             RKP ONE LLC AND VANDANABEN
 459     Fuel Supply Agreement                                                                            Mountain Express Oil Company       $0.00
                                     COMMISSIONED SALES AGREEMENT      PATEL
                                                                       RLOTES CASTILLO | IVAN GEOVANI
 3056    Sublease                    COMMERCIAL LEASE                                                     Mountain Express Oil Company       $0.00
                                                                       NAVASARGUETA V
                                                                       RMJ FOOD MART LLC | DAVINDER
 660     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                Mountain Express Oil Company       $0.00
                                                                       SINGH THIND | RAJBIR SINGH
                                                                       RML TRADING LLC | ROBERT M
 3270    Sublease                    COMMERCIAL LEASE                                                     MEX RE‐NW‐ND LLC                   $0.00
                                                                       LEBACKEN | SCOTT FIELD
                                     AMENDED AND EXTENDED                                                  Mountain Express Oil Company
 359     Sublease                    COMMERCIAL REAL ESTATE LEASE      ROLLING ROCK VAPOR III LLC         (as successor‐in‐interest to       $0.00
                                     CONTRACT                                                             Winston Property Ventures, LLC)

                                                                       76 of 98
               Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 81 of 102
 Store
         Contract Type           Title                             Counterparty                     Debtor Entity                  Est. Cure
Number
                                 AMENDED AND RESTATED
 976     Sublease                                                 RONKONKOMA MART INC               MEX RE‐NE‐NY‐LI LLC             $0.00
                                 COMMERCIAL LEASE
                                 AMENDED AND RESTATED FUEL SUPPLY
 976     Fuel Supply Agreement                                    RONKONKOMA MART INC               MEX Fuels NE‐NY LLC             $0.00
                                 AGREEMENT
                                                                  ROOSTER'S TRUCK WASH |
 3202    Sublease                COMMERCIAL LEASE                                                   MEX RE‐NE‐PA LLC                $0.00
                                                                  FREDRICK COLBERT
                                                                  ROYAL 7 C‐STORE INC | TUSHAR
 289     Sublease                COMMERCIAL LEASE                                                   Mountain Express Oil Company    $0.00
                                                                  PATEL
                                 MOTOR FUEL SUPPLY AND            ROYAL 7 C‐STORE INC | TUSHAR
 289     Fuel Supply Agreement                                                                      Mountain Express Oil Company    $0.00
                                 COMMISSIONED SALES AGREEMENT     PATEL
                                                                  ROYAL 7 C‐STORE INC | TUSHAR
                                 FIRST AMENDMENT COMMERCIAL       PATEL | MAHOTSAV USA LLC |
 289     Sublease                                                                                   Mountain Express Oil Company    $0.00
                                 LEASE                            ANISHKUMAR MAHESHKUMAR
                                                                  PATEL
                                                                  ROYAL 7 C‐STORE INC | TUSHAR
                                 FIRST AMENDMENT OF MOTOR FUEL
                                                                  PATEL | MAHOTSAV USA, LLC |
 289     Fuel Supply Agreement   SUPPLY AND COMMSSIONED SALES                                       Mountain Express Oil Company    $0.00
                                                                  ANISHKUMAR MAHESHKUMAR
                                 AGREEMENT
                                                                  PATEL
                                                                  ROYAL 7 C‐STORE INC | TUSHAR
                                                                  PATEL | MAHOTSAV USA, LLC |
                                 THIRD AMENDMENT OF FUEL SUPPLY
 289     Fuel Supply Agreement                                    ANISHKUMAR MAHESHKUMAR            Mountain Express Oil Company    $0.00
                                 AGREEMENT
                                                                  PATEL | AKAS USA LLC | SARMAN
                                                                  MAPCHHAN
                                                                  ROYAL 7 C‐STORE INC | TUSHAR
                                                                  PATEL | MAHOTSAV USA, LLC |
                                 THIRD AMENDMENT OF COMMERCIAL
 289     Sublease                                                 ANISHKUMAR MAHESHKUMAR            Mountain Express Oil Company    $0.00
                                 LEASE
                                                                  PATEL | AKAS USA LLC | SARMAN
                                                                  MAPCHHAN
 114     Equipment Lease         EQUIPMENT LEASE AGREEMENT         RR FOOD AND GAS                  Mountain Express Oil Company   $6,157.79

 114     Fuel Supply Agreement   FUEL SUPPLY AGREEMENT             RR FOOD AND GAS | HITESH YADAV   Mountain Express Oil Company    $0.00

 114     Sublease                COMMERCIAL LEASE                  RR FOOD AND GAS | HITESH YADAV   Mountain Express Oil Company    $0.00
                                 FIRST AMENDMENT OF COMMERCIAL
 114     Sublease                                               RR FOOD AND GAS | HITESH YADAV      Mountain Express Oil Company    $0.00
                                 LEASE
                                 FIRST AMENDMENT OF FUEL SUPPLY
 114     Fuel Supply Agreement                                  RR FOOD AND GAS|HITESH YADAV        Mountain Express Oil Company    $0.00
                                 AGREEMENT
                                 SECOND AMENDMENT OF COMMERCIAL
 114     Sublease                                               RR FOOD AND GAS|HITESH YADAV        Mountain Express Oil Company    $0.00
                                 LEASE
                                                                RRAN USA INC | AHMED ABDULLA
 3264    Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                              Mountain Express Oil Company    $0.00
                                                                BHADIGIA
                                                                RRB USA INC |
 3266    Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                              Mountain Express Oil Company    $0.00
                                                                HMED ABDULLA BHADIGIA
                                 PETROLEUM PRODUCTS SUPPLY      RSS HOLDINGS III INC | SADIQ
 434     Fuel Supply Agreement                                                                      Mountain Express Oil Company    $0.00
                                 AGREEMENT                      MERCHANT
                                 MOTOR FUEL SUPPLY AND          RUMA INVESTMENT LLC | AKM
 286     Fuel Supply Agreement                                                                      Mountain Express Oil Company    $0.00
                                 COMMISSIONED SALES AGREEMENT   SHAHJHAN CHOUDHURY
                                 AMENDMENT TO MOTOR FUEL SUPPLY RUMA INVESTMENT LLC | SKM
 286     Fuel Supply Agreement   AND COMMISSIONED SALES         SHAHJHAN CHOUDHURY |                Mountain Express Oil Company    $0.00
                                 AGREEMENT                      SHAFQUAT CHOUDHURY
                                                                RVICTORY2 LLC | RITESH
                                 PETROLEUM PRODUCTS SUPPLY
 269     Fuel Supply Agreement                                  BHAGWANBHAI PATEL |                 Mountain Express Oil Company    $0.00
                                 AGREEMENT
                                                                JYOTSNABEN RITESH PATEL
                                                                RVICTORY2 LLC | RITESH
                                 PETROLEUM PRODUCTS SUPPLY
 266     Fuel Supply Agreement                                  BHAGWANBHAI PATEL |                 Mountain Express Oil Company    $0.00
                                 AGREEMENT
                                                                VIRATKUMAR M PATEL
                                                                RYSHA MEDLOCK INC | HARSHAD
 241     Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                              Mountain Express Oil Company    $0.00
                                                                JERAM | RIYAZ KHETANI
                                                                RYSHA MEDLOCK INC | HARSHAD
 241     Sublease                COMMERCIAL LEASE                                                   Mountain Express Oil Company    $0.00
                                                                JERAM | RIYAZ KHETANI
                                                                RYTHEM N BOOZE LLC | SANDRA
 3014    Sublease                COMMERCIAL LEASE                                                   MEX RE‐SE‐NC LLC                $0.00
                                                                DAYE
                                                                RZ CREATIONS INC | RAHIM BARKET
 2083    Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                              Mountain Express Oil Company    $0.00
                                                                ALI MINSARIYA
                                                                RZ CREATIONS INC | RAHIM BARKET
 2083    Sublease                COMMERCIAL LEASE                                                   MEX RE‐SE‐AL LLC                $0.00
                                                                ALI MINSARIYA
                                 FIRST AMENDMENT OF COMMERCIAL  RZ CREATIONS INC | RAHIM BARKET
 2083    Sublease                                                                                   MEX RE‐SE‐AL LLC                $0.00
                                 LEASE                          ALI MINSARIYA
                                                                                                    DT ‐ Mountain Express Oil
                                 PETROLEUM SUPPLY CONTRACT
 668     Fuel Supply Agreement                                     S & K OIL CO                     Company (as assignee of Mid‐    $0.00
                                 BRANDED
                                                                                                    State Distributing, Inc.)
 127     Fuel Supply Agreement   FUEL SUPPLY AGREEMENT             S&B ENERGY | SURINDER HUNDAL     Mountain Express Oil Company    $0.00


                                                                   77 of 98
               Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 82 of 102
 Store
         Contract Type           Title                              Counterparty                       Debtor Entity                      Est. Cure
Number
                                 AMENDED AND RESTATED
 127     Sublease                                                   S&B ENERGY LLC                     Mountain Express Oil Company        $0.00
                                 COMMERCIAL LEASE
                                 AMENDMENT TO COMMERCIAL REAL
 457     Sublease                ESTATE LEASE CONTRACT AND SUPPLY   S&G LLC                            Mountain Express Oil Company        $0.00
                                 AGREEMENT
                                 PETROLEUM PRODUCTS SUPPLY
 457     Fuel Supply Agreement                                      S&G LLC | GHIZLANE SAMSOODEEN      Mountain Express Oil Company        $0.00
                                 AGREEMENT
                                 MIDSTATE DISTRIBUTING, INC.                                            Mountain Express Oil Company
 671     Fuel Supply Agreement   PETROLEUM SUPPLY CONTRACT          S&K OIL CO.                        (as assignee of Midstate            $0.00
                                 (BRANDED)                                                             Distributing Inc.)
                                                                    SAADA INVESTMENTS DBA DAVIDS       Star Mountain Express, LLC (as
 847     Fuel Supply Agreement   SUPPLY CONTRACT                                                                                           $0.00
                                                                    CAR CARE                           assignee of Star Fuels, Inc.)

 241     Sublease                COMMERCIAL LEASE                   SABRINA ALANIS                     Mountain Express Oil Company        $0.00
                                                                    SACHCHIYA MATA LLC | MANISH
 3011    Sublease                COMMERCIAL LEASE                                                      MEX RE‐SE‐NC LLC                    $0.00
                                                                    CHOPRA
                                                                    SACHCHIYA MATA LLC | MANISH
 3011    Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                                 Mountain Express Oil Company        $0.00
                                                                    CHOPRA
                                                                    SACHCHIYA MATA LLC | MANISH
 3019    Sublease                COMMERCIAL LEASE                                                      MEX RE‐SE‐NC LLC                    $0.00
                                                                    CHOPRA
                                                                    SACHCHIYA MATA LLC | MANISH
 3019    Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                                 Mountain Express Oil Company        $0.00
                                                                    CHOPRA
                                 PETROLEUM PRODUCTS SUPPLY
 555     Fuel Supply Agreement                                      SADEQ ABDUL ALREFAEI               Mountain Express Oil Company        $0.00
                                 AGREEMENT
 555     Sublease                COMMERCIAL LEASE                   SADEQ ABDUL ALREFAEI               Mountain Express Oil Company        $0.00

 154     Rebate Agreement        REBATE AGREEMENT                   SAFA TX INVESTMENT LLC             Mountain Express Oil Company        $0.00
                                                                  SAFA TX INVESTMENT LLC | SOHIL
 154     Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                                 Mountain Express Oil Company        $0.00
                                                                  MAREDIA
                                 FIRST AMENDMENT OF FUEL SUPPLY   SAFA TX INVESTMENT LLC | SOHIL
 154     Fuel Supply Agreement                                                                         Mountain Express Oil Company        $0.00
                                 AGREEMENT                        MAREDIA
                                                                  SAFA TX INVESTMENT LLC | SOHIL
 154     Sublease                COMMERCIAL LEASE                                                      Mountain Express Oil Company        $0.00
                                                                  MAREDIA
                                 AMENDED AND RESTATED FUEL SUPPLY SAHIB DHANOA LLC | KARAMJIT
  84     Fuel Supply Agreement                                                                         Mountain Express Oil Company        $0.00
                                 AGREEMENT                        DHANOA
                                                                  SAHIB DHANOA LLC | KARAMJIT
  84     Sublease                COMMERCIAL LEASE                                                      MEX RE‐NE‐NJ LLC                    $0.00
                                                                  DHANOA
                                                                  SAHIL SAROJ ENTERPRISES INC |
                                 LANDLORD CONSENT OF NEW
 528     Sublease                                                 KETAN PATEL | BANTI THAKKAR |        Mountain Express Oil Company        $0.00
                                 OWNERSHIP
                                                                  BUFORD DAM VENTURES
                                                                  SAI RAM 0331 LLC | TITHI NAOMI
                                 FOURTH AMENDMENT OF COMMERCIAL
                                                                  LLC | TEJALBEN TEJAS PATEL |
 485     Fuel Supply Agreement   LEASE AND THIRD AMENDMENT OF                                          Mountain Express Oil Company        $0.00
                                                                  CHIRAG PATEL | MEHULKUMAR
                                 FUEL SUPPLY AGREEMENT
                                                                  SHAH | HARDIK PATEL
                                                                                                        Mountain Express Oil Company
                                 COMMERCIAL REAL ESTATE LEASE
 497     Sublease                                                   SAI RAM GAS MART INC               (as successor‐in‐interest to MPS    $0.00
                                 CONTRACT
                                                                                                       Property Ventures, Inc.)
                                 MOTOR FUEL SUPPLY AND              SAI RAM GAS MART INC | SEEMA
 497     Fuel Supply Agreement                                                                         Mountain Express Oil Company        $0.00
                                 COMMISSIONED SALES AGREEMENT       RANI
                                 FIRST AMENDMENT OF MOTOR FUEL
                                                                    SAI RAM GAS MART INC | SEEMA
 497     Fuel Supply Agreement   SUPPLY AND COMMISSIONED SALES                                         Mountain Express Oil Company        $0.00
                                                                    RANI | NEPAL INC. | DINESH SHAH
                                 AGREEMENT
                                 FIRST AMENDMENT OF COMMERCIAL      SAI RAM GAS MART INC | SEEMA
 497     Sublease                                                                                      Mountain Express Oil Company        $0.00
                                 REAL ESTATE LEASE CONTRACT         RANI | NEPAL INC. | DINESH SHAH
                                 MOTOR FUEL SUPPLY AND
  90     Fuel Supply Agreement                                      SAIFAN 201 INVESTMENT LLC          Mountain Express Oil Company        $0.00
                                 COMMISSIONED SALES AGREEMENT
                                                                    SAIFAN 2017 INVESTMENT LLC |
  90     Sublease                COMMERCIAL LEASE                                                      Mountain Express Oil Company        $0.00
                                                                    EMDADUL HAQUE CHOWDHURY
                                                                    SAJJAD ENTERPRISES INC | SAJJAD
 862     Fuel Supply Agreement   ACKNOWLEDGEMENT LETTER                                                Mountain Express Oil Company        $0.00
                                                                    MIAN SIRBAN USA ENTERPRISE INC
                                                                    SAJJAD ENTERPRISES, INC | SAJJAD
 862     Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                                 Mountain Express Oil Company        $0.00
                                                                    MIAN
                                 MOTOR FUEL SUPPLY AND              SALEEM HAJIYANI | NEW ERA
 270     Fuel Supply Agreement                                                                         Mountain Express Oil Company        $0.00
                                 COMMISSIONED SALES AGREEMENT       VENTURES LLC
                                 PETROLEUM PRODUCTS SUPPLY
 136     Fuel Supply Agreement                                      SALIM BUDHWANI                     Mountain Express Oil Company        $0.00
                                 AGREEMENT
                                 MOTOR FUEL SUPPLY AND
 378     Fuel Supply Agreement                                      SALIMA & SANIA INC                 Mountain Express Oil Company        $0.00
                                 COMMISSIONED SALES AGREEMENT
                                 FIRST AMENDMENT OF MOTOR FUEL      SALIMA & SANIA LLC |
 378     Fuel Supply Agreement   SUPPLY AND COMMISIONED SALES       JITENDRAKUMAR D. PATEL | S R       Mountain Express Oil Company        $0.00
                                 AGREEMENT                          11157 LLC
                                                                    78 of 98
                Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 83 of 102
 Store
          Contract Type           Title                                Counterparty                     Debtor Entity                  Est. Cure
Number
                                                                SAMEER LALANI | LILBURNS BLOOM
                                  SECOND AMENDMENT OF PETROLEUM
  396     Fuel Supply Agreement                                 LLC DBA MOBIL QUICKMART |      Mountain Express Oil Company             $0.00
                                  PRODUCTS SUPPLY AGREEMENT
                                                                GEZAHEGN M DEGEF
                                  PETROLEUM PRODUCTS SUPPLY
  590     Fuel Supply Agreement                                       SAMNOSH LLC | GAURAB BASNET       Mountain Express Oil Company    $0.00
                                  AGREEMENT
                                                                      SAMUEL O. OLAJUBUTU | ALICE O     Mountain Express Oil Company
  791     Sublease                COMMERCIAL LEASE                                                                                      $0.00
                                                                      OLAJUBUTU                         Southeast, LLC
                                  MOTOR FUEL SUPPLY AND               SAMUEL O. OLAJUBUTU AND ALICE
  791     Fuel Supply Agreement                                                                         Mountain Express Oil Company    $0.00
                                  COMMISSIONED SALES AGREEMENT        O. OLAJUBUTU
                                  FIRST AMENDMENT OF MASTER
  306     Sublease                                                    SANGIA LLC | MOHEB M YOUSSEF      Mountain Express Oil Company    $0.00
                                  AGREEMENT
306 | 307 Sublease                MASTER AGREEMENT                    SANGIA LLC | MOHEB M YOUSSEF      Mountain Express Oil Company    $0.00

  306     Fuel Supply Agreement   FUEL SUPPLY AGREEMENT               SANGRIA LLC | MOHEB M YOUSSEF     Mountain Express Oil Company    $0.00
                                  FIRST AMENDMENT OF FUEL SUPPLY
  306     Fuel Supply Agreement                                       SANGRIA LLC | MOHEB M YOUSSEF     Mountain Express Oil Company    $0.00
                                  AGREEMENT
  306     Sublease                COMMERCIAL LEASE                    SANGRIA LLC | MOHEB M YOUSSEF     Mountain Express Oil Company    $0.00

                                  SECOND AMENDMENT OF COMMERCIAL SANGRIA LLC | MOHEB M YOUSSEF |
  306     Sublease                                                                               Mountain Express Oil Company           $0.00
                                  LEASE                          NASHWA F ABOYOUSSEF

  307     Fuel Supply Agreement   FUEL SUPPLY AGREEMENT               SANGRIA LLC | MOHEB M. YOUSSEF    Mountain Express Oil Company    $0.00
                                  FIRST AMENDMENT OF FUEL SUPPLY
  307     Fuel Supply Agreement                                       SANGRIA LLC | MOHEB M. YOUSSEF    Mountain Express Oil Company    $0.00
                                  AGREEMENT
  307     Sublease                COMMERCIAL LEASE                    SANGRIA LLC | MOHEB M. YOUSSEF    Mountain Express Oil Company    $0.00

                                  FIRST AMENDMENT COMMERCIAL          SANGRIA LLC | MOHEB M. YOUSSEF
  307     Sublease                                                                                      Mountain Express Oil Company    $0.00
                                  LEASE                               | ANGELA FAITH ABOYOUSSF

                                  FIRST AMENDMENT OF COMMERCIAL       SANGRIA LLC | MOHEB M. YOUSSEF
  306     Sublease                                                                                      Mountain Express Oil Company    $0.00
                                  LEASE                               | NASHWA F ABOYOUSSEF
                                                                      SANGRIA LLC | NASHWA F
  306     Fuel Supply Agreement   UNCONDITIONAL PERSONAL GUARANTY                                       Mountain Express Oil Company    $0.00
                                                                      ABOYOUSSEF
                                  MOTOR FUEL SUPPLY AND
  242     Fuel Supply Agreement                                       SANTA RAI                         Mountain Express Oil Company    $0.00
                                  COMMISSIONED SALES AGREEMENT
                                  FIRST AMENDMENT TO MOTOR FUEL
  242     Fuel Supply Agreement   SUPPLY AND COMMISSIONED SALES       SANTA RAI                         Mountain Express Oil Company    $0.00
                                  AGREEMENT
                                                                  SANUR INVESTMENTS LLC | SOFIYA S
   65     Sublease                COMMERCIAL LEASE                                                 Mountain Express Oil Company         $0.00
                                                                  VIRANI | NARGIS KARIMI
                                                                  SANUR INVESTMENTS LLC | SOFIYA S
   65     Rebate Agreement        REBATE AGREEMENT                                                 Mountain Express Oil Company         $0.00
                                                                  VIRANI | NARGIS KARMI
                                                                  SANUR INVESTMENTS LLC | SOFIYA S
   65     Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                            Mountain Express Oil Company         $0.00
                                                                  VIRANI | NARGIS KARMI
                                                                  SANVI BUSINESS LLC | AAREEN AND
                                  FOURTH AMENDMENT OF MOTOR FUEL
                                                                  NATASHA INC | VIKRAMDIP SINGH |
  109     Fuel Supply Agreement   SUPPLY AGREEMENT AND COMMERCIAL                                  Mountain Express Oil Company         $0.00
                                                                  KALPESH GAMAN JINWALA | AKBER
                                  LEASE
                                                                  PIRANI
          Oil Company Agreement   Motor Fuel Sales Agreement          SARATOGA RACK MARKETING LLC       Mountain Express Oil Company    $0.00
                                                                      SARATOGA RACK MARKETING LLC |
  3270    Oil Company Agreement   GAS PRODUCT SALES AGREEMENT                                           WHRG TC‐NW‐ND LLC               $0.00
                                                                      PILOT TRAVEL CENTERS
                                  Gas Product Sales Agreement (Kansas SARATOGA RACK MARKETING LLC;
          Oil Company Agreement                                                                         WHRG TC‐NW‐KS LLC               $0.00
                                  City, KS)                           PILOT TRAVEL CENTERS LLC
                                  Gas Product Sales Agreement (Pine   SARATOGA RACK MARKETING LLC;
          Oil Company Agreement                                                                         WHRG TC‐NE‐PA LLC               $0.00
                                  Grove, PA)                          PILOT TRAVEL CENTERS LLC
                                                                      SCENIC QUICK STOP LLC | HARSHIT
                                  SECOND AMENDMENT OF FUEL SUPPLY NIRMAL PURI | SIDDHI VINAYAK
  498     Fuel Supply Agreement                                                                         Mountain Express Oil Company    $0.00
                                  AGREEMENT                           CAPITAL LLC | SHAILESH KRISHNALAL
                                                                      SHAH
                                                                      SCENIC QUICK STOP LLC | HARSHIT
                                  THIRD AMENDMENT OF COMMERCIAL NIRMAL PURI | SIDDHI VINAYAK
  498     Sublease                                                                                      Mountain Express Oil Company    $0.00
                                  REAL ESTATE LEASE CONTRACT          CAPITAL LLC | SHAILESH KRISHNALAL
                                                                      SHAH




                                                                      79 of 98
                  Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 84 of 102
   Store
           Contract Type               Title                              Counterparty                    Debtor Entity                  Est. Cure
 Number
  3231 |
  3249 |
  3230 |
  3236 |
  3253 |
  3248 |
  3240 |
  3239 |
  3229 |
  3251 |
  3233 |
           Purchase and Sale           TRANSITION SERVICES AGREEMENT (25 SCHIERL SALES CORP | UNIVERSAL
  3246 |                                                                                                  Mountain Express Oil Company    $0.00
           Agreement                   Sites)                            INC
  3238 |
  3235 |
  3247 |
  3245 |
  3234 |
  3242 |
  3252 |
  3244 |
1484 | 597
 | 3241 |
   3243
  3026     Prime Lease (Single Site)   MASTER LEASE AGREEMENT             SEAGROVE MOUNTAIN EXPRESS LLC Mountain Express Oil Company      $0.00
                                       MOTOR FUEL SUPPLY AND           SEAN TARA PROPERTY LLC | RAHIM
   422     Fuel Supply Agreement                                                                          Mountain Express Oil Company    $0.00
                                       COMMISSIONED SALES AGREEMENT    SUTAR
                                                                       SEAN TARA PROPERTY LLC | RAHIM
                                       FIRST AMENDMENT TO MOTOR FUEL
                                                                       SUTAR | TARA 1941 LLC | VIPUL
   422     Fuel Supply Agreement       AND COMMISSIONED SALES                                             Mountain Express Oil Company    $0.00
                                                                       DALAL | EKATA RUPESH
                                       AGREEMENT
                                                                       BRAHMBHATT
                                                                       SHAHEED MOTANI | AYANA PRIME
   242     Fuel Supply Agreement       UNCONDITIONAL PERSONAL GUARANTY                                    Mountain Express Oil Company    $0.00
                                                                       LLC
                                                                       SHAHNAZ AHMAD FAROOQ |
   133     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                              Mountain Express Oil Company    $0.00
                                                                       BAYGEE LLC
                                       PETROLEUM PRODUCTS SUPPLY
   448     Fuel Supply Agreement                                       SHAHNEWAZ HOSSAIN                  Mountain Express Oil Company    $0.00
                                       AGREEMENT
   448     Sublease                    COMMERCIAL LEASE                   SHAHNEWAZ HOSSAIN               Mountain Express Oil Company    $0.00
                                       FIRST AMENDMENT OF COMMERCIAL
   448     Sublease                                                       SHAHNEWAZ HOSSAIN               Mountain Express Oil Company    $0.00
                                       LEASE
                                       FIRST AMENDMENT OF PETROLUEM       SHAHNEWAZ HOSSAIN | SOMNATH
   448     Fuel Supply Agreement                                                                          Mountain Express Oil Company    $0.00
                                       PRODUCTS SUPPLY AGREEMENT          1 LLC | DENISH NATUBHAI PATEL
                                       SECOND AMENDMENT OF COMMERCIAL SHAHNEWAZHOSSAIN | SOMNATH 1
   448     Sublease                                                                                     Mountain Express Oil Company      $0.00
                                       LEASE                          LLC | DENISH NATUBHAI PATEL
                                                                      SHAKUR ENTERPRISE INC |
                                                                      SHALINAZ LALANI | TABRIK LALANI |
                                       FIRST AMENDMENT OF REBATE      NADIRSHAH MOHANI | SFS 5312
   31      Rebate Agreement                                                                             Mountain Express Oil Company      $0.00
                                       AGREEMENT                      GROUP LLC | SULTAN HUSEIN
                                                                      BADANI | FARHAN WAZIRALI
                                                                      CHAGAN
                                                                      SHAMIMA KARIM | M&I
                                       FIRST AMENDMENT OF PETROLEUM
   354     Fuel Supply Agreement                                      ENTERPRISES 2 LLC | ISHTIAQ       Mountain Express Oil Company      $0.00
                                       PRODUCTS SUPPLY AGREEMENT
                                                                      MOHAMMED | RSK 2020 INC
                                                                     SHAMS U REHMAN | 2630 EMERY
                                       SECOND AMENDMENT OF PETROLEUM INC | FARHAN CHAGANI | STAR
   303     Fuel Supply Agreement                                                                          Mountain Express Oil Company    $0.00
                                       PRODUCTS SUPPLY AGREEMENT     EXXON LLC | KUNJ CONSTRUCTION
                                                                     USA INC | ASHOK KUMAR PATEL |
                                       MOTOR FUEL SUPPLY AND
   162     Fuel Supply Agreement                                          SHAMSUDDIN NASSAR               Mountain Express Oil Company    $0.00
                                       COMMISSIONED SALES AGREEMENT
                                       PETROLEUM PRODUCTS SUPPLY
   162     Fuel Supply Agreement                                          SHAMSUDDIN NASSAR               Mountain Express Oil Company    $0.00
                                       AGREEMENT
                                                                          SHAMSUDDIN NASSAR | NL
   221     Rebate Agreement            REBATE AGREEMENT                   INVESTMENTS PARTNERS ONE LLC | Mountain Express Oil Company     $0.00
                                                                          HYDER K. "DANNY" LALANI |
                                                                          SHAMSUDDIN NASSAR | NL
   224     Rebate Agreement            REBATE AGREEMENT                   INVESTMENTS PARTNERS ONE LLC | Mountain Express Oil Company     $0.00
                                                                          HYDER K. "DANNY" LALANI |
                                                                          SHAMSUDDIN NASSAR | NL
   167     Rebate Agreement            REBATE AGREEMENT                   INVESTMENTS PARTNERS TWO LL | Mountain Express Oil Company      $0.00
                                                                          HYDER K. "DANNY" LALANI |


                                                                          80 of 98
                 Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 85 of 102
  Store
           Contract Type              Title                                  Counterparty                       Debtor Entity                      Est. Cure
 Number
                                                                             SHAMSUDDIN NASSAR | NL
   168    Rebate Agreement            REBATE AGREEMENT                       INVESTMENTS PARTNERS TWO LL |      Mountain Express Oil Company        $0.00
                                                                             HYDER K. "DANNY" LALANI |
                                                                             SHAMSUDDIN NASSAR | NL
   169    Rebate Agreement            REBATE AGREEMENT                       INVESTMENTS PARTNERS TWO LL |      Mountain Express Oil Company        $0.00
                                                                             HYDER K. "DANNY" LALANI |
                                      FIRST AMENDMENT OF FUEL SUPPLY         SHANMUKHA MERUGA | HARJEET
   37     Fuel Supply Agreement                                                                                 Mountain Express Oil Company        $0.00
                                      AGREEMENT                              LLC | CHANPREET KAUR RAINA
                                                                             SHANRK LLC | SHANMUKHA
   37     Sublease                    COMMERCIAL LEASE                                                          Mountain Express Oil Company        $0.00
                                                                             MERUGA
                                                                             SHANRK LLC | SHANMUKHA
                                      FIRST AMENDMENT OF COMMERCIAL
   37     Sublease                                                           MERUGA | HARJEET LLC |             Mountain Express Oil Company        $0.00
                                      LEASE
                                                                             CHANPREET KAUR RAINA
                                                                             SHANRK LLC AND SHANMUKHA
   37     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                     Mountain Express Oil Company        $0.00
                                                                             MERUGA
                                                                             SHEIKHS LLC | SAI RAM 0331 LLC |
                                      FIFTH AMENDMENT OF COMMERCIAL          TITHI NAOMI LLC | TEJALBEN TEJAS
   485    Sublease                    LEASE AND FOURTH AMENDMENT OF          PATEL | CHIRAG PATEL |             Mountain Express Oil Company        $0.00
                                      SUPPLY AGREEMENT                       MEHULKUMAR SHAH | HARDIK
                                                                             PATEL | IRAM M. MAHMOOD
                                      Consent to a Transfer | Lipscomb Oil
   62     Oil Company Agreement                                              SHELL OIL PRODUCTS US              Mountain Express Oil Company        $0.00
                                      Company Inc
  2086 |
                                                                             SHELL OIL PRODUCTS US |
  2085 | Oil Company Agreement        Consent to a Transfer                                                     Mountain Express Oil Company        $0.00
                                                                             BROWNING OIL COMPANY
   2083
344 | 3265
  | 986 |
  3259 |
  3262 |
                                                                             SHELL OIL PRODUCTS US | MOORE
3261 | 365 Oil Company Agreement      Consent to a Transfer                                                     Mountain Express Oil Company        $0.00
                                                                             PETROLEUM CO INC
  | 373 |
  3255 |
  3254 |
   3256
                                                                             SHELL OIL PRODUCTS US |
168 | 170 Oil Company Agreement       Consent to a Transfer                                                     Mountain Express Oil Company        $0.00
                                                                             NATIONAL OIL & GAS INC
   957    Prime Lease (Single Site)   MASTER LEASE AGREEMENT                 SHEPARD BANKS INVESTMENTS LLC      Mountain Express Oil Company        $0.00

   958    Prime Lease (Single Site)   MASTER LEASE AGREEMENT                 SHEPARD BANKS INVESTMENTS LLC      Mountain Express Oil Company        $0.00
  3059    Sublease                    COMMERCIAL LEASE                       SHERRY LUZ DOMINGO              MEX RE‐SW‐TX LLC                       $0.00
                                                                             SHERRY LUZ DOMINGO | AL MISBAH
                                      FIRST AMENDMENT OF COMMERCIAL
  3059    Sublease                                                           AL WAHAJ TRADING ENTERPRISES    MEX RE‐SW‐TX LLC                       $0.00
                                      LEASE
                                                                             LLC
                                                                                                            DT ‐ MEX RE‐NE‐IN LLC (as
   94     Fuel Supply Agreement       EXCLUSIVE FUEL SUPPLY AGREEMENT        SHG FIVE INC                   successor‐in‐interest to Reliance       $0.00
                                                                                                            Oil LLC)
                                      FIRST AMENDMENT OF LEASE
   94     Fuel Supply Agreement       AGREEMENT AND EXCLUSIVE FUEL           SHG FIVE INC                       MEX RE‐NE‐IN LLC                    $0.00
                                      SUPPLY AGREEMENT
                                      SECOND AMENDMENT OF EXCLUSIVE
   94     Fuel Supply Agreement                                              SHG FIVE INC                       MEX RE‐NE‐IN LLC                    $0.00
                                      FUEL SUPPLY AGREEMENT
                                                                                                                DT ‐ MEX RE‐NE‐IN LLC (as
   94     Sublease                    LEASE AGREEMENT                        SHG FIVE INC                       successor‐in‐interest to KDA        $0.00
                                                                                                                Properties IN LLC)
                                                                                                                 MEX RE‐NE‐IN LLC (as successor‐
   97     Fuel Supply Agreement       EXCLUSIVE FUEL SUPPLY AGREEMENT        SHG FOUR INC                                                           $0.00
                                                                                                                in‐interest to Reliance Oil LLC)
                                      FIRST AMENDMENT OF LEASE
   97     Fuel Supply Agreement       AGREEMENT AND EXCLUSIVE FUEL           SHG FOUR INC                       MEX RE‐NE‐IN LLC                    $0.00
                                      SUPPLY AGREEMENT
                                                                                                                 MEX RE‐NE‐IN LLC (as successor‐
   97     Sublease                    LEASE AGREEMENT                        SHG FOUR INC                       in‐interest to KDA Properties IN    $0.00
                                                                                                                LLC)
                                                                                                                 MEX RE‐NE‐IN LLC (as successor‐
   93     Fuel Supply Agreement       EXCLUSIVE FUEL SUPPLY AGREEMENT        SHG ONE INC                                                            $0.00
                                                                                                                in‐interest to Reliance Oil LLC)
                                      FIRST AMENDMENT OF LEASE
   93     Fuel Supply Agreement       AGREEMENT AND EXCLUSIVE FUEL           SHG ONE INC                        MEX RE‐NE‐IN LLC                    $0.00
                                      SUPPLY AGREEMENT
                                      SECOND AMENDMENT OF EXCLUSIVE
   93     Fuel Supply Agreement                                              SHG ONE INC                        MEX RE‐NE‐IN LLC                    $0.00
                                      FUEL SUPPLY AGREEMENT



                                                                             81 of 98
                Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 86 of 102
 Store
         Contract Type            Title                              Counterparty                      Debtor Entity                      Est. Cure
Number
                                                                                                       DT ‐ MEX RE‐NE‐IN LLC (as
  93     Sublease                 LEASE AGREEMENT                    SHG ONE INC                       successor‐in‐interest to KDA        $0.00
                                                                                                       Properties IN LLC)
                                                                                                        MEX RE‐NE‐IN LLC (as successor‐
  98     Fuel Supply Agreement    EXCLUSIVE FUEL SUPPLY AGREEMENT    SHG THREE INC                                                         $0.00
                                                                                                       in‐interest to Reliance Oil LLC)
                                  FIRST AMENDMENT OF LEASE
  98     Fuel Supply Agreement    AGREEMENT AND EXCLUSIVE FUEL       SHG THREE INC                     MEX RE‐NE‐IN LLC                    $0.00
                                  SUPPLY AGREEMENT
                                                                                                        MEX RE‐NE‐IN LLC (as successor‐
  98     Sublease                 LEASE AGREEMENT                    SHG THREE INC                     in‐interest to KDA Properties IN    $0.00
                                                                                                       LLC)
                                  FIRST AMENDMENT OF LEASE
  98     Sublease + Fuel Supply   AGREEMENT AND EXCLUSIVE FUEL       SHG THREE INC                     MEX RE‐NE‐IN LLC                    $0.00
                                  SUPPLY AGREEMENT
                                                                                                        MEX RE‐NE‐IN LLC (as successor‐
  96     Fuel Supply Agreement    EXCLUSIVE FUEL SUPPLY AGREEMENT    SHG TWO INC                                                           $0.00
                                                                                                       in‐interest to Reliance Oil LLC)
                                  SECOND AMENDMENT OF EXCLUSIVE
  96     Fuel Supply Agreement                                       SHG TWO INC                       MEX RE‐NE‐IN LLC                    $0.00
                                  FUEL SUPPLY AGREEMENT
                                                                                                        MEX RE‐NE‐IN LLC (as successor‐
  96     Sublease                 LEASE AGREEMENT                    SHG TWO INC                       in‐interest to KDA Properties IN    $0.00
                                                                                                       LLC)
                                  FIRST AMENDMENT OF LEASE
  96     Sublease + Fuel Supply   AGREEMENT AND EXCLUSIVE FUEL       SHG TWO INC                       MEX RE‐NE‐IN LLC                    $0.00
                                  SUPPLY AGREEMENT
 550     Sublease                 COMMERCIAL LEASE                   SHIV KTR LLC                      Mountain Express Oil Company        $0.00
                                                                  SHIV KTR LLC | KEYUR RASIKBHAI
 550     Fuel Supply Agreement    FUEL SUPPLY AGREEMENT                                                Mountain Express Oil Company        $0.00
                                                                  PATEL
                                  FIRST AMENDMENT OF FUEL SUPPLY  SHIV KTR LLC | KEYUR RASIKBHAI
 550     Fuel Supply Agreement                                                                         Mountain Express Oil Company        $0.00
                                  AGREEMENT                       PATEL
                                                                  SHIV KTR LLC | KEYUR RASIKBHAI
 550     Rebate Agreement         REBATE AGREEMENT                                                     Mountain Express Oil Company        $0.00
                                                                  PATEL
                                  FIRST AMENDMENT OF REBATE       SHIV KTR LLC | KEYUR RASIKBHAI
 550     Rebate Agreement                                                                              Mountain Express Oil Company        $0.00
                                  AGREEMENT                       PATEL
                                  SECOND AMENDMENT OF FUEL SUPPLY SHIV KTR LLC | RASIKBHAI PATEL |
 550     Fuel Supply Agreement                                                                         Mountain Express Oil Company        $0.00
                                  AGREEMENT                       KEYUR RASIKBHAI PATEL
  92     Fuel Supply Agreement    FUEL SUPPLY AGREEMENT           SHIVAAY 1 INC                        MEX Fuels NE‐IN LLC                 $0.00
                                  FIRST AMENDMENT OF LEASE
  92     Sublease                                                 SHIVAAY 1 INC                        MEX RE‐NE‐IN LLC                    $0.00
                                  AGREEMENT
  95     Fuel Supply Agreement    FUEL SUPPLY AGREEMENT           SHIVAAY 2 INC                        MEX Fuels NE‐IN LLC                 $0.00
                                  FIRST AMENDMENT OF LEASE
  95     Sublease                                                 SHIVAAY 2 INC                        MEX RE‐NE‐IN LLC                    $0.00
                                  AGREEMENT
                                                                                                       DT ‐ MEX RE‐NE‐IN LLC (as
  92     Sublease                 LEASE AGREEMENT                    SHIVAAY1                          successor‐in‐interest to KDA        $0.00
                                                                                                       Properties IN LLC)
                                                                                                       DT ‐ MEX RE‐NE‐IN LLC (as
  95     Sublease                 LEASE AGREEMENT                    SHIVAAY2 INC                      successor‐in‐interest to KDA        $0.00
                                                                                                       Properties IN LLC)
                                  PETROLEUM PRODUCTS SUPPLY
 532     Fuel Supply Agreement                                       SHOUKATALI ALI HUSSAINI           Mountain Express Oil Company        $0.00
                                  AGREEMENT
                                  PETROLEUM PRODUCTS SUPPLY          SHREE DRK INC | SAMIR PATEL |
 493     Fuel Supply Agreement                                                                         Mountain Express Oil Company        $0.00
                                  AGREEMENT                          RICHA VRAJESHKUMAR PATEL
                                                                     SHREE DRK INC | SAMIR PATEL |
                                  ASSIGNMENT OF PETROLEUM
 493     Fuel Supply Agreement                                       RICHA VRAJESHKUMAR PATEL | JAY    Mountain Express Oil Company        $0.00
                                  PRODUCTS SUPPLY AGREEMENT
                                                                     KANUBHAI PATEL
 3026    Sublease                 COMMERCIAL LEASE                   SHREE KANUDO LLC | RAVI SHAH      MEX RE‐SE‐NC LLC                    $0.00
 3026    Fuel Supply Agreement    FUEL SUPPLY AGREEMENT              SHREE KANUDO LLC | RAVI SHAH      Mountain Express Oil Company        $0.00

 3014    Sublease                 COMMERCIAL LEASE                   SHREEJI C STORE 2 INC | AMIT PATEL MEX RE‐SE‐NC LLC                   $0.00

 3014    Fuel Supply Agreement    FUEL SUPPLY AGREEMENT              SHREEJI C STORE 2 INC | AMIT PATEL Mountain Express Oil Company       $0.00

 695     Fuel Supply Agreement    ACKNOWLEDGEMENT LETTER             SHRIJIBAPA INC                    Mountain Express Oil Company        $0.00
                                  SECOND AMENDMENT OF COMMERCIAL SHRIYANSH PETROLEUM LLC |
 103     Sublease                                                                                      Mountain Express Oil Company        $0.00
                                  LEASE                            MAHENDERNATH PANJARLA
                                  AMENDED AND RESTATED FUEL SUPPLY SHRT GASOLINE LLC |
 105     Fuel Supply Agreement                                                                         Mountain Express Oil Company        $0.00
                                  AGREEMENT                        MAHENDERNATH PANJARLA
                                  FIRST AMENDMENT OF AMENDED AND SHRT GASOLINE LLC |
 105     Fuel Supply Agreement                                                                         Mountain Express Oil Company        $0.00
                                  RESTATED FUEL SUPPLY AGREEMENT MAHENDERNATH PANJARLA
                                  FIRST AMENDMENT OF COMMERCIAL      SHRT GASOLINE LLC |
 105     Sublease                                                                                      Mountain Express Oil Company        $0.00
                                  LEASE                              MAHENDERNATH PANJARLA
                                                                     82 of 98
                  Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 87 of 102
 Store
           Contract Type               Title                                   Counterparty                      Debtor Entity                       Est. Cure
Number
                                                                       SHRT GASOLINE LLC |
  105      Sublease                    COMMERCIAL LEASE                                                          Mountain Express Oil Company         $0.00
                                                                       MAHENDERNATH PANJARLA
                                                                       SHUKAR ENTERPRISE INC |
                                       PETROLEUM PRODUCTS SUPPLY
  31       Fuel Supply Agreement                                       SHALINAZ LALANI | TABRIK LALANI |         Mountain Express Oil Company         $0.00
                                       AGREEMENT
                                                                       NADIRSHAH MOHANI
                                                                       SHUKAR ENTERPRISE INC | TABRIK
  31       Sublease                    COMMERCIAL LEASE                                                          Mountain Express Oil Company         $0.00
                                                                       LALANI | NADIRSHAH MOHANI
                                                                       SHUKAR ENTERPRISE INC AND
  31       Sublease                    AGREEMENT                       SHALINAZ LALANI AND TABRIK                Mountain Express Oil Company         $0.00
                                                                       LALANI
                                                                       SHYAMAN1 CONVENIENCE INC |
                                                                       CHIRAG THAKKAR | SAIFAN 2017
  90       Guarantee                   UNCONDITIONAL PERSONAL GUARANTY                                           Mountain Express Oil Company         $0.00
                                                                       INVESTMENT LLC | EMDADUL
                                                                       HAQUE CHOWDHURY
                                                                       SIBLEY ROAD CHEVRON INC |
  935      Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                     Mountain Express Oil Company         $0.00
                                                                       AYMAN BOSEM QASEM ISSA
                                                                       SIBLEY ROAD CHEVRON INC |
  935      Equipment Lease             EQUIPMENT FINANCING AGREEMENT                                             Mountain Express Oil Company        $2,889.86
                                                                       AYMAN BOSEM QASEM ISSA
                                       MOTOR FUEL SUPPLY AND
   8       Fuel Supply Agreement                                       SIFUL ISLAM SHOEAL                        Mountain Express Oil Company         $0.00
                                       COMMISSIONED SALES AGREEMENT
                                       PETROLEUM PRODUCTS SUPPLY       SILVER CREEK ENTERPRISE LLC |
  131      Fuel Supply Agreement                                                                                 Mountain Express Oil Company         $0.00
                                       AGREEMENT                       ALICIA FLOWERS
                                                                       SINAN EXPRESS LLC | MOHSIN
  369      Rebate Agreement            REBATE AGREEMENT                                                          Mountain Express Oil Company         $0.00
                                                                       MOHAMMED
                                       PETROLEUM PRODUCTS SUPPLY       SINAN EXPRESS LLC | MOHSIN
  369      Fuel Supply Agreement                                                                                 Mountain Express Oil Company         $0.00
                                       AGREEMENT                       MOHAMMED
                                                                       SINAN EXPRESS LLC | MOHSIN
  369      Sublease                    COMMERCIAL LEASE                                                          Mountain Express Oil Company         $0.00
                                                                       MOHAMMED
3456 |
4456 |                                 Sinclair Distributor Centennial Image   SINCLAIR OIL CORPORATION | RAM
           Oil Company Agreement                                                                                                                      $0.00
3452 |                                 Upgrade Agreement (Seminole, OK)        INC.
 4452
Not Site                               PURCHASE MONEY SECURITY
           Oil Company Agreement                                               SINCLAIR OIL LLC                  Mountain Express Oil Company         $0.00
Specific                               AGREEMENT
                                                                               SINGAL HOLDING 3 LLC (AS
  916      Prime Lease (Single Site)   MASTER LEASE AGREEMENT                  ASSIGNEE OF TAYLOR MERCANTILE Mountain Express Oil Company             $0.00
                                                                               LLC)
                                                                               SINGAL HOLDING 4 LLC (AS
  954      Prime Lease (Single Site)   MASTER LEASE AGREEMENT                  SUCCESSOR‐IN‐INTEREST TO TAYLOR Mountain Express Oil Company           $0.00
                                                                               MERCANTILE LLC)
                                                                               SINGAL HOLDING 5 LLC (AS
  950      Prime Lease (Single Site)   MASTER LEASE AGREEMENT                  SUCCESSOR‐IN‐INTEREST TO TAYLOR Mountain Express Oil Company           $0.00
                                                                               MERCANTILE LLC)
                                       PETROLEUM PRODUCTS SUPPLY
  135      Fuel Supply Agreement                                               SINGH SATWANT                     Mountain Express Oil Company         $0.00
                                       AGREEMENT
  483      Fuel Supply Agreement       UNCONDITIONAL PERSONAL GUARANTY SIRAJ LALANI                              Mountain Express Oil Company         $0.00
                                                                               SK BROTHERS BUSINESS LLC |
  430      Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                      Mountain Express Oil Company        $0.00
                                                                               KAMRAN S NOORANI
                                                                               SL LOUISIANA LLC (AS SUCCESSOR‐IN‐
  928      Prime Lease (Single Site)   MASTER LEASE AGREEMENT                  INTEREST TO TAYLOR MERCANTILE Mountain Express Oil Company             $0.00
                                                                               LLC)
                                       MIDSTATE DISTRIBUTING, INC.                                                Mountain Express Oil Company
  667      Fuel Supply Agreement       PETROLEUM SUPPLY CONTRACT               SM ENTERPRISES OF ARKANSAS INC (as assignee of Midstate                $0.00
                                       (BRANDED)                                                                  Distributing Inc.)
                                       FIRST AMENDMENT OF COMMERCIAL
                                       REAL ESTATE LEASE CONTRACT AND
  366      Fuel Supply Agreement                                               SMART BUSINESS VENTURES INC       Mountain Express Oil Company         $0.00
                                       MOTOR FUEL SUPPLY AND
                                       COMMISSIONED SALES AGREEMENT
                                                                                                                  Mountain Express Oil Company
                                       COMMERCIAL REAL ESTATE LEASE
  366      Sublease                                                            SMART BUSINESS VENTURES INC       (as successor‐in‐interest to MARS    $0.00
                                       CONTRACT
                                                                                                                 Ventures, LLC)
                                       PETROLEUM PRODUCTS SUPPLY
  134      Fuel Supply Agreement                                               SMITA P PAHARI                    Mountain Express Oil Company         $0.00
                                       AGREEMENT
                                       PETROLEUM PRODUCTS SUPPLY
  138      Fuel Supply Agreement                                               SMITA PRADHAN PAHARI              Mountain Express Oil Company         $0.00
                                       AGREEMENT
                                       FIRST AMENDMENT OF PETROLEUM            SMITA PRADHAN PAHARI | BIKRAM
  138      Fuel Supply Agreement                                                                                 Mountain Express Oil Company         $0.00
                                       PRODUCTS SUPPLY AGREEMENT               SHARMA | TRISHNA BUSINESS LLC
                                       THIRD AMENDMENT OF FUEL SUPPLY          SOHAM MART LLC | BHAVESH SHAH
  689      Fuel Supply Agreement                                                                             Mountain Express Oil Company             $0.00
                                       AGREEMENT                               | HB MART LLC
                                       MOTOR FUEL SUPPLY AND                   SONA SHAH | ANUPKUMAR
  408      Fuel Supply Agreement                                                                                 Mountain Express Oil Company         $0.00
                                       COMMISSIONED SALES AGREEMENT            GIRISHBHAIDAVE | BHAVESH SHAH


                                                                               83 of 98
                   Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 88 of 102
  Store
            Contract Type               Title                            Counterparty                     Debtor Entity                        Est. Cure
 Number
                                        AMENDED AND RESTATED
   241      Sublease                                                    SOUTHEAST FITNESS GROUP LLC       Mountain Express Oil Company           $0.00
                                        COMMERCIAL LEASE
                                                                        SOUTHEAST TRANSPORT AND FLEET
   998      Sublease                    COMMERCIAL LEASE                                              Mountain Express Oil Company               $0.00
                                                                        SERVICE LLC | JONATHAN HUFF
                                                                        SOUTHERN PUMP & TANK
   998      Sublease                    AGREEMENT                                                         Alabama Terminal Property, LLC         $0.00
                                                                        COMPANY LLC
   563      Rebate Agreement            REBATE AGREEMENT                SOUTHSIDE QUICK MART LLC          Mountain Express Oil Company           $0.00
                                                                        SOUTHSIDE QUICK MART LLC |
   563      Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                           Mountain Express Oil Company             $0.00
                                                                        MOHAMED AHMED KHIRSAN
                                                                        SOUTHSIDE QUICK MART LLC |
   563      Sublease                    COMMERCIAL LEASE                                                MEX North Alabama, LLC                   $0.00
                                                                        MOHAMED AHMED KHIRSAN
                                                                        SPARTAN NUTRITION LLC | CYNTHIA
   514      Sublease                    COMMERCIAL LEASE                                                MEX RE‐SW‐TX LLC                         $0.00
                                                                        RAMIREZ

796 | 712 |
 707 | 742
|792 | 709                                                              SPIRIT SPE PORTFOLIO CA C STORES Mountain Express Oil Company
            Prime Lease (Multi‐Site)    MASTER LEASE AGREEMENT                                                                                   $0.00
| 785 | 791                                                             LLC                              Southeast, LLC
| 701 | 724
| 721 | 782

                                                                        SRH GROUP INC | RAHIM BARKET
   2084     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                             Mountain Express Oil Company           $0.00
                                                                        ALI MINSARIYA
                                                                        SRH GROUP INC | RAHIM BARKET
   2084     Sublease                    COMMERCIAL LEASE                                                  MEX RE‐SE‐AL LLC                       $0.00
                                                                        ALI MINSARIYA
                                        FIRST AMENDMENT OF COMMERCIAL   SRH GROUP INC | RAHIM BARKET
   2084     Sublease                                                                                      MEX RE‐SE‐AL LLC                       $0.00
                                        LEASE                           ALI MINSARIYA
                                                                        SRK SHREVEPORT LLC (AS ASSIGNEE
   929      Prime Lease (Single Site)   MASTER LEASE AGREEMENT                                            Mountain Express Oil Company           $0.00
                                                                        OF TAYLOR MERCANTILE LLC)
                                        TEMPORARY SUPPLY AND LEASE      SS FOODMART LLC | SUKHRANJAN
   3113     Sublease + Fuel Supply                                                                        Mountain Express Oil Company           $0.00
                                        AGREEMENT                       SINGH MULTANI
   280      Fuel Supply Agreement       ADDENDUM TO JOBBER AGREEMENT    SS LALANI 786 LLC                 Mountain Express Oil Company           $0.00
                                                                        STARK EXPRESS LLC | SULAIMAN
   661      Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                             Mountain Express Oil Company           $0.00
                                                                        HUDDA
                                        EQUIPMENT FINANCE AGREEMENT
                                                                       STATE BANK AND TRUST COMPANY
   181      Equipment Lease             PREFUNDING AGREEMENT AGREEMENT                                    Mountain Express Oil Company           $0.00
                                                                       D/B/A PATRIOT CAPITAL
                                        NO.
                                                                       STATE BANK AND TRUST COMPANY
   448      Equipment Lease             EQUIPMENT FINANCE AGREEMENT                                       Mountain Express Oil Company         $30,371.70
                                                                       D/B/A PATRIOT CAPITAL
                                                                       STATE BANK AND TRUST COMPANY
   485      Equipment Lease             EQUIPMENT FINANCE AGREEMENT                                       Mountain Express Oil Company           $0.00
                                                                       D/B/A PATRIOT CAPITAL
                                                                       STATE BANK AND TRUST COMPANY
   486      Equipment Lease             EQUIPMENT FINANCE AGREEMENT                                       Mountain Express Oil Company           $0.00
                                                                       D/B/A PATRIOT CAPITAL
                                                                       STATE BANK AND TRUST COMPANY
   487      Equipment Lease             EQUIPMENT FINANCE AGREEMENT                                       Mountain Express Oil Company           $0.00
                                                                       D/B/A PATRIOT CAPITAL
                                                                       STATE BANK AND TRUST COMPANY
   492      Equipment Lease             EQUIPMENT FINANCE AGREEMENT                                       Mountain Express Oil Company           $0.00
                                                                       D/B/A PATRIOT CAPITAL
                                                                       STATE BANK AND TRUST COMPANY
   494      Equipment Lease             EQUIPMENT FINANCE AGREEMENT                                       Mountain Express Oil Company           $0.00
                                                                       D/B/A PATRIOT CAPITAL
                                                                       STATE BANK AND TRUST COMPANY
   497      Equipment Lease             EQUIPMENT FINANCE AGREEMENT                                       Mountain Express Oil Company           $0.00
                                                                       D/B/A PATRIOT CAPITAL
                                                                       STATE BANK AND TRUST COMPANY
   527      Equipment Lease             EQUIPMENT FINANCE AGREEMENT                                       Mountain Express Oil Company           $0.00
                                                                       D/B/A PATRIOT CAPITAL
                                                                       STATE BANK AND TRUST COMPANY
   756      Equipment Lease             EQUIPMENT FINANCE AGREEMENT                                       Mountain Express Oil Company           $0.00
                                                                       D/B/A PATRIOT CAPITAL
                                                                       STATE BANK AND TRUST COMPANY
   887      Equipment Lease             EQUIPMENT FINANCE AGREEMENT                                       Mountain Express Oil Company           $0.00
                                                                       D/B/A PATRIOT CAPITAL
                                                                       STATE BANK AND TRUST COMPANY
   906      Equipment Lease             EQUIPMENT FINANCE AGREEMENT                                       Mountain Express Oil Company           $0.00
                                                                       D/B/A PATRIOT CAPITAL
   637      Prime Lease (Single Site)   AMENDMENT                      SUBWAY REAL ESTATE CORP            Star Mountain Express, LLC             $0.00
                                        FIRST AMENDMENT OF CONCESSION
    61      Sublease                                                   SUBWAY REAL ESTATE LLC             Mountain Express Oil Company           $0.00
                                        AGREEMENT
                                                                                                           Mountain Express Oil Company
    61      QSR/Franchise Agreement CONCESSION AGREEMENT                SUBWAY REAL ESTATE LLC            (as successor‐in‐interest to Kamal     $0.00
                                                                                                          Investments, LLC)
                                        SECOND AMENDMENT OF CONCESSION
    61      Sublease                                                   SUBWAY REAL ESTATE LLC             Mountain Express Oil Company           $0.00
                                        AGREEMENT
                                        FIRST AMENDMENT OF CONCESSION
   3024     Sublease                                                   SUBWAY REAL ESTATE LLC             Mountain Express Oil Company           $0.00
                                        AGREEMENT

                                                                        84 of 98
               Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 89 of 102
 Store
         Contract Type           Title                               Counterparty                      Debtor Entity                         Est. Cure
Number
                                                                                                        Mountain Express Oil Company
 4024    QSR/Franchise Agreement CONCESSION AGREEMENT                SUBWAY REAL ESTATE LLC            (as successor‐in‐interest to United    $0.00
                                                                                                       Fuel LLC)
                                 PETROLEUM PRODUCTS SUPPLY
 435     Fuel Supply Agreement                                       SUDHA K PATEL                     Mountain Express Oil Company           $0.00
                                 AGREEMENT
                                 Re: Petroleum Products Supply
 435     Fuel Supply Agreement                                       SUDHA K. PATEL                    Mountain Express Oil Company           $0.00
                                 Agreement
                                 FIRST AMENDMENT OF MOTOR FUEL
                                                                     SUFAN MUSA | MOHAMMAD
 264     Fuel Supply Agreement   SUPPLY AND COMMISSIONED SALES                                         Mountain Express Oil Company           $0.00
                                                                     QAWASMEI
                                 AGREEMENT
                                 FIRST AMENDMENT OF FUEL SUPPLY      SUKHMAN LLC | SUKHMANDEEP
 276     Fuel Supply Agreement                                                                         Mountain Express Oil Company           $0.00
                                 AGREEMENT                           SINGH
                                                                     SUKHMAN LLC | SUKHMANDEEP
 276     Sublease                COMMERCIAL LEASE                                                      Mountain Express Oil Company           $0.00
                                                                     SINGH
                                                                     SUKHMAN LLC | SUKHMANDEEP
                                 FIRST AMENDMENT OF COMMERCIAL
 276     Fuel Supply Agreement                                       SINGH | ICE BOX OF WAVELAND LLC   Mountain Express Oil Company           $0.00
                                 LEASE AND FUEL SUPPLY AGREEMENT
                                                                     | SURMUKH SINGH
                                                                     SUKHMANDEEP SINGH | SUKHMAN
 276     Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                                 Mountain Express Oil Company           $0.00
                                                                     LLC
3062 |
3063 |
3089 |
3067 |
3071 |
                                                                     SUKHRANJAN MULTANI | GSS
3073 |   Sublease                ACKNOWLEDGEMENT LETTER                                                Mountain Express Oil Company           $0.00
                                                                     HOLDINGS LA LLC
3076 |
3081 |
3084 |
3085 |
 3091
 321     Fuel Supply Agreement   FUEL SUPPLY AGREEMENT               SULLYDAN INC | DAWOOD ALOMARI Mountain Express Oil Company               $0.00

 321     Sublease                COMMERCIAL LEASE                    SULLYDAN INC | DAWOOD ALOMARI Mountain Express Oil Company               $0.00
                                 AMENDMENT TO AND ASSIGNMENT OF
                                 MOTOR FUEL SUPPLY AND               SUNDAY, INC. | JATINJUMAR
 765     Fuel Supply Agreement                                                                         Mountain Express Oil Company           $0.00
                                 COMMISSIONED SALES AGREEMENT        BABUBHAI PATEL | RIDDHI PATEL
                                 AND COMMERCIAL LEASE
                                 2016 Competitive Location Incentive
 130     Oil Company Agreement                                       SUNOCO                            Mountain Express Oil Company           $0.00
                                 Program
 1943    Sublease                FIRST AMENDMENT OF LEASE            SUNOCO BRKLYN INC                 Mountain Express Oil Company           $0.00
                                 SECOND AMENDMENT OF FUEL SUPPLY     SUNOCO BRKLYN INC | MUNIF ABU
 1943    Fuel Supply Agreement                                                                         Mountain Express Oil Company           $0.00
                                 AGREEMENT                           ZAHRIEH
                                 THIRD AMENDMENT OF FUEL SUPPLY      SUNOCO BRKLYN INC | MUNIF ABU
 1943    Fuel Supply Agreement                                                                         Mountain Express Oil Company           $0.00
                                 AGREEMENT                           ZAHRIEH
                                                                     SUNOCO BRKLYN INC | MUNIF ABU
 1943    Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                                 Mountain Express Oil Company           $0.00
                                                                     ZAHRIEH
                                 FIRST AMENDMENT OF FUEL SUPPLY      SUNOCO BRKLYN INC | MUNIF ABU
 1943    Fuel Supply Agreement                                                                         Mountain Express Oil Company           $0.00
                                 AGREEMENT                           ZAHRIEH
                                                                                                        Mountain Express Oil Company
 1943    Equipment Lease         EQUIPMENT LEASE AGREEMENT           SUNOCO BRKLYN INC.                (as successor‐in‐interest to Prime     $0.00
                                                                                                       4295 Tiedeman LLC)

                                                                                                        Mountain Express Oil Company
 1943    Sublease                LEASE                               SUNOCO BRKLYN INC.                (as successor‐in‐interest to Prime     $0.00
                                                                                                       4295 Tiedeman LLC)

                                                                                                        Mountain Express Oil Company
 104     Oil Company Agreement   DEALER SUPPLY FRANCHISE AGREEMENT SUNOCO INC                          (as successor‐in‐interest to           $0.00
                                                                                                       Absolute Retail Network, LLC)

                                                                                                        Mountain Express Oil Company
 105     Oil Company Agreement   DEALER SUPPLY FRANCHISE AGREEMENT SUNOCO INC                          (as successor‐in‐interest to           $0.00
                                                                                                       Absolute Retail Network, LLC)
                                                                                                        Mountain Express Oil Company
 121     Oil Company Agreement   DEALER FRANCHISE AGREEMENT          SUNOCO INC                        (as successor‐in‐interest to S&S       $0.00
                                                                                                       Energy LLC)
                                                                                                        Mountain Express Oil Company
 122     Oil Company Agreement   DEALER SUPPLY FRANCHISE AGREEMENT SUNOCO INC                          (as successor‐in‐interest to S&S       $0.00
                                                                                                       Gasoline Corp.)
                                 DISTRIBUTOR BRANDED MOTOR FUEL
 354     Oil Company Agreement                                       SUNOCO INC                        Mountain Express Oil Company           $0.00
                                 AGREEMENT


                                                                     85 of 98
                  Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 90 of 102
    Store
             Contract Type           Title                              Counterparty                       Debtor Entity                         Est. Cure
  Number
   3018 |
   3049 |
   3011 |
   3048 |
   3017 |
   3010 |
   3004 |
   3024 |
   3033 |
   4013 |
   3014 |
   3021 |
   3047 |
                                                                                                            Mountain Express Oil Company
   3026 |                            SUNOCO MULTI SITE DEALER MOTOR
             Oil Company Agreement                                     SUNOCO INC                          (as successor‐in‐interest to United    $0.00
   3405 |                            FUEL AGREEMENT
                                                                                                           Fuel LLC)
   3001 |
   3015 |
   3022 |
   3006 |
   3031 |
   3003 |
   3005 |
   3019 |
   3012 |
   3009 |
   3008 |
   3002 |
   3023 |
82 | 85 | 79
 | 86 | 83 |
                                     DISTRIBUTOR BRANDED MOTOR FUEL
  84 | 87 | Oil Company Agreement                                      SUNOCO INC                          Mountain Express Oil Company           $0.00
                                     AGREEMENT
 129 | 78 |
 77 | 1484
                                                                                                            Mountain Express Oil Company
   120     Oil Company Agreement     DEALER SUPPLY FRANCHISE AGREEMENT SUNOCO INC | 2119 ROUTE 35 LLC      (as successor‐in‐interest to S&S       $0.00
                                                                                                           Energy LLC)
                                                                                                            Mountain Express Oil Company
   126     Oil Company Agreement     DEALER SUPPLY FRANCHISE AGREEMENT SUNOCO INC | SUNOCO RETAIL LLC      (as successor‐in‐interest to           $0.00
                                                                                                           Hammonton Supply LLC)
                                                                       SUNOCO INC | SUNOCO RETAIL LLC | Mountain Express Oil Company
                                     AGREEMENT FOR CORPORATE
 126 | 124 Oil Company Agreement                                       PARMINDER SINGH |                (as successor‐in‐interest to Jersey       $0.00
                                     OPERATOR
                                                                       SURINDER HUNDAL                  Supply LLC)
 121 | 82 |
 85 | 104 |
 79 | 105 |
86 | 83 | 84
| 125 | 120
             Oil Company Agreement   ASSIGNMENT AND CONSENT            SUNOCO LLC | SUNOCO RETAIL LLC      Mountain Express Oil Company           $0.00
| 122 | 87 |
 129 | 78 |
77 | 1484 |
 128 | 81 |
 126 | 124
                                                                                                            Mountain Express Oil Company
   103     Oil Company Agreement     DEALER SUPPLY FRANCHISE AGREEMENT SUNOCO RETAIL INC | SUNOCO LLC      (as successor‐in‐interest to Nexon     $0.00
                                                                                                           Gas LLC)
                                                                                                            Mountain Express Oil Company
   128     Oil Company Agreement     DEALER SUPPLY FRANCHISE AGREEMENT SUNOCO RETAIL LLC | SUNOCO LLC      (as successor‐in‐interest to           $0.00
                                                                                                           Hammonton Supply LLC)

  82 | 85 |
 104 | 79 |
 105 | 86 |
  83 | 84 |
125 | 122 | Oil Company Agreement    OMNIBUS ADDENDUM                  SUNOCO RETAIL LLC | SUNOCO LLC      Mountain Express Oil Company           $0.00
 87 | 129 |
  78 | 77 |
1484 | 128
| 126 | 124



                                                                        86 of 98
               Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 91 of 102
 Store
         Contract Type           Title                                 Counterparty                      Debtor Entity                        Est. Cure
Number
                                                                                                         Mountain Express Oil Company
                                 Dealer Supply Franchise Agreement ‐
         Oil Company Agreement                                         SUNOCO RETAIL, LLC; SUNOCO, LLC   (as assignee of Absolute Retail       $0.00
                                 Dresher, PA
                                                                                                         Network Inc.)
                                                                                                         Mountain Express Oil Company
                                 Dealer Supply Franchise Agreement ‐
         Oil Company Agreement                                         SUNOCO RETAIL, LLC; SUNOCO, LLC   (as assignee of Absolute Retail       $0.00
                                 Pottstown, PA
                                                                                                         Network Inc.)
                                 Dealer Supply Franchise Agreement ‐                                     Mountain Express Oil Company
         Oil Company Agreement                                         SUNOCO RETAIL, LLC; SUNOCO, LLC                                         $0.00
                                 Berlin, NJ                                                              (as assignee of Jersey Supply LLC)

                                 Dealer Supply Franchise Agreement ‐                                     Mountain Express Oil Company
         Oil Company Agreement                                         SUNOCO RETAIL, LLC; SUNOCO, LLC                                         $0.00
                                 Ocean Township, NJ                                                      (as assignee of S&S Energy LLC)

                                                                                                         Mountain Express Oil Company
         Oil Company Agreement   Omnibus Rack Amendment                SUNOCO RETAIL, LLC; SUNOCO, LLC                                         $0.00
                                                                                                         (as assignee of S&S Energy LLC)

                                                                                                          Mountain Express Oil Company
 125     Oil Company Agreement   DEALER SUPPLY FRANCHISE AGREEMENT SUNOCO RETAIL LLC | SUNOCO LLC                                              $0.00
                                                                                                         (as assignee of Jersey Supply LLC)
                                                                                                          Mountain Express Oil Company
                                 DEALER AGREEMENT FOR CUSTOMER
 126     Oil Company Agreement                                         SUNOCO RETAIL LLC | SUNOCO LLC    (as assignee of Hammonton             $0.00
                                 BEST PROGRAM
                                                                                                         Supply LLC)
 125     Oil Company Agreement   DEALER SUPPLY FRANCHISE AGREEMENT SUNOCO, LLC                                                                 $0.00
                                 2016 Competitive Location Incentive
 130     Oil Company Agreement                                         SUNOCO, LLC                       Mountain Express Oil Company          $0.00
                                 Program (CLIP)
                                                                       SUNRISE FUEL, INC. D/B/A DEEN
                                 PETROLEUM PRODUCTS SUPPLY
 898     Fuel Supply Agreement                                         FUEL STORE 367 AND MUSHTAQ A.     Star Mountain Express, LLC            $0.00
                                 AGREEMENT
                                                                       KHAN
                                 PETROLEUM PRODUCTS SUPPLY
 273     Fuel Supply Agreement                                         SURAJ SIJAPATI                    Mountain Express Oil Company          $0.00
                                 AGREEMENT
                                 FIRST AMENDMENT OF PETROLEUM
 273     Fuel Supply Agreement                                         SURAJ SIJAPATI                    Mountain Express Oil Company          $0.00
                                 PRODUCTS SUPPLY AGREEMENT
 273     Rebate Agreement        REBATE AGREEMENT                      SURAJ SIJAPATI                    Mountain Express Oil Company          $0.00
                                 FIRST AMENDMENT TO MOTOR FUEL         SURATAMAN CORPORATION | SRI
 144     Fuel Supply Agreement   SUPPLY AND COMMISSIONED SALES         SURATMAN | DEEPAK PAHARI|         Mountain Express Oil Company          $0.00
                                 AGREEMENT AND LEASE                   SADABAHAR FOOD AND GAS LLC
 656     Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                 SURYA INC | UMESH K PATEL         Mountain Express Oil Company          $0.00
                                 FIRST AMENDMENT OF COMMERCIAL  SVK FLOW LLC | LINDAMANENI
 145     Sublease                                                                                        Mountain Express Oil Company          $0.00
                                 LEASE                          VAMSI
                                 SECOND AMENDMENT OF COMMERCIAL SVK FLOW LLC | LINGAMANENI
 145     Sublease                                                                                        Mountain Express Oil Company          $0.00
                                 LEASE                          VAMSI
                                                                SVK FLOW LLC | LINGAMANENI
 145     Sublease                COMMERCIAL LEASE                                                        Mountain Express Oil Company          $0.00
                                                                VAMSI
                                                                SVK FLOW LLC | LINGAMANENI
 145     Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                                   Mountain Express Oil Company          $0.00
                                                                VAMSI
                                 FIRST AMENDMENT OF FUEL SUPPLY
 186     Fuel Supply Agreement                                  SWAFT INC | KESHAV LLC                   Mountain Express Oil Company          $0.00
                                 AGREEMENT
                                                                SWAFT INC | TANVEER MAQSOOD
 186     Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                                   Mountain Express Oil Company          $0.00
                                                                KBANGASH
                                 PETROLEUM PRODUCTS SUPPLY      SWAMI ENTERPRISES, INC | SAUMIL
  38     Fuel Supply Agreement                                                                           Mountain Express Oil Company          $0.00
                                 AGREEMENT                      PATEL
                                                                                                          Mountain Express Oil Company
 957     Sublease                COMMERCIAL LEASE AGREEMENT            SWAYZ'S CAR WASH LLC              (as successor‐in‐interest to          $0.00
                                                                                                         Shamrock Development LLC)
                                                               SYED HUQ | CEDARTOWN PETRO
                                 SECOND AMENDMENT TO PETROLEUM STATION LLC | IMRAN R MOMIN |
 187     Fuel Supply Agreement                                                                Mountain Express Oil Company                     $0.00
                                 PRODUCTS SUPPLY AGREEMENT     7TH LION LLC | RAHIM LALANI |
                                                               1325 SAMS FOOD MART 2 LLC
                                 MIDSTATE DISTRIBUTING, INC.                                  Mountain Express Oil Company
 672     Fuel Supply Agreement   PETROLEUM SUPPLY CONTRACT     T&A OIL INC                   (as assignee of Midstate                          $0.00
                                 (BRANDED)                                                   Distributing Inc.)
                                 MOTOR FUEL SUPPLY AND
 905     Fuel Supply Agreement                                 TAHIR KHAN                     Mountain Express Oil Company                     $0.00
                                 COMMISSIONED SALES AGREEMENT
                                 PETROLEUM PRODUCTS SUPPLY
 906     Fuel Supply Agreement                                 TAHIR KHAN                     Mountain Express Oil Company                     $0.00
                                 AGREEMENT
                                                               TAHIR N KHAN | M&M FOOD MART
                                 FIRST AMENDMENT OF PETROLEUM
 183     Fuel Supply Agreement                                 LLC | MOHSIN MOHAMMED | TONY Mountain Express Oil Company                       $0.00
                                 PRODUCTS SUPPLY AGREEMENT
                                                               ENTERPRISES USA INC
                                 MOTOR FUEL SUPPLY AND
 347     Fuel Supply Agreement                                 TAMAKI PATEL & JAY MELDI, LLC  Mountain Express Oil Company                     $0.00
                                 COMMISSIONED SALES AGREEMENT



                                                                       87 of 98
                  Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 92 of 102
 Store
           Contract Type               Title                                  Counterparty                      Debtor Entity                   Est. Cure
Number
                                       Notice of Party Relationship Conversion
  347      Fuel Supply Agreement       Re Motor Fuel Supply and Commissioned TAMAKI PATEL | JAY MELDI LLC       Mountain Express Oil Company     $0.00
                                       Sales Agreement
                                       FIRST AMENDMENT TO PETROLEUM
  347      Fuel Supply Agreement                                               TAMAKI PATEL | JAY MELDI LLC     Mountain Express Oil Company     $0.00
                                       PRODUCTS SUPPLY AGREEMENT
Not Site
           Equipment Lease             TankPro Agreement                     TANKPRO LLC                        Mountain Express Oil Company     $0.00
Specific
                                       FIRST AMENDMENT OF PETROLEUM  TAREK REAL ESTATE LLC | 5355
  327      Fuel Supply Agreement                                                                                Mountain Express Oil Company     $0.00
                                       PRODUCTS SUPPLY AGREEMENT     BUSINESS LLC | AZIM JIWANI
                                                                     TAREK REAL ESTATE LLC |
                                                                     MOHAMMED TAREK | 5355
                                       SECOND AMENDMENT OF PETROLEUM
  327      Fuel Supply Agreement                                     BUSINESS LLC | AZIM JIWANI | 42            Mountain Express Oil Company     $0.00
                                       PRODUCTS SUPPLY AGREEMENT
                                                                     CORNER LLC | NIKITABAHEN M.
                                                                     PATEL
                                                                     TAREK REAL ESTATE, LLC |
                                                                     MOHAMMED TAREK | 5355
                                       THIRD AMENDMENT OF PETROLEUM  BUSINESS, LLC | AZIM JIWANI | 42
  327      Fuel Supply Agreement                                                                                Mountain Express Oil Company     $0.00
                                       PRODUCTS SUPPLY AGREEMENT     CORNER LLC | NIKITABAHEN M.
                                                                     PATEL | NHAGI LLC | USHA D
                                                                     AHANGKARI
  572      Prime Lease (Single Site)   MASTER LEASE AGREEMENT                TAYLOR MERCANTILE LLC              Mountain Express Oil Company     $0.00

  951      Prime Lease (Single Site)   MASTER LEASE AGREEMENT                TAYLOR MERCANTILE LLC              Mountain Express Oil Company     $0.00

  952      Prime Lease (Single Site)   MASTER LEASE AGREEMENT                TAYLOR MERCANTILE LLC              Mountain Express Oil Company     $0.00

  953      Prime Lease (Single Site)   MASTER LEASE AGREEMENT                TAYLOR MERCANTILE LLC              Mountain Express Oil Company     $0.00

  955      Prime Lease (Single Site)   MASTER LEASE AGREEMENT                TAYLOR MERCANTILE LLC              Mountain Express Oil Company     $0.00

  956      Prime Lease (Single Site)   MASTER LEASE AGREEMENT                TAYLOR MERCANTILE LLC              Mountain Express Oil Company     $0.00

  541      Prime Lease (Single Site)   MASTER LEASE AGREEMENT                TAYLOR MERCANTILE MS1 LLC          Mountain Express Oil Company     $0.00

  539      Prime Lease (Single Site)   MASTER LEASE AGREEMENT                TAYLOR MERCANTILE MS1, LLC         Mountain Express Oil Company     $0.00

  540      Prime Lease (Single Site)   MASTER LEASE AGREEMENT                TAYLOR MERCANTILE MS1, LLC         Mountain Express Oil Company     $0.00

  924      Prime Lease (Single Site)   MASTER LEASE AGREEMENT                TAYLOR MERCANTILE OK1 LLC          Mountain Express Oil Company     $0.00
                                       FIRST AMENDMENT OF PETROLEUM
  161      Fuel Supply Agreement                                             TEJAL RAJABABOO | PINAL DANTARA Mountain Express Oil Company        $0.00
                                       PRODUCTS SUPPLY AGREEMENT
                                       PETROLEUM PRODUCTS SUPPLY
  16       Fuel Supply Agreement                                             TEJAL RAJABABOO | PIYUSH PATEL     Mountain Express Oil Company     $0.00
                                       AGREEMENT
                                       FIRST AMENDMENT OF PETROLEUM          TEJAL RAJABABOO | PIYUSH PATEL |
  16       Fuel Supply Agreement                                                                                Mountain Express Oil Company     $0.00
                                       PRODUCTS SUPPLY AGREEMENT             LAXMI PETROLEUM INC
                                       PETROLEUM PRODUCTS SUPPLY             TEJAL RAJABABOO AND MATAHANI
  161      Fuel Supply Agreement                                                                                Mountain Express Oil Company     $0.00
                                       AGREEMENT                             PETROLEUM INC
3011 |                                                                       TERRY DENNIS | JUSTIN KYLE
           Sublease                    COMMERCIAL LEASE                                                         MEX RE‐SE‐NC LLC                 $0.00
 3004                                                                        DENNIS
                                                                             TEZOS TWO INC | JESSICA LAKISHA
  231      Sublease                    COMMERCIAL LEASE                                                         Mountain Express Oil Company     $0.00
                                                                             DHAWAN
  231      Rebate Agreement            REBATE AGREEMENT                      TEZOS TWO INC.                     Mountain Express Oil Company     $0.00

                                                                             TEZOS TWO INC. |JESSICA LAKISHA
  231      Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                    Mountain Express Oil Company     $0.00
                                                                             DHAWAN | MANDANI HUSSAIN
 3296      Prime Lease (Multi‐Site)    MASTER LEASE AGREEMENT                TFI IA PORTFOLIO LLC               MEX RE‐NW‐IA LLC                 $0.00
 3297      Prime Lease (Single Site)   MASTER LEASE AGREEMENT                TFI IA PORTFOLIO LLC               MEX RE‐NW‐IA LLC                 $0.00
 3298      Prime Lease (Multi‐Site)    MASTER LEASE AGREEMENT                TFI IA PORTFOLIO LLC               MEX RE‐NW‐IA LLC                 $0.00
 3299      Prime Lease (Multi‐Site)    MASTER LEASE AGREEMENT                TFI IA PORTFOLIO LLC               MEX RE‐NW‐IA LLC                 $0.00
 3301      Prime Lease (Single Site)   MASTER LEASE AGREEMENT                TFI IA PORTFOLIO LLC               MEX RE‐NW‐IA LLC                 $0.00
  260      Prime Lease (Single Site)   MASTER LEASE AGREEMENT                TFI MN WI PORTFOLIO LLC            MEX RE‐NW‐WI LLC               $10,000.00
  261      Prime Lease (Single Site)   MASTER LEASE AGREEMENT                TFI MN WI PORTFOLIO LLC            MEX RE‐NW‐MN LLC                 $0.00
                                                                             THE DAWG HOUSE BURGERS AND
  181      Sublease                    COMMERCIAL LEASE                                                         Mountain Express Oil Company     $0.00
                                                                             MORE LLC | MICHAEL SAMUELS
                                                                             THE DAWG HOUSE BURGERS AND
  181      Sublease                    COMMERCIAL LEASE                      MORE LLC | MICHAEL SETH            Mountain Express Oil Company     $0.00
                                                                             SAMUELS
                                                                             THE DAWG HOUSE BURGERS AND
  181      Sublease                    ACKNOWLEDGEMENT LETTER                MORE LLC AND MICHAEL SETH          Mountain Express Oil Company     $0.00
                                                                             SAMUELS
                                                                             THE DAWG HOUSE SEAFOOD
  181      Sublease                    COMMERCIAL LEASE                                                         Mountain Express Oil Company     $0.00
                                                                             COMPANY | MICHAEL SAMUELS
                                                                             88 of 98
                Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 93 of 102
 Store
         Contract Type               Title                             Counterparty                      Debtor Entity                      Est. Cure
Number
                                                                       THE ENGELBRECHT PARTNERSHIP
 685     Prime Lease (Single Site)   LEASE AGREEMENT                   (AS ASSIGNEE OF VAULT CS 1099     Mountain Express Oil Company         $0.00
                                                                       HWY 167 LLC)
                                                                       THE ESAIAS PROJECT INC |
 3124    Sublease                    COMMERCIAL LEASE                                                    MEX RE‐SW‐OK LLC                     $0.00
                                                                       MARCELLUS MCKINLEY
                                                                       THE ESAIAS PROJECT INC |
 3124    Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                               MEX Fuels SW‐OK LLC                  $0.00
                                                                       MARCELLUS MCKINLEY
 425     Sublease                    COMMERCIAL LEASE                  THE GEORGIA TRAVEL CENTER, INC    Mountain Express Oil Company         $0.00

                                                                                                          Mountain Express Oil Company
 753     Fuel Supply Agreement       MARKETING AGREEMENT               THE QUICK LLC                     (as successor‐in‐interest to         $0.00
                                                                                                         Southeastern Energy Corporation)
                                     FIRST AMENDMENT OF MARKETING      THE QUICK LLC | KESARI MART LLC |
 753     Fuel Supply Agreement                                                                            Mountain Express Oil Company        $0.00
                                     AGREEMENT                         HIREN PATEL
                                                                       THIND PETRO SS 1 INC | KULJIT
 540     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                MEX RE‐SE‐MS LLC                    $0.00
                                                                       SINGH | SUPREET KAUR
                                                                       THIND PETRO SS 1 INC | KULJIT
 540     Sublease                    COMMERCIAL LEASE                                                     MEX RE‐SE‐MS LLC                    $0.00
                                                                       SINGH | SUPREET KAUR
                                                                                                          Mountain Express Oil Company
                                                                       THOMAS ROLAND CARTER AND          (as successor‐in‐interest to
 4103    Sublease                    LEASE DECLARATION OF LEASE                                                                               $0.00
                                                                       SUZANNE SAUNDERS CARTER           Central Oil and Supply
                                                                                                         Corporation)
 159     Prime Lease (Single Site)   COMMERCIAL LEASE                  THOMSON TRUCK STOP LLC            Mountain Express Oil Company         $0.00
                                                                       THREE 2 FIVE CORPORATION |
                                     PETROLEUM PRODUCTS SUPPLY
 456     Fuel Supply Agreement                                         MUHAMMAD FARUK HOSSAIN            Mountain Express Oil Company         $0.00
                                     AGREEMENT
                                                                       KHANDAKER
                                                                       THREE DIAMONDS ENTERPRISE LLC |
  27     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT             MOFASSAL HOSSAIN | MD NAZRUL MEX Fuels SE‐TN LLC                       $0.00
                                                                       ISLAM | MD ZIAUDDIN AHMED

                                                                       THREE DIAMONDS ENTERPRISE LLC |
  27     Sublease                    COMMERCIAL LEASE                  MOFAZZAL HOSSAIN | MD NAZRUL MEX RE‐SE‐TN LLC                          $0.00
                                                                       ISLAM | MD ZIAUDDIN AHMED
                                     FIRST AMENDMENT TO COMMERCIAL
 359     Sublease                                                      TITLEMAX OF GEORGIA INC           Mountain Express Oil Company         $0.00
                                     LEASE
                                                                                                          Mountain Express Oil Company
 359     Sublease                    LEASE                             TITLEMAX OF GEORGIA INC           (as successor‐in‐interest to         $0.00
                                                                                                         Winston Property Ventures, LLC)
                                                                     TN JARAL LLC | MIRZA TANVEER
 923     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                               Mountain Express Oil Company         $0.00
                                                                     AKHTAR
                                     FIRST AMENDMENT OF FUEL SUPPLY  TN JARAL LLC | MIRZA TANVEER
 923     Fuel Supply Agreement                                                                           Mountain Express Oil Company         $0.00
                                     AGREEMENT                       AKHTAR
                                     SECOND AMENDMENT OF FUEL SUPPLY TN JARAL LLC | MIRZA TANVEER
 923     Fuel Supply Agreement                                                                           Mountain Express Oil Company         $0.00
                                     AGREEMENT                       AKHTAR
                                     THIRD AMENDMENT OF FUEL SUPPLY  TN JARAL LLC | MIRZA TANVEER
 923     Fuel Supply Agreement                                                                           Mountain Express Oil Company         $0.00
                                     AGREEMENT                       AKHTAR
                                     MOTOR FUEL SUPPLY AND           TONY & RICK FOOD & GAS LLC |
 377     Fuel Supply Agreement                                                                           Mountain Express Oil Company         $0.00
                                     COMMISSIONED SALES AGREEMENT    RAHEEM BUDHANI
                                     FIRST AMENDMENT OF MOTOR FUEL     TONY & RICK FOOD & GAS LLC |
 377     Fuel Supply Agreement       SUPPLY AND COMMISSIONED SALES     RAHEEM BUDHANI | GRIFFIN FOOD     Mountain Express Oil Company         $0.00
                                     AGREEMENT                         AND GAS LLC | HIMANSHU AMIN

                                     SECOND AMENDMENT OF PETROLEUM TONY ENTERPRISES USA INC | TAHIR
 183     Fuel Supply Agreement                                                                      Mountain Express Oil Company              $0.00
                                     PRODUCTS SUPPLY AGREEMENT     N KHAN | SHAMIR LALANI
                                     SECOND AMENDMENT OF COMMERCIAL TONY ENTERPRISES USA INC | TAHIR
 183     Fuel Supply Agreement                                                                       Mountain Express Oil Company             $0.00
                                     LEASE                          N. KHAN | SHAMIR LALANI
                                                                    TOUPS GROUP, LLC (AS ASSIGNEE OF
 3930    Prime Lease (Single Site)   MASTER LEASE AGREEMENT                                          Mountain Express Oil Company           $80,597.63
                                                                    TAYLOR MERCANTILE, LLC)
                                     AMENDMENT TO AND ASSIGNMENT OF
                                                                    TOWER FOOD STOP LLC | CHERRY
 232     Fuel Supply Agreement       PETROLEUM PRODUCTS SUPPLY                                       Mountain Express Oil Company             $0.00
                                                                    PATEL | DHARMESHKUMAR PATEL
                                     AGREEMENT
                                     SECOND AMENDMENT OF PETROLEUM
 232     Fuel Supply Agreement                                     TOWER FOOD STOP LLC|SRI JAY LLC       Mountain Express Oil Company         $0.00
                                     PRODUCTS SUPPLY AGREEMENT
                                                                       TP ALTERATIONS, LLC | TINA
 637     Prime Lease (Single Site)   COMMERCIAL LEASE                                                    Mountain Express Oil Company         $0.00
                                                                       PERKINS




                                                                       89 of 98
                Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 94 of 102
 Store
         Contract Type               Title                           Counterparty                     Debtor Entity                        Est. Cure
Number
                                                                     TQ FOOD MART INC | MOHAMMAD
                                     FIRST AMENDMENT TO MOTOR FUEL   WALEED | KASHIF RANA | R&V
 288     Fuel Supply Agreement       SUPPLY AND COMMISSIONED SALES   MANAGEMENT LLC | SHYAM      Mountain Express Oil Company               $0.00
                                     AGREEMENT                       SUNDER THADEPU |
                                                                     VENKATESHWARLU KOYYADA
 143     Sublease                    COMMERCIAL LEASE                TRACEY WALKER                    Mountain Express Oil Company          $0.00
                                                                     TRANS DEVELOPMENT LLC | ROZINA
                                                                     MUHAMMAD BHAMANI |
 697     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT           MUHAMMAD SULTAN | ALI          Mountain Express Oil Company            $0.00
                                                                     BHAMANI | ASIF NOORALI GOWANI
                                                                     | NIZAR N GOWANI
 3029    Sublease                    COMMERCIAL LEASE                TRAVIS J MCCRAW                  Mountain Express Oil Company          $0.00
                                                                     TRIFECTA MANAGEMENT
                                     FIRST AMENDMENT OF COMMERCIAL
 369     Sublease                                                    SOLUTIONS LLC | TRINA DENISE     Mountain Express Oil Company          $0.00
                                     LEASE
                                                                     MERRITT
                                                                     TRIFECTA MANAGEMENT
 369     Sublease                    COMMERCIAL LEASE                SOLUTIONS, LLC | TRINA DENISE    Mountain Express Oil Company          $0.00
                                                                     MERRITT
 3016    Prime Lease (Single Site)   MASTER LEASE AGREEMENT          TRIO FUND I SHELBY NC LLC        Mountain Express Oil Company          $0.00
                                                                     TROY COMMUNITY MART 1 LLC |
 3009    Sublease                    COMMERCIAL LEASE                                                 MEX RE‐SE‐NC LLC                      $0.00
                                                                     AMIN MIHTAR ABDO
                                                                     TROY COMMUNITY MART 1 LLC |
 3009    Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                            Mountain Express Oil Company          $0.00
                                                                     AMIN MIHTAR ABDO
                                                                     TROY COMMUNITY MART 2 LLC |
 3048    Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                            Mountain Express Oil Company          $0.00
                                                                     AMIN MIHTAR ABDO
                                                                     TROY COMMUNITY MART 2 LLC |
 4048    Sublease                    COMMERCIAL LEASE                                                 MEX RE‐SE‐NC LLC                      $0.00
                                                                     AMIN MIHTAR ABDO
                                     FIFTH AMENDMENT OF COMMERCIAL
 555     Sublease                                                    TRUC NGUYEN                      MEX North Alabama, LLC                $0.00
                                     LEASE
                                                                                                      DT ‐ MEX RE‐SE‐NC LLC (as
 3019    Sublease                    LICENSE AGREEMENT               TRULIANT FEDERAL CREDIT UNION    successor‐in‐interest to Quick        $0.00
                                                                                                      Chek Fuels, Inc.)
                                                                                                       Mountain Express Oil Company
 1941    Equipment Lease             EQUIPMENT LEASE AGREEMENT       TUHIN INC                        (as successor‐in‐interest to Prime    $0.00
                                                                                                      5110 Clark LLC)

                                                                                                       Mountain Express Oil Company
 1941    Sublease                    LEASE AGREEMENT                 TUHIN INC                        (as successor‐in‐interest to Prime    $0.00
                                                                                                      5110 Clark LLC)

 1941    Fuel Supply Agreement       FUEL SUPPLY AGREEMENT           TUHIN INC | SHAHIDUL ISLAM       Mountain Express Oil Company          $0.00
                                     FIRST AMENDMENT TO MOTOR FUEL
 371     Fuel Supply Agreement       SUPPLY AND COMMISSIONED SALES  TUSHAR PATEL                      Mountain Express Oil Company          $0.00
                                     AGREEMENT
                                     MOTOR FUEL SUPPLY AND
 371     Fuel Supply Agreement                                      TUSHAR PATEL                      Mountain Express Oil Company          $0.00
                                     COMMISSIONED SALES AGREEMENT
                                     ETHANOL FUEL SUPPLY AND                                          Mountain Express Ethanol
 379     Fuel Supply Agreement                                      TUSHAR PATEL                                                            $0.00
                                     COMMISSIONED SALES AGREEMENT                                     Company
                                     MOTOR FUEL SUPPLY AND
 379     Fuel Supply Agreement                                      TUSHAR PATEL                      Mountain Express Oil Company          $0.00
                                     COMMISIONED SALES AGREEMENT
                                     FIRST AMENDMENT TO MOTOR FUEL
 379     Fuel Supply Agreement                                      TUSHAR PATEL                      Mountain Express Oil Company          $0.00
                                     SUPPLY AND COMMISSIONED
                                     SECOND AMENDMENT OF MOTOR FUEL
 379     Fuel Supply Agreement       SUPPLY AND COMMISSIONED SALES  TUSHAR PATEL                      Mountain Express Oil Company          $0.00
                                     AGREEMENT
                                     MOTOR FUEL SUPPLY AND
 409     Fuel Supply Agreement                                      TUSHAR PATEL                      Mountain Express Oil Company          $0.00
                                     COMMISSIONED SALES AGREEMENT
                                     FIRST AMENDMENT TO MOTOR FUEL
 409     Fuel Supply Agreement                                      TUSHAR PATEL                      Mountain Express Oil Company          $0.00
                                     SUPPLY AND COMMISSIONED
                                     SECOND AMENDMENT OF MOTOR FUEL
 409     Fuel Supply Agreement       SUPPLY AND COMMISSIONED SALES  TUSHAR PATEL                      Mountain Express Oil Company          $0.00
                                     AGREEMENT
                                     AMENDMENT OF MOTOR FUEL SUPPLY
                                                                    TUSHAR PATEL | RAJ MARATHON
 371     Fuel Supply Agreement       AND COMMISSIONED SALES                                           Mountain Express Oil Company          $0.00
                                                                    LLC
                                     AGREEMENT
  3      Rebate Agreement            REBATE AGREEMENT                TWP1 USA LLC                     Mountain Express Oil Company          $0.00
                                                                     TWP1 USA LLC | SALEEM SOMANI |
  3      Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                            Mountain Express Oil Company          $0.00
                                                                     MURAD ALI
                                                                     TWP1 USA LLC | SALEEM SOMANI |
  3      Sublease                    COMMERCIAL LEASE                                                 Mountain Express Oil Company          $0.00
                                                                     MURAD ALI
                                                                     90 of 98
                 Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 95 of 102
 Store
           Contract Type           Title                                      Counterparty                       Debtor Entity                      Est. Cure
Number
                                                                  TYKS INVESTMENTS 2 LLC | ADITYA
  922      Fuel Supply Agreement   FUEL SUPPLY AGREEMENT                                                         Mountain Express Oil Company        $0.00
                                                                  YANDRATHI
                                   FIRST AMENDMENT OF FUEL SUPPLY TYKS INVESTMENTS 2 LLC | ADITYA
  922      Fuel Supply Agreement                                                                                 Mountain Express Oil Company        $0.00
                                   AGREEMENT                      YANDRATHI
                                                                  TYKS INVESTMENTS 2 LLC | ADITYA
  922      Sublease                COMMERCIAL LEASE                                                              MEX RE‐SW‐TX LLC                    $0.00
                                                                  YANDRATHI
                                   FIRST AMENDMENT OF COMMERCIAL  TYKS INVESTMENTS 2 LLC | ADITYA
  922      Sublease                                                                                              MEX RE‐SW‐TX LLC                    $0.00
                                   LEASE                          YANDRATHI
                                   SECOND AMENDMENT OF COMMERCIAL TYKS INVESTMENTS 2 LLC | ADITYA
  922      Sublease                                                                                              MEX RE‐SW‐TX LLC                    $0.00
                                   LEASE                          YANDRATHI
 3005      Sublease                COMMERCIAL LEASE               TYTIANA ROBINSON                               MEX RE‐SE‐NC LLC                    $0.00
                                   FIRST AMENDMENT OF COMMERCIAL
 3005      Sublease                                               TYTIANA ROBINSON                               MEX RE‐SE‐NC LLC                    $0.00
                                   LEASE
                                   SECOND AMENDMENT OF COMMERCIAL TYTIANA ROBINSON | 3 QUEENZ
 3005      Sublease                                                                                              MEX RE‐SE‐NC LLC                    $0.00
                                   LEASE                          QUISINE LLC
Not Site
           Vendor Agreement        MARKETING AGREEMENT                        UNITED ATM INC                     Mountain Express Oil Company        $0.00
Specific
                                   FACILITY DEVELOPMENT INCENTIVE             UNITED FUEL LLC | MOTIVA
 1027      Oil Company Agreement                                                                                 Mountain Express Oil Company        $0.00
                                   PROGRAM AGREEMENT                          ENTERPRISES LLC
                                   ASSIGNMENT AND ASSUMPTION OF
Not Site                                                                      UNITED FUELS LLC | SUNOCO RETAIL
           Oil Company Agreement   SUNOCO MULTI SITE DEALER MOTOR                                              Mountain Express Oil Company          $0.00
Specific                                                                      LLC | SUNOCO LLC
                                   FUEL AGREEMENT
                                                                              UNITED STATES FUELING COMPANY
  365      Fuel Supply Agreement   EXCLUSIVE FUEL SUPPLY AGREEMENT                                               Mountain Express Oil Company        $0.00
                                                                              LLC
                                                                                                                  MEX RE‐SW‐AR LLC (as successor‐
 3137      Sublease                GROUND LEASE                               UNITED STATES POSTAL SERVICE       in‐interest to T&K Investments      $0.00
                                                                                                                 Inc.)
Not Site                           BACKGROUND SCREENING SERVICE               UNIVERSAL BACKGROUND
           Vendor Agreement                                                                                      Mountain Express Oil Company       $430.08
Specific                           AGREEMENT                                  SCREENING INC.
 3001      Vendor Agreement        ATM SITE LOCATION AGREEMENT                UWHARRIE FUELS LLC                 West Hill Ranch Group LLC           $0.00
                                   PETROLEUM PRODUCTS SUPPLY
  496      Fuel Supply Agreement                                              V P & A, INC | AHMED A. BHADIGIA   Mountain Express Oil Company        $0.00
                                   AGREEMENT
                                   FIRST AMENDMENT OF PETROLEUM               V P & A, INC | AHMED A. BHADIGIA |
  496      Fuel Supply Agreement                                                                                 Mountain Express Oil Company        $0.00
                                   PRODUCTS SUPPLY AGREEMENT                  A R P N USA, INC
  165      Sublease                COMMERCIAL LEASE                           VAISHALIBEN SAUMIL PATEL           Mountain Express Oil Company        $0.00
                                   MOTOR FUEL SUPPLY AND
  165      Fuel Supply Agreement                                              VAISHALIBEN SAUMIL PATEL           Mountain Express Oil Company        $0.00
                                   COMMISSIONED SALES AGREEMENT
                                   Brand Conversion Agreement ‐ Valero
                                                                              VALERO MARKETING AND SUPPLY
  24       Oil Company Agreement   Brand ‐ Program 2018d1 ‐ Marketer                                             Mountain Express Oil Company        $0.00
                                                                              COMPANY
                                   Install ‐ New Site
                                   BRANDED SITE INCENTIVE AGREEMENT           VALERO MARKETING AND SUPPLY
  24       Oil Company Agreement                                                                                 Mountain Express Oil Company        $0.00
                                   VALERO BRAND                               COMPANY
                                   Cash Incentive Agreement ‐ Single Site ‐   VALERO MARKETING AND SUPPLY
  24       Oil Company Agreement                                                                                 Mountain Express Oil Company        $0.00
                                   Custom                                     COMPANY
                                   Confirmation of Station Commencement
                                                                             VALERO MARKETING AND SUPPLY
  26       Oil Company Agreement   Date and Actual Materials Costs ‐Original                                     Mountain Express Oil Company        $0.00
                                                                             COMPANY
                                   Conversion ‐Distributor Install
                                   BRAND CONVERSION AGREEMENT                 VALERO MARKETING AND SUPPLY
  154      Oil Company Agreement                                                                                 Mountain Express Oil Company        $0.00
                                   VALEROBRAND –VANGUARD IMAGE                COMPANY
                                   Brand Conversion Agreement ‐ Valero
                                                                              VALERO MARKETING AND SUPPLY
  273      Oil Company Agreement   Brand ‐ Program 2018d1 ‐ Marketer                                             Mountain Express Oil Company        $0.00
                                                                              COMPANY
                                   Install ‐ New Site
                                   Brand Conversion Agreement ‐ Valero
                                                                              VALERO MARKETING AND SUPPLY
  537      Oil Company Agreement   Brand ‐ Program 2018d1 ‐ Marketer                                             Mountain Express Oil Company        $0.00
                                                                              COMPANY
                                   Install ‐ New Site
                                                                              VALERO MARKETING AND SUPPLY
  854      Oil Company Agreement   BRAND CONVERSION AGREEMENT                                                    Mountain Express Oil Company        $0.00
                                                                              COMPANY
                                   Brand Conversion Agreement ‐ Valero
                                                                              VALERO MARKETING AND SUPPLY
 1936      Oil Company Agreement   Brand ‐ Program 2018d1 ‐ Marketer                                             Mountain Express Oil Company        $0.00
                                                                              COMPANY
                                   Install ‐ New Site
                                                                              VALERO MARKETING AND SUPPLY
 1937      Oil Company Agreement   BRANDED SITE INCENTIVE AGREEMENT                                              Mountain Express Oil Company        $0.00
                                                                              COMPANY
                                   CONFIRMATION LETTER RE THE STATION
                                   COMMENCEMENT DATE AND ACTUAL
                                   MATERIAL COSTS AND ORIGINAL         VALERO MARKETING AND SUPPLY
 1937      Oil Company Agreement                                                                                 Mountain Express Oil Company        $0.00
                                   CONVERSION AND DISTRIBUTOR          COMPANY
                                   INSTALL UNDER THE BRAND
                                   CONVERSION AGREEMENT
                                                                       VALERO MARKETING AND SUPPLY
 1943      Oil Company Agreement   BRANDED SITE INCENTIVE AGREEMENT                                              Mountain Express Oil Company        $0.00
                                                                       COMPANY
                                   Brand Conversion Agreement ‐ Valero
                                                                       VALERO MARKETING AND SUPPLY
 1943      Oil Company Agreement   Brand ‐ Program 2018d1 ‐ Marketer                                             Mountain Express Oil Company        $0.00
                                                                       COMPANY
                                   Install ‐ New Site
                                                                              91 of 98
                 Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 96 of 102
  Store
          Contract Type               Title                                 Counterparty                     Debtor Entity                  Est. Cure
 Number
                                                                               VALERO MARKETING AND SUPPLY
  1944    Oil Company Agreement       BRAND CONVERSION AGREEMENT                                             Mountain Express Oil Company    $0.00
                                                                               COMPANY
                                                                               VALERO MARKETING AND SUPPLY
  1946    Oil Company Agreement       BRANDED SITE INCENTIVE AGREEMENT                                       Mountain Express Oil Company    $0.00
                                                                               COMPANY
                                                                               VALERO MARKETING AND SUPPLY
  1946    Oil Company Agreement       BRAND CONVERSION AGREEMENT                                             Mountain Express Oil Company    $0.00
                                                                               COMPANY
                                      CONFIRMATION LETTER RE THE STATION
                                      COMMENCEMENT DATE AND ACTUAL
                                      MATERIAL COSTS AND ORIGINAL              VALERO MARKETING AND SUPPLY
  1949    Oil Company Agreement                                                                              Mountain Express Oil Company    $0.00
                                      CONVERSION AND DISTRIBUTOR               COMPANY
                                      INSTALL UNDER THE BRAND
                                      CONVERSION AGREEMENT
                                                                               VALERO MARKETING AND SUPPLY
  1949    Oil Company Agreement       BRAND CONVERSION AGREEMENT                                             Mountain Express Oil Company    $0.00
                                                                               COMPANY
                                      Brand Conversion Agreement ‐ Valero
                                                                               VALERO MARKETING AND SUPPLY
  1982    Oil Company Agreement       Brand ‐ Program 2018d1 ‐ Marketer                                      Mountain Express Oil Company    $0.00
                                                                               COMPANY
                                      Install ‐ New Site
                                      Cash Incentive Agreement ‐ Single Site ‐ VALERO MARKETING AND SUPPLY
  1982    Oil Company Agreement                                                                              Mountain Express Oil Company    $0.00
                                      Custom                                   COMPANY
                                      Brand Conversion Agreement ‐ Valero
                                                                               VALERO MARKETING AND SUPPLY
  1985    Oil Company Agreement       Brand ‐ Program 2018d1 ‐ Marketer                                      Mountain Express Oil Company    $0.00
                                                                               COMPANY
                                      Install ‐ New Site
                                      Cash Incentive Agreement ‐ Single Site ‐ VALERO MARKETING AND SUPPLY
  1985    Oil Company Agreement                                                                              Mountain Express Oil Company    $0.00
                                      Custom                                   COMPANY
  1064 |
  3016 |
                                      BRANDED DISTRIBUTOR MARKETING         VALERO MARKETING AND SUPPLY
  1058 | Oil Company Agreement                                                                               Mountain Express Oil Company    $0.00
                                      AGREEMENT                             COMPANY
1946 | 922
  | 1939
                                      BRANDED DISTRIBUTOR INDEX PRICING VALERO MARKETING AND SUPPLY
          Oil Company Agreement                                                                              Mountain Express Oil Company    $0.00
                                      AGREEMENT                               COMPANY
                                                                              VALERO MARKETING AND SUPPLY
          Oil Company Agreement       MASTER INCENTIVE AGREEMENT                                             Mountain Express Oil Company    $0.00
                                                                              COMPANY
                                      AMENDMENT TO PETROLEUM PRODUCT VALERO MARKETING AND SUPPLY
          Oil Company Agreement                                                                              MEX Fuels NE‐NY LLC             $0.00
                                      SALES AGREEMENT                         COMPANY
                                      BRANDED DISTRIBUTOR MARKETING           VALERO MARKETING AND SUPPLY
          Oil Company Agreement                                                                              Mountain Express Oil Company    $0.00
                                      AGREEMENT                               COMPANY
                                      BRANDED DISTRIBUTOR MARKETING           VALERO MARKETING AND SUPPLY
          Oil Company Agreement                                                                              Mountain Express Oil Company    $0.00
                                      AGREEMENT                               COMPANY
                                      PETROLEUM PRODUCT SALE                  VALERO MARKETING AND SUPPLY
          Oil Company Agreement                                                                              MEX Fuels NE‐NY LLC             $0.00
                                      AGREEMENT                               COMPANY
                                      1089 Modification of Exhibit A ("1089"}
                                                                              VALERO MARKETING AND SUPPLY
          Oil Company Agreement       to Branded Distributor Marketing                                       Mountain Express Oil Company    $0.00
                                                                              COMPANY
                                      Agreement ("DMA")
                                      AMENDMENT TO EXHIBIT A TO
                                                                              VALERO MARKETING AND SUPPLY
          Oil Company Agreement       BRANDED DISTRIBUTOR MARKETING                                          Mountain Express Oil Company    $0.00
                                                                              COMPANY
                                      AGREEMENT ("DMA ")
                                      Brand Conversion Agreement ‐ Valero
                                                                              VALERO MARKETING AND SUPPLY
          Oil Company Agreement       Brand ‐ Program 2018d1 ‐ Marketer                                      Mountain Express Oil Company    $0.00
                                                                              COMPANY
                                      Install ‐ New Site
                                      Branded Distributor Marketing           VALERO MARKETING AND SUPPLY
          Oil Company Agreement                                                                              Mountain Express Oil Company    $0.00
                                      Agreement (Contract No. 141010)         COMPANY
                                      Brand Conversion Agreement ‐ Valero
                                                                            VALERO MARKETING AND SUPPLY
          Oil Company Agreement       Brand ‐ Program 2018d1 ‐ Marketer                                      Mountain Express Oil Company    $0.00
                                                                            COMPANY
                                      Install ‐ New Site (Lakewood, OH)

                                                                            VALUE MART 1 INC | KHALID
  3031    Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                              Mountain Express Oil Company        $0.00
                                                                            MOHAMMED WAIS | ABDUL NASSER
                                                                            VALUE MART 2 INC | GHILAN M AL
  3024    Sublease                    COMMERCIAL LEASE                                                       MEX RE‐SE‐NC LLC                $0.00
                                                                            WAISI | ABDULNASSER
                                                                            VALUE MART 2 INC | GHILAN M
  3024    Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                  Mountain Express Oil Company    $0.00
                                                                            ALWAISI | ABDUL NASSER
  677     Prime Lease (Single Site)   LEASE AGREEMENT                       VAULT CS 1010 MAIN LLC           Mountain Express Oil Company    $0.00

  684     Prime Lease (Single Site)   LEASE AGREEMENT                       VAULT CS 1229 EDGAR LLC          Mountain Express Oil Company    $0.00

   26     Prime Lease (Single Site)   LEASE AGREEMENT                       VAULT CS 1268 LIBERTY HILL LLC   Mountain Express Oil Company    $0.00

  208     Prime Lease (Single Site)   LEASE AGREEMENT                       VAULT CS 1295 CANTON LLC         Mountain Express Oil Company    $0.00

  437     Prime Lease (Single Site)   LEASE AGREEMENT                       VAULT CS 1339 MAIN LLC           Mountain Express Oil Company    $0.00


                                                                            92 of 98
                Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 97 of 102
 Store
         Contract Type               Title             Counterparty                     Debtor Entity                    Est. Cure
Number
  65     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS 181 HOMER LLC           Mountain Express Oil Company      $0.00

 165     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS 186 MAIN LLC            Mountain Express Oil Company      $0.00
 564     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS 213 RED BAY LLC         MEX North Alabama, LLC            $0.00
 683     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS 2400 MAIN LLC           Mountain Express Oil Company      $0.00

 680     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS 2424 NORTH WEST LLC     Mountain Express Oil Company      $0.00

  37     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS 2488 CURRAHEE LLC       Mountain Express Oil Company      $0.00
                                                       VAULT CS 30119 CENTRAL GROVE
 263     Prime Lease (Single Site)   LEASE AGREEMENT                                    Mountain Express Oil Company      $0.00
                                                       LLC
 551     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS 3259 CULLMAN LLC        MEX North Alabama, LLC            $0.00
 183     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS 336 HWY 138 LLC         Mountain Express Oil Company      $0.00

 675     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS 3631 HWY 367 LLC5       Mountain Express Oil Company      $0.00

 682     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS 4400 HILLSBORO LLC      Mountain Express Oil Company      $0.00

  3      Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS 5195 TOWNE LAKE LLC     Mountain Express Oil Company      $0.00
 556     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS 6390 CULLMAN LLC        MEX North Alabama, LLC            $0.00
  18     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS 640 BLUE RIDGE LLC      Mountain Express Oil Company      $0.00

 220     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS 6425 BELLS FERRY LLC    Mountain Express Oil Company      $0.00

 681     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS 800 PERSHING LLC        Mountain Express Oil Company      $0.00

 459     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS 811 BROAD LLC           Mountain Express Oil Company      $0.00
 566     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS 908 RED BAY LLC         MEX North Alabama, LLC            $0.00
 674     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS 9909 HWY 5 LLC          Mountain Express Oil Company      $0.00

 674     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS 9909 HWY 5 LLC          Mountain Express Oil Company      $0.00
 558     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS ARLEY LLC               MEX North Alabama, LLC            $0.00
  4      Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS BALDWIN LLC             Mountain Express Oil Company      $0.00

  17     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS BELLS 11429 FERRY LLC   Mountain Express Oil Company      $0.00

 234     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS BUFORD LLC              Mountain Express Oil Company      $0.00

 180     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS CANTON LLC              Mountain Express Oil Company      $0.00

  31     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS CHATSWORTH LLC          Mountain Express Oil Company      $0.00

 581     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS COVINGTON LLC,          Mountain Express Oil Company      $0.00

 143     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS DOUGLASVILLE LLC        Mountain Express Oil Company      $0.00
 553     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS EVA LLC                 MEX North Alabama, LLC            $0.00
 554     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS GOOD HOPE LLC           MEX North Alabama, LLC            $0.00
 561     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS GOVERNORS LLC,          MEX North Alabama, LLC            $0.00
  90     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS JASPER LLC              Mountain Express Oil Company      $0.00

 614     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS LAWRENCEVILLE LLC       Mountain Express Oil Company      $0.00
 557     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS MADISON PIKE LLC        MEX North Alabama, LLC            $0.00
 510     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS MCALLEN LLC             Texas MEX Limited Company, LLC    $0.00

 593     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS MLK LLC                 Mountain Express Oil Company      $0.00

 278     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS MORROW LLC              Mountain Express Oil Company      $0.00
 559     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS ONEONTA LLC             MEX North Alabama, LLC            $0.00
 562     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS PHIL CAMPBELL LLC       MEX North Alabama, LLC            $0.00
 639     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS REX LLC                 Mountain Express Oil Company      $0.00

 514     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS RIO GRANDE LLC          Texas MEX Limited Company, LLC    $0.00
 563     Prime Lease (Single Site)   LEASE AGREEMENT   VAULT CS RUSSELLVILLE LLC        MEX North Alabama, LLC            $0.00


                                                       93 of 98
                   Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 98 of 102
  Store
            Contract Type               Title                            Counterparty                     Debtor Entity                    Est. Cure
 Number
   190      Prime Lease (Single Site)   LEASE AGREEMENT                  VAULT CS SUMMERVILLE LLC         Mountain Express Oil Company      $0.00

   191      Prime Lease (Single Site)   LEASE AGREEMENT                  VAULT CS TRION LLC               Mountain Express Oil Company      $0.00
   567      Prime Lease (Single Site)   LEASE AGREEMENT                  VAULT CS VINA LLC                MEX North Alabama, LLC            $0.00
   512      Prime Lease (Single Site)   LEASE AGREEMENT                  VAULT CS WESLACO LLC             Texas MEX Limited Company, LLC    $0.00
   560      Prime Lease (Single Site)   LEASE AGREEMENT                  VAULT CS WHITESBURG LLC          MEX North Alabama, LLC            $0.00
    14      Prime Lease (Single Site)   LEASE AGREEMENT                  VAULT CS WOODSTOCK LLC           Mountain Express Oil Company      $0.00

   679      Prime Lease (Single Site)   LEASE AGREEMENT                  VAULT CS 1600 MAIN LLC           Mountain Express Oil Company      $0.00

                                                                                                           Mountain Express Oil Company
   128      Sublease                    LEASE AGREEMENT                  VICTORIA LLC                     (as successor‐in‐interest to      $0.00
                                                                                                          Highway Energy, LLC)
                                        FIRST AMENDMENT TO MOTOR FUEL
   425      Fuel Supply Agreement       SUPPLY AND COMMISSIONED SALES    VIJAY DEEPAKKUMAR PATEL          Mountain Express Oil Company      $0.00
                                        AGREEMENT AND COMMERCIAL LEASE
                                        AMENDMENT TO AND ASSIGNMENT OF   VIJAY DEPAK KUMAR | HUM, INC |
   785      Sublease                    MOTOR FUEL SUPPLY AND            RIDDHI PATEL | TEJAS BABALBHAI   Mountain Express Oil Company      $0.00
                                        COMMERCIAL LEASE STORE NO. 785   PATEL
   425      Sublease                    COMMERCIAL LEASE                 VIJAY DEPAK KUMAR PATEL          Mountain Express Oil Company      $0.00
                                        MOTOR FUEL SUPPLY AND
   425      Fuel Supply Agreement                                        VIJAY DEPAK KUMAR PATEL          Mountain Express Oil Company      $0.00
                                        COMMISSIONED SALES AGREEMENT
                                        FIRST AMENDMENT TO MOTOR FUEL
   765      Fuel Supply Agreement       SUPPLY AND COMMISSIONED SALES    VIJAY DEPAK KUMAR PATEL          Mountain Express Oil Company      $0.00
                                        AGREEMENT
                                                                                                          Mountain Express Oil Company
   765      Sublease                    COMMERCIAL LEASE                 VIJAY DEPAK KUMAR PATEL                                            $0.00
                                                                                                          Southeast, LLC
                                        MOTOR FUEL SUPPLY AND
   765      Fuel Supply Agreement                                        VIJAY DEPAK KUMAR PATEL          Mountain Express Oil Company      $0.00
                                        COMMISSIONED SALES AGREEMENT
                                        FIRST AMENDMENT TO MOTOR FUEL
   785      Fuel Supply Agreement       SUPPLY AND COMMISSIONED SALES    VIJAY DEPAK KUMAR PATEL          Mountain Express Oil Company      $0.00
                                        AGREEMENT
                                                                                                          Mountain Express Oil Company
   785      Sublease                    COMMERCIAL LEASE                 VIJAY DEPAK KUMAR PATEL                                            $0.00
                                                                                                          Southeast, LLC
                                        MOTOR FUEL SUPPLY AND
   785      Fuel Supply Agreement                                        VIJAY DEPAK KUMAR PATEL          Mountain Express Oil Company      $0.00
                                        COMMISSIONED SALES AGREEMENT
                                        MUTUAL TERMINATION OF MOTOR
                                        FUEL SUPPLY AND COMMISSIONED
   265      Fuel Supply Agreement                                        VIJAYKUMAR PATEL | GAYATRI LLC   Mountain Express Oil Company      $0.00
                                        SALES AGREEMENT AND COMMERCIAL
                                        LEASE
                                        FIRST AMENDMENT OF FUEL SUPPLY   VIKRANT TUPDALE | RASHEED
   412      Fuel Supply Agreement                                                                         Mountain Express Oil Company      $0.00
                                        AGREEMENT                        VIRANI
                                                                         VIKRANT TUPDALE | RASHEED
   412      Fuel Supply Agreement       FUEL SUPPLY AGREEMENT            VIRANI | UNITED INVESTMENT USA   Mountain Express Oil Company      $0.00
                                                                         LLC
 Not Site
            Vendor Agreement            Website Contract                 VISUAL JAVA INC                  Mountain Express Oil Company      $0.00
 Specific

961 | 962 |
963 | 964 |
965 | 966 |
967 | 968 | Fuel Supply Agreement       MASTER FUEL SUPPLY AGREEMENT     VM PETRO INC                     MEX Fuels NE‐NY LLC               $0.00
969 | 971 |
972 | 973 |
974 | 975 |


  3698      Sublease                    COMMERCIAL LEASE                 WANDA SRYGLEY TRUST              Mountain Express Oil Company      $0.00
                                                                         WBP USA INC | AHMED ABDULLA
  3257      Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                             Mountain Express Oil Company      $0.00
                                                                         BHADIGIA
  3160      Vendor Agreement            CUSTOMER SERVICE AGREEMENT       WCA OF MISSOURI LLC              Mountain Express Oil Company      $0.00
                                                                         WE CARE HOME CARE LLC |
   143      Sublease                    COMMERCIAL LEASE                                                  Mountain Express Oil Company      $0.00
                                                                         JADAWANYA BURTON
                                        PETROLEUM PRODUCTS SUPPLY
   445      Fuel Supply Agreement                                        WELCOME PANTRY LLC               Mountain Express Oil Company      $0.00
                                        AGREEMENT
                                        FIRST AMENDMENT COMMERCIAL
   241      Sublease                                                     WELONG TAO | KUAN ZUAN ZHENG Mountain Express Oil Company          $0.00
                                        LEASE
                                                                         WENLONG TAO | KUAN ZUAN
   241      Sublease                    COMMERCIAL LEASE                                                  Mountain Express Oil Company      $0.00
                                                                         ZHENG
                                                                         94 of 98
                Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 99 of 102
 Store
         Contract Type               Title                              Counterparty                     Debtor Entity                        Est. Cure
Number
                                                                                                          West Hill Ranch Group LLC (as
                                                                        WESLEY KIRK TERRELL AND JAY
 3004    Prime Lease (Single Site)   AMENDMENT TO LEASE                                                  successor‐in‐interest to United      $2,000.00
                                                                        MICHAEL TERRELL
                                                                                                         Fuels, LLC)
                                                                                                          West Hill Ranch Group LLC (as
                                                                        WESLEY KIRK TERRELL AND JAY
 3004    Prime Lease (Single Site)   AMENDMENT TO LEASE                                                  successor‐in‐interest to United      $2,000.00
                                                                        MICHAEL TERRELL
                                                                                                         Fuels, LLC)
 3572    Prime Lease (Single Site)   COMMERCIAL LEASE                   WHRGOPS SE‐AL‐NORTH LLC           Mountain Express Oil Company         $0.00

 3116    Intercompany Agreement COMMERCIAL LEASE                        WHRGOPS SW LA LLC                 MEX RE‐SW‐LA LLC                     $0.00

 3117    Intercompany Agreement COMMERCIAL LEASE                        WHRGOPS SW LA LLC                 MEX RE‐SW‐LA LLC                     $0.00

 3118    Intercompany Agreement COMMERCIAL LEASE                        WHRGOPS SW LA LLC                 MEX RE‐SW‐LA LLC                     $0.00

 3308    Sublease                    COMMERCIAL LEASE                   WHRGOPS SW‐AR‐NWAR                Mountain Express Oil Company         $0.00

 313     Intercompany Agreement COMMERCIAL LEASE                        WHRGOPS SW‐AR‐NWAR LLC            Mountain Express Oil Company         $0.00

 315     Intercompany Agreement COMMERCIAL LEASE                        WHRGOPS SW‐AR‐NWAR LLC            Mountain Express Oil Company         $0.00

                                                                                                          Mountain Express Oil Company
 3040    Sublease                    LEASE AGREEMENT                    WILLIAMS PROPERTIES II LLC                                             $0.00
                                                                                                         (as assignee of PFJ Southeast LLC)

 735     Prime Lease (Single Site)   MASTER LEASE AGREEMENT             WOODVILLE REALTY LLC              Mountain Express Oil Company         $0.00
                                                                      WSB USA INC | AHMED ABDULLA
 3262    Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                Mountain Express Oil Company         $0.00
                                                                      BHADIGIA
                                                                      WWC USA INC | AHMED ABDULLA
 3256    Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                Mountain Express Oil Company         $0.00
                                                                      BHADIGIA
                                                                      YASHU CORPORATION | BANSARI
 615     Rebate Agreement            REBATE AND SETTLEMENT AGREEMENT                                      Mountain Express Oil Company         $0.00
                                                                      PATEL
                                     PETROLEUM PRODUCTS SUPPLY        YASHU CORPORATION | BANSARI
 615     Fuel Supply Agreement                                                                            Mountain Express Oil Company         $0.00
                                     AGREEMENT                        PATEL
                                     FIRST AMENDMENT OF COMMERCIAL
 555     Sublease                                                     YEN THI JOHNSON                     MEX North Alabama, LLC                $0.00
                                     LEASE
 555     Sublease                    COMMERCIAL LEASE                 YEN THI JOHNSON                     MEX North Alabama, LLC               $0.00
                                     SECOND AMENDMENT OF COMMERCIAL
 555     Sublease                                                     YEN THI JOHNSON | PRISCILLA LY      MEX North Alabama, LLC               $0.00
                                     LEASE
                                     AMENDED AND RESTATED FUEL SUPPLY
 962     Fuel Supply Agreement                                        YONKERS FUEL INC                    MEX Fuels NE‐NY LLC                  $0.00
                                     AGREEMENT
                                     AMENDED AND RESTATED
 962     Sublease                                                     YONKERS FUEL INC                    MEX RE‐NE‐NY‐LI LLC                  $0.00
                                     COMMERCIAL LEASE
                                     FIRST AMENDMENT OF AMENDED AND
                                     RESTATED COMMERCIAL LEASE AND    YONKERS FUEL INC | RVERDALE
 962     Sublease                                                                                         MEX RE‐NE‐NY‐LI LLC                  $0.00
                                     AMENDED AND RESTATED FUEL SUPPLY FUEL INC | JAHIRUL ALAM
                                     AGREEMENT
                                     SECOND AMENDMENT TO              YOUNG KIM | TD 88, LLC | WEI FEN
 183     Sublease                                                                                         Mountain Express Oil Company         $0.00
                                     COMMERCIAL LEASE                 LIN
 430     Equipment Lease             EQUIPMENT FINANCE AGREEMENT        ZAINULABDIN W GILLANI             Mountain Express Oil Company         $0.00

 369     Sublease                    COMMERCIAL LEASE                   ZANTAVIUS FULLER                  Mountain Express Oil Company         $0.00
                                     PETROLEUM PRODUCTS SUPPLY
 443     Fuel Supply Agreement                                          ZEHRA CHORONIA                    Mountain Express Oil Company         $0.00
                                     AGREEMENT
                                                                    ZENITH BUSINESS SOLUTIONS LLC |
 792     Fuel Supply Agreement       FUEL SUPPLY AGREEMENT                                                Mountain Express Oil Company         $0.00
                                                                    ABDUL MUQEET MOHAMMED
                                                                    ZENITH BUSINESS SOLUTIONS LLC |      Mountain Express Oil Company
 792     Sublease                    COMMERCIAL LEASE                                                                                          $0.00
                                                                    ABDUL MUQEET MOHAMMED                Southeast, LLC
                                                                    ZENITH BUSINESS SOLUTIONS LLC |
                                     SECOND AMENDMENT OF COMMERCIAL
 792     Sublease                                                   ABDUL MUQEET MOHAMMED |               Mountain Express Oil Company         $0.00
                                     LEASE
                                                                    PRIKRIT INC | HASMUKLAL PATEL
                                                                    ZENITH BUSINESS SOLUTIONS LLC |
                                     FIRST AMENDMENT TO COMMERCIAL                                       Mountain Express Oil Company
 792     Sublease                                                   ABDUL MUQEET MOHAMMED |                                                    $0.00
                                     LEASE                                                               Southeast, LLC
                                                                    PRIKRIT INC | HASMUKLAL PATEL
                                     PETROLEUM PRODUCTS SUPPLY
 561     Fuel Supply Agreement                                      ZOOM ONE LLC                          Mountain Express Oil Company         $0.00
                                     AGREEMENT
 561     Sublease                    COMMERCIAL LEASE                   ZOOM ONE LLC                      Mountain Express Oil Company         $0.00
                                     FIRST AMENDMENT TO COMMERCIAL
 561     Sublease                                                       ZOOM ONE LLC                      Mountain Express Oil Company         $0.00
                                     LEASE
                                     AMENDED AND RESTATED FUEL SUPPLY   ZOZO CONVENIENCE LLC | ISLAM M
  78     Fuel Supply Agreement                                                                            Mountain Express Oil Company         $0.00
                                     AGREEMENT                          HAGRAS
                                     FIRST AMENDMENT OF PETROLEUM       ZZH INC | AYAZ KHALIL KHAN | SAMI
 284     Fuel Supply Agreement                                                                            Mountain Express Oil Company         $0.00
                                     PRODUCTS SUPPLY AGREEMENT          UDDIN

                                                                        95 of 98
              Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 100 of 102
 Store
         Contract Type            Title                             Counterparty                  Debtor Entity                   Est. Cure
Number
                                  PETROLEUM PRODUCTS SUPPLY         ZZZH INC AND MUHAMMAD ZAHID
 284     Fuel Supply Agreement                                                                    Mountain Express Oil Company     $0.00
                                  AGREEMENT                         SALEEM
 108     Intercompany Agreement COMMERCIAL LEASE                                                  MEX RE‐SW‐OK LLC                 $0.00

 312     Intercompany Agreement COMMERCIAL LEASE                                                  Mountain Express Oil Company     $0.00

 316     Intercompany Agreement COMMERCIAL LEASE                                                  WHRGOPS SW‐AR‐NWAR LLC           $0.00

 317     Intercompany Agreement COMMERCIAL LEASE                                                  Mountain Express Oil Company     $0.00

 320     Intercompany Agreement COMMERCIAL LEASE                                                  Mountain Express Oil Company     $0.00

 512     Intercompany Agreement COMMERCIAL LEASE                                                  West Hill Ranch Group LLC        $0.00

 513     Intercompany Agreement COMMERCIAL LEASE                                                  Mountain Express Oil Company     $0.00

 520     Intercompany Agreement COMMERCIAL LEASE                                                  West Hill Ranch Group LLC        $0.00

 907     Intercompany Agreement COMMERCIAL LEASE                                                  MEX RE‐SW‐OK LLC                 $0.00

 927     Intercompany Agreement COMMERCIAL LEASE                                                  Mountain Express Oil Company     $0.00

 928     Intercompany Agreement COMMERCIAL LEASE                                                  Mountain Express Oil Company     $0.00

 933     Intercompany Agreement COMMERCIAL LEASE                                                  West Hill Ranch Group LLC        $0.00

 3001    Intercompany Agreement COMMERCIAL LEASE                                                  Mountain Express Oil Company     $0.00

 3006    Intercompany Agreement COMMERCIAL LEASE                                                  Mountain Express Oil Company     $0.00

 3015    Intercompany Agreement COMMERCIAL LEASE                                                  Mountain Express Oil Company     $0.00

 3016    Intercompany Agreement COMMERCIAL LEASE                                                  West Hill Ranch Group LLC        $0.00

 3037    Intercompany Agreement COMMERCIAL LEASE                                                  WHRGOPS SW‐OK‐OKC LLC            $0.00

 3038    Intercompany Agreement COMMERCIAL LEASE                                                  West Hill Ranch Group LLC        $0.00

 3040    Intercompany Agreement COMMERCIAL LEASE                                                  West Hill Ranch Group LLC        $0.00

 3060    Intercompany Agreement COMMERCIAL LEASE                                                  West Hill Ranch Group LLC        $0.00

 3060    Intercompany Agreement COMMERCIAL LEASE                                                  Mountain Express Oil Company     $0.00

 3061    Intercompany Agreement COMMERCIAL LEASE                                                  Mountain Express Oil Company     $0.00
                                FIRST AMENDMENT OF COMMERCIAL
 3063    Intercompany Agreement                                                                   Mountain Express Oil Company     $0.00
                                LEASE (“Amendment”)
                                ASSIGNMENT AND ASSUMPTION OF
 3090    Intercompany Agreement                                                                   MEX RE‐SW‐LA LLC                 $0.00
                                MASTER LEASE
                                VIDEO DRAW POKER EXCLUSIVE DEVICE
                                                                                                   Madison Auto Truck Plaza And
 3101    Sublease               PLACEMENT RIGHT, SPACE LEASE. AND                                                                  $0.00
                                                                                                  Lucky Dollar
                                OPERATING AGREEMENT
 3123    Intercompany Agreement COMMERCIAL LEASE                                                  MEX RE‐SW‐OK LLC                 $0.00

 3150    Intercompany Agreement COMMERCIAL LEASE                                                  MEX RE‐NW‐MO LLC                 $0.00

 3160    Intercompany Agreement COMMERCIAL LEASE                                                  MEX RE‐NW‐KS LLC                 $0.00

 3170    Intercompany Agreement COMMERCIAL LEASE                                                  WHRG TC‐NW‐WY LLC                $0.00

 3201    Intercompany Agreement COMMERCIAL LEASE                                                  MEX RE‐SE‐SC LLC                 $0.00

 3201    Intercompany Agreement COMMERCIAL LEASE                                                  MEX RE‐SE‐SC LLC                 $0.00

 3202    Intercompany Agreement COMMERCIAL LEASE                                                  MEX RE‐NE‐PA LLC                 $0.00

 3202    Intercompany Agreement COMMERCIAL LEASE                                                  MEX RE‐NE‐PA LLC                 $0.00

 3203    Intercompany Agreement COMMERCIAL LEASE                                                  MEX RE‐NE‐PA LLC                 $0.00

 3203    Intercompany Agreement COMMERCIAL LEASE                                                  MEX RE‐NE‐PA LLC                 $0.00
 3228    Sublease                 COMMERCIAL LEASE                                                WHRGOPS NW‐MI LLC                $0.00


                                                                    96 of 98
              Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 101 of 102
 Store
         Contract Type         Title               Counterparty   Debtor Entity                  Est. Cure
Number
 3228    Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐NW‐WI LLC                $0.00

 3229    Intercompany Agreement COMMERCIAL LEASE                  WHRGOPS NW‐MI LLC               $0.00

 3230    Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐NW‐WI LLC                $0.00

 3231    Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐NW‐WI LLC                $0.00

 3232    Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐NW‐WI LLC                $0.00

 3233    Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐NW‐WI LLC                $0.00

 3234    Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐NW‐WI LLC                $0.00

 3235    Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐NW‐WI LLC                $0.00

 3236    Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐NW‐WI LLC                $0.00

 3237    Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐NW‐WI LLC                $0.00

 3238    Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐NW‐WI LLC                $0.00

 3239    Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐NW‐WI LLC                $0.00

 3240    Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐NW‐WI LLC                $0.00

 3241    Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐NW‐WI LLC                $0.00

 3242    Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐NW‐WI LLC                $0.00

 3243    Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐NW‐WI LLC                $0.00

 3244    Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐NW‐WI LLC                $0.00

 3245    Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐NW‐WI LLC                $0.00

 3246    Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐NW‐WI LLC                $0.00

 3247    Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐NW‐WI LLC                $0.00

 3248    Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐NW‐WI LLC                $0.00

 3249    Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐NW‐WI LLC                $0.00

 3250    Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐SW‐LA LLC                $0.00

 3251    Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐NW‐WI LLC                $0.00

 3252    Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐NW‐WI LLC                $0.00

 3253    Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐NW‐WI LLC                $0.00

 3260    Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐SW‐LA LLC                $0.00

 3270    Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐NW‐ND LLC                $0.00

 3280    Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐NW‐ND LLC                $0.00

 3311    Intercompany Agreement COMMERCIAL LEASE                  Mountain Express Oil Company    $0.00

 3451    Intercompany Agreement COMMERCIAL LEASE                  Mountain Express Oil Company    $0.00

 3452    Intercompany Agreement COMMERCIAL LEASE                  WHRGOPS SW‐OK‐OKC LLC           $0.00

 3453    Intercompany Agreement COMMERCIAL LEASE                  Mountain Express Oil Company    $0.00

 3454    Intercompany Agreement COMMERCIAL LEASE                  Mountain Express Oil Company    $0.00

 3455    Intercompany Agreement COMMERCIAL LEASE                  Mountain Express Oil Company    $0.00

 3456    Intercompany Agreement COMMERCIAL LEASE                  Mountain Express Oil Company    $0.00

 3457    Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐SW‐OK LLC                $0.00


                                                   97 of 98
              Case 23-90147 Document 728 Filed in TXSB on 06/28/23 Page 102 of 102
 Store
         Contract Type         Title               Counterparty   Debtor Entity                  Est. Cure
Number
 3458    Intercompany Agreement COMMERCIAL LEASE                  Mountain Express Oil Company    $0.00

 3459    Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐SW‐OK LLC                $0.00

 3465    Intercompany Agreement COMMERCIAL LEASE                  WHRGOPS SW‐OK‐OKC LLC           $0.00

 3508    Intercompany Agreement COMMERCIAL LEASE                  Mountain Express Oil Company    $0.00

 3609    Intercompany Agreement COMMERCIAL LEASE                  Mountain Express Oil Company    $0.00

 3610    Intercompany Agreement COMMERCIAL LEASE                  Mountain Express Oil Company    $0.00

 3611    Intercompany Agreement COMMERCIAL LEASE                  Mountain Express Oil Company    $0.00

 3678    Intercompany Agreement COMMERCIAL LEASE                  Mountain Express Oil Company    $0.00

 3691    Intercompany Agreement COMMERCIAL LEASE                  WHRGOPS SW‐AR‐NWAR LLC          $0.00

 3698    Intercompany Agreement COMMERCIAL LEASE                  Mountain Express Oil Company    $0.00

 3924    Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐SW‐OK LLC                $0.00

 3930    Intercompany Agreement COMMERCIAL LEASE                  West Hill Ranch Group LLC       $0.00

 3931    Intercompany Agreement COMMERCIAL LEASE                  West Hill Ranch Group LLC       $0.00
3139 |
3140 |
3141 |
3142 |
         Intercompany Agreement COMMERCIAL LEASE                  MEX RE‐NW‐MO LLC                $0.00
3143 |
3144 |
3145 |
 3149




                                                   98 of 98
